Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 1 of 196 - Page ID#:
                                    2114




        CONTAINS CONFIDENTIAL INFORMATION

Transcript of Nicholas Sandmann
                      Date: September 13-14, 2021
        Case: Sandmann, et al. -v- NBCUniversal Media, LLC, et al.




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              WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 2 of 196 - Page ID#:
                     CONTAINS CONFIDENTIAL
                                    2115        INFORMATION
                                                          Transcript of Nicholas Sandmann                                         1 (1 to 4)

                                                         Conducted on 9/13/2021 & 9/14/2021
                                                                     1                                                                         3
1               UNITED STATES DISTRICT COURT                              1    Deposition of NICHOLAS SANDMANN
                EASTERN DISTRICT OF KENTUCKY
2              NORTHERN DIVISION AT COVINGTON                             2          Conducted Virtually
3     CONTAINS CONFIDENTIAL INFORMATION - FULL VERSION                    3       Monday September 13, 2021
4    -------------------------------X                                     4                 9:16 a.m.
5    NICHOLAS SANDMANN, by and      :                                     5                    and
     Through his parents and natural
6    Guardians, TED SANDMANN and    :
     JULIE SANDMANN,                                                      6      Tuesday, September 14, 2021
7                    Plaintiff,     : Case No.
               V                      19-CV-00056-WOB-CJS                 7                 9:16 a.m.
8                                   :
     NBCUNIVERSAL MEDIA, LLC,                                             8
9                    Defendant.     :
                                                                          9
10   -------------------------------X
                                                                          10
11   NICHOLAS SANDMANN, by and      :
     Through his parents and natural                                      11
12   Guardians, TED SANDMANN and    :
     JULIE SANDMANN,                                                      12
13                   Plaintiff,     : Case No.
               V                      20-CV-00023-WOB-CJS                 13
14                                  :
     THE NEW YORK TIMES COMPANY                                           14
15   D/B/A THE NEW YORK TIMES,      :
                     Defendant.                                           15
16
     -------------------------------X
17                                                                        16
     NICHOLAS SANDMANN, by and      :
18   Through his parents and natural                                      17
     Guardians, TED SANDMANN and    :
19   JULIE SANDMANN,                                                      18
                     Plaintiff,     : Case No.
20             V                      20-CV-00024-WOB-CJS                 19
                                    :
21   CBS NEWS, INC., et al.,                                              20
                     Defendants.    :
22                                                                        21
     -------------------------------X
23   Job Nos.: 396015 and 396018                                          22
24   Pages 1 - 466                                                        23
25   Reported by: Dianna C. Kilgalen                                      24
                                                                          25



                                                                     2                                                                         4
1    -------------------------------X                                     1                Deposition of NICHOLAS SANDMANN,
2    NICHOLAS SANDMANN, by and      :                                     2    conducted virtually.
     Through his parents and natural
3    Guardians, TED SANDMANN and    :                                     3
     JULIE SANDMANN,
4                    Plaintiff,     : Case No.                            4
               V                      2:20-CV-00025-WOB-CJS
5                                   :                                     5
     ABC NEWS, INC., et al.,
6                    Defendants.    :
                                                                          6
7    -------------------------------X
                                                                          7
8    NICHOLAS SANDMANN, by and      :
     Through his parents and natural                                      8
9    Guardians, TED SANDMANN and    :
     JULIE SANDMANN,                                                      9                Pursuant to Notice, before Dianna C.
10                   Plaintiff,     : Case No.
               V                      2:20-CV-00026-WOB-CJS               10   Kilgalen, Notary Public for the State of
11                                  :
     GANNETT CO.,INC. AND GANNETT                                         11   Maryland.
12   SATELLITE INFORMATION NETWORK, :
     LLC,                                                                 12
13
                     Defendants.   :                                      13
14
     -------------------------------X                                     14
15
     NICHOLAS SANDMANN, by and      :                                     15
16   Through his parents and natural
     Guardians, TED SANDMANN and    :
17   JULIE SANDMANN,                                                      16
                     Plaintiff      : Case No.
18             V                      2:20-CV-00027-WOB-CJS               17
                                    :
19   ROLLING STONE, LLC, et al.,                                          18
                     Defendants.    :
20                                                                        19
     -------------------------------X
21                                                                        20
22                                                                        21
23                                                                        22
24                                                                        23
25                                                                        24
                                                                          25




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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 3 of 196 - Page ID#:
                     CONTAINS CONFIDENTIAL
                                    2116        INFORMATION
                                                     Transcript of Nicholas Sandmann                                         2 (5 to 8)

                                                    Conducted on 9/13/2021 & 9/14/2021
                                                                5                                                                         7
1                    A P P E A R A N C E S                           1         A P P E A R A N C E S    C O N T I N U E D
2    Monday, September 13, 2021:                                     2    Monday, September 13, 2021:
3    ON BEHALF OF THE PLAINTIFF:                                     3    ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
4                TODD V. McMURTRY, ESQUIRE                           4    GANNETT SATELLITE INFORMATION NETWORK, LLC:
5                WILL HUBER, ESQUIRE                                 5              MICHAEL J. GRYGIEL, ESQUIRE
6                HEMMER DEFRANK WESSELS, PLLA                        6              GREENBERG TRAURIG, LLP
7                250 Grandview Drive, Suite 500                      7              54 State Street
8                Ft. Mitchell, Kentucky 41017                        8              6th Floor
9                859.344.1188                                        9              Albany, New York 12207
10   ON BEHALF OF THE DEFENDANTS ABC NEWS, INC., ABC                 10             518.689.1400
11   NEWS INTERACTIVE, INC. AND THE WALT DISNEY                      11   ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA,
12   COMPANY:                                                        12   LLC AND THE NEW YORK TIMES COMPANY D/B/A THE NEW
13              NATHAN SIEGEL, ESQUIRE                               13   YORK TIMES:
14              MEENAKSHI KRISHNAN, ESQUIRE                          14             DARREN W. FORD, ESQUIRE
15              DAVIS WRIGHT TREMAINE, LLP                           15             GRAYDON HEAD & RITCHEY, LLP
16              1301 K Street, Northwest, Suite 500                  16             2400 Chamber Center Drive, Suite 300
17              Washington, DC 20005                                 17             Ft. Mitchell, Kentucky 41017
18              202.973.4499                                         18             859.578.3071
19   ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,                     19
20   VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:                     20
21               JESSICA LAURIN MEEK, ESQUIRE                        21
22               DENTONS BINGHAM GREENBAUM, LLP                      22
23               10 West Market Street, Suite 2700                   23
24               Indianapolis, Indiana 46204                         24
25               317.635.8900                                        25



                                                                6                                                                         8
1         A P P E A R A N C E S        C O N T I N U E D             1    Also present:
2    Monday, September 13, 2021:                                     2         John Parkman, Videographer
3    ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,                     3         Ted Sandmann
4    VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:                     4         Justine Beyda
5                NATALIE J. SPEARS, ESQUIRE                          5         Marie Jones
6                DENTONS US, LLP                                     6         Matthew Schafer
7                233 South Wacker Drive                              7         Daniel Kummer
8                Suite 5900                                          8         Austin Costello, Planet Depos AV Technician
9                Chicago, Illinois 60606                             9
10               312.876.8000                                        10
11   ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC AND               11
12   PENSKE MEDIA CORPORATION:                                       12
13               KEVIN T. SHOOK, ESQUIRE                             13
14               FROST BROWN TODD, LLC                               14
15               10 West Broad Street                                15
16               Columbus, Ohio 43215                                16
17               615.565.1222                                        17
18   ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND               18
19   GANNETT SATELLITE INFORMATION NETWORK, LLC:                     19
20               MICHAEL P. ABATE, ESQUIRE                           20
21               KAPLAN JOHNSON ABATE & BIRD, LLP                    21
22               710 West Main Street                                22
23               4th Floor                                           23
24               Louisville, Kentucky 40202                          24
25               502.540.8280                                        25




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                     CONTAINS CONFIDENTIAL
                                    2117        INFORMATION
                                                     Transcript of Nicholas Sandmann                                         3 (9 to 12)

                                                    Conducted on 9/13/2021 & 9/14/2021
                                                                9                                                                      11
1                     A P P E A R A N C E S                          1         A P P E A R A N C E S     C O N T I N U E D
2    Tuesday, September 14, 2021:                                    2    Tuesday, September 14, 2021:
3    ON BEHALF OF THE PLAINTIFF:                                     3    ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
4                TODD V. McMURTRY, ESQUIRE                           4    GANNETT SATELLITE INFORMATION NETWORK, LLC:
5                WILL HUBER, ESQUIRE                                 5              MICHAEL P. ABATE, ESQUIRE
6                HEMMER DEFRANK WESSELS, PLLA                        6              KAPLAN JOHNSON ABATE & BIRD, LLP
7                250 Grandview Drive, Suite 500                      7              710 West Main Street
8                Ft. Mitchell, Kentucky 41017                        8              4th Floor
9                859.344.1188                                        9              Louisville, Kentucky 40202
10   ON BEHALF OF THE DEFENDANTS ABC NEWS, INC., ABC                 10             502.540.8280
11   NEWS INTERACTIVE, INC. AND THE WALT DISNEY                      11   ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
12   COMPANY:                                                        12   GANNETT SATELLITE INFORMATION NETWORK, LLC:
13              NATHAN SIEGEL, ESQUIRE                               13             MICHAEL J. GRYGIEL, ESQUIRE
14              MEENAKSHI KRISHNAN, ESQUIRE                          14             GREENBERG TRAURIG, LLP
15              DAVIS WRIGHT TREMAINE, LLP                           15             54 State Street, 6th Floor
16              1301 K Street, Northwest, Suite 500                  16             Albany, New York 12207
17              Washington, DC 20005                                 17             518.689.1400
18              202.973.4499                                         18   ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA,
19                - and-                                             19   LLC AND THE NEW YORK TIMES COMPANY D/B/A THE NEW
20              ROBERT B. CRAIG, ESQUIRE                             20   YORK TIMES:
21              TAFT STETTINIUS & HOLLISTER, LLP                     21             DARREN W. FORD, ESQUIRE
22              50 East River Center Boulevard                       22             GRAYDON HEAD & RITCHEY, LLP
23              Suite 850                                            23             2400 Chamber Center Drive, Suite 300
24              Covington, Kentucky 41011-1683                       24             Ft. Mitchell, Kentucky 41017
25              859.547.4300                                         25             859.578.3071



                                                                10                                                                     12
1         A P P E A R A N C E S        C O N T I N U E D             1    Also present:
2    Tuesday, September 14, 2021:                                    2         John Parkman, Videographer
3    ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,                     3         Ted Sandmann
4    VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:                     4         Justine Beyda
5                JESSICA LAURIN MEEK, ESQUIRE                        5         Marie Jones
6                DENTONS BINGHAM GREENBAUM, LLP                      6         Matthew Schafer
7                10 West Market Street, Suite 2700                   7         Daniel Kummer
8                Indianapolis, Indiana 46204                         8         Sara Loiler, Planet Depos AV Technician
9                317.635.8900                                        9
10   ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,                     10
11   VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:                     11
12               NATALIE J. SPEARS, ESQUIRE                          12
13               DENTONS US, LLP                                     13
14               233 South Wacker Drive                              14
15               Suite 5900                                          15
16               Chicago, Illinois 60606                             16
17               312.876.8000                                        17
18   ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC AND               18
19   PENSKE MEDIA CORPORATION:                                       19
20               KEVIN T. SHOOK, ESQUIRE                             20
21               FROST BROWN TODD, LLC                               21
22               10 West Broad Street                                22
23               Columbus, Ohio 43215                                23
24               615.565.1222                                        24
25                                                                   25




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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 5 of 196 - Page ID#:
                     CONTAINS CONFIDENTIAL
                                    2118        INFORMATION
                                                 Transcript of Nicholas Sandmann                            4 (13 to 16)

                                                Conducted on 9/13/2021 & 9/14/2021
                                                            13                                                         15
1                     C O N T E N T S                            1 conference.
2    EXAMINATION OF NICHOLAS SANDMANN             PAGE           2        Would counsel please voice identify
3    By MR. SIEGEL:                           16, 252            3 themselves and state whom they represent?
4                                                                         MR. SIEGEL: This is Nathan Siegel.
                                                                 4
5
                                                                 5 Sorry.
6                        E X H I B I T S
                                                                 6        MR. McMURTRY: Go ahead.
7               (Previously marked and submitted.)
                                                                 7        MR. SIEGEL: Nathan Siegel. I represent
8
                                                                 8  ABC   News.
9
                                                                 9        MR. McMURTRY: Todd McMurtry
10   Confidential portions:
11   Page 183, Line 12 to Page 187, Line 15
                                                                 10 representing Nicholas Sandmann.
12   Page 195, Line 11 to Page 199, Line 17
                                                                 11       MS. MEEK: Jessica Meek representing
13   Page 306, Line 2 to Page 307, Line 5
                                                                 12 CBS.
14   Page 308, Line 25 to Page 309, Line 13
                                                                 13       MR. FORD: Darren Ford representing
15   Page 427, Line 19 to Page 463, Line 16                      14 NCBUniversal,     LLC and The New York Times Company.
16                                                               15       MS. KRISHNAN: Meenu Krishnan
17                                                               16 representing ABC.
18                                                               17       MR. ABATE: This is Michael Abate on
19                                                               18 behalf of Gannett Company.
20                                                               19       MR. GRYGIEL: And also Michael Grygiel,
21                                                               20 Greenberg   Traurig, representing Gannett Company
22                                                               21 and Gannett Satellite Information Network.
23                                                               22       MS. SPEARS: Natalie Spears representing
24                                                               23 CBS News, Inc., Viacom, CBS, Inc. and CBS
25                                                               24 Interactive, Inc.
                                                                 25       MR. SHOOK: Kevin Shook representing
                                                            14                                                         16
1        THE VIDEOGRAPHER: This begins the                       1 Rolling Stone.
2 video-recorded deposition of Nicholas Sandmann in              2         MR. HUBER: Will Huber representing Nick
3 the matter of Nicholas Sandmann, et al. versus                 3 Sandmann.
4 NBCUniversal Media, LLC, Case Number                           4         MR. SIEGEL: I think that is everybody.
5 19-CV-00056-WOB-CJS, and Nicholas Sandmann versus              5         THE VIDEOGRAPHER: All right. The court
6 The New York Times Company, dba The New York                   6  reporter   today is Dianna Kilgalen also
7 Times, Case Number 20-CV-00023-WOB-CJS, and                    7 representing Planet Depos.
8 Nicholas Sandmann, et al. versus CBS News,                     8         Will the reporter please swear in the
9 Incorporated, et al., Case Number                              9 witness?
10 20-CV-00024-WOB-CJS, and Nicholas Sandmann, et                10            P ROCEEDINGS
11 al. versus ABC News, Incorporated, et al., Case               11        NICHOLAS SANDMANN, having been duly
12 Number 2:20-CV-00025-WOB-CJS, and Nicholas                    12 sworn, testified as follows:
13 Sandmann, et al. versus Gannett Company,                      13        MR. SIEGEL: Are we ready to begin?
14 Incorporated, et al., Case Number                             14        MR. McMURTRY: We are ready.
15 2:20-CV-00026-WOB-CJS, and Nicholas Sandmann, et              15 EXAMINATION BY COUNSEL FOR THE DEFENDANTS
16 al. versus Rolling Stone, LLC, et al., Case                   16 ABC NEWS, INC., ABC NEWS INTERACTIVE, INC. AND
17 Number 2:20-CV-00027-WOB-CJS, each case filed in              17          THE WALT DISNEY COMPANY
18 the United States District Court Eastern District             18 BY MR. SIEGEL:
19 of Kentucky Northern Division at Covington.                   19 Q. Okay. Good morning. Nick, is it okay
20       Today's date is Monday September 13th,                  20 if I call you Nick?
21 2021. The time on the video monitor is now                    21 A. Yes.
22 9:16 a.m. eastern daylight time.                              22 Q. Okay. Have you ever had a deposition
23       The videographer today is John Parkman                  23 taken before?
24 representing Planet Depos. This video deposition              24 A. No, I have not.
25 is taking place remotely via Zoom video                       25 Q. Okay. So I'm sure you have been told, I
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 6 of 196 - Page ID#:
                     CONTAINS CONFIDENTIAL
                                    2119        INFORMATION
                                        Transcript of Nicholas Sandmann                             5 (17 to 20)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       17                                                         19
1 will ask you a series of questions. It's                  1 Q. Okay. And what -- what grade does
2 possible other lawyers may question you after or          2 Covington Catholic start in?
3 not.                                                      3 A. Freshman year.
4        If any of my questions are unclear, just           4 Q. So the ninth grade?
5 let me know, and I will try to rephrase them to           5 A. Ninth grade, yes.
6 make them more clear.                                     6 Q. And so before you went to Covington,
7        It is important to try to give -- I can            7 where did you go to middle school?
8  see you   are already -- and it's normal to be           8 A. I went to St. --
9 shaking your head yes, no. Try to give audible            9       THE REPORTER: I'm sorry. This is the
10 answers because there is a court reporter who is         10 reporter. I'm getting feedback. I didn't
11 making a record of this and she takes down words,        11 understand his answer.
12 you know, not gestures. So if you can try to do          12      MR. SIEGEL: Somebody may have a line on
13 that, we would appreciate it.                            13 or something. Which answer did -- was it the
14       If you need to take a break at any                 14 name of the middle school?
15 point, just let us know. Okay?                           15      THE REPORTER: Middle school.
16 A. Okay.                                                 16 A. I went to St. Pius for grade school.
17 Q. Why don't you say just for the record,                17 BY MR. SIEGEL:
18 what is your full name?                                  18 Q. Did that take you all the way through
19 A. My full name is Nicholas Joseph                       19 eighth grade?
20 Sandmann.                                                20 A. Yes.
21 Q. And how old are you?                                  21 Q. I take it that is a private school?
22 A. I'm 19 years old.                                     22 A. Yes.
23 Q. And what's your birth date?                           23 Q. Okay. Have you ever been employed?
24 A. July 24th.                                            24 A. I have.
25 Q. And who are your parents?                             25 Q. Where have you worked?
                                                       18                                                         20
1 A. My parents are Ted and Julie Sandmann.                 1 A. I have worked in my counsel's law firm
2 Q. Do you have any siblings?                              2 and I have worked at a golf course this past
3 A. I have two younger brothers.                           3 summer and I have also worked for the then Senate
4 Q. And what are their names?                              4 Majority Leader Mitch McConnell.
5 A. Nathan and Nolan Sandmann.                             5 Q. Okay. Let's do those one at a time. So
6 Q. How old are they?                                      6 what did you do in your counsel's office?
7 A. Nate is now 16. And Nolan is 11.                       7 A. I mostly spend time organizing
8 Q. Okay. And where are you currently                      8 spreadsheets and cataloging information off
9 attending school?                                         9 Twitter as well as doing some research.
10 A. I go to Transylvania University.                      10 Q. Excuse me. When did you do that?
11 Q. And what year are you in?                             11 A. I did that the summer going into my
12 A. I'm a sophomore.                                      12 senior year of high school.
13 Q. And where did you go to high school?                  13 Q. What did you do for Senator McConnell?
14 A. Covington Catholic.                                   14 A. I spent most of my time driving around
15 Q. And before I continue, have you declared              15 the state speaking to potential voters. And then
16 a major yet?                                             16 I also spent time talking to college students on
17 A. I have not officially.                                17 Zoom.
18 Q. Unofficially, do you have -- this isn't               18 Q. And when did you do that?
19 going to bind you in anything.                           19 A. I did it during the -- his most recent
20      Unofficially, do you have a sense of                20 campaign, leading up to November 3rd.
21 what you may want to major in?                           21 Q. And how long did you do that for?
22 A. Yes.                                                  22 A. I think I did it for about two and a
23 Q. And what is that?                                     23 half to three months. I can't recall exactly.
24 A. PPE, which is politics, philosophy and                24 Q. And was that a -- was that paid
25 economics.                                               25 employment?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 7 of 196 - Page ID#:
                     CONTAINS CONFIDENTIAL
                                    2120        INFORMATION
                                   Transcript of Nicholas Sandmann                               6 (21 to 24)

                                  Conducted on 9/13/2021 & 9/14/2021
                                                  21                                                          23
1 A. It was paid.                                      1 A. To me, a conservative believes in small
2 Q. And what did you do at the golf course?           2 government and a small and limited government
3 A. I cleaned golf carts and helped guests            3 that's able to protect the rights of its
4 out with whatever they needed.                       4 citizens.
5 Q. Is that like a summer job for --                  5 Q. Up -- up to the time of the incident
6 A. Yes.                                              6 that brings us all here today, have you taken any
7 Q. When? Which summer?                               7 classes about Native American history?
8 A. This most recent summer.                          8 A. Yes. Currently, I was taking advanced
9 Q. Okay. What are your parents'                      9 placement U.S. history which covered Native
10 occupations?                                        10 Americans.
11 A. My dad is a salesman and my mom handles          11 Q. So as -- were you a junior at the time?
12 relationships. She's a relationship manager.        12 A. Yes.
13 Q. Is that a therapist or --                        13 Q. So you were in AP U.S. history as a
14 A. No. She works in the financial --                14 junior?
15 Q. Oh, okay, that kind of relationship.             15 A. Yes.
16 A. Yes.                                             16 Q. Did it have any particular focus on
17 Q. Okay. Just at the present, what are              17 Native Americans as the curriculum?
18 your career aspirations?                            18 A. It -- whatever the curriculum was. I
19 A. I would like to become a lawyer, and I           19 mean, they were definitely covered.
20 don't know after that.                              20 Q. Okay. Have you ever taken any -- well,
21 Q. There may never be an after, we can all          21 up to the point of this incident, had you taken
22 tell you.                                           22 any classes on Native American culture?
23       Why would you like to become a lawyer?        23 A. I had never taken a class specifically
24 A. I took -- or I did mock trial in high            24 focused on Native American culture.
25 school, and I realized about sophomore year         25 Q. Since then, have you taken any classes
                                                  22                                                          24
1 that -- excuse me -- that that was something that    1 that specifically focused on Native Americans in
2 I actually liked doing.                              2 any way?
3 Q. Is there anything particular that sort            3 A. No.
4 of draws you to it?                                  4 Q. Have you just on your own done any
5 A. I like standing up in front of a                  5 reading or studying about Native Americans
6 courtroom and being able to argue for someone and    6 specifically?
7 kind of putting facts together.                      7 A. I would say yes. The reason I took AP
8 Q. Okay. At the end of the deposition, I             8 U.S. history and then AP modern European history
9 think I'm going to ask you off the record whether    9 the next year, is I like studying history and
10 this experience makes you more or less likely.      10 stuff. So I like reading around and knew a ton
11 You don't have to answer. It will be off the        11 of topics, including Native Americans.
12 record. But I'm curious anyway, if you still        12 Q. So what -- do you recall anything in
13 want to do that.                                    13 particular that you have read relating
14       What role does faith play in your life?       14 specifically to Native Americans?
15 A. I would say a rather large role. I kind          15 A. Not particularly.
16 of look at faith as it's not the answers to         16 Q. Okay. So just have you read any books
17 questions I have. At least that's -- I know the     17 that were specifically about Native American
18 answer is there, and I might not understand what    18 history or culture?
19 it is. So I would say a pretty large role. It       19 A. The only book relating to the Native
20 definitely shapes my growing up, going through a    20 Americans that I can recall, I actually read back
21 Catholic grade school and high school.              21 in the seventh grade. I read the Last of the
22 Q. And do you -- do you consider yourself a         22 Mohicans.
23 conservative politically?                           23 Q. And I may have asked this, so I do
24 A. I would say yes.                                 24 apologize. But since this incident, have you
25 Q. And what does that mean to you?                  25 taken any classes on -- specific to Native
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 8 of 196 - Page ID#:
                     CONTAINS CONFIDENTIAL
                                    2121        INFORMATION
                                      Transcript of Nicholas Sandmann                                   7 (25 to 28)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      25                                                          27
1 Americans?                                               1 Q. Are you a sports fan?
2 A. No.                                                   2 A. I am.
3 Q. At the time of this incident, who did                 3 Q. So who do you root for?
4 you consider your five best friends?                     4 A. If we are talking football, then
5 A. I would say -- do you want me to                      5 Cincinnati.
6 identify them by first and last names?                   6 Q. The Bengals?
7        MR. SIEGEL: Yes, yes.                             7 A. Yes. And then I like UK as well.
8    A.    I would say Will Fike (phonetically             8 Q. Do you have a baseball team?
9 spelled), Will Fries, Steven Schaeper, Henry             9 A. I like the Reds, but --
10 Bennett and Avery Logan.                                10 Q. The Reds?
11 Q. Okay. And are you still friendly with                11 A. They are here and there, so.
12 all of them?                                            12 Q. Fair enough. I'm an Orioles fan, so
13 A. Yes.                                                 13 they are just there.
14 Q. Did you -- did you like going to                     14       Would it be fair to say that part of the
15 Covington Catholic?                                     15 purpose of the cheers that you guys do is to make
16 A. I did.                                               16 Covington a tougher place for your opponents to
17 Q. Why? What did you like about it?                     17 play, your sports opponents?
18 A. I kind of felt that I thrived more at an             18 A. I would say so.
19 all-male school because it allowed me just to           19 Q. One cheer that you guys do is called the
20 kind of just focus on schoolwork. And everyone          20 sumo cheer?
21 in my class was someone that I could easily talk        21 A. Yes.
22 to. And I just felt really connected there.             22 Q. When is that done?
23 Q. Do you know about how many students the              23 A. Honestly, usually there's four senior
24 school has?                                             24 students that are directing the order of the
25 A. I would say around 600, give or take.                25 chants, and I was never involved in that. So I
                                                      26                                                          28
1 Q. Now, I have heard that Covington                      1 have no idea when which ones come. They kind of
2 students are sometimes referred to as the Colonel        2 just read them up to me and then you follow.
3 Crazies?                                                 3 Q. So they kind of call them out?
4 A. That's correct.                                       4 A. Yes.
5 Q. Do you know where that comes from?                    5 Q. And is that cheer usually led by someone
6 A. I think we were nationally recognized at              6 who takes off their shirt?
7 one point for our student cheering section.              7 A. Yes.
8 Q. Do you know -- do you have any idea                   8 Q. Like -- how is -- like how does the
9 whether that -- where that nickname in particular        9 shirtless guy get designated? Like is -- is that
10 comes from?                                             10 like a thing or --
11 A. I do not.                                            11 A. It's kind of just like someone with --
12 Q. Okay. So what -- what is praising using              12 someone gets picked out of the crowd by the kids
13 that nickname about Covington students?                 13 around them, and then he goes down and does it.
14 A. I would say that, unlike most high                   14 Q. Is it usually somebody -- is it somebody
15 schools, Cov Cath is pretty organized in like           15 different every time, or is it like a person each
16 their cheering section and able to get loud very        16 class year or --
17 effectively. But also when we score a touchdown         17 A. There was like a group of people that
18 in football or something, everyone would just go        18 would always do it. It wasn't the same person
19 completely wild and celebrate.                          19 every game. But there was a certain group of
20       We usually had a lot more attendance              20 kids that usually got picked.
21 than other high schools.                                21 Q. And why is it called the sumo cheer?
22 Q. Did you -- did you attend sports games?              22 A. I think because they kind of act like
23 A. Yes.                                                 23 sumo wrestlers.
24 Q. So football games, basketball games?                 24 Q. Are there -- are there any words that
25 A. Yes.                                                 25 are being articulated during that cheer?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 9 of 196 - Page ID#:
                     CONTAINS CONFIDENTIAL
                                    2122        INFORMATION
                                        Transcript of Nicholas Sandmann                              8 (29 to 32)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                      29                                                         31
1 A. I don't think so. I think it's just                   1 BY MR. SIEGEL:
2 yelling.                                                 2 Q. So was that a sumo cheer at a Covington
3 Q. Okay. And at the end of the cheer, does               3 basketball game?
4 the leader usually turn around, face the field or        4 A. Yes.
5 the court or whatever it would be?                       5 Q. Would you say that is typical of what it
6 A. Yes.                                                  6 looks like at a basketball game?
7 Q. And why is that? Do you know?                         7 A. Yes.
8 A. I think to kind of like show off our                  8 Q. The students were also -- it sounded
9 strength towards the other team.                         9 like there was like banging on the floor or the
10 Q. Okay. And I saw, actually you just did,              10 benches. Is that common?
11 sometimes kids like at the end, you clench your         11 A. I think it's the sound that it makes
12 fists?                                                  12 when you are jumping and --
13 A. Yes.                                                 13 Q. Putting your shoes down. Okay.
14 Q. And why? For the same reason?                        14       MR. SIEGEL: We can take that down.
15 A. Just to like flex your muscles, I guess.             15 BY MR. SIEGEL:
16 Q. Okay. Do you remember that a few days,               16 Q. When you were -- when you were attending
17 I think it was, after this incident, there was a        17 high school, were you ever told anything about
18 video circulating on social media showing cheers        18 what to do if someone who is not a Covington
19 of -- I think kind of a collage of different            19 student enters your cheering section at a game?
20 cheers from Covington in the past?                      20 A. I think that we were told to grab one of
21 A. I think I recall it.                                 21 the administrators or teachers. And it had
22 Q. Okay. So I'm going to play a couple of               22 happened several times. And they would usually
23 excerpts from it briefly. You can tell me if            23 come up and ask them to leave.
24 it's the one you recognize. I will play the             24 Q. And before the teachers or -- before an
25 first ten seconds to see if --                          25 adult, you know, got there to ask them to leave,
                                                      30                                                         32
1        (Thereupon, a video recording of Exhibit          1 were you told anything about what you should do?
2 1 was played.)                                           2 A. No.
3        MR. SIEGEL: Will you call out, Jessica,           3 Q. Okay. Were you ever told to like avoid
4 for the record where you started and stopped?            4 contact, you know, any physical contact with
5        MS. MEEK: I started at zero seconds and           5 someone who was an outsider coming into your
6  ended  at 10 seconds.                                   6 section?
7 BY MR. SIEGEL:                                           7 A. Yes. I mean, the general rule was, and
8 Q. Okay. And that is Exhibit 1. So have                  8 our principal used to always tell us, that at all
9 you seen that one before?                                9 times, even at sports games or at church or
10 A. I think so.                                          10 wherever you are, that you might not be at Cov
11       MR. SIEGEL: Okay. Let's jump to 45                11 Cath but you are still representing Cov Cath. So
12 seconds.                                                12 I think that would apply.
13       (Thereupon, a video recording of Exhibit          13 Q. Okay. Have you ever heard of something
14 1 was played.)                                          14 called a haka dance?
15       MS. MEEK: For the record, I stopped at            15 A. I think.
16 1 minute and 6 seconds in Exhibit 1.                    16 Q. Do you -- what do you know -- what do
17       MR. McMURTRY: Just a quick question.              17 you know about that?
18 Who put the writing on the video?                       18 A. My general impression is that it's a
19       MR. SIEGEL: That is actually the                  19 tribal dance from -- I think from around New
20 next -- literally the next frame of the video.          20 Zealand or in that oceanic area.
21       MR. McMURTRY: Yeah. The one said                  21 Q. Have you ever seen that done?
22 "sumo," and I was wondering who added the --            22 A. I think once or twice.
23       MR. SIEGEL: No one added it.                      23 Q. Once or twice. Do you think there are
24       MR. McMURTRY: That was in there?                  24 any similarities to the sumo cheer?
25       MR. SIEGEL: That was in there, yeah.              25 A. I wouldn't say -- I don't know who
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 10 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2123       INFORMATION
                                       Transcript of Nicholas Sandmann                               9 (33 to 36)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                      33                                                          35
1 created the sumo and what they were going for.           1 trip to the Lincoln Memorial in 2019. What was
2 So it's . . .                                            2 the purpose of that trip?
3 Q. I don't mean that. I don't mean                       3 A. So I had not gone on the trip. And to
4 intentional similarities, but I'm just asking the        4 the best of my knowledge, it was a trip that was
5 way it looks.                                            5 taken every year, which was kind of advertised as
6 A. I can't completely recall what the haka               6 like a spiritual journey in defense of the unborn
7 is. So maybe.                                            7 but also halfway kind of a field trip.
8 Q. Okay. Another cheer that you guys did                 8 Q. And how do you -- how did students sign
9 is called Victory is our Battle Cry. Is that             9 up for it?
10 right, or Victory?                                      10 A. If I can remember, they -- we just
11 A. Yes.                                                 11 signed a piece -- we got a piece of paper, and we
12 Q. And when is that done?                               12 signed it and our parents signed it and just
13 A. If I can remember, I think we did that               13 turned it in.
14 at halftime usually. But it definitely could            14 Q. So does everybody who -- anyone who
15 have been done just throughout the game.                15 wants to go have the opportunity to go?
16 Q. And how does that go?                                16 A. Yes. I think there's a fee attached to
17 A. The soph -- or the senior leaders call               17 it. But if you wanted to pay for it and go, you
18 out, they spell out victory and say that's our          18 could.
19 battle cry. And then the freshmen stand up and          19 Q. I think you mentioned it was the first
20 say victory, that's the freshman battle cry. The        20 time that you had gone on the trip?
21 leaders then repeat. Then the sophomores go --          21 A. Yes.
22 they spell it out, and they go that's the               22 Q. Was there any reason you didn't go as a
23 sophomore battle cry. They do it for the                23 freshman or sophomore?
24 juniors, the seniors. And then they do it one           24 A. No. I just had never decided that, you
25 last time. We all stand up, spell it out and go         25 know, I should probably do it. But this year, I
                                                      34                                                          36
1 that is the Colonel battle cry.                          1 really wanted to go. I had heard things about,
2 Q. And is there something that's called the              2 you know, all the things they saw in DC and how
3 Braveheart March?                                        3 cool of an experience it was.
4 A. Yes.                                                  4 Q. In the 2019 trip, do you know about how
5 Q. What is that?                                         5 many students went?
6 A. This occurs during the game against                   6 A. I would say over a hundred, but I don't
7 Beechwood. If it's at Beechwood, we will all get         7 know.
8 dropped off somewhere and march to Beechwood.            8 Q. Okay. And do you -- did you -- do you
9 And if it's at Cov Cath, we usually march down           9 go -- and you mentioned Notre Dame, right? Is
10 from the Notre Dame parking lot. And you wear --        10 Notre Dame a girls school?
11 be it skirts or whatever, and you try to look           11 A. An all-girls school.
12 like the cast of Braveheart.                            12 Q. An all-girls school.
13 Q. And do you have any understanding, like,             13       Do you go in coordination with any of
14 well, why has that become a tradition?                  14 the other Catholic schools in the area?
15 A. I have no idea why.                                  15 A. It's mostly coordinated. All of the
16 Q. What does it symbolize to you or                     16 diocese schools are supposed to meet up for mass
17 signify?                                                17 led by the Bishop in DC, and then they all go out
18 A. I know that Beechwood is a very big                  18 and march.
19 rivalry. And usually at once, on the day of the         19 Q. Okay. Do you remember about how many
20 game, they would play the speech that Mel Gibson        20 busses there were, just for Covington students?
21 gives about we will never -- they may take our          21 A. I think there were three.
22 lives, they will never take our freedom, or             22 Q. Okay. Do you guys mix it up on the
23 whatever. I think it's a way to get people              23 busses in terms of the different schools going,
24 really excited about playing Beechwood.                 24 or is it all your school?
25 Q. Okay. So now we will move on to the                  25 A. Our school was the only one on our
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 11 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2124       INFORMATION
                                     Transcript of Nicholas Sandmann                                 10 (37 to 40)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       37                                                         39
1 busses.                                                   1 know, if you are going to like go out, like
2 Q. Okay. So let's just try to walk                        2 budget your time correctly to get back.
3 through.                                                  3       So it was mostly that. And they told us
4        Up to the time that you arrived at the             4 we are meeting back at the Lincoln at 5.
5 Lincoln Memorial that Saturday afternoon,                 5 Q. And what was the expectation about --
6 right -- Friday afternoon, January 18th that you          6 that was articulated about what to do if somebody
7 were there and you got to the Lincoln Memorial,           7 approaches you?
8 just sort of walk us through what happened. What          8 A. It was that you don't say anything, you
9 time did you leave? And just kind describe the            9 walk away, you are always representing Cov Cath.
10 trip up to that point.                                   10 Q. So you get off the busses. When was the
11 A. I think we left Cov Cath at like 7 or 8.              11 march itself?
12 I know it was later at night. And we started             12 A. I don't recall what time the actual
13 driving. And at some point, we stopped or                13 march started. I know we got into the area where
14 whatever at a rest stop. I can't remember how            14 people like speak from the stage. And I think we
15 many times. But I know eventually around 3 or            15 heard a couple people. But all the main speakers
16 3:30 in the morning, like our bus broke down.            16 had already finished and packed up.
17 And I remember like the bus driver calling,              17 Q. Because you guys got there late?
18 trying to get AAA or someone to come out and             18 A. Yes.
19 repair it.                                               19 Q. All right. So just tell us what you
20       And I was just sitting on the bus,                 20 did.
21 trying to catch some sleep. And we were kind of          21      You got off the bus. You mentioned that
22 stranded there for a couple hours, which made us         22 you had that meeting and those things were --
23 end up being late to get to the mass at the              23 were reiterated to you. And then what -- what
24 diocese. And all the other schools had made it,          24 did you do next?
25 and we missed the mass.                                  25 A. Well, I was with my group of friends.
                                                       38                                                         40
1        So we probably got into DC around 9:30             1 And we decided that since we had already kind of
2 or 10 o'clock, somewhere early in the morning.            2 missed the speeches or whatever, which is a big
3 And we parked outside the church just as all the          3 part of it, we decided that we would kind of go
4 kids from the other schools were coming out.              4 around DC and see some of the things we wanted to
5 Q. Did you sleep at all on the bus?                       5 see and then join the march after we had done
6 A. No, I did not sleep well at all.                       6 some sightseeing.
7 Q. Okay. So you all arrived in DC that                    7       We headed to the Washington Monument.
8 morning.                                                  8 And then we went -- we kind of just walked around
9        What happens at that point? You get off            9 the National Mall area for a little bit. And
10 the busses. What happens?                                10 then we eventually got up to the White House.
11 A. We get off the bus. We go inside this                 11 Q. Who were -- who were the group of
12 building. And they kind of talk to us and                12 friends that you were with?
13 whatever about what -- some -- like reiterating          13 A. I can remember I was with Will Fries,
14 some of the expectations that they had told us           14 Will Fike, Henry Bennett. And I can't remember
15 before. And then after that, we were kind of             15 exactly who else was there. I think -- I'm
16 just free to do whatever we wanted to.                   16 almost positive Jerry Gallagher was there as
17 Q. What expectations had they told you?                  17 well. And some people stayed with us but then
18 A. There was like the previous expectations              18 kind of peeled off and went their own way.
19 about what to do if someone approaches you. But          19 Q. So and you had a girlfriend at the time?
20 they also mentioned the story that a couple years        20 A. I did.
21 ago some kids had ended up in like Baltimore or          21 Q. Did you meet up with her at any point?
22 something because they got screwed around on the         22 A. I saw her at the church when she had
23 public transit or whatever and ended up in the           23 gotten out. And then later in the day, I tried
24 complete wrong area. And some kids ended up              24 to meet up with her, but I didn't see her.
25 going to Arlington. So it was kind of like, you          25 Q. Okay. So you did some sightseeing. You
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 12 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2125       INFORMATION
                                     Transcript of Nicholas Sandmann                                 11 (41 to 44)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                     41                                                          43
1 said you went to the monument. You went to the          1 be made great again?
2 White House.                                            2 A. I would say that America was the most
3 A. Uh-huh.                                              3 great I would say even during -- during World War
4 Q. What did you do after you went to the                4 II. Probably would be a prime example when the
5 White House?                                            5 country was unified and, you know, you didn't --
6 A. We went over to the White House gift                 6 everyone kind of loved their neighbor and
7 shop and we bought Make America Great Again hats.       7 everyone pitched in together with the war effort
8 Q. Okay. And why did you do that?                       8 and things like that.
9 A. Personally, I was looking for a                      9        That -- that to me is what America kind
10 souvenir. I was -- I was deciding between the          10 of represents. It's when you look at the person
11 hat or these White House golf balls that I wanted      11 next to you who you may not agree with but you
12 to get. But at the time, I decided, I'm probably       12 still work together.
13 pretty bad at golf and I will lose these and I         13 Q. And you mentioned before that you
14 really don't just want to look at them, so I will      14 thought the -- the statement is in keeping with
15 buy the hat because I can wear that.                   15 your conservative values that you articulated.
16 Q. Did your golf game get better over the              16       Do you think that there was a time when
17 summer?                                                17 America functioned in a way that was more
18 A. It has gotten better.                               18 consistent with those values than it does now?
19 Q. So other than you weren't confident                 19 A. I mean, I would say that I don't know if
20 about your ability to retain the -- keep the golf      20 I could pick out a time that America ever fully
21 balls, is there any other reason you bought --         21 was perfect in a way that kind of Make America
22 why did you consider that a souvenir of your trip      22 Great Again mirrors.
23 that you wanted to bring back with you?                23       I don't know if I could point to a
24 A. I think specifically because it came                24 specific point in the country's history when
25 from the White House gift shop. Like I had never       25 everything was fine and that's the model of what
                                                     42                                                          44
1 had the urge to go into any store in northern           1 I would like now because there have been bad
2 Kentucky and buy a MAGA hat. But the fact that          2 parts about, you know, the country all the time.
3 it came from the gift shop or whatever seemed to        3 So . . .
4 me like that was souvenir worthy.                       4 Q. Okay. Fair enough. But to say Make
5 Q. Did the slogan Make America Great Again              5 America Great Again, is there a time when you
6 speak to you in any way?                                6 feel like it was better?
7 A. I mean, I would agree with the                       7       MR. McMURTRY: Objection. You can go
8 statement.                                              8 ahead. I think you have answered that question,
9 Q. Okay. And what would you -- what would               9 but --
10 you agree about it? What -- what do you agree          10 BY MR. SIEGEL:
11 with?                                                  11 Q. In that it was more consistent with the
12 A. I think -- well, first and foremost, was            12 conservative values that you articulated? Sorry
13 President Trump's prolife stance, which is in          13 about that.
14 line with my belief and was kind of the most           14      MR. McMURTRY: Objection. Go ahead.
15 driving factor in me getting it. And I mean,           15 A. I'm not sure I can point to a specific
16 besides that, just as I mentioned earlier, my          16 time of -- I mean, just my example of -- I'm not
17 more conservative views about limiting the             17 sure.
18 government and protecting rights.                      18 Q. Is there a time that you can point to
19 Q. Okay. So the slogan is Make America                 19 when you feel that America started to decline?
20 Great Again, right?                                    20 A. I would say during the Jimmy Carter
21 A. Uh-huh.                                             21 Administration.
22 Q. Does that -- so, in your opinion, I'm               22 Q. And how so in your opinion?
23 just asking you for your views, not what               23 A. To me, he was a very weak president,
24 President Trump may mean or anything else,             24 whatever, that failed in a lot of areas,
25 when -- when was America great that it needs to        25 especially his handling of the hostage crisis and
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 13 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2126       INFORMATION
                                     Transcript of Nicholas Sandmann                                    12 (45 to 48)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       45                                                         47
1 things on global levels.                                  1 Q. So when you get -- when you get to the
2 Q. Okay. And did that decline continue                    2 Lincoln Memorial, did you at any time see that
3 after Jimmy Carter in your view?                          3 there was a -- some kind of rally or gathering of
4 A. I would say it was kind of revived with                4 indigenous peoples?
5 Reagan, obviously. But, I mean, you don't                 5 A. Yes.
6 have -- after that, you had Clinton or whatever,          6 Q. So what did you see?
7 and things haven't been the same.                         7 A. So when I got to the memorial, I went to
8 Q. Ever since the --                                      8 the bathroom. And I went up and I looked at
9 A. Yeah.                                                  9 Lincoln, and then I came down. And the first
10 Q. So going back to the trip, just if I                  10 thing I noticed was Black Hebrew Israelites were
11 recall the timeline we were at. You went to the          11 kind of set up with posters or whatever and
12 White House. I think you said you then went to           12 stuff.
13 the rally or whatever was left of the march?             13       And then I think after a while, I
14 A. Correct.                                              14 started  to notice that there was another like
15 Q. And what did you do there?                            15 organized group there, which was the Native
16 A. We marched along the kind of finishing                16 Americans who were congregating for --
17 stretch of the rally. And that took us to kind           17 Q. And -- and what were they doing? What
18 of like behind the Capitol building, in terms of         18 did you see?
19 not the side facing the rest of the mall and the         19 A. I saw them -- they were all holding
20 Washington Monument. And there was kind of like          20 hands in like a large circle and dancing around.
21 where everyone gathered. And that's kind of              21       I wasn't paying too much attention to
22 where I lost my friends. Because I was going to          22 them because there was a group way more
23 try and find my girlfriend at that point. And            23 aggressive kind of in front of us that took up
24 was just a huge crowd. I kind of lost them.              24 most of my focus.
25 Q. So -- and about -- do you recall about                25 Q. Okay. Was this your first time at
                                                       46                                                         48
1 what time in the day this was?                            1 the -- was this your first time in DC?
2 A. I would say this was somewhere around --               2 A. Yes.
3 anywhere from 4 to 4:30.                                  3 Q. And you said that you had -- you had
4 Q. Okay. So you lost your friends. You                    4 been told to meet up at 5 o'clock at the Lincoln
5 couldn't find your girlfriend. So what did you            5 Memorial?
6 do next?                                                  6 A. Uh-huh.
7 A. So at that point, I went to kind of text               7 Q. Were you told any particular area around
8 them and see if there was a spot we could meet            8 the memorial to meet up at?
9 up. And at the time, I had -- my phone was an             9 A. No. It was just kind of like on the
10 iPhone 6, or whatever, that -- and I had a               10 steps in front of it.
11 battery problem where it would be on 40 or 50            11 Q. Okay. And do you recall, was there a
12 percent and it would just die without warning.           12 time that the busses were supposed to leave?
13      And so when I went to text them, I                  13 A. At 5, or around 5.
14 turned it on and it instantly died. And I                14 Q. Okay. So what was your understanding of
15 didn't -- at that point, I hadn't checked the            15 what you were supposed to do once you got there?
16 time. So I thought it was closer to 5, or maybe          16 A. My understanding was that we were all
17 5.                                                       17 going to meet there, wait, and then the
18      So I had a map with me, I think. I                  18 chaperones or whatever were going to do
19 pulled it out and I found out where the Lincoln          19 attendance, count everyone, and then we were
20 Memorial was. And then I literally ran. I                20 going to walk to them, get on and leave.
21 sprinted from the Capitol to the memorial because        21 Q. And do you recall about how long before
22 I thought that it could have been 5 before I got         22 the encounter with Nathan Phillips that you
23 there and that I was going to get left in DC.            23 arrived at the Lincoln Memorial?
24 Q. That is a pretty good workout.                        24 A. I would say that I arrived at the
25 A. Yeah.                                                 25 Lincoln Memorial at like 4:20 or 4:30, like
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 14 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2127       INFORMATION
                                      Transcript of Nicholas Sandmann                                  13 (49 to 52)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       49                                                          51
1 somewhere way before what I thought the actual            1 anything before that. So it bothered me a little
2 time was. I didn't have my phone, really, to              2 bit that they were kind of targeting us for no
3 gauge what time it was.                                   3 reason.
4 Q. Okay. Did you ever -- again, prior to                  4 Q. Had you ever seen anything like this
5 this incident, did you interact at all with any           5 before?
6 of the Native Americans?                                  6 A. No. No.
7 A. No.                                                    7 Q. Okay. Do you know or did you know
8 Q. Did you see any other Covington students               8 another Covington student named Robert McGrane,
9 interacting with any of the Native Americans?             9 is the name?
10 A. No, I did not.                                        10 A. I don't think so.
11 Q. Now, you have mentioned before that you               11       MR. SIEGEL: This is Exhibit 2, which is
12 saw the African American men who were set up             12 an audio recording that was produced by GCI, the
13 there.                                                   13 investigative firm that did the investigation.
14       Did you later come to know that they               14 Number 218. Is that right, Jessica?
15 called themselves the Black Hebrew Israelites?           15       MS. MEEK: Yes, that is right.
16 A. Yes. I think -- I'm not sure if I knew                16       MR. SIEGEL: Okay. I'm just going to
17 at the time. They could have had something on            17 play you an excerpt of Mr. McGrane's recorded
18 one of their signs.                                      18 interview.
19       MR. SIEGEL: Okay.                                  19       MS. MEEK: For the record, I'm starting
20   A.   I don't think I did, though.                      20 Exhibit 2 at 5 minutes and 54 seconds.
21 Q. And what did you see and hear?                        21       (Thereupon, an audio recording of
22 A. I saw and heard them berate a bunch of                22 Exhibit 2 was played.)
23 my classmates.                                           23       MS. MEEK: I just stopped -- I just
24       Obviously, there was more than me                  24 stopped Exhibit 2 at 6 minutes and 30 seconds.
25 that -- I was not the only one that had Donald           25 BY MR. SIEGEL:
                                                       50                                                          52
1 Trump campaign attire on. And so they said                1 Q. He called it a culture shock. Do you --
2 negative things about the president that I really         2 did you feel that way?
3 can't repeat. And they said things about one of           3 A. I would agree. I would best describe DC
4 the freshmen who was on the trip who was an               4 as kind of a war zone compared to what I was
5 African American and called him, you know, a              5 compared to -- or what I'm used to seeing. Just
6 bunch of things I also won't repeat. And they             6 because there was almost a protest around every
7 just kind of, you know, said a bunch of things            7 corner, and it was -- it couldn't -- it wouldn't
8 that, you know, were not nice.                            8 have even been related to the March For Life.
9 Q. And some of those things were directed                 9 Everyone was just protesting something.
10 at the group of students. Is that fair?                  10 Q. Did the -- the African American men stay
11 A. I would say most of them were, yeah.                  11 in the same place the whole time you were there?
12 Q. Most of them were. Okay. Including                    12 A. For the most part, except when Nathan
13 when you were a part of that group?                      13 Phillips moved in. Then they kind of shifted
14 A. Yes.                                                  14 closer.
15 Q. And what was your reaction to what they               15 Q. Okay. Did you hear any of them
16 were saying?                                             16 insulting any of the -- any Native Americans?
17 A. I -- I was kind of uneasy or whatever.                17 A. Not at the time. I know they did now.
18 And that was because I had seen protestors               18 Q. And you know that from seeing videos of
19 earlier throughout the day, especially around the        19 the event?
20 White House. But mainly, they were all just              20 A. Yes.
21 saying whatever they felt like or however they           21 Q. Okay. So I take it at the time also you
22 felt, and I would have assumed that to kind of           22 didn't -- you didn't see how the Native Americans
23 get their attention you needed to do something to        23 responded to them?
24 them. But we were kind of just standing there.           24 A. No.
25 And then they locked onto us without us doing            25 Q. Okay. Did you see them insulting any
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 15 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2128       INFORMATION
                                       Transcript of Nicholas Sandmann                                14 (53 to 56)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                     53                                                          55
1 African Americans?                                      1        MR. McMURTRY: Objection. During the
2 A. I saw them insult the one a part of our              2  video  clip?
3 group. I didn't see -- I don't ever recall              3        MR. SIEGEL: Yes.
4 seeing them insult another African American             4        MR. McMURTRY: Okay. Go ahead and
5 outside of our group.                                   5 answer.
6 Q. Okay. Did you see them insulting people              6        MR. SIEGEL: Yes. I will rephrase that
7 other than in your group?                               7 for the record. Sorry.
8 A. Yes.                                                 8 BY MR. SIEGEL:
9 Q. From what you recall, what do you                    9 Q. On the video, did you hear one of the
10 remember about that?                                   10 Black Hebrew Israelites say: Don't stand there
11 A. I remember that there was one guy who               11 and mock us?
12 was on one of -- kind of like a motorized              12 A. I heard it.
13 skateboard. I don't know what it is. And he had        13 Q. Okay. Do you think the students were
14 like a ski helmet and goggles on. He had like a        14 mocking them?
15 boom box or something. And he kept riding around       15 A. I don't think so. I mean, because at
16 them and playing music.                                16 the time that the video turns, the kids had their
17 Q. Okay. Did they make any negative                    17 backs to the -- to the Black Hebrew Israelites,
18 remarks about other peoples or groups or police?       18 and I can't even hear any of the kids saying
19 A. I would assume that they did. I just                19 anything.
20 can't -- I don't think I witnessed any of it.          20 Q. Okay. And they are walking away, right?
21 Q. What about just, for example, those who             21 A. Correct.
22 were gay?                                              22 Q. Okay. Would it be fair to say that is
23 A. I know that when they were insulting us,            23 your interpretation of what you are seeing from
24 they made -- they insulted gays.                       24 the video as to whether or not they seem to you
25      MR. SIEGEL: Let's go to Exhibit 3,                25 to be mocking them?
                                                     54                                                          56
1 which I will state for the record is video 4 on         1 A. I would say yes.
2 the stipulation, and I will just identify videos        2 Q. Okay. Can you identify any of those
3 that way because I think it will be easier for          3 students?
4 the record. That's the -- I think what your             4 A. I cannot.
5 Complaint calls the Banyamyan video. And I will         5        MR. SIEGEL: Let's jump to 38 minutes.
6 show some excerpts from that.                           6        MS. MEEK: For the record, a moment ago
7        MS. MEEK: I'm starting at Exhibit 3,             7 I stopped Exhibit 3 at 12 minutes and 8 seconds.
8 which is video 4, at 11 minutes and 19 seconds.         8 Now I'm restarting at 38 minutes.
9        (Thereupon, a video recording from               9        (Thereupon, a video recording of Exhibit
10 Exhibit 3 was played.)                                 10 3 was played.)
11 BY MR. SIEGEL:                                         11 BY MR. SIEGEL:
12 Q. So do you see there was a group of                  12 Q. The person in the blue coat, do you
13 students off to the side? Did those -- do those        13 recognize who that person is?
14 include some Covington students?                       14 A. I mean, I have a guess who he is, but
15 A. Yes.                                                15 not really from that clip.
16 Q. Okay. And do you know where the girls               16 Q. What is your best guess?
17 were from?                                             17 A. I think that is Billy Smith, but I have
18 A. I do not. I would assume Notre Dame.                18 no idea.
19 Q. But did you see any of that at the time?            19 Q. Okay. And do you recognize any of the
20 A. I don't think I did.                                20 other students standing I guess to his left as
21 Q. Okay. You heard one of the Black Hebrew             21 Covington students?
22 Israelites who was talking, saying: Don't stand        22 A. I think the one on his -- from this
23 there and mock us?                                     23 point of view, from our right, the next one is
24 A. Yeah.                                               24 Luke Keninso (phonetically spelled), but I
25 Q. Do you think they were mocking them?                25 don't -- I can't recognize him for sure.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 16 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2129       INFORMATION
                                       Transcript of Nicholas Sandmann                                  15 (57 to 60)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       57                                                         59
1 Q. Okay. Did you see any of this at the                   1 right.
2 time?                                                     2 BY MR. SIEGEL:
3 A. I can't say for sure. There were                       3 Q. Would you -- would you say that's an
4 several times when some of the students were              4 honest opinion that they could have, to look at
5 standing somewhat close. I can't say if I saw             5 that and say I think that -- what's his name
6 this one for sure and not another one.                    6 again?
7        MR. SIEGEL: Okay. Keep going.                      7 A. Charlie.
8        MS. MEEK: For the record, a moment ago             8 Q. -- I think Charlie is smirking at him?
9 I paused at 38 minutes and 25 seconds. And now            9 A. I would -- I would -- I don't -- I
10 I'm continuing on from that point in Exhibit 3.          10 wouldn't accuse them of being dishonest, but I
11       (Thereupon, a video recording from                 11 would certainly tell them that that's not the
12 Exhibit 3 was played.)                                   12 right opinion.
13       MS. MEEK: I just paused at 38 minutes              13      MR. McMURTRY: We are at an hour. I'm
14 and 33  seconds.                                         14 going to want to stop at some point.
15 BY MR. SIEGEL:                                           15      MR. SIEGEL: We can do that now.
16 Q. Do you know what the water bottle says?               16      MR. McMURTRY: Whatever is convenient.
17 A. I can't remember. It said something --                17 Okay.
18 I think it might have said Voss or something, or         18      MR. SIEGEL: Sure. Yes.
19 maybe it had -- like someone had removed the logo        19      THE VIDEOGRAPHER: We are going off the
20 and put something on it. I don't remember what           20 record. The time is 10:15 a.m.
21 the logo was.                                            21      (Thereupon, there was a recess taken at
22 Q. And do you think that the way he sort of              22 10:15 a.m.)
23 picked up the water bottle and smiles, is he             23      (Thereupon, the proceedings were resumed
24 mocking the Black Hebrew Israelites?                     24 at 10:26 a.m.)
25       MR. McMURTRY: Objection. Go ahead.                 25      THE VIDEOGRAPHER: We are back on the
                                                       58                                                         60
1 A. No. I don't see any reason why he would                1 record. The time is 10:26 a.m.
2 be or what kind of -- the smile and the water             2 BY MR. SIEGEL:
3 bottle mock, at least in my view of it.                   3 Q. Nick, one of the words that you hear the
4        MR. SIEGEL: Okay. Play a few more                  4 Black Hebrew Israelite man saying was -- on
5 seconds.                                                  5 approach to the students was cracker or crackers?
6        (Thereupon, a video recording of Exhibit           6 A. Yeah.
7 3 was played.)                                            7 Q. Did you hear that?
8        MS. MEEK: I just paused at 38 minutes              8 A. I did.
9 and 36 seconds in Exhibit 3.                              9 Q. Is that something you also heard them
10 BY MR. SIEGEL:                                           10 say when you were there?
11 Q. Do you think that looks like a -- do you              11 A. Yes.
12 see him smiling?                                         12 Q. What did -- did you know what that was
13 A. Yeah, I see him smiling.                              13 at the time?
14 Q. Does that look like a smirk to you?                   14 A. I just knew it was an epithet used to
15       MR. McMURTRY: Objection.                           15 describe white people.
16 A. No. At this point, he hasn't even said                16       MR. SIEGEL: Okay. Let's go to -- on
17 anything. And the guy on this thing just called          17 Exhibit 3, 43 minutes and 56 seconds.
18 him -- and whatever you want to call it, insulted        18       (Thereupon, a video recording of Exhibit
19 him.                                                     19 3 was played.)
20 BY MR. SIEGEL:                                           20       MS. MEEK: I just paused Exhibit 3 at 44
21 Q. Okay. Do you think someone else looking               21 minutes and 39 seconds.
22 at this video could disagree with you about              22 BY MR. SIEGEL:
23 whether he is smirking at them?                          23 Q. Okay. So, again, the boys who are
24       MR. McMURTRY: Objection. Go ahead.                 24 standing to the right of the screen as we are
25 A. If they wanted to, I guess they could,                25 looking at it, are those Covington students?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 17 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2130       INFORMATION
                                         Transcript of Nicholas Sandmann                               16 (61 to 64)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                      61                                                          63
1 A. Yes.                                                  1 BY MR. SIEGEL:
2 Q. And do you know who the student is                    2 Q. So you understand that he was being
3 holding the water bottle?                                3 mocked, or you are attesting that he was being
4 A. I would assume that is Charlie still.                 4 mocked by the Black Hebrew Israelites, right? Do
5 Q. Still Charlie? And it looks like that                 5 you think he was mocking them --
6 water bottle was blue?                                   6 A. No.
7 A. Correct.                                              7 Q. -- by doing that?
8 Q. Do you know what it says?                             8 A. No, not at all.
9 A. I do not.                                             9 Q. He was taunting them by doing that?
10 Q. Does it say Trump on it?                             10 A. I don't think so.
11 A. I think that is my leading guess as to               11 Q. Why?
12 what it said. I honestly, though, can't                 12 A. Well, I think it's pretty clear to me
13 remember.                                               13 that they had already -- the Black Hebrew
14       MR. SIEGEL: Okay. Can we just pull up             14 Israelites, you can clearly hear them already
15 Exhibit 4 for a second?                                 15 label Charlie many insults and epithets. I
16       MS. MEEK: The paper copy or up there?             16 don't -- I don't know how he would -- could be
17       MR. SIEGEL: We could put it up there,             17 mocking them when they are going after him.
18 actually, the front, the photo.                         18 Q. Well, is it possible that he was kind of
19 BY MR. SIEGEL:                                          19 responding in kind?
20 Q. Nick, I will represent to you this is                20       MR. McMURTRY: Objection.
21 just a photo I pulled off the Internet. It's not        21 A. I don't think so, because his reaction
22 a photo of the event. But do you think that that        22 is on a way more toned-down level than what he is
23 is what that water bottle looked like?                  23 being presented with.
24       MR. McMURTRY: Objection. Go ahead.                24 BY MR. SIEGEL:
25 A. I would say it's very possible. And I                25 Q. Do you think somebody seeing this and
                                                      62                                                          64
1 would assume that's probably what it is.                 1 seeing Charlie holding up a Trump water bottle to
2 BY MR. SIEGEL:                                           2 the Black Hebrew Israelites, that he was mocking
3 Q. Okay. So let's go back.                               3 them by doing that?
4       What do you think Billy was trying to              4        MR. McMURTRY: Objection. Go ahead.
5 communicate?                                             5 A. I guess they could. To me, a water
6       Stop and pause. And I will rephrase the            6 bottle doesn't seem that provocative. So if
7 question when she gets the frame up so you can           7 someone wanted to -- wanted to look at it that
8 view it.                                                 8 way, they could.
9       What do you think Billy was trying to              9        MR. SIEGEL: Okay. Let's go to 49
10 communicate to the Black Hebrew Israelites by           10 minutes and 29 seconds.
11 holding the Trump water bottle up?                      11       Did you say when you stopped that,
12      MR. McMURTRY: Objection. Go                        12 Jessica, just for the record, before?
13 ahead if --                                             13       MS. MEEK: I stopped at 49 minutes and
14      MR. SIEGEL: I will rephrase it.                    14 39 seconds before.
15 BY MR. SIEGEL:                                          15       (Thereupon, a video recording of Exhibit
16 Q. What do you think Billy was trying to                16 3 was played.)
17 communicate to the Black Hebrew Israelites by           17       MR. SIEGEL: Okay.
18 holding that water bottle up?                           18       MS. MEEK: Did you say jumping to 49
19      MR. McMURTRY: Objection. Go ahead.                 19 minutes and 29 seconds now?
20 A. I think Charlie was already being mocked             20       MR. SIEGEL: Yes. It was 44:39 before,
21 for wearing the Make America Great Again hat. So        21 right?
22 he was also saying, hey, I have a water bottle,         22       MS. MEEK: Yes.
23 too, you know. I don't know. He was showing             23       MR. SIEGEL: Okay. Actually, one last
24 them that he had a water bottle, too. I don't           24 question when we get there.
25 know what he was trying to do with it.                  25 BY MR. SIEGEL:
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 18 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2131       INFORMATION
                                        Transcript of Nicholas Sandmann                                 17 (65 to 68)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       65                                                         67
1 Q. The -- that part with Billy Morrison,                  1 Q. Okay. Now, I know, and we are not going
2 did you see that at the time?                             2 to watch it all because we would be here for a
3 A. I might -- I may have. I can't recall                  3 week, but you have reviewed this whole video, I
4 fully. I think so.                                        4 take it, the Banyamyan video?
5        MR. SIEGEL: Okay.                                  5 A. I don't think I have watched every
6        MS. MEEK: I'm starting Exhibit 3 at 49             6 single minute of it, no.
7 minutes and 29 seconds.                                   7 Q. Okay. Have you watched a fair amount of
8        (Thereupon, a video recording of Exhibit           8 it?
9 3 was played.)                                            9 A. I can't say.
10       MS. MEEK: I just paused Exhibit 3 at 49            10 Q. Okay. Well, you mentioned before that,
11 minutes and 49 seconds.                                  11 once you reviewed the video, you saw that the
12 BY MR. SIEGEL:                                           12 Black Hebrew Israelites had yelled insults at
13 Q. Okay. So you heard the Black Hebrew                   13 Native Americans at different points?
14 Israelites man saying -- calling someone an Uncle        14 A. Correct.
15 Tom and Super Sambo. Who did understand that to          15 Q. Okay. Did you see either from the video
16 be directed at?                                          16 or at the time them making any negative
17 A. I mean, I can't really tell who.                      17 references to Jews?
18 Q. Did you understand it to be directed at               18 A. Yes.
19 one or more persons who were African American?           19 Q. How about to Catholics?
20 A. I really can't say. I have no idea who                20 A. Yes.
21 they are talking to, at least from this video.           21 Q. Okay. And does it appear to you also to
22 Q. Do you know what the phrase Uncle Tom                 22 some other African Americans?
23 means?                                                   23 A. Yes.
24 A. I do.                                                 24 Q. Would it be fair to say that they were
25 Q. What's your understanding of it?                      25 equal opportunity haters?
                                                       66                                                         68
1 A. It's based on the book Uncle Tom's                     1 A. I would agree.
2 Cabin, which basically -- or my understanding is          2        MR. SIEGEL: All right. Now, let's --
3 African Americans view it as another African              3 let's keep playing.
4 American selling out or whatever to rich white            4        (Thereupon, a video recording from
5 slave owners, however, you know, how the book             5 Exhibit 3 was played.)
6 goes.                                                     6        MS. MEEK: I just paused Exhibit 3 at 50
7 Q. Okay. And so when an African                           7 minutes and 2 seconds.
8 American -- what do you understand that term to           8        MR. SIEGEL: Can you repeat that?
9 mean when it's used today by an African American?         9        MS. MEEK: Yes. 50 minutes and 3
10 A. I would say my understanding is that an               10 seconds.
11 African American labels another African American         11 BY MR. SIEGEL:
12 an Uncle Tom, that means that they are not               12 Q. Okay. So first you heard him use the
13 authentically African American or not of the same        13 word pepper boys. Do you have any understanding
14 standard. It's a designation that ends up                14 of what that meant?
15 meaning that you are lesser in some way.                 15 A. I do not.
16 Q. And he spoke the words Super Sambo. Do                16 Q. Do you have an understanding today of
17 you have any understanding of what Sambo means?          17 what it is?
18 A. I do not.                                             18 A. No.
19 Q. So based on what he was saying, does it               19 Q. Okay. Given the context, do you have an
20 appear to you that he was yelling at some person         20 educated guess about what it is?
21 or persons who were African American?                    21 A. I mean, I will assume it's pretty
22 A. I think that's possible. But there's                  22 derogatory, but I don't even know if I could
23 also this skateboarder guy in the middle of the          23 guess what it means.
24 video who I -- if I recall correctly, was not            24 Q. Okay. So let's just go back. I'm just
25 African American.                                        25 going to ask you, Nick, that those are some
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 19 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2132       INFORMATION
                                       Transcript of Nicholas Sandmann                                   18 (69 to 72)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       69                                                          71
1 Covington students, correct?                              1 end.
2 A. Correct.                                               2         MR. SIEGEL: Oh, you think -- well,
3 Q. So starting to sort of where we see the                3 let's just go through it real quick. Go a little
4 boys, I'm just going to ask if you can identify           4 bit -- yeah, keep going.
5 any of those people. We're just going to sort of          5 BY MR. SIEGEL:
6 go through it frame by frame to --                        6 Q. So the fellow on the bicycle, do you
7 A. Okay.                                                  7 recognize who that is?
8 Q. We are now at 50 minutes and 2 seconds.                8 A. I can -- I do not know.
9 A. On the -- on the left, looking at the                  9 Q. You don't know if he's from Covington?
10 video on the left side, where the mouse is               10 A. No, I can't --
11 closest to, that looks like Patrick Kennedy.             11        MR. SIEGEL: Okay. Let's go ahead. Go
12 Q. So just so it's clear, he's -- it looks               12 back to 50 minutes and 2 seconds and play a
13 like he is wearing a MAGA hat and he is wearing a        13 little bit more.
14 sweatshirt that sort of has a red stripe going           14        (Thereupon, a video recording of Exhibit
15 down the middle?                                         15 3 was played.)
16 A. Yes.                                                  16        MS. MEEK: I just -- I just paused
17       MR. SIEGEL: Okay.                                  17 Exhibit 3 at 50 minutes and 14 seconds.
18 A. Behind him, also wearing a MAGA hat,                  18 BY MR. SIEGEL:
19 looks like Cammeron Martin.                              19 Q. So did you see any of this when you were
20       In front of him with the animal hat and            20 there?
21 the March For Life shirt looks like Peter Rice.          21 A. I think I did.
22       And to the right of Peter in the brown             22 Q. Okay. Did you hear someone in the
23 beanie looks like Liam Gray.                             23 background that says build that wall?
24       And I -- those are the only ones I could           24 A. Yes.
25 put names to.                                            25 Q. And then the Black Hebrew Israelite man
                                                       70                                                          72
1 Q. Okay. We are just going to move it to                  1 who was speaking sort of talking about it?
2 the right.                                                2 A. I -- from my hearing, it seemed as if
3 A. Okay. To the right of Liam Gray with                   3 one of the Black Hebrew Israelite men was saying
4 the MAGA hat, or what looks like one on                   4 build that wall in kind of a mocking form. I
5 backwards, is -- his last name is Summe. His              5 don't -- I don't think that was one of us that
6 first name I'm blanking on right now.                     6 said it.
7 Q. Is Sunny -- say that --                                7 Q. Okay. Can you tell for sure who said
8 A. Summe.                                                 8 it?
9 Q. Can you spell it?                                      9 A. Perhaps, if you replay it, I think I
10 A. S-U-M-M-E.                                            10 would be able to hear if that was a student or
11       MR. SIEGEL: Okay.                                  11 not, but --
12   A.   And his older brother, too. I don't               12        MR. SIEGEL: Okay. Go ahead.
13 know his name, his older brother's name. I think         13        MS. MEEK: Going back to 50 minutes and
14 it's his name.                                           14 2 seconds.
15 Q. Okay. And the fellow in the blue                      15        (Thereupon, a video recording of Exhibit
16 sweatshirt, sort of pointing to his hat, I think?        16 3 was played.)
17 A. I think that is Charlie Regan                         17 A. It sounds to me like I can hear one of
18 (phonetically spelled), my best friend. I do not         18 the Hebrew Israelites saying build that wall,
19 know who that person is.                                 19 question mark, why don't you build the damn wall,
20 Q. You are talking about the person -- it                20 question mark, is a snippet I catch from that at
21 looks like a blue and white ski hat?                     21 least.
22 A. Yes.                                                  22        MR. SIEGEL: Okay. Let's go back again.
23 Q. Okay. Going to the right.                             23 I will  tell you when to stop it. Okay?
24       MR. SIEGEL: Can you frame it, Jessie?              24        MS. MEEK: Okay. Going back to 50
25       MS. MEEK: I think that might be the                25 minutes and 2 seconds on Exhibit 3.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 20 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2133       INFORMATION
                                        Transcript of Nicholas Sandmann                                  19 (73 to 76)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       73                                                          75
1 BY MR. SIEGEL:                                            1 A. No.
2 Q. So you hear somebody who says it, right?               2 Q. No?
3 A. Right.                                                 3 A. No.
4 Q. And then he continues to talk.                         4 Q. Or democrats?
5        So when it's said that first time, could           5 A. No.
6 you tell who said it?                                     6 Q. What do you disagree with him about?
7 A. There, I can't tell who said it.                       7        MR. McMURTRY: I'm sorry. I lost track.
8        MR. SIEGEL: Okay. Let's continue to                8  You  said do you agree with anything he said, and
9 play it through.                                          9 then you said what do you disagree with him
10       (Thereupon, a video recording from                 10 about.
11 Exhibit 3 was played.)                                   11       MR. SIEGEL: No, no, no.
12 BY MR. SIEGEL:                                           12       MR. McMURTRY: He hasn't said that he
13 Q. So, after this sort of point, the                     13 did disagree with anything. So I just lost
14 students all walk away, right?                           14 track.
15 A. Right.                                                15       MR. SIEGEL: All right. Well, let's do
16 Q. If you did see this at the time, do you               16 it again.
17 remember where you were standing at this point?          17       MR. McMURTRY: Okay.
18 Because I don't see you in the group. Although,          18       MR. SIEGEL: Because my last question
19 that doesn't mean you weren't there.                     19 was confusing.
20 A. I -- so from where they are facing                    20 BY MR. SIEGEL:
21 outward, I would have been behind them and to the        21 Q. You heard him say something about Bill
22 right on the steps. I wasn't in that group,              22 Clinton, right?
23 looking at them and their posters. So . . .              23 A. Right. I guess the people claim that he
24 Q. Okay. Okay. So now we will jump to a                  24 was the first black president, is how they said.
25 point where I think you do start to be visible.          25 Q. Yeah, but that's not what I'm asking you
                                                       74                                                          76
1        MS. MEEK: For the record, a moment ago             1 about.
2 I stopped Exhibit 3 at 50 minutes and 53 seconds.         2        Let's go ahead and listen to it again.
3 Now I'm going to 53 minutes and 29 seconds.               3 Okay?
4        (Thereupon, a video recording of Exhibit           4 A. Okay.
5 3 was played.)                                            5 Q. And I want you to -- particularly the
6 BY MR. SIEGEL:                                            6 point about -- when he talks about blacks and
7 Q. Okay. So we have stopped at 53 minutes                 7 Hispanics being locked up.
8 and 34 seconds.                                           8 A. Okay.
9        Is -- is that you in the kind of middle            9        MS. MEEK: I'm starting at 58 minutes
10 of the screen?                                           10 and 29 seconds in Exhibit 3.
11 A. Off to the left.                                      11       (Thereupon, a video recording from
12 Q. Slightly off to the left?                             12 Exhibit 3 was played.)
13 A. Yeah, with the white shoes. I think                   13       MR. McMURTRY: Okay. I have a question
14 that's me.                                               14 before you ask your question. I just want to
15       MR. SIEGEL: Okay. Let's jump to 58:29.             15 make sure we are all dealing with the same
16       (Thereupon, a video recording of Exhibit           16 terminology.
17 3 was played.)                                           17       So he said that there were more blacks
18       MS. MEEK: I just paused Exhibit 3 at 59            18 and Hispanics locked up during the Clinton
19 minutes and 9 seconds.                                   19 administration?
20 BY MR. SIEGEL:                                           20       MR. SIEGEL: Uh-huh.
21 Q. Okay. Did you hear that at the time?                  21       MR. McMURTRY: Is that what -- okay.
22 A. I would have heard them yelling. I                    22       MR. SIEGEL: Yeah.
23 don't know if I heard it word for word.                  23       MR. McMURTRY: I could barely hear it.
24 Q. Okay. Do you agree with anything he                   24 So if we agree that that is what we heard, go
25 said there about Bill Clinton?                           25 ahead.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 21 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2134       INFORMATION
                                       Transcript of Nicholas Sandmann                                 20 (77 to 80)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                      77                                                          79
1 BY MR. SIEGEL:                                           1        MS. MEEK: We just paused 1 hour, 7
2 Q. Yeah. And -- so did you -- I will ask                 2  minutes  and 57 seconds in Exhibit 3.
3 you again. Did you -- did you agree with                 3 BY MR. SIEGEL:
4 anything that he said in reference to Bill               4 Q. Okay. So you heard in this he is
5 Clinton?                                                 5 calling to the group and calling them incest
6 A. I -- honestly, it's not my place to                   6 babies?
7 agree or disagree. I don't know the statistics,          7 A. Correct.
8 data. So he could be right. He could be wrong.           8 Q. Trailer park babies?
9 Q. Okay. What do you understand him to be                9 A. Correct.
10 criticizing --                                          10 Q. And without playing the whole video,
11 A. I think he's --                                      11 would it be fair to say that you already heard at
12 Q. -- democrats for?                                    12 different points he called you crackers, pool
13 A. He's criticizing democrats and other                 13 shooters, right?
14 African Americans for liking Bill Clinton.              14 A. Right.
15 Because according to him, he's locked up more           15 Q. Okay. How did the things that they were
16 Hispanics and African American citizens than any        16 saying make you feel?
17 other president.                                        17 A. I mean, I was upset by it. It -- I was
18 Q. Okay. And is that a criticism you -- of              18 kind of -- I mean, I was just -- I was upset,
19 Bill Clinton that you agree with?                       19 confused and a little worried at why they were
20       MR. McMURTRY: Objection. Go ahead.                20 spending so much time and energy insulting us.
21 A. Again, I don't know whether he did or he             21 It didn't make a whole lot of sense.
22 didn't. So I don't know.                                22       As you can see, we are kind of -- there
23 BY MR. SIEGEL:                                          23 was like 20 feet of space now in between us and
24 Q. Okay. Would it be fair to say that the               24 them, and they are still focused on yelling at
25 Black Hebrew Israelite man, he didn't limit his         25 us.
                                                      78                                                          80
1 invective to republicans?                                1 Q. What were you a little worried about?
2 A. Correct. I would say he mainly focused                2 A. Well, it didn't seem particularly
3 on republicans. But as the case here, not only           3 friendly. And talking about how Washington was a
4 republicans.                                             4 culture shock, I had never seen a group of adults
5        MR. SIEGEL: Okay. Let's go to the                 5 get so angry at kids or whatever, which kind of
6  next, 51 minutes and 21 seconds.                        6 felt not -- not okay to me. And that, you know,
7        (Thereupon, a video recording from                7 this is something I hadn't experienced before.
8 Exhibit 3 was played.)                                   8 Q. Okay. I will show you later, but you
9        MR. SIEGEL: I think you may just --               9 said to Savannah Guthrie that you felt
10 yeah, go forward a little bit. Maybe the other          10 threatened. How so? Is that -- is that right?
11 way. Go back a little bit.                              11 A. Yes. I felt threatened for the reason I
12 BY MR. SIEGEL:                                          12 was describing, in that I had never seen adults
13 Q. Okay. So that -- pointing out the white              13 so angry at a group of kids, especially since I
14 sneakers, that is a good reference point. You           14 hadn't -- really hadn't done anything to them.
15 see where the cursor is pointing. Is that you           15 Q. And I think you said in your statement
16 standing on the stairs?                                 16 that they were taunting. Did you feel like they
17 A. I'm pretty sure that's me.                           17 were taunting you?
18       MR. SIEGEL: Okay. Let's go to 1 minute            18 A. I think so.
19 and 7 seconds -- I'm sorry -- 1 hour and 7              19 Q. What do you -- what do you mean? How
20 minutes and 44 seconds.                                 20 so?
21       MS. MEEK: For the record, we just                 21 A. Well, my impression of them was that --
22 paused at 1 minute and 23 seconds, where                22 and when I found out that they had been harassing
23 Mr. Sandmann pointed out where he was standing.         23 other groups as well, that they were taunting the
24       (Thereupon, a video recording from                24 Native Americans, us, anyone that would come up
25 Exhibit 3 was played.)                                  25 to them, to try and get a reaction or something.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 22 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2135       INFORMATION
                                     Transcript of Nicholas Sandmann                                    21 (81 to 84)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       81                                                         83
1 Because they kind of thrive off controversy, and          1        MS. MEEK: I just paused Exhibit 3 at 1
2 they would be saying things that most people              2  hour,  8 minutes and 19 seconds.
3 don't agree with.                                         3        MR. SIEGEL: Okay. Let's go back to
4 Q. I mean, they said a lot of things about                4 1:08:05.
5 Trump, right?                                             5        (Thereupon, a video recording of Exhibit
6 A. Right.                                                 6 3 was played.)
7 Q. Fair to say, negative things about                     7 BY MR. SIEGEL:
8 Trump, right?                                             8 Q. So here he says: When was it great?
9 A. Right.                                                 9 You hear something from the crowd, and he says:
10 Q. And you mentioned before you thought                  10 Exactly.
11 they were mocking Billy Bart when they talking           11 A. Uh-huh.
12 about Trump. Did you feel like they were mocking         12 Q. Could you tell what was being said from
13 the group when they talked about that?                   13 the crowd?
14 A. I don't know if -- when they were                     14 A. No.
15 talking about Trump, I don't -- I -- yes, they           15 Q. Does it sound like to you that someone
16 would have been mocking us for wearing his stuff,        16 used the word lynchings?
17 and they claimed that we were supporting it,             17 A. No, not at all.
18 blah, blah, blah, epithets.                              18       MR. SIEGEL: Listen to it again.
19 Q. Did you think that any of the things                  19       (Thereupon, a video recording from
20 that the Black Hebrew Israelites were saying were        20 Exhibit  3 was played.)
21 racist?                                                  21 BY MR. SIEGEL:
22 A. Yes.                                                  22 Q. Okay. Can you tell what's being said?
23 Q. How so?                                               23 A. That's what it sounds like to me, but I
24 A. They called white people crackers. They               24 don't -- I can't say if these students right
25 called the African American student with us Uncle        25 there on the end that are dressed mostly in all
                                                       82                                                         84
1 Tom and a sellout for being around us. They told          1 black or whatever, not like the students on the
2 the African American student that we were -- like         2 left side are Cov Cath students.
3 us as white people were going to harvest his              3        MR. SIEGEL: Okay. Let's play it one
4 organs and blah, blah, blah, which seemed really          4 more time.
5 racist to me.                                             5        (Thereupon, a video recording from
6 Q. Why did you think that calling him an                  6  Exhibit 3 was played.)
7 Uncle Tom was racist?                                     7 BY MR. SIEGEL:
8 A. Calling the student with us an Uncle                   8 Q. So after he says that, where you say
9 Tom?                                                      9 sounds like it may be lynching, do you hear
10 Q. Yes. Yes.                                             10 people laughing?
11 A. Because, as we talked about earlier, my               11 A. Yes.
12 understanding was it was a derogatory term. And          12 Q. Can you tell whether the Cov Cath --
13 to me, what I understood was that the Hebrew             13 some of the people laughing were Cov Cath
14 Israelites were basically calling him less of an         14 students?
15 African American than they were.                         15 A. I cannot.
16        MR. SIEGEL: Okay. Let's go to 1                   16 Q. Do you think it's possible?
17 minute, 7 minutes and 57 seconds.                        17 A. It could be. I mean, I -- these
18        Wait a second. So we are going to play            18 students I know are Cov Cath. I see students I
19 this through and then I'm going to go back and           19 don't know, and I hear laughing. But I mean from
20 ask you a couple specific questions. But I want          20 this angle, I can't -- I can't tell anything.
21 you to watch it through, and then we will go back        21 Q. Okay. Was it appropriate to laugh at
22 a little bit. Okay?                                      22 that moment in your opinion?
23        THE WITNESS: Okay.                                23       MR. McMURTRY: Objection. Go ahead.
24        (Thereupon, a video recording of Exhibit          24 A. I don't agree with it. I wouldn't have
25 3 was played.)                                           25 laughed.
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                      CONTAINS CONFIDENTIAL
                                     2136       INFORMATION
                                        Transcript of Nicholas Sandmann                                22 (85 to 88)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       85                                                          87
1 BY MR. SIEGEL:                                            1 A. I mean --
2 Q. Why?                                                   2         MR. McMURTRY: Within his hearing or
3       MR. McMURTRY: Objection. Go ahead.                  3 maybe somebody that he couldn't hear might have
4 A. Because I think that it's not                          4 said it.
5 appropriate to tell an African American that              5         MR. SIEGEL: Right, that's what I mean.
6 lynchings were great, even as a joke, and then            6 BY MR. SIEGEL:
7 laugh about it.                                           7 Q. I understand you didn't hear it. And
8       MR. SIEGEL: Okay. Let's restart it                  8 I'm not asking you for certain whether you heard
9 at right where you are.                                   9 it or not. But I'm just saying -- okay. You
10      (Thereupon, a video recording from                  10 can't say for certain whether anyone in the crowd
11 Exhibit 3 was played.)                                   11 said that?
12 BY MR. SIEGEL:                                           12 A. Right. I can't say whether that did or
13 Q. You hear somebody that says, right,                   13 didn't happen.
14 since you had us in slavery, you bastards, right?        14 Q. Okay. Do you think if someone did say
15 A. Yes.                                                  15 that, that would have been an appropriate thing
16 Q. And somebody -- you hear somebody                     16 to say?
17 saying, that's right?                                    17 A. No, I do not.
18 A. Right.                                                18 Q. Okay. And why is that?
19 Q. Do you know who that was?                             19 A. Because based off the history of African
20 A. No. And from this angle, there's even                 20 Americans in this country, at one point they
21 more people on this right side that I don't know         21 weren't allowed to learn how to read. So to ask
22 and, frankly, don't look like they are a part of         22 them that would be pretty insensitive.
23 our group.                                               23 Q. Did you ever -- strike that. I will
24 Q. Okay. Would it be fair to say that                    24 rephrase.
25 someone could perceive that exchange as                  25        How did the group come to do what you
                                                       86                                                          88
1 responding to the insults of the B -- BHI with            1 call the school spirit cheers?
2 racial insult?                                            2 A. I -- much like the exhibit before, I saw
3 A. Yeah.                                                  3 a couple students go over to the chaperones and
4 Q. Okay. Can you say for sure whether you                 4 the teachers and ask them if we could do
5 heard every single thing that every student said          5 something to kind of drown out the hateful
6 throughout the whole incident?                            6 remarks that were, you know, being yelled at us.
7        MR. McMURTRY: Objection.                           7        MR. SIEGEL: Okay.
8 A. I would assume that there had to be                    8 A. And in -- and in addition to that, I
9 things I missed.                                          9 found out that the year before, they always do
10 BY MR. SIEGEL:                                           10 their school spirit chants with the congressman
11 Q. Okay. And can you say for sure whether                11 for our district on the steps. So I think it was
12 every single thing every student said from               12 somewhat of a tradition but also useful.
13 anywhere in the crowd can be heard on any video?         13 Q. Now, when that was done with the
14 A. That is more of a difficult question                  14 congressman, right, Congressman Matthews?
15 because there were a lot of camera angles                15 A. Yes.
16 dispensed throughout the crowd. But I would              16 Q. Was that done on the steps of the
17 certainly say it's possible that there could have        17 memorial or the steps of the Capitol?
18 been things said that weren't picked up on a             18 A. I'm not sure.
19 camera.                                                  19 Q. Okay. You said you saw it -- was it the
20 Q. Okay. Did you hear any student say to                 20 last exhibit where you saw the kids go over to
21 any of the Black Hebrew Israelites: Can you even         21 the chaperone?
22 read?                                                    22 A. No. No. I -- I witnessed that myself.
23 A. No.                                                   23       MR. SIEGEL: Oh, okay.
24 Q. Can you say for certain whether someone               24 A. And in a previous exhibit, a student
25 said that or not?                                        25 testified or whatever the same thing that I
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                      CONTAINS CONFIDENTIAL
                                     2137       INFORMATION
                                        Transcript of Nicholas Sandmann                               23 (89 to 92)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       89                                                          91
1 witnessed that we wanted to drown them out.               1 Q. Okay. Or you said that you wanted to
2 Q. Oh, okay. So I just want to be clear                   2 drown out their hateful --
3 here. You didn't mean one of the things -- one            3 A. Correct.
4 of the video clips we just saw?                           4 Q. Why did you want to drown them out?
5 A. No.                                                    5 A. Well, certainly I think I could speak
6 Q. That is not what you were referring to?                6 for a lot of other kids that had never seen this
7 A. No.                                                    7 either. And when you're in an environment that
8 Q. Did you talk to any of the chaperones                  8 you're unfamiliar with and you keep getting
9 about that?                                               9 berated, you know, things become really uneasy,
10 A. I personally did not ask about the                    10 and you don't know what to do and you don't feel,
11 spirit chants.                                           11 you know, as safe as you are in your community,
12 Q. So how did you come to -- how did it --               12 where none of this had happened. So we chose to
13 strike that.                                             13 do something that was familiar to us and we
14       How did you come to learn that that's              14 thought would get them to stop yelling insults at
15 what was going to happen?                                15 us.
16 A. Because after the seniors who had gotten              16 Q. Okay. Now, you already testified that
17 permission, I think they went down in front of           17 you saw, at least once before and maybe more than
18 everyone, just kind of yelled at everyone, like          18 that, that when the Black Hebrew Israelites had
19 this is what -- you know, get in formation or            19 sort of lodged insults or epithets at a group of
20 whatever they said, and kind of notified everyone        20 students, they walked away, right?
21 that we were going to do that.                           21 A. Right.
22 Q. Do you know who any of the students who               22 Q. And after they walked away, typically
23 asked for permission were?                               23 the Black Hebrew Israelites would turn their
24 A. No.                                                   24 attention to something -- to somewhere else for a
25 Q. Okay. Do you know Mr. Kleier? Was he                  25 while, right?
                                                       90                                                          92
1 one of the teachers or chaperones?                        1        MR. McMURTRY: Objection. Go ahead.
2 A. Yes.                                                   2 A. Right.
3 Q. Was he one of the people who gave                      3 BY MR. SIEGEL:
4 permission, to your knowledge?                            4 Q. So why not just move to somewhere else?
5 A. I don't think -- he -- I think he                      5 A. Well, at that point we had already moved
6 might -- there is a chance that he might have             6 away from where we initially were. There is
7 been one of the ones they asked, but he wasn't            7 now -- from like closer to where they were when
8 the main person that they asked.                          8 they had their posters up.
9 Q. Who was the main person?                               9        And there is now 20, 30 or some kids
10 A. Matthew Hansman.                                      10 maybe, and 40 feet in between us. I mean, we
11 Q. Matthew Hansman. Okay. So who is                      11 thought we had, I guess, enough distance between
12 Matthew Hansman?                                         12 us and them to where they would leave us alone.
13 A. He was a teacher or is a teacher at Cov               13       Now, why we didn't move somewhere else,
14 Cath.                                                    14 I would assume it's because that is where we were
15 Q. And what does he teach?                               15 supposed to be to leave, and I don't -- I also
16 A. Science, I think, chemistry.                          16 think it wasn't up to like the kids on the trip
17 Q. And who is Mr. Kleier, I think his name               17 whether or not we could go somewhere else.
18 is?                                                      18 Q. Well, I think you said before, there
19 A. He's a religion teacher at Cov Cath.                  19 wasn't like a particular point in the memorial
20 Q. In the statement that you issued a                    20 area that you were instructed to be at, right?
21 couple days later, you said part of the purpose          21 A. Right. Correct. We were, at the
22 of the cheers was, quote, to counter the hateful         22 closest point, in the -- on the memorial itself
23 things that were being shouted at our group,             23 to where the busses were going to be.
24 right?                                                   24 Q. So my question is, why didn't you just
25 A. Right.                                                25 move fully away from the Black Hebrew Israelites
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 25 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2138       INFORMATION
                                     Transcript of Nicholas Sandmann                                   24 (93 to 96)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       93                                                          95
1 so you are out of earshot, they are out of                1 A. I think they were pretty obvious. At
2 earshot?                                                  2 one point, we said, we've got spirit; yes, we do;
3         MR. McMURTRY: Are you talking about all           3 we've got spirit, how about you?
4 of the students or Nick himself?                          4 Q. Okay. And do you assume that everybody
5         MR. SIEGEL: That is a good question.              5 at the Lincoln Memorial would know that the sumo
6 That's fair. That's fair.                                 6 cheer was a high school spirit chant?
7 BY MR. SIEGEL:                                            7 A. I mean, to me, we had done other ones,
8 Q. So let's stick to Nick yourself.                       8 and it seemed commonly associated with sporting
9 A. Personally, I -- I wasn't going to go                  9 events. At least in my own estimation, I thought
10 stand over somewhere by myself. I mean, my --            10 it was kind of clear that we were -- we weren't
11 still, my biggest concern at that point was kind         11 being very aggressive.
12 of making sure I got back home. And so, I mean,          12 Q. Do you assume that everybody at the
13 my thought was, I've got my teachers here, or            13 Lincoln Memorial area that day had been to sports
14 whatever, and I'm just going to stand by them and        14 games and heard those cheers?
15 wait for the bus to come.                                15 A. I mean, the spirit one is basic, and I
16 Q. Okay. Do you have any understanding why               16 would assume most people go to -- I mean, sports
17 kids or others in the group didn't say, hey,             17 are almost like -- how do you avoid them, you
18 let's just move out of the way?                          18 know? Like, high school games are very common.
19 A. I have no idea. The group as a whole,                 19       I mean, looking back on it now, I guess
20 which obviously I had no part in kind of picking         20 some   people might not be familiar with some of
21 where we moved, but I don't know why there wasn't        21 the cheers we did. But I thought one or two of
22 a decision made to move somewhere else.                  22 them would be common or recognizable.
23 Q. Do you feel like the group succeeded in               23 Q. Now, that is true in your life
24 drowning out the comments of the BHI?                    24 experience. Do you think it's true in anyone's
25 A. I think so, up until the point of Nathan              25 life experience?
                                                       94                                                          96
1 Phillips coming over. I would say that they were          1        MR. McMURTRY: To see sports?
2 a little puzzled. They didn't expect school               2 BY MR. SIEGEL:
3 spirit chants to be the response that they would          3 Q. To -- to -- to recognize those cheers as
4 get. I think they are used -- usually used to             4 high school spirit cheers.
5 dealing with people that are mad at them for what         5        MR. McMURTRY: Okay. I don't --
6 they are saying or aggressive, and we were kind           6  BY  MR.   SIEGEL:
7 of doing our own thing.                                   7 Q. To recognize what you guys were doing as
8 Q. And I'm just going to use the term BHI                 8 high school spirit cheers.
9 from now on for --                                        9 A. I -- I still believe that a bunch of
10 A. Okay.                                                 10 high school students doing these organized
11 Q. Would it be fair to say that trying to                11 recitations of things would come across pretty
12 counter a group of people by drowning them out is        12 obvious as something rehearsed that is a part of
13 not a friendly gesture towards them?                     13 the school.
14 A. I think so. But at that point, I don't                14 Q. Okay. And so if somebody says -- were
15 think there was a chance of us being friends with        15 to say, I had no idea that that's what those
16 them after what they had said about us.                  16 were, would you say they were lying?
17 Q. Okay. Could that be perceived as a                    17       MR. McMURTRY: Objection. Go ahead.
18 hostile gesture?                                         18 A. I wouldn't accuse them of lying, but I
19 A. If -- if you want to say that doing high              19 would accuse them of taking something out of
20 school spirit chants is hostile, then that is            20 context, if you were to take a rehearsed action
21 your prerogative, I guess, anyone who would say          21 and call that some -- some war cry aggressive
22 that.                                                    22 kind of chant.
23 Q. Did you assume that everybody around the              23 BY MR. SIEGEL:
24 Lincoln Memorial knew that those were high school        24 Q. Okay. If someone were to perceive it as
25 spirit chants?                                           25 you just described it, would they not be entitled
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 26 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2139       INFORMATION
                                     Transcript of Nicholas Sandmann                                  25 (97 to 100)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       97                                                          99
1 to their opinion?                                         1 about that, would you agree that someone else
2 A. Yes, they are entitled. Everyone is                    2 watching this could also worry that the situation
3 entitled to their opinion. I think it's                   3 could escalate into a physical altercation
4 extremely hyperbolic, though.                             4 between BHI and the students?
5 Q. I'm just curious, Nick. What percentage                5 A. Yes.
6 of Americans do you think have attended a high            6 Q. Why did you think you would be
7 school football event?                                    7 outmatched when there were four or five of them
8 A. I have no idea.                                        8 and dozens of you?
9 Q. You have no idea?                                      9        MR. McMURTRY: Objection. I think there
10 A. I have no idea. I would assume that                   10 were more than four or five. But for however
11 most -- almost everyone has been to high school.         11 many there were.
12 And if they have not been to one, are at least           12 BY MR. SIEGEL:
13 aware that they exist.                                   13 Q. Were there?
14 Q. Okay. And they would -- and do you                    14 A. I think they did have one guy that was
15 believe that almost every American would identify        15 kind of back and forth with the camera. I would
16 what you guys did at the Lincoln Memorial as a           16 total it at about six.
17 high school spirit cheer?                                17 Q. Okay. Well, we will call it six.
18 A. Oh, I don't know how they would perceive              18 A. Okay.
19 it. But, I mean, to me, it seems pretty obvious          19 Q. It is what it is. But let's just call
20 that what we were doing was something that we            20 it six.
21 didn't just randomly come up with. Because we            21       So there were six of them, dozens of
22 did several of them. And we were all on the same         22 you. Why did you think that you would be
23 page when we did them. So to me, when you have a         23 outmatched?
24 bunch of kids doing something the exact same way         24 A. Because at this point, I was 16 and like
25 and it's not something on a small scale, there           25 135 or 140 pounds. And these guys kind of --
                                                       98                                                          100
1 are, you know, over a hundred of us and we are            1 they -- I mean, they looked strong to me, at
2 all able to do it the same way, to me it looks            2 least in my view of them. And I just -- I don't
3 like, oh, that high school obviously practices            3 know. I kind of took my feeling as, you know,
4 and does something like that, you know, more than         4 the feeling for how it would probably be for the
5 just once a year at the March For Life.                   5 rest of us if -- if these guys were -- were not
6        MR. SIEGEL: Let's look at the -- I'm               6 happy and decided to start something.
7 going to show you a clip from the Savannah                7        I think even the most physically fit
8 Guthrie interview that you did.                           8 kids in our group or whatever, and those were 18
9        MS. MEEK: This is Exhibit 5. I'm                   9 and 19 years old -- I don't know how old these
10 starting at 8 minutes and 29 seconds.                    10 guys were. But they definitely developed and
11       (Thereupon, a video recording from                 11 matured, you know, because they have 20 years on
12 Exhibit 5 was played.)                                   12 us probably.
13       MS. MEEK: I just stopped Exhibit 5 at 9            13 Q. Okay. It would be fair to say that
14 minutes and 32 seconds.                                  14 you -- there were some adult-size teenagers among
15 BY MR. SIEGEL:                                           15 your group, right?
16 Q. What were you worried might happen?                   16 A. I would say so, yes.
17 A. The fact that they seemed very                        17 Q. Do you know were there any football
18 aggressive. And I mean, I had never really ever          18 players there?
19 witnessed a fight in my life, but this seemed            19 A. I don't know.
20 like an environment where one potentially could          20 Q. Okay. In terms of numbers, would it be
21 break out.                                               21 fair to say that you far outmatched them?
22 Q. Okay. When you say a fight, do you mean               22 A. Correct.
23 some kind of physical altercation?                       23 Q. Now, here, essentially, I think you said
24 A. Correct.                                              24 there were over -- you believe over a hundred in
25 Q. Okay. And if -- if you were worried                   25 your group.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 27 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2140       INFORMATION
                                       Transcript of Nicholas Sandmann                                  26 (101 to 104)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       101                                                          103
1        So here you had a group of over a                   1        MR. SIEGEL: Let's take a break.
2  hundred  white teenagers shouting and                     2        THE VIDEOGRAPHER: We are going off the
3 gesticulating at five African American men,                3 record. The time is 11:25 a.m.
4 right?                                                     4        (Thereupon, there was a recess taken at
5        MR. McMURTRY: Six.                                  5 11:25 a.m.)
6        MR. SIEGEL: Six.                                    6        (Thereupon, the proceedings were resumed
7 A. Can you -- can you repeat that?                         7 at 11:38 a.m.)
8        MR. McMURTRY: With weapons. I mean, go              8        THE VIDEOGRAPHER: We are back on the
9 ahead, yeah.                                               9 record. The time is 11:38 a.m.
10 A. Can you repeat that?                                   10 BY MR. SIEGEL:
11 BY MR. SIEGEL:                                            11 Q. Nick, in the Complaint that you filed
12 Q. Sure. So you had a group of over a                     12 against ABC, paragraph 166 alleges, and I will --
13 hundred white teenagers yelling and gesticulating         13 this is a quote, that many people consider the
14 at six African American men?                              14 phrase Making America Great Again and
15 A. Who had started this entire road that we               15 particularly wearing a MAGA hat to be the
16 were on --                                                16 equivalent of a racist statement.
17       MR. McMURTRY: Right.                                17       Do you agree that many people consider
18 A. -- at that point. And were continuing                  18 that to be the case?
19 to respond as we did things that -- we weren't            19 A. Yes.
20 even necessarily chanting at them. I would                20 Q. Okay. Do you think that someone with
21 disagree with that premise that we were shouting          21 that perspective on the MAGA slogan could have
22 at them.                                                  22 perceived the group of white teenagers to be
23 Q. Were you shouting in their direction?                  23 expressing aggression towards the African
24 A. I mean, we were shouting for everyone,                 24 American men?
25 yes.                                                      25 A. If their previous view is that MAGA hats
                                                       102                                                          104
1 Q. And when you did things like the                        1 are racist, then, yes, that seems logical.
2 clenched fist, were you looking at them?                   2 Q. Okay. Let's go to the next exhibit
3 A. Yes, I mean --                                          3 which -- oh, and just for the record, I will
4 Q. So do you think someone watching over a                 4 state that's the same identical allegation that
5 hundred white teenagers sort of shouting in the            5 is in paragraph -- is in paragraph 166 of your
6 direction of the African American men, clenching           6 Complaint against CBS, paragraph 210 against NBC,
7 their fists or otherwise gesticulating in the              7 paragraph 155 against New York Times, paragraph
8 direction of the six African American men, and as          8 165 against Rolling Stone and paragraph 182
9 you say, the six African men were shouting                 9 against Gannett. Okay.
10 insults at the teenagers, do you think somebody           10       Let's go to Exhibit 7, which for the
11 watching that could have perceived that to be a           11 record is video 5 of the video stipulation that
12 dangerous situation that might escalate into              12 the parties entered into.
13 violence?                                                 13       MR. McMURTRY: Are you going by the
14 A. Yes, I did.                                            14 exhibits in order? Because we -- I think we just
15       MR. McMURTRY: We are at an hour.                    15 did 4. We are skipping to 5 now.
16       MR. SIEGEL: One more question.                      16       MR. SIEGEL: Thanks for pointing that
17       MR. McMURTRY: You break when you want               17 out. And please do that again. Because I'm bad
18 to break. I'm just telling you --                         18 at that.
19       MR. SIEGEL: This would be a good                    19       Yeah. We are skipping Exhibit 6.
20 breaking point.                                           20       MR. McMURTRY: Okay.
21 BY MR. SIEGEL:                                            21       MR. SIEGEL: I mean, Exhibit 6 was the
22 Q. Do you think a person of color might                   22 Complaint.
23 have been more likely to perceive the situation           23       MR. McMURTRY: Okay.
24 that way?                                                 24       MR. SIEGEL: I didn't think we really
25 A. I can't speak to that. I don't know.                   25 needed to -- I have that if we needed it, but --
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 28 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2141       INFORMATION
                                        Transcript of Nicholas Sandmann                                  27 (105 to 108)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                      105                                                         107
1 so we will just skip Exhibit 6 and go to Exhibit          1 again.
2 7, which is video 5 of the video stipulation the          2        (Thereupon, a video recording from
3 parties entered into. And we will just start at           3 Exhibit 3 was played.)
4 the beginning.                                            4        MR. SIEGEL: Jessie, why don't you point
5       (Thereupon, a video recording of Exhibit            5 to what we want Nick to be looking at. Right
6 7 was played.)                                            6 there.
7 BY MR. SIEGEL:                                            7        THE WITNESS: Okay.
8 Q. Now, when you go, we've got spirit, how                8        MR. SIEGEL: Okay. And let's play that
9 about you, right, you guys are pointing out?              9 one more time in realtime.
10 Would you agree you are pointing at the BHI?             10       Again, if you could point Nick, before
11 A. Yes.                                                  11 you start, to where he should be focused. Like
12 Q. And at the end of that cheer, do you do               12 right there.
13 a thumbs down, woo?                                      13       THE WITNESS: I've got it.
14 A. Yeah, we boo.                                         14 BY  MR.   SIEGEL:
15 Q. Boo?                                                  15 Q. See it?
16 A. Boo.                                                  16 A. Yeah.
17 Q. Okay. So going thumbs down, and you go                17 Q. You saw it the last time?
18 boo?                                                     18 A. Yeah.
19 A. Yes.                                                  19 Q. Okay. You saw there is a student who
20 Q. So can that reasonably be perceived that              20 takes a water bottle from someone and rolls it
21 you were booing the BHI?                                 21 out?
22 A. Yes.                                                  22 A. Yes.
23 Q. Okay. And couldn't that be perceived as               23 Q. Do you know who was that?
24 a hostile gesture towards them?                          24 A. I can't see.
25 A. I don't know.                                         25 Q. You can't see who it was? Okay. You
                                                      106                                                         108
1 Q. Okay. Now, and I will just state for                   1 may be able to see it later on in another video.
2 the record, this is going to happen a couple of           2         Did you notice that at the time?
3 times, right?                                             3 A. No.
4        As I'm sure you know, there were often             4 Q. Okay. We will show you some more of
5 multiple videos that captured the same part of            5 that.
6 the day. So sometimes I'm going to show you the           6         What do you think was the point of that?
7 same thing from a couple different perspectives,          7         MR. McMURTRY: Objection. Go ahead.
8 and this would be an example of one of them.              8 A. I have no idea.
9        So we will go back to Exhibit 3, which             9         MR. SIEGEL: Okay. Let's -- let's watch
10 is video 4 of the stipulation. It's the                  10 a little more.
11 Banyamyan video. And we will start at 1 hour and         11        (Thereupon, a video recording of Exhibit
12 9 minutes and 13 seconds.                                12 3 was   played.)
13       (Thereupon, a video recording of Exhibit           13        MR. SIEGEL: Yeah. Go ahead to --
14 3 was played.)                                           14 BY MR. SIEGEL:
15       MS. MEEK: For the record, I went                   15 Q. Okay. Can you tell who that was?
16 forward a bit to 1:09:15.                                16 A. I think that's Charlie, but I don't
17       MR. SIEGEL: Let's go just a little bit             17 know.
18 more. All right. Stop.                                   18 Q. You think that is Charlie again?
19 BY MR. SIEGEL:                                           19        MR. SIEGEL: Okay. Let's go another 7
20 Q. Nick, do you see that there is a student              20 seconds.
21 who looks like he is wearing blue who takes a            21        MS. MEEK: And where we just paused is
22 water bottle from another student and rolls it           22 Exhibit 3 at 1:09:26. So now I'm continuing on.
23 out?                                                     23        (Thereupon, a video recording of Exhibit
24 A. No, I can't see that.                                 24 3 was played.)
25       MR. SIEGEL: All right. Let's watch it              25        MS. MEEK: I just paused at 1:09:33.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 29 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2142       INFORMATION
                                          Transcript of Nicholas Sandmann                               28 (109 to 112)

                                         Conducted on 9/13/2021 & 9/14/2021
                                                       109                                                         111
1 BY MR. SIEGEL:                                             1 7 was played.)
2 Q. Okay. Having seen that whole thing --                   2 BY MR. SIEGEL:
3 now, you're -- you're standing right there,                3 Q. Did you hear somebody shout Trump water?
4 right?                                                     4 A. I didn't hear it in all the yelling.
5 A. Yes.                                                    5 Q. Do you hear it on the video?
6 Q. So do you think you did see that at the                 6 A. No. That's what I'm saying. I --
7 time?                                                      7       MR. SIEGEL: Let's play it again.
8 A. Yeah. I saw him run back. I was -- I                    8       MS. MEEK: I'm playing from 50 seconds
9 thought you meant in reference to if he rolled it          9 to 1 minute and 2 seconds.
10 out initially.                                            10      (Thereupon, a video recording of Exhibit
11       I'm kind of blocked off. I wouldn't                 11 7 was played.)
12 have seen, you know, 90 degrees to my right. I            12 BY MR. SIEGEL:
13 wasn't paying attention.                                  13 Q. Okay. Did you hear it that time?
14 Q. So when you saw this at the time, did                  14 A. Yes.
15 you have any impressions of what was happening?           15 Q. Okay. That wasn't a school spirit
16 A. No. To me, it looks like Charlie is                    16 cheer, right?
17 just trying to be funny and throw something out           17 A. No.
18 there that he then immediately goes, gets and             18 Q. Did you notice that at the time? Did
19 comes back.                                               19 you hear that at the time?
20 Q. And do you think that is funny?                        20 A. I -- I think I saw Charlie run out. But
21 A. I mean, personally, no. But students                   21 I'm pretty sure in this frame I start to move. I
22 there laughed.                                            22 wasn't -- I didn't really pay attention to it.
23 Q. Okay. You saw that -- he was the same                  23 Q. So did you say that?
24 student before who held up that Trump water               24 A. No.
25 bottle?                                                   25 Q. Okay. And remember the picture of the
                                                       110                                                         112
1 A. Correct.                                                1 water bottle we showed you before? Would you
2 Q. Okay. Do you think that there was some                  2 agree that that was the same water bottle that
3 significance to the fact that he chose that water          3 Charlie had been showing before?
4 bottle to roll out?                                        4 A. Yes.
5        MR. McMURTRY: Objection.                            5 Q. Would yelling out Trump water in that
6    A.   I -- I don't know if he had -- with the            6 moment -- what do you think of that?
7 water bottle, I don't know.                                7 A. To me, what I make of that is that it's
8 BY MR. SIEGEL:                                             8 an all-boys' school humor and that he threw the
9 Q. Okay. That wasn't the spirit cheer,                     9 water bottle out there so he could look funny
10 right?                                                    10 having to go out and like pick it up right in
11 A. No. That was just Charlie.                             11 front of them. And that is how I look at it as.
12 Q. Okay. Do you -- do you think that that                 12 Q. Okay. And I asked you specifically,
13 was intended as a positive gesture towards the            13 though, about yelling out Trump water when he is
14 BHI?                                                      14 doing that, what do you think of that?
15       MR. McMURTRY: Objection. Go ahead.                  15 A. I think the other student called out
16 A. No. I -- I don't know what Charlie was                 16 Trump water because he saw Charlie throw out the
17 doing.                                                    17 Trump water.
18       MR. SIEGEL: Okay.                                   18 Q. Is that something you would have been
19 A. Sorry. I would assume just make some                   19 comfortable saying in that context?
20 kids laugh.                                               20 A. Yeah. I mean, I don't -- I don't see
21       MR. SIEGEL: Okay. Let's go to                       21 anything particularly wrong with saying the name
22 Exhibit -- back to Exhibit 7, video 5. And we             22 of a water bottle.
23 will look at some of that from a different angle.         23 Q. Do you think that the student was trying
24 Start at 50 seconds.                                      24 to communicate anything to the BHI by saying that
25       (Thereupon, a video recording of Exhibit            25 in that context?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 30 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2143       INFORMATION
                                        Transcript of Nicholas Sandmann                                  29 (113 to 116)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                      113                                                         115
1 A. No.                                                    1 start at -- restart at wherever we stopped.
2 Q. Do you think he was taunting the BHI by                2        (Thereupon, a video recording of Exhibit
3 saying that?                                              3 7 was played.)
4        MR. McMURTRY: Objection.                           4 BY MR. SIEGEL:
5 A. No.                                                    5 Q. Do you hear people --
6 BY MR. SIEGEL:                                            6        MS. MEEK: I just paused Exhibit 7 at 1
7 Q. I mean, that's your interpretation of                  7 minute and 15 seconds.
8 it, right?                                                8 BY MR. SIEGEL:
9 A. Right, I don't --                                      9 Q. Do you hear some people saying Trump,
10 Q. You don't know, right?                                10 Trump?
11 A. I don't -- I don't know, but I don't                  11       Did you say that?
12 think he was.                                            12 A. No.
13 Q. Okay. Is it fair to say that someone                  13 Q. So did you join in to that? Did you
14 else watching the same thing could disagree with         14 hear that at the time?
15 you?                                                     15 A. Yes.
16 A. They could.                                           16 Q. Why didn't you join in?
17 Q. And I take it that they could honestly                17 A. Well, not everyone was chanting it, and
18 disagree with you?                                       18 I didn't really feel the need to.
19 A. I suppose, yeah.                                      19 Q. Is that something you would have been
20       MR. SIEGEL: All right. Let's go back               20 comfortable saying to BHI?
21 to 50 seconds.                                           21 A. I don't -- I don't think I would have
22       (Thereupon, a video recording of Exhibit           22 been comfortable with it.
23 7 was played.)                                           23 Q. Why?
24       MS. MEEK: I just stopped Exhibit 7 at              24 A. Just because they obviously did not like
25 one minute and 7 seconds.                                25 Trump, and there wasn't really any need to get
                                                      114                                                         116
1 BY MR. SIEGEL:                                            1 them more angry.
2 Q. He said: You all outnumber us and you                  2 Q. So do you think that could have been
3 all keeping you all's distance, right? There is           3 perceived as taunting the BHI by saying Trump,
4 a reason for that. You don't see the angels               4 Trump?
5 around us. You couldn't touch us if you wanted            5 A. It could be.
6 to.                                                       6 Q. Okay. Did you think that's what they
7        Did you hear that at the time?                     7 were doing?
8 A. I -- yeah.                                             8 A. Did I think the students were trying to
9 Q. Okay. How do you interpret what he's                   9 taunt them?
10 saying? What do you understand him to mean?              10       MR. SIEGEL: Yes, by yelling Trump,
11 A. To me, it sounds pretty provocative,                  11 Trump.
12 like they are asking for a fight.                        12 A. I don't -- at the time I wasn't really
13 Q. Okay. Does it seem to suggest that he                 13 thinking about it. Now, no.
14 might think that you guys wanted to touch them?          14 Q. And why? Why is that your opinion?
15 A. No. Because we hadn't mentioned                       15 A. I think that, if anything, they were
16 anything about fighting them. And then he goes           16 just trying to represent something that they
17 to say: You couldn't touch us if you wanted to.          17 support, the same way that the Black Hebrew
18 Q. Okay. You said that you thought that                  18 Israelites were, you know, naming very many
19 that was provocative?                                    19 things that they believe in.
20 A. Yes.                                                  20 Q. Okay. So you think yelling out -- do
21 Q. So was this a part of what made you                   21 you think yelling out Trump, Trump in this
22 concerned that there -- this might escalate into         22 context was no different than if that was yelled
23 some kind of physical confrontation?                     23 out at the March For Life rally?
24 A. Yes. Sorry.                                           24 A. I mean, I don't -- I don't see why it
25       MR. SIEGEL: That's okay. Okay. Let's               25 would be any different.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 31 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2144       INFORMATION
                                          Transcript of Nicholas Sandmann                               30 (117 to 120)

                                         Conducted on 9/13/2021 & 9/14/2021
                                                       117                                                         119
1        MR. SIEGEL: All right. Let's start it               1 Q. Did you intend to express hostility to
2  at 1:15.                                                  2 the BHI by doing that?
3        (Thereupon, a video recording of Exhibit            3 A. No.
4 7 was played.)                                             4 Q. Do you assume that everyone at the
5 BY MR. SIEGEL:                                             5 Lincoln Memorial knew that that was a high school
6 Q. So, Nick, it looks like you are sort of                 6 cheer?
7 talking to a couple of other students there?               7        MR. McMURTRY: Objection. Go ahead.
8 A. I think I was smiling and looking back                  8    A.   Maybe not this one. But the earlier
9 and forth. I don't know if I was talking to                9 spirit one, I stand by that one being very easily
10 anyone.                                                   10 readable.
11 Q. Okay. Do you know who the fellow to --                 11 BY MR. SIEGEL:
12 it would have been your left as you were standing         12 Q. Okay. And that's the we've got spirit
13 there, to your right as you are looking at the            13 one in particular?
14 video.                                                    14 A. Yes.
15 A. Very close to me, with the backpack?                   15 Q. Okay. And these cheers were meant for
16       MR. SIEGEL: Yes.                                    16 sporting events, right, not for Washington, DC?
17 A. That is Jake Kleier. With the blue Cov                 17 A. Yes.
18 Cath beanie on?                                           18 Q. All right. So for a person who is not
19 Q. Okay. So that is a teacher?                            19 familiar with Covington Catholic, do you think
20 A. Yes.                                                   20 the cheers could be interpreted differently in
21 Q. I think you said the fellow on the other               21 this context than at a sporting event where
22 side, his last name is Summe?                             22 Covington is playing?
23 A. Summe.                                                 23 A. Yes.
24 Q. Summe?                                                 24 Q. And would you agree that a person
25 A. Yeah.                                                  25 watching over 100 white teenage boys responding
                                                       118                                                         120
1        MR. SIEGEL: Okay. Let's restart at                  1 to BHI by yelling loudly, jumping up and down
2 1:24.                                                      2 with clenched fists held toward them could be an
3        (Thereupon, a video recording of Exhibit            3 expression of hostility towards the BHI?
4 7 was played.)                                             4 A. I agree that you could look at it that
5 BY MR. SIEGEL:                                             5 way.
6 Q. Okay. So that's the sumo cheer, right?                  6 Q. Okay. And as an expression of
7 A. Right.                                                  7 aggression?
8 Q. Is it fair to say that as you guys are                  8 A. If -- if you choose to see it that way,
9 doing it, you are getting louder?                          9 then sure.
10 A. Yes.                                                   10 Q. Okay. Do you think that students taking
11       MR. SIEGEL: Okay.                                   11 their shirt off like that, yelling, jumping up
12       MS. MEEK: We just paused at 1:40. I                 12 and down and fronting with clenched fists on the
13 will restart at 1:40.                                     13 steps of the Lincoln Memorial in this context was
14       (Thereupon, a video recording of Exhibit            14 appropriate conduct?
15 7 was played.)                                            15 A. Yes.
16       MS. MEEK: Just paused at 1 minute and               16 Q. Why?
17 54 seconds.                                               17 A. Because this is -- and, well, this is
18 BY MR. SIEGEL:                                            18 hundreds of times more appropriate than what was
19 Q. So, again, when the cheer ends, you are                19 said at us, especially given our age. This is --
20 all looking in the direction of the BHI, right,           20 this is -- I mean, there were adults here that
21 shouting with your fists clenched?                        21 were not acting like adults should. So this to
22 A. Right.                                                 22 me looks more than appropriate, given what was --
23 Q. Including you? It looks like you have                  23 what situation we were in.
24 your fists clenched there?                                24 Q. Fair to say that that's a matter of
25 A. Right.                                                 25 opinion?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 32 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2145       INFORMATION
                                        Transcript of Nicholas Sandmann                                 31 (121 to 124)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       121                                                          123
1 A. Of course. Everyone can decide whether                  1 A. No.
2 that was appropriate or not.                               2 Q. Do you think that could be perceived as
3 Q. In hindsight, do you think the                          3 a hostile gesture?
4 chaperones exercised poor judgment in allowing             4 A. It could be.
5 these cheers to happen?                                    5 Q. Can you even tell us what they are
6 A. I think the better option would have                    6 shouting here? Is it -- is it here like a more
7 been to find somewhere else to go.                         7 organized cheer?
8 Q. Okay. And why is that?                                  8 A. I can't tell what it is.
9 A. Because then we wouldn't have had to                    9        MR. SIEGEL: Okay. Let's keep going.
10 have dealt with them and we could have just stood         10       (Thereupon, a video recording from
11 by ourselves and gone home.                               11 Exhibit 7 was played.)
12 Q. Who led the sumo cheer?                                12 BY MR. SIEGEL:
13 A. I think his name is Jake Mulaku                        13 Q. Do you see the two guys sort of on the
14 (phonetically spelled).                                   14 right side raising their fists and going, Donald
15 Q. Is there any particular reason why -- it               15 Trump, Donald Trump?
16 looked like the students were like pointing at            16       Do you know, are those Covington
17 him to sort of come lead it. Is there any                 17 students?
18 particular reason why him?                                18 A. Again, I don't -- I think these might
19 A. None other than the fact that I'm pretty               19 have been the kids who said -- the ones shaking
20 sure he was a freshman, which, like I say,                20 right there. I don't -- I -- to me, I don't
21 freshmen step up and lead things because it helps         21 think they are a part of Cov Cath because
22 integrate them more into the school.                      22 they're -- not wearing clothes that we are and
23 Q. Okay. Was it like somebody's idea to                   23 they are more off to the side.
24 point to him?                                             24       MR. SIEGEL: Okay.
25 A. It could have been some of his friends                 25 A. I don't recognize them.
                                                       122                                                          124
1 that wanted him to do it. I don't know.                    1       MR. McMURTRY: Lunch is here when you
2        MR. SIEGEL: Okay. Let's go back to                  2 are ready -- and when you are -- when you have
3 Exhibit 7, to video 5, and start it at 2 minutes           3 reached a point.
4 and 30 seconds.                                            4       MR. SIEGEL: Maybe ten more minutes,
5        (Thereupon, a video recording of Exhibit            5 maybe. It will be kind of a good segue point.
6  7  was played.)                                           6 BY MR. SIEGEL:
7 BY MR. SIEGEL:                                             7 Q. Did you notice them at the time doing
8 Q. Could you tell what's being shouted                     8 that?
9 there by the students?                                     9 A. No.
10 A. No, I can't.                                           10 Q. What do you think of it, seeing it now?
11       MR. SIEGEL: Okay. Let's just listen to              11      MR. McMURTRY: Objection. Go ahead.
12 it one more time. And if you can't, you can't.            12   A.   I mean, I don't agree with it. I
13       THE WITNESS: Yes.                                   13 haven't agreed with a single thing they have done
14       MS. MEEK: This frame was from 2:30 to               14 that I have seen, and -- I mean, if it were up to
15 2:37.                                                     15 me, they wouldn't be behaving like that.
16       (Thereupon, a video recording from                  16 BY MR. SIEGEL:
17 Exhibit 7 was played.)                                    17 Q. Okay. Why don't you agree with their
18 A. I can hear hey, hey and ho, ho, but I                  18 going, Donald Trump, Donald Trump, though?
19 can't say -- or I can't hear what else they are           19      MR. McMURTRY: Objection. Go ahead.
20 saying.                                                   20 A. Well, I don't think shaking their fists
21 BY MR. SIEGEL:                                            21 does anyone any good.
22 Q. Okay. Did you notice that there was a                  22 BY MR. SIEGEL:
23 kid who's like holding a stick up?                        23 Q. Okay. Because it seems aggressive?
24 A. Yeah.                                                  24 A. Well, to me, it seems like these kids --
25 Q. Do you have any understanding why?                     25 and the one of them looks like he has a smile on
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 33 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2146       INFORMATION
                                        Transcript of Nicholas Sandmann                                 32 (125 to 128)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       125                                                          127
1 his face, like they want the Hebrew Israelites to          1 in Exhibit 7. Did you say 1:10:32?
2 talk to them next. Maybe they think it's funny.            2        MR. SIEGEL: No -- yes. 1:10:32. 1
3 I don't know.                                              3 hour, 10 minutes, 32 seconds.
4 Q. Okay. Do you think that they were                       4        (Thereupon, a video recording of Exhibit
5 responding to the behavior of the Covington                5 7 was played.)
6 students?                                                  6 BY MR. SIEGEL:
7       MR. McMURTRY: Objection.                             7 Q. What's your reaction to what he says
8    A.   I mean, it's possible.                             8 there?
9       MR. SIEGEL: All right. Let's keep                    9        MR. McMURTRY: Objection. Go ahead.
10 going.                                                    10 A. I mean, I think it's pretty obvious,
11      MS. MEEK: We were just discussing 2                  11 even admitted from them, that we weren't trying
12 minutes and 44 seconds in Exhibit 7. And now I'm          12 to fight them. He said we weren't going to do a
13 continuing on.                                            13 thing. And that -- like, even after the sumo
14      (Thereupon, a video recording from                   14 chant, which may be perceived as hostile, we all
15 Exhibit 7 was played.)                                    15 just turned around and kept talking amongst
16 BY MR. SIEGEL:                                            16 ourselves.
17 Q. Did you know why the students are                      17 BY MR. SIEGEL:
18 shouting there?                                           18 Q. Okay. When he said you -- when he said
19 A. Because some more kids returned from out               19 we are surrounded, does that indicate to you that
20 in DC. They were seniors.                                 20 he might have felt that you guys were expressing
21 Q. Okay. And what's the connection --                     21 aggression or hostility?
22 what's the shouting? What's that responding to?           22 A. He might have, but --
23 A. I think they were just happy or whatever               23       MR. McMURTRY: Objection. Go ahead. Go
24 more of the kids were coming back.                        24 ahead.
25      MR. SIEGEL: Okay. So let's keep                      25 A. He might have, but that is factually
                                                       126                                                          128
1 playing.                                                   1 untrue. I mean, we were in one area. We did not
2        MS. MEEK: We just stopped at 2 minutes              2 surround them.
3 and 57 seconds. And now we are continuing on.              3        MR. SIEGEL: Okay. Let's -- let's
4        (Thereupon, a video recording from                  4 restart it there.
5 Exhibit 7 was played.)                                     5        MS. MEEK: Restarting at 1 hour, 10
6 BY MR. SIEGEL:                                             6  minutes  and 45 seconds.
7 Q. Okay. So you mentioned before that                      7        (Thereupon, a video recording of Exhibit
8 there were other students who were coming at this          8 3 was played.)
9 point, right?                                              9 BY MR. SIEGEL:
10 A. Yes.                                                   10 Q. So does that indicate to you that at
11 Q. And there are certainly more students                  11 least the person talking felt that they were
12 now than there were before?                               12 outmatched by you?
13 A. Right.                                                 13       MR. McMURTRY: Objection. Go ahead.
14 Q. And does it look to you like the group                 14 A. I guess, but that is not matched by the
15 is getting closer to the BHI as it fills in, some         15 smiles on the rest of their faces. They look
16 of the group?                                             16 like they are getting exactly what they want.
17 A. Yeah. Some are closer.                                 17       MR. McMURTRY: We are going to start
18 Q. Okay. You said before that it -- you                   18 lunch in two minutes.
19 think it would have been better -- never mind.            19       MR. SIEGEL: I mean, I will ask for five
20 You already answered that.                                20 minutes.
21       MR. McMURTRY: Thank you.                            21       MR. McMURTRY: I know. But we are at
22       MR. SIEGEL: Let's go to Exhibit -- back             22 ten. I'm just trying to -- go ahead.
23 to Exhibit  3, which is video 4 of the Banyamyan          23       MR. SIEGEL: No worries. All right.
24 video.                                                    24 Let's keep going.
25       MS. MEEK: And we just stopped at 3:20               25       MS. MEEK: Starting from 1:11:18.
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                      CONTAINS CONFIDENTIAL
                                     2147       INFORMATION
                                         Transcript of Nicholas Sandmann                                33 (129 to 132)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                      129                                                         131
1       (Thereupon, a video recording of Exhibit            1 high school kids.
2  3 was played.)                                           2 Q. Okay. Would you say anyone who
3 BY MR. SIEGEL:                                            3 disagrees with you about that was wrong?
4 Q. When he says, I'm turning up the Esau,                 4 A. No.
5 Esau, this caveman thing, I'm turning up, what do         5       MR. SIEGEL: Let's go ten more seconds
6 you understand him to be saying?                          6 of this.
7       MR. McMURTRY: Objection. Go ahead.                  7       MS. MEEK: Starting at 1:11:47.
8    A.  I'm not -- I'm not really sure.                    8       (Thereupon, a video recording of Exhibit
9 Q. Do you have an understanding what the                  9 3 was played.)
10 reference to Esau means?                                 10 BY MR. SIEGEL:
11 A. Not really.                                           11 Q. Okay. So you said before you felt
12 Q. Did you study the Old Testament?                      12 threatened. Did you take that as a threat?
13 A. Oh, I did. But they -- they mean --                   13 A. Yes.
14 they use an alternate.                                   14      MR. SIEGEL: Okay. Lunchtime.
15      I mean, their history is not real                   15      MR. McMURTRY: Lunchtime. Thank you.
16 history, so I don't know what they are talking           16      THE VIDEOGRAPHER: We are going off the
17 about.                                                   17 record. The time is 12:16 p.m.
18 Q. Do you know who Esau in the Old                       18      (Thereupon, there was a recess taken at
19 Testament is?                                            19 12:16 p.m.)
20 A. Yes. But, I mean, I don't know what                   20      (Thereupon, the proceedings were resumed
21 they are talking about.                                  21 at 12:54 p.m.)
22      They -- they claim the current Jews in              22      THE VIDEOGRAPHER: We're back on the
23 Israel are not the real Israelites. So, I mean,          23 record. The time is 12:55 p.m.
24 whatever version of history they have is not an          24      MR. SIEGEL: Okay. So we are now going
25 accurate one.                                            25 to go back to Exhibit 7, which is video 5 of the
                                                      130                                                         132
1 Q. Who is Esau?                                           1 stip. Start that at 3 minutes and 20 seconds.
2        MR. McMURTRY: Objection. I don't -- I              2 And I'm just going to ask you to explain what is
3 don't understand what the quiz is, why it matters         3 happening, what the students are doing.
4 speculating at what this guy's saying. I mean,            4        THE WITNESS: Okay.
5 it's okay to try to trip him up, but to try to            5        (Thereupon, a video recording of Exhibit
6 trip him up --                                            6  5 was  played.)
7        MR. SIEGEL: I'm not trying to trip him             7 BY MR. SIEGEL:
8 up.                                                       8 Q. So what -- what's happening?
9        MR. McMURTRY: The Old Testament                    9 A. Everyone is getting ready to do the
10 history, I mean --                                       10 victory chant that we discussed at the start of
11       MR. SIEGEL: If you don't know, that is             11 the deposition.
12 fine.                                                    12       MR. SIEGEL: Okay. And where did we
13       THE WITNESS: I remember that Esau was              13 pause?
14 connected to Israel.                                     14       MS. MEEK: 3:50.
15 BY MR. SIEGEL:                                           15 BY MR. SIEGEL:
16 Q. Okay. So you don't remember the story                 16 Q. So are the four guys who were standing
17 of Esau and Jacob and all that?                          17 up, are they like the leaders?
18 A. Not -- not a hundred percent, not --                  18 A. I would assume.
19 Q. It's not a quiz. I was just asking if                 19 Q. Okay. And everybody else sits down at
20 you know.                                                20 that part of the --
21       So did you think that you looked like              21 A. Yes.
22 you were behaving like cavemen.                          22 Q. -- for the stunt?
23 A. No.                                                   23       Okay. So before the person who you now
24 Q. Why?                                                  24 know is Nathan Phillips started approaching the
25 A. Because -- I don't know. We look like                 25 group, had you noticed him?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 35 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2148       INFORMATION
                                        Transcript of Nicholas Sandmann                                 34 (133 to 136)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       133                                                         135
1 A. I hadn't noticed him specifically. As I                 1         MS. MEEK: We just stopped at 4:55,
2 said earlier, I noticed the group of Native                2  still on Exhibit 7.
3 Americans. That was about it.                              3 BY MR. SIEGEL:
4 Q. Okay. And when did you first notice                     4 Q. Okay. So did you see that -- remind me
5 that he was approaching or seemed to be                    5 of his name again, the last name, the fellow in
6 approaching the group?                                     6 the red sweatshirt?
7 A. I probably noticed he -- him coming over                7 A. Summe.
8 when he was near the Black Israelites -- Hebrew            8 Q. Summe shouts: Don't touch him, don't
9 Israelites and passing. That is when I kind of             9 touch him?
10 first became aware there was Native Americans in          10 A. Yes.
11 between us and the Hebrew Israelites.                     11 Q. Any idea why he said that?
12 Q. Okay. And I take it you don't know what                12 A. He said the guy in the green
13 he saw or heard prior to the time he approached           13 sweatshirt -- or gray/green hooded, that is John
14 you?                                                      14 Monterey. And when John went to turn to film
15 A. Correct.                                               15 with his camera, Nathan Phillips hit up against
16        MR. SIEGEL: Let's keep -- let's restart            16 him and kind of, you know, came in physical
17 it at 3:50.                                               17 contact with him.
18        (Thereupon, a video recording of Exhibit           18 Q. Okay. Who do you understand him to be
19 7 was played.)                                            19 saying don't -- who is don't touch him directed
20 MR. SIEGEL: Okay.                                         20 at?
21        MS. MEEK: I just stopped at 4 minutes              21 A. At Phillips for running in to John.
22 and 18 seconds.                                           22 Q. Okay. And how do you know that?
23 BY MR. SIEGEL:                                            23 A. Well, you are asking me what it -- what
24 Q. So what the students are doing there as                24 does that -- what do I -- what does that look
25 Mr. Phillips and some others were approaching, is         25 like is happening.
                                                       134                                                         136
1 that the -- the whole Victory is Our Battle Cry            1        MR. SIEGEL: Okay.
2 cheer?                                                     2 A. That is my opinion.
3 A. Yes.                                                    3 Q. Did John tell you that?
4 Q. And people jumping up, is that part of                  4 A. No.
5 that?                                                      5 Q. I'm sorry. Did Summe tell you that,
6 A. Yes.                                                    6 that that is what he was doing?
7 Q. Okay. I think you described before what                 7 A. No. I'm saying this is what it looks
8 is said during that cheer?                                 8 like from -- from here. I don't -- I can't say
9 A. Uh-huh.                                                 9 that for a fact.
10 Q. Can you hear if that is what is being                  10       MR. SIEGEL: Okay. Let's just play the
11 said here?                                                11 last ten seconds again maybe.
12 A. Yes, yes.                                              12       (Thereupon, a video recording of Exhibit
13 Q. Do you assume that others watching this                13 7 was played.)
14 would have any idea what you are saying?                  14 BY MR. SIEGEL:
15 A. Probably not. We say the letters very                  15 Q. Okay. Is it possible that he is
16 quickly.                                                  16 directing that at John Lawrie? He said to John
17       MR. SIEGEL: Okay. Let's restart at                  17 Lawrie, don't touch Nathan Phillips?
18 4:24.                                                     18 A. Yeah, that could be possible.
19       MS. MEEK: I think we are starting at                19 Q. Okay. Where do you see Nathan Phillips
20 4:18, not 4:24.                                           20 coming -- John Lawrie is like turning around,
21       MR. SIEGEL: Yes. I think we can just                21 right, kind of --
22 go. Because I think Nick just answered what I             22 A. Right.
23 was going to ask him anyway at 4:18.                      23 Q. -- as he's -- as he's --
24       (Thereupon, a video recording of Exhibit            24 A. Right.
25 7 was played.)                                            25 Q. Where do you see Nathan Phillips coming
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 36 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2149       INFORMATION
                                     Transcript of Nicholas Sandmann                                    35 (137 to 140)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       137                                                          139
1 into contact with him?                                     1 honestly infer that that is what Summe -- Summe
2 A. I could have been wrong, but it almost                  2 was saying to John Lawrie, hey, don't touch him?
3 appeared in the video like when John was turning           3        MR. McMURTRY: Objection. Go ahead and
4 that Phillips had kind of -- maybe not                     4 answer.
5 intentionally but maybe bumped into him a little           5 A. Someone could infer that that is who
6 bit. I don't know, though. I -- I was on --                6 Summe was talking to. Yeah, I agree with that.
7 like three or four rows of people back.                    7 BY MR. SIEGEL:
8 Q. Okay. Would it be -- watching this,                     8 Q. Okay. Someone could infer that the
9 would it be reasonable to infer that somebody              9 reason he said that was that he was concerned
10 might have been concerned that at least one of            10 that John Lawrie might be bumping into Phillips?
11 the students was getting too close to Phillips?           11 A. Yes.
12 A. I don't think that's reasonable.                       12       MR. SIEGEL: Okay. Let's keep going.
13 Q. Really? You don't think that is                        13       MS. MEEK: Starting at 4:55.
14 reasonable? Why not?                                      14       (Thereupon, a video recording of Exhibit
15 A. No, because Nathan Phillips' feet --                   15 7 was played.)
16 five minutes before this frame, Nathan Phillips           16       MR. SIEGEL: Where did we stop, Jessie,
17 was 40, 50 feet away. So to say that we were too          17 for the record?
18 close --                                                  18       MS. MEEK: 5:22.
19 Q. No, at this particular moment that one                 19 BY MR. SIEGEL:
20 of the students was -- was getting too close to           20 Q. Do you see the -- the student with his
21 Phillips or might be touching him?                        21 hands up?
22 A. I -- I still think that's unreasonable.                22 A. Yes.
23 Because the students don't -- these students in           23 Q. It looks like he is wearing maybe a
24 between Phillips and the rest of the group don't          24 black sweatshirt. Do you know who that is?
25 have anywhere to move because of how crowded it           25 A. No. And to be honest, I don't know if
                                                       138                                                          140
1 is.                                                        1 he was a part of our group or not. I mean, he
2 Q. Okay. But John Lawrie was moving,                       2 might -- he might be, but I have no idea who he
3 right? He was kind of turning from side to side?           3 is.
4 A. I mean, he was rotating. He wasn't                      4 Q. Okay. So you don't know whether he was
5 physically stepping anywhere.                              5 a Covington student at the time?
6 Q. And do you think it's reasonable to                     6 A. No. Like, what I mean by that is I had
7 infer that Summe might have been concerned that            7 never seen him before in my life. It's possible
8 in the course of doing that, John Lawrie might             8 I missed him in the hallways or whatever or just
9 bump into him and that is what he was responding           9 didn't recognize him. But, I mean, to my
10 to?                                                       10 knowledge, that was the first and only time I
11 A. No. I think that is unreasonable.                      11 have seen him.
12 Q. So you don't think somebody watching                   12 Q. Okay. Do you see how he was sort of,
13 this could have that honest opinion, that that's          13 kind of bowing up and down, like moving his hands
14 what --                                                   14 up and down?
15       MR. McMURTRY: I think he answered that.             15 A. Yes.
16 But go ahead.                                             16 Q. Did that seem appropriate to you?
17 A. No. I think that for Nathan Phillips to                17 A. Well --
18 come from where he was and then to get close and          18       MR. McMURTRY: Objection. If I may, are
19 then not give John any room to move and then to           19 you saying did he see that happening at the time
20 say that the students weren't giving Phillips his         20 or are you asking him to evaluate the video
21 personal space to me is a dishonest, unreasonable         21 today? Because I don't know --
22 opinion.                                                  22       MR. SIEGEL: Fair question.
23 BY MR. SIEGEL:                                            23       MR. McMURTRY: -- what the answer is.
24 Q. Okay. That is not what I'm asking you.                 24 BY MR. SIEGEL:
25 I'm asking you could someone watching this                25 Q. Did you notice that at the time?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 37 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2150       INFORMATION
                                      Transcript of Nicholas Sandmann                                    36 (141 to 144)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      141                                                         143
1 A. No.                                                    1 A. No.
2 Q. Okay. Having seen it on the video, do                  2 Q. Okay. Could you hear what Mr. Phillips
3 you think that that was appropriate?                      3 was expressing verbally?
4 A. You know, to be honest, I -- I really                  4 A. I could not understand what he was
5 don't know. Because under -- at this present              5 saying. I didn't know if he was just making
6 frame of the video, most of the people, including         6 noise or it was another language or --
7 myself, were confused on Phillips' intentions.            7 Q. Okay. So did you have -- at the time,
8 And I think many of the front line kids thought           8 right, did you have any understanding at all of
9 at first that he was here to help us, which is            9 what he was trying to -- may have been trying to
10 why they danced along to his music.                      10 communicate?
11      And, I mean, I don't know what that                 11 A. No.
12 kid's doing. He could be -- as seen, in a way,           12 Q. Did you know whether it was a song or a
13 he could be trying to mock him. I -- I really            13 prayer or words he was articulating? Did you
14 don't know.                                              14 have any idea?
15 Q. Okay. Did you at the time have any idea               15 A. I did not.
16 why Phillips was playing the drum?                       16      MR. SIEGEL: Okay. Now we are going to
17 A. No.                                                   17 look at roughly the same theme from the
18 Q. Okay. Did you have any idea what                      18 perspective of Exhibit 3, video 4, the Banyamyan
19 playing a drum, as he was doing, signifies in            19 video.
20 Native American culture?                                 20      MS. MEEK: We are going start at 1 hour,
21 A. Well, I -- I should back up that while I              21 12 minutes, 15 seconds in Exhibit 3.
22 haven't taken a class specifically on Native             22      (Thereupon, a video recording of Exhibit
23 Americans, like I said, I have had classes where         23 3 was played.)
24 that's been incorporated. And one of them was            24 BY MR. SIEGEL:
25 music back from grade school. And what I am              25 Q. Okay. I take it from our last
                                                      142                                                         144
1 aware of is that playing the drum can mean more           1 exchange -- what do you understand him to be
2 than one thing.                                           2 saying, the part where -- here comes --
3       So to be honest with you, I'm not                   3 A. Yeah, dad.
4 skilled enough to know what chants or what rhythm         4       MR. SIEGEL: Right.
5 means what. But, I mean, I knew he was playing            5 A. I don't know.
6 it. I didn't know what it signified.                      6 Q. Yeah. I take it you have no
7 Q. What is the more than one thing that you               7 understanding about what he might have meant by
8 understand playing a drum in Native American              8 that, what that references?
9 culture signifies?                                        9 A. No.
10 A. You can -- it's played for a variety of               10      MR. SIEGEL: Let's keep going.
11 religious reasons or whatever to match with              11      MS. MEEK: Starting from 1:12:25.
12 ancestors and -- you know, as he's -- I guess as         12      (Thereupon, a video recording of Exhibit
13 Mr. Phillips claims, these drums were war drums.         13 3 was played.)
14 They play them for multiple reasons.                     14 BY MR. SIEGEL:
15 Q. Okay. Since this incident, have you                   15 Q. So the speaker says: Dad not playing,
16 ever sort of gone back and done any more reading         16 he came to the rescue.
17 about that?                                              17      What do understand him to mean by that?
18 A. No.                                                   18      MR. McMURTRY: Objection. Go ahead.
19 Q. Do you know anything about how elderly                19 A. I'm not sure who he means that he's
20 persons are viewed in Native American culture?           20 rescuing. I guess maybe he's referring to the
21 A. At the time, I knew that elders are very              21 black -- he himself, that he is being rescued by
22 respected and kind of the head of -- in a Native         22 him. But it really doesn't make sense to me,
23 American community.                                      23 because an hour ago these Black Hebrew Israelites
24 Q. And have you done any more reading or                 24 hated them. And now he loves them because he is
25 learning about that?                                     25 coming to save them. I don't really understand
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 38 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2151       INFORMATION
                                      Transcript of Nicholas Sandmann                                   37 (145 to 148)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       145                                                           147
1 the dynamic that is happening between the Black            1 like -- like basically frame it in to let the
2 Hebrew Israelites and the Native Americans.                2 students know that we shouldn't touch him, which
3 BY MR. SIEGEL:                                             3 I don't think is representative of what actually
4 Q. Okay. It doesn't make sense to you                      4 happened.
5 because the BHI had been insulting them, too?              5 Q. At that point, two different people have
6 A. Yeah. Like an hour ago they were                        6 shouted out, don't touch the -- don't touch him?
7 calling them Uncle Tomahawks. So I have no idea.           7 A. Yes.
8 Q. Okay. Do you have any reason to think                   8 Q. Couldn't that give somebody a reason to
9 that the BHI person -- do you think that Phillips          9 be concerned that the students might be trying to
10 was coming to their rescue, as he called it?              10 do something physical to Phillips?
11       MR. McMURTRY: Objection.                            11 A. No.
12 A. No. I mean, to me, it looks like I                     12 Q. No? Why not?
13 guess that Nathan Phillips is coming to their             13 A. Because he keeps moving closer and
14 rescue. Again, I don't know why he would say              14 closer, especially as the video progresses and he
15 that.                                                     15 starts to walk through people.
16       MR. SIEGEL: Okay. Let's keep going.                 16       So people yelling out don't touch him --
17       MS. MEEK: Starting at 1:13:02.                      17 I mean, what he's doing, he's doing to himself by
18       (Thereupon, a video recording of Exhibit            18 coming closer and closer to people like me who
19 3 was played.)                                            19 were behind other kids and then ended up next to
20 BY MR. SIEGEL:                                            20 him. So it's me yelling out don't touch him does
21 Q. Okay. Do you see from that angle                       21 not accurately depict that we were going to do
22 somebody saying again: Don't touch him? Does              22 anything hostile.
23 that change anything about the answer you gave            23 Q. Well, I'm not asking you that, whether
24 before?                                                   24 it did or it didn't accurately depict that,
25 A. No.                                                    25 right? But I'm asking you -- here, right, a
                                                       146                                                           148
1        MR. SIEGEL: All right. Keep going.                  1 couple people, one, two, and one member of the
2        MS. MEEK: Starting at 1:13:16.                      2 BHI shouting out don't touch him. Would it give
3        (Thereupon, a video recording of Exhibit            3 somebody there reason to be concerned that some
4 3 was played.)                                             4 of the students might be trying to touch him and
5 BY MR. SIEGEL:                                             5 that is what was causing people to yell that out?
6 Q. Now you hear the speaker says: You all                  6 A. I would say no.
7 better not touch him.                                      7 Q. Why is that?
8        What do you think that he meant by that?            8 A. Because there is -- there is no -- there
9 A. I mean, I think that even though he says                9 is no visual example that students were trying to
10 that, that doesn't confirm that Summe meant it in         10 touch him.
11 the same way he does.                                     11      And I think if you heard that and you
12       Obviously, I believe the Black Hebrew               12 looked  -- I mean, nobody was trying to touch him.
13 Israelites and the student are looking at the             13 It would be pretty easy to, from where he was, if
14 situation from two different perspectives.                14 students did want to, but everyone kind of backed
15 Q. Okay. Fair enough. Does it indicate to                 15 off.
16 you that the BHI speaker perceived that that is           16 Q. Do you know whether Phillips was
17 what Summe was saying?                                    17 concerned about his safety?
18 A. No, because I can't say for certain that               18 A. Now? I mean, he claims that he was.
19 this guy heard Summe say what he did.                     19 Q. Do you have any -- do you have any
20 Q. Does it sound to you like he says it                   20 belief?
21 almost immediately after Summe says it, right?            21 A. I think people concerned about their
22 A. Okay. Well, then, I guess I must have                  22 safety usually don't go into crowds.
23 missed that in the video.                                 23 Q. I'm saying that once he approached the
24       Yeah. I mean, it looks like he could be             24 crowd, right?
25 trying to capitalize on what Summe said and be            25 A. Right.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 39 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2152       INFORMATION
                                      Transcript of Nicholas Sandmann                                  38 (149 to 152)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      149                                                         151
1 Q. He was at that point. Do you think that                1        MR. SIEGEL: Okay. Let's -- where did
2 he became concerned about his safety?                     2  we  stop?
3        MR. McMURTRY: Objection. Go ahead.                 3        MS. MEEK: 1:13:45.
4 A. Well, knowing now, after the fact, he                  4        MR. SIEGEL: All right. Let's keep
5 does claim that he was concerned about his                5 going.
6 safety.                                                   6        (Thereupon, a video recording of Exhibit
7 Q. (Inaudible).                                           7 3 was played.)
8        MR. McMURTRY: Objection. I think he                8        MR. SIEGEL: We stopped at 1:14:07.
9 answered the question. But go ahead.                      9 BY MR. SIEGEL:
10 A. I mean, to me --                                      10 Q. So the BHI speaker says: Dad, calm
11       THE REPORTER: I'm sorry. Mr. Siegel,               11 them -- calm all these students down. Right?
12 this is the reporter. I did not hear your                12 When you hear him say dad, are they referring to
13 question.                                                13 Phillips?
14 BY MR. SIEGEL:                                           14 A. Okay. Yes.
15 Q. My question is: Do you think he was not               15 Q. Do you understand that?
16 concerned about his safety?                              16       So he says, Phillips, calm the students
17       MR. McMURTRY: Objection.                           17 down. Do you agree with that?
18 A. My logic is that people usually                       18 A. No.
19 concerned about their safety do not walk into            19 Q. Why?
20 crowds, especially crowds they are scared of. If         20 A. Because we weren't riled up in the first
21 he was worried about his safety, he could have           21 place.
22 walked right back out the way he came in.                22 Q. Compared to, for example, when you were
23       As evidenced by this video angle, there            23 doing the sumo cheer, do you think you were more
24 are no students behind him. He could have gone           24 riled up then than at this moment?
25 back to where all of his other Native American           25 A. I mean, there is a difference. If you
                                                      150                                                         152
1 gatherers were with him when they held the rally.         1 are talking about were we less excited now than
2        I mean, that does not make sense.                  2 we were then, yeah. Were we less angry, angrier
3 Q. Is that the only possible response he                  3 in this moment than what we were before? The
4 could have had if he ever became concerned about          4 answer is we never were. So there was nothing to
5 his safety?                                               5 calm down.
6 A. I mean, he got -- he got --                            6 Q. Okay. Well, are you saying that
7        MR. McMURTRY: Objection. Go ahead.                 7 somebody looking at this couldn't think that you
8 BY MR. SIEGEL:                                            8 were calmer at that point than you were when you
9 Q. The point is that if someone is                        9 were doing the sumo cheer?
10 concerned about their safety, right, they would          10 A. They could.
11 try to get out of there?                                 11      MR. McMURTRY: Objection. Go ahead.
12 A. Yes. That is a normal human response.                 12      MR. SIEGEL: Keep going.
13       MR. SIEGEL: Okay. Let's keep going.                13      MS. MEEK: Starting at 1:14:07.
14       MS. MEEK: Starting at 1:13:22.                     14      (Thereupon, a video recording of Exhibit
15       (Thereupon, a video recording of Exhibit           15 3 was played.)
16 3 was played.)                                           16      MS. MEEK: Pausing at 1:14:15.
17       MS. MEEK: Just paused at 1:13:45.                  17 BY MR. SIEGEL:
18 BY MR. SIEGEL:                                           18 Q. Okay. Do you hear the students going,
19 Q. Okay. Can you tell what the students                  19 whoa, whoa?
20 are chanting there?                                      20 A. Can you replay it?
21 A. I think they are just yelling along with              21      MR. SIEGEL: Sure.
22 the repetition of the drum.                              22      (Thereupon, a video recording of Exhibit
23 Q. Okay. Were you yelling anything?                      23 3 was played.)
24 A. I might have -- I don't -- I don't think              24 BY MR. SIEGEL:
25 I did, but I honestly can't recall.                      25 Q. Do you hear them going whoa, whoa?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 40 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2153       INFORMATION
                                      Transcript of Nicholas Sandmann                                 39 (153 to 156)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       153                                                         155
1 A. It sounds like a college football game.                 1 you make the argument that the Florida State fans
2 Q. Okay. And what do you mean by that?                     2 do it because they are in support of the war
3 A. That's the kind of -- I don't know what                 3 chief Native American that runs out on his horse
4 you would call it -- chant that happens at most            4 right before the game starts. And here they were
5 college football games, the whoa, whoa, whoa,              5 doing it because Nathan Phillips was here to help
6 whoa, whoa.                                                6 us.
7 Q. Do you understand that --                               7       I mean, you know, in both ways, you
8       MR. McMURTRY: He was singing.                        8  could  argue that people are doing it to support
9 BY MR. SIEGEL:                                             9 it or support Native Americans, I guess. But, I
10 Q. Do you understand that to be the -- like               10 mean, like I said, I don't -- I don't know too
11 the chant that is done often with the tomahawk            11 much about this, and I'm just not a person to
12 chop, whoa?                                               12 give a good opinion on this.
13 A. Yes. I saw it last week at Florida                     13 BY MR. SIEGEL:
14 State University when they played Notre Dame.             14 Q. Okay. So given that, would it be fair
15 Q. Did you join in to do this?                            15 to say that others could perceive that as
16 A. No.                                                    16 disrespectful to Mr. Phillips?
17 Q. Why?                                                   17 A. Yes.
18 A. I didn't -- I didn't hold my arm up. I                 18      MR. SIEGEL: All right. Let's keep
19 didn't see any point.                                     19 playing.
20 Q. Do you think that was an appropriate                   20      MS. MEEK: Starting at 1:14:15.
21 thing for the students to be doing in that                21      (Thereupon, a video recording of Exhibit
22 moment?                                                   22 3 was played.)
23 A. To me, it's not really my place to                     23 BY MR. SIEGEL:
24 interpret whether it's appropriate or not. And I          24 Q. So the BHI guy says that the students
25 think a small group of high school kids, if that          25 were engaging in serious mockery. Do you agree
                                                       154                                                         156
1 needs to be addressed, should not be the starting          1 with that?
2 point.                                                     2 A. No.
3 Q. Do you have an understanding that some                  3 Q. Okay. And why is that?
4 people perceive that to be disrespectful to                4 A. Because we weren't doing anything to
5 Native Americans, that cheer?                              5 mock them and none of the students were trying to
6 A. I have heard that.                                      6 mock him. And I mean, he kind of ends in the
7 Q. What do you think about that?                           7 hats -- or the Make America Great Again gear
8 A. Well, to be honest, it might just be                    8 contributing to that, which I don't agree with
9 from some lack of knowledge on my end. I -- I              9 either.
10 don't really know the origin of it or why it is           10 Q. So do you think he was -- was that a lie
11 considered disrespectful and why some consider it         11 that he was saying?
12 not disrespectful.                                        12 A. No, I don't think it was a lie. I -- I
13       So I -- I am an uninformed person and               13 think he was pushing his position, which wasn't
14 really not one to give an informed opinion on             14 honest. But I mean, it's not a question of --
15 this.                                                     15 I'm really not sure how to answer that question.
16 Q. Do you think there is a difference                     16 Q. Well, do you have any reason to think --
17 between doing that cheer in the context of the            17 do you have any reason -- any reason to believe
18 Florida State football game, Florida State, and           18 he did not perceive this behavior as mocking
19 doing that cheer directly when confronted with a          19 Mr. Phillips?
20 Native American?                                          20 A. No. I mean, I don't have any reason to
21       MR. McMURTRY: Objection.                            21 say that he -- he was -- I don't have any reason
22 A. Well, that just depends, and it depends                22 to say that he didn't see what he was telling
23 on the way you look at it.                                23 himself he was seeing. I mean --
24       And the students certainly thought at               24 Q. And would you give the same answer if
25 first that Phillips was on their side, and I --           25 just others who were witnessing this perceived
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 41 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2154       INFORMATION
                                       Transcript of Nicholas Sandmann                                   40 (157 to 160)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       157                                                          159
1 that the students' behavior was mocking                    1 A. Right.
2 Mr. Phillips? Would you give the same answer?              2        MR. SIEGEL: Okay. This is -- I will
3 A. I mean, I think that is a given that                    3 say for the record this is Exhibit 9, video 10,
4 certain people perceived what they saw. I                  4 which is actually a video that your counsel
5 don't -- I don't dispute that.                             5 produced this from, and at 1:28.
6 Q. Okay. And it's people who were there, I                 6        MS. MEEK: Starting at the beginning of
7 mean, physically there?                                    7 Exhibit 9.
8 A. Right.                                                  8        (Thereupon, a video recording of Exhibit
9 Q. And it's a given that some people there                 9 9 was played.)
10 perceived the students' behavior as mocking               10 BY MR. SIEGEL:
11 Mr. Phillips?                                             11 Q. So first I will ask you, do you know who
12 A. Yes. I think that was people that were                 12 took this video?
13 either a part of the Hebrew Israelites or a part          13 A. Not off the top of my head.
14 of Nathan Phillips' group.                                14       MR. SIEGEL: Okay.
15 Q. And no one else perceived that?                        15 A. I don't --
16 A. No. I mean, I'm not aware. I -- I                      16 Q. Do you happen to know how it came into
17 don't think people went around and took a straw           17 you or your counsel's possession?
18 poll of who saw it one way or another.                    18       If you know -- in general, Nick, if I
19 Q. Okay. I will ask you, as for any of the                19 ask you a question like that, if -- if you know
20 Native Americans -- any person who was a Native           20 something that he told you, then, you know, don't
21 American who was there, would you agree that some         21 tell me that.
22 of them perceived the students' behavior as               22       Do you have any independent knowledge of
23 mocking Mr. Phillips?                                     23 where this video came from?
24      MR. McMURTRY: Objection.                             24 A. I would say with all the things we
25 A. I would agree.                                         25 produced, it's not easy for me to look -- look at
                                                       158                                                          160
1 BY MR. SIEGEL:                                             1 one angle and compartmentalize where that came
2 Q. Do you think that they were dishonest in                2 from and draw it out.
3 perceiving that?                                           3        I would know if I looked through things
4 A. I don't think they were dishonest. I                    4 that I had, how we obtained it. But off the top
5 think they just came to the wrong conclusion.              5 of my head, I don't know.
6 Q. You disagree with their perception?                     6 Q. So right where we paused, which is at 5
7 A. Yes.                                                    7 seconds --
8        MR. SIEGEL: Okay. Let's go on to the                8        MR. SIEGEL: Is that right?
9 next. This is an excerpt of your NBC interview.            9        MS. MEEK: Yes.
10       MS. MEEK: This is Exhibit 5, starting               10 BY MR. SIEGEL:
11 at 13:06.                                                 11 Q. So there are now students who were on at
12       (Thereupon, a video recording of Exhibit            12 least three sides of Phillips, right?
13 5 was played.)                                            13 A. Give or take on his side. But yes, for
14 BY MR. SIEGEL:                                            14 the most part.
15 Q. I think you mentioned this before. So                  15       MR. SIEGEL: Okay. Let's keep going a
16 you knew that some of the other students were             16 bit.
17 parting?                                                  17       (Thereupon, a video recording of Exhibit
18 A. That's correct.                                        18 9 was played.)
19 Q. They were moving out of Phillips' way?                 19 BY MR. SIEGEL:
20 A. Yes.                                                   20 Q. Are you able -- there we go.
21 Q. To allow a path for him?                               21       So can you point the cursor to -- I
22       Okay. And you saw that Phillips was                 22 think that is you, Nick, where Jessie is pointing
23 starting to walk through your group?                      23 the cursor?
24 A. Yes.                                                   24 A. Yes.
25 Q. All right. He was going forward, right?                25       MR. SIEGEL: Okay.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 42 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2155       INFORMATION
                                         Transcript of Nicholas Sandmann                               41 (161 to 164)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                       161                                                         163
1        MS. MEEK: We are at 12 seconds.                     1 A. People that aren't students.
2  BY  MR.   SIEGEL:                                         2 Q. Well, do you know who they are?
3 Q. Right. And so at that point, there are                  3 A. Some of them were -- are random people.
4 several rows of students between you and where             4 I've never seen. Some of them, it looks like
5 Mr. Phillips is, right?                                    5 they are part of the indigenous people's rally
6 A. Correct.                                                6 that was what Nathan Phillips was a part of. And
7        MR. SIEGEL: Okay. Let's restart.                    7 I mean, that's all I can say.
8        (Thereupon, a video recording of Exhibit            8        But all of them are adults, or -- and
9 3 was played.)                                             9 you can tell by what they look like or whatever,
10       MR. SIEGEL: Okay. So where did you                  10 and they are -- they are not students.
11 stop?                                                     11 Q. What about --
12       MS. MEEK: 26 seconds.                               12       MR. SIEGEL: Jessica, look -- look --
13 BY MR. SIEGEL:                                            13 put the -- why don't you point at Mr. Phillips.
14 Q. So is it fair to say this is what you                  14 Right.
15 were describing to Ms. Guthrie, the students are          15 BY MR. SIEGEL:
16 parting from Mr. Phillips as he is moving                 16 Q. Now, look -- do you see the back row
17 forward?                                                  17 behind him?
18 A. Right. It gets to be the solid. Now                    18 A. Correct.
19 you've got this kind of ring in the middle as he          19 Q. Do you know who those people are?
20 walks through.                                            20 A. So there's that guy and the -- it looks
21 Q. Okay. And in this video, the direction                 21 like he goes from orange to green to white, like
22 he's moving in is towards the Lincoln Memorial,           22 that beanie with the phone camera covering his
23 right?                                                    23 face.
24 A. Right.                                                 24 Q. No. I mean even behind him.
25       MR. SIEGEL: And why don't we watch it               25 A. Even behind him?
                                                       162                                                         164
1 just until the end, and then we will come back to          1 Q. Do you see there is a --
2 26.                                                        2       MR. SIEGEL: Jessica, if you could --
3        MS. MEEK: From the beginning? Nathan,               3 the row -- there is a row of people behind him,
4 did you say from the beginning?                            4 sort of encircling.
5        MR. SIEGEL: No. No. No. Just I think                5       MS. MEEK: Here?
6  there  is like literally one more second, just so         6       MR. SIEGEL: Him, yes.
7 we watch it all the way through in realtime.               7 BY MR. SIEGEL:
8        (Thereupon, a video recording from                  8 Q. Behind him, behind that fellow with --
9 Exhibit 3 was played.)                                     9 the African American fellow with the three
10 BY MR. SIEGEL:                                            10 beanies, as you say. Behind him. Do you see
11 Q. It looks like this cuts off like maybe                 11 there is a row of people?
12 shortly before he gets -- approaches where you            12 A. That aren't even looking in this
13 are?                                                      13 direction? Like you can see the side profile on
14 A. Correct.                                               14 the video?
15       MR. SIEGEL: Okay. So now go back to                 15 Q. But they are physically behind
16 26.                                                       16 Mr. Phillips, right?
17       (Thereupon, a video recording from                  17 A. I mean, they are behind him, but they're
18 Exhibit 3 was played.)                                    18 not even paying attention to what's going on.
19 BY MR. SIEGEL:                                            19 Q. How do you know? You don't know that
20 Q. Okay. So that is like a second or a                    20 any of them are paying attention?
21 half second, you know, before the video cuts off,         21 A. Well, they're not even looking in the
22 where after he started walking through the group.         22 direction of it all.
23       So would you agree that at this point               23 Q. All of them are not?
24 there are a bunch of people that are behind               24 A. No, the -- those two people that we just
25 Mr. Phillips?                                             25 pointed at are --
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 43 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2156       INFORMATION
                                       Transcript of Nicholas Sandmann                                   42 (165 to 168)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       165                                                        167
1 Q. I'm talking about all of the people that                1 feet from this group of camera people.
2 are behind where the fellow with the African               2 Q. Okay.
3 American -- the African American fellow with, you          3 A. That I referenced, that there is space
4 say, the green beanie. You could tell that none            4 here.
5 of them are paying attention to what is                    5        Meanwhile, over here, everyone is
6 happening?                                                 6 shoulder to shoulder packed in.
7 A. I'm -- I'm confused on who you are                      7 Q. Okay. Fair enough. They are not as
8 asking is paying attention and who is not.                 8 packed in, right?
9 Q. Okay. Maybe I -- let me -- I'm going to                 9 A. Right.
10 move the --                                               10 Q. But there certainly are a fair number of
11       Do you see there is kind of a line of               11 people who are physically behind him, right?
12 people? Do you see where I'm moving the cursor?           12 A. Right.
13 A. I see that.                                            13 Q. And you have no idea whether Nathan
14 Q. Do you know who those people are?                      14 Phillips knows who they are?
15 A. I do not. They don't -- they appear to                 15 A. Right. I don't know.
16 not even be boys. So they wouldn't go to my               16       MR. SIEGEL: Let's hand Nick and his
17 school.                                                   17 counsel Exhibit 10.
18 Q. But whether they went to your school or                18 BY MR. SIEGEL:
19 not, would you agree that they are physically             19 Q. So Nick, you are aware, of course, that
20 behind Mr. Phillips, right?                               20 your counsel produced a bunch of texts. Are
21 A. They are behind them -- him.                           21 these texts from your phone?
22       I would note that who is even closer to             22 A. Yes.
23 Mr. Phillips is this ring of people with phones           23 Q. Okay. So these are texts that you sent
24 out --                                                    24 or received?
25       MR. SIEGEL: Right.                                  25 A. Correct.
                                                       166                                                        168
1 A. -- that do not go to my school and could                1 Q. Okay. You mentioned, I think -- does he
2 be associated with Mr. Phillips.                           2 go by Steve Schaeper or Dave Schaeper?
3 Q. Do you know whether --                                  3 A. Steve.
4 A. I do not, no.                                           4 Q. And who is he?
5 Q. Do you know whether Nathan Phillips knew                5 A. He was one of my best friends, or he is.
6 who all of those people who you are referring to           6 Q. So let's go to the page that is marked
7 were?                                                      7 309, NS 309.
8 A. No, I don't know.                                       8 A. Okay.
9 Q. And would you agree that physically,                    9 Q. Okay. And if you go to the second text
10 regardless of who you think they were or weren't,         10 down, which is marked 498 on the side.
11 that there -- at this point, there are a number           11 A. Yes.
12 of people behind Mr. Phillips?                            12 Q. Do you see that it's Steve Schaeper to
13 A. Yes. I -- I would -- I would add,                      13 you?
14 though, that there is -- they are more spaced out         14 A. Yes.
15 behind him than they are behind me.                       15 Q. And the time stamp on that is January
16 Q. Okay. So the only difference is they                   16 19th at 8:29 p.m., right?
17 are a little bit more spaced out?                         17 A. Right.
18 A. Yes. There is room over there. It's                    18 Q. So this is on the 19th, the day after
19 packed in on this side of the picture.                    19 this incident?
20 Q. Okay. Well, do you see any room                        20 A. Correct.
21 actually right behind where Mr. Phillips is? Do           21 Q. Could you just read into the record what
22 you see, it looks like, three or four people              22 Steve text to you?
23 holding cameras up?                                       23 A. Steven texted: Can I ask what made you
24 A. To me, it looks like those group of                    24 stand in front of the Indian guy?
25 students you referenced are about five to ten             25 Q. Okay. And then read your responses,
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 44 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2157       INFORMATION
                                      Transcript of Nicholas Sandmann                                    43 (169 to 172)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       169                                                          171
1 which look like they are in the next two texts,            1 to finish his prayer.
2 499 and 500.                                               2 Q. Right. Before, where did he say that he
3 A. I said: Yeah.                                           3 was trying to do that before he ever started
4       And then I followed up with the whole                4 approaching you?
5 thing with the black people calling us things and          5 A. I never said I knew that before. I'm
6 the guy moving through the crowd trying to                 6 saying that now I know that.
7 intimidate us.                                             7 Q. No, I'm asking you where --
8 Q. And then go on to the first one, 501 on                 8        MR. McMURTRY: I think -- I think the
9 page 310.                                                  9 question is getting pretty confused here.
10 A. It just made me want to stand up for the               10 BY MR. SIEGEL:
11 school.                                                   11 Q. You are contending that Mr. Phillips
12 Q. So you perceived that Mr. Phillips                     12 said that it was his original intention from the
13 moving through the crowd is trying to intimidate          13 very beginning to go to the Lincoln Memorial,
14 us?                                                       14 that that is what he was trying to do. Is that
15 A. I perceived that when he came to me and                15 what your -- is that your testimony?
16 his drum directly came into contact with my               16 A. Right.
17 shoulder and the drum stick that he was using to          17 Q. And what are you referring to?
18 beat it was a couple centimeters from my face.            18 A. I'm referring to his public interviews
19 Q. But here you texted to Steve that the                  19 after the fact that stated that he said that
20 guy moving through the crowd was trying to                20 he -- when he was in -- in the middle of our
21 intimidate.                                               21 group that he was trying to get to the Lincoln
22 A. Yes.                                                   22 Memorial to finish his prayer.
23 Q. Why did you perceive that him moving                   23       Which if his prayer is this drum beat
24 through the crowd was trying to intimidate us?            24 and some chant, it started before he made his way
25 By us, you mean the group of students --                  25 into our group.
                                                       170                                                          172
1 A. Yes.                                                    1 Q. Oh, so that -- is that you interpreting
2 Q. -- collectively?                                        2 what he said as meaning that he intended to do
3       So why did you perceive that his moving              3 that from the very beginning?
4 through the crowd, which you just saw, right, was          4 A. I'm -- I mean, you've asked me --
5 trying to intimidate you collectively?                     5 Q. Can you point to a specific interview
6 A. Because when you look at pictures of the                6 where Nathan Phillips said that before he
7 Lincoln Memorial, there was hundreds of feet of            7 approached the students, his intention was to go
8 space to get there that did not involve walking            8 to the Lincoln Memorial?
9 through a group of students that had been there            9 A. No.
10 for some time.                                            10      MR. SIEGEL: Okay. So I will -- read
11 Q. So in the -- in the video that we just                 11 back his answer, when I asked him before about
12 saw, do you remember when I asked you about the           12 why you perceived Mr. Phillips moving through the
13 people behind him, is it your contention that             13 crowd as trying to intimidate you collectively.
14 there was hundreds of feet of space there for him         14 Could you just read that back? I don't want to
15 to go to the Lincoln Memorial?                            15 ask him again.
16 A. It's my contention that there was space                16      THE WITNESS: Which --
17 before he even came over to us.                           17      MR. SIEGEL: No, no, not you, Nick. The
18 Q. Okay. And do you have any idea whether                 18 court reporter is going to read it back.
19 Mr. Phillips intended to go to the Lincoln                19      (Thereupon, the proceedings on Page 169,
20 Memorial before he came over to you?                      20 Line 1 to Page 169, Line 13 were read back by the
21 A. I don't before, but now he said that's                 21 reporter.)
22 where he was trying to go.                                22 BY MR. SIEGEL:
23 Q. Where did he say that?                                 23 Q. Okay. So now -- and then we had a
24 A. He's admitted that in public interviews,               24 question about the interviews, right?
25 that he was trying to get to the Lincoln Memorial         25      But -- but at that moment, right,
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 45 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2158       INFORMATION
                                      Transcript of Nicholas Sandmann                                  44 (173 to 176)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       173                                                          175
1 obviously before Mr. Phillips gave any interviews          1 standing in front of Mr. Phillips was standing up
2 or anything like that, right?                              2 for the school?
3 A. Right.                                                  3 A. Because we -- the students of the school
4 Q. At that moment, why did you perceive                    4 had stood there long enough and taken all kinds
5 Mr. Phillips walking through the students as they          5 of insults from the Hebrew Israelites, then had
6 were parting as trying to intimidate you                   6 had the Native American -- or Mr. Phillips, the
7 collectively?                                              7 Native American, walk through us or whatever.
8 A. Because if he wanted to get to where he                 8 And by the time he got in my face, when he could
9 was going, he could have just not walked through           9 have kept -- he could have even kept going
10 our group in the first place; or if he wanted to          10 through the students if he wanted to, I figured
11 get, you know, behind us instead of walking               11 was it time for someone to plant their foot and
12 through us, he could have gone out to where there         12 stand there where I had been and just face up.
13 was only this small amount of people, like I              13 And to me, that was standing up for the school,
14 mentioned, that were not students and gone                14 because I wasn't going to move.
15 around.                                                   15 Q. And what message was being communicated
16 Q. Okay.                                                  16 by standing up for the school? What does that
17 A. The -- the need to keep making us move                 17 mean?
18 for him and then eventually stopping at me and            18 A. Well, it means that we can come to
19 getting in my face convinced me that he was there         19 Washington, DC and protest something that we
20 to intimidate us, not to move through.                    20 believe to be deeply wrong and not be harassed on
21 Q. And what did you think he was trying to                21 our way out.
22 intimidate you to do?                                     22 Q. Okay. It's your -- your interpretation
23 A. I don't know if he was trying to get me                23 of what you observed, right, at that moment, was
24 to do anything.                                           24 that Mr. Phillips was trying to intimidate you,
25 Q. Well, you said us, you. I mean, in                     25 right?
                                                       174                                                          176
1 these texts you say he was trying to intimidate            1 A. Right.
2 us, right, like the students collectively?                 2 Q. Do you know for a fact whether that is
3 A. Right.                                                  3 true?
4 Q. So what did you think he was trying to                  4 A. No.
5 intimidate the group? How was he trying to                 5 Q. Possibly, you just perceived it?
6 intimidate the group? What does that mean?                 6 A. I mean, I guess.
7        MR. McMURTRY: Objection. I think he's               7 Q. Your text also said: The whole thing
8 answered it. But go ahead. We will try again.              8 with the black people calling us things.
9 A. I mean, generally, and any other school                 9        How did the black people calling us
10 field trip I had been a part of from that point           10 things relate to your deciding to stand in front
11 in the Catholic school system down to first               11 of Mr. Phillips?
12 grade, people that were not -- were not approved          12 A. Well, as I mentioned --
13 or whatever, nobody got that close to students,           13       MR. McMURTRY: Objection. Just go ahead
14 which is my point, that the closer he got and             14 and answer it.
15 when he got that close to me, I figured that,             15 A. As I mentioned, we -- we had already
16 based on all my experience, in which this is not          16 taken many insults from them. And at one point,
17 supposed to happen and does not happen, that he           17 I just felt like enough is enough, we don't need
18 was trying to intimidate us and something was             18 to respond to them anymore with chants:
19 going wrong here.                                         19 Someone's just got to stand here, be still and
20 BY MR. SIEGEL:                                            20 put their foot down.
21 Q. And what did you think he was trying                   21       MR. SIEGEL: Okay. Let's hand Nick
22 to -- did you think he was trying to intimidate           22 Exhibit 11. And you can go ahead and hand him
23 you to do something?                                      23 12, too, while we are at it.
24 A. I -- I don't know.                                     24       MS. MEEK: Okay.
25 Q. Okay. And how did you think that                       25 BY MR. SIEGEL:
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 46 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2159       INFORMATION
                                     Transcript of Nicholas Sandmann                                  45 (177 to 180)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                     177                                                         179
1 Q. Nick, I'm confident you are more versed               1 spread more conservative ideas.
2 in social media than I am. This appears to be            2 Q. Okay. And why are you a big fan of
3 some kind of DM message?                                 3 TPUSA?
4 A. Yes.                                                  4 A. I think -- I think that I was impressed
5 Q. What is it --                                         5 with them because they were able to do what no
6        MR. McMURTRY: Can we just go ahead -- I           6 one else was really doing, which was reaching out
7 haven't finished reading it yet.                         7 to people my age or whatever and taking a more
8        MR. SIEGEL: Oh, yeah, yeah. Sure, of              8 active role.
9 course. I apologize.                                     9        It's not like they were some news
10       MR. McMURTRY: Go ahead and read it.               10 company that just believes what they believe and
11 And when you are done reading it, let me know.          11 writes about it. Like they actually come to
12       THE WITNESS: I read it.                           12 campuses and are more on the ground.
13       MR. McMURTRY: Okay. Go ahead.                     13 Q. Okay. And so let's go to Exhibit 12
14 BY  MR.   SIEGEL:                                       14 now.
15 Q. So just explain for the record for those             15       It looks like Exhibit 12 was sent a
16 less literate in social media what this is.             16 couple minutes later. The one to Charlie Kirk
17 A. This is a direct message conversation                17 was sent a couple minutes later than the one to
18 between me and Kyle Kashuv on the Twitter app.          18 Kyle Kashuv?
19 Q. Okay. And the time stamp on that                     19 A. Yes.
20 appears to be January 19th, 2019, at 5:59 a.m.?         20 Q. And it looks to me like it's the same --
21 A. Correct.                                             21 the text is the same other than, obviously, one
22 Q. Were you still on the bus home at that               22 is to Charlie and one is to Kyle?
23 point, or do you remember where you sent that           23 A. Yes. I think I just copied, pasted them
24 from?                                                   24 and changed the names.
25 A. I believe I was still on the bus.                    25       MR. SIEGEL: Okay.
                                                     178                                                         180
1 Q. Okay. And I think that at least from                  1        MR. McMURTRY: The question -- I'm sorry
2 the communications that you have produced that           2 to interrupt you. I lost -- these exhibits
3 this seems to be your first one to anyone                3 aren't marked. What is this --
4 describing what happened?                                4        MR. SIEGEL: That was 10.
5 A. Right.                                                5        MR. McMURTRY: 10.
6 Q. Okay. And who is Kyle Kashuv?                         6        MR. SIEGEL: 10 is attached. 11 is Kyle
7 A. Kyle Kashuv is kind of a conservative                 7 Kashuv. And 12 is Charlie Kirk.
8 influencer and younger personality that is               8        MR. McMURTRY: Thank you.
9 popular with demographics that I would assume are        9 BY MR. SIEGEL:
10 mostly people around my age.                            10 Q. So let's use the Charlie Kirk one
11 Q. Okay. And why were you a big fan at the              11 because the print is a lot bigger.
12 time?                                                   12       The second sentence -- or the third
13 A. I -- he -- I liked him a lot for being               13 sentence, I guess, Nick, says: As the march
14 able to speak a message that I, for the most            14 ended, we were waiting for our busses at the
15 part, agreed with, as such, at basically my age.        15 Lincoln Memorial and members of the Indigenous
16 Q. Okay. And what is TPUSA?                             16 People's March approached me (I was wearing a
17 A. TPUSA stands for Turning Point USA,                  17 MAGA hat). A man plays drum in my face. But
18 which is an organization run by Charlie Kirk.           18 unlike others at my school, I didn't step out of
19 Q. And what is it?                                      19 the way because he was trying to intimidate us.
20 A. They run -- and I'm -- I'm not sure how              20       Right?
21 accurate this is. But they run chapters on              21 A. Right.
22 college campuses all across the country, and they       22 Q. So again, you were -- you were aware
23 are a student -- a conservative student activist        23 that others -- other students were stepping out
24 organization that I guess kind of is there to           24 of Phillips' way?
25 combat liberal ideas on college campuses and            25 A. Right.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 47 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2160       INFORMATION
                                        Transcript of Nicholas Sandmann                                  46 (181 to 184)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                      181                                                         183
1 Q. But you didn't because you thought he                  1        MR. SIEGEL: Okay. I don't remember
2 was trying to intimidate you collectively?                2  exactly  what the provisions are.
3 A. Yes, me and other students at the                      3        MR. McMURTRY: It's a lot.
4 school.                                                   4        MR. SIEGEL: But whatever it is,
5       MR. SIEGEL: Okay. Let's go to Exhibit               5 we'll --
6 13.                                                       6        MR. McMURTRY: Right. So I just think
7       MR. McMURTRY: Do you want him to read               7 at this section the court reporter needs to mark
8  the whole thing or are you going to ask him              8 as confidential and we should be good.
9 about --                                                  9        (The following portion from Page 183,
10      MR. SIEGEL: No. I'm going to ask him                10 Line 12 to Page 187, Line 15 was designated
11 about a few -- as with many of these texts, they         11 Confidential and is bound separately.)
12 are not even continuous, so...                           12       MR. SIEGEL: Okay. So I'm going to
13 BY MR. SIEGEL:                                           13 restart. I will restart.
14 Q. So, Nick, again, I will just ask you to               14 BY MR. SIEGEL:
15 confirm this exhibit, which is Bates numbered NS         15 Q. Let's go back to 327, Nick.
16 326 through 335. These are texts that you                16 A. Okay.
17 exchanged from your phone?                               17 Q. 547. So Mara texted you, said: That
18 A. Yes.                                                  18 was so brave just to stand there while he walked
19 Q. It looks like many of these were                      19 up into your face and banged the drum.
20 exchanged with Mara Schutt?                              20       Okay. Going to 328, text 548, you
21 A. Schutt.                                               21 respond: He was trying to intimidate me and the
22 Q. Schutt? Who is she?                                   22 rest of the school and that just wasn't going to
23 A. She is a friend that went to Notre Dame.              23 happen.
24 Q. Okay. Okay. So let's go to 327. And                   24       So once you and Mr. Phillips were face
25 do you see the text marked 547 at the bottom of          25 to face and he was drumming, did you also in --
                                                      182                                                         184
1 the page from Mara?                                       1 I'm sorry -- did you also interpret his drumming
2 A. Yes.                                                   2 as trying to intimidate?
3 Q. She texts: That was so brave to stand                  3 A. Yes.
4 there while he walked up into your face and               4 Q. Why?
5 banged the drum.                                          5 A. Because at one point, his drum came up
6        Right?                                             6 against my shoulder, arm area; and the rest of
7        MR. McMURTRY: We didn't mark this as a             7 the time, his drum stick was close enough to hit
8 confidential document. So -- although that's              8 my face, if he messed up at all. And I felt that
9 exactly what we are supposed to do with regard to         9 him invading my personal space was representative
10 handling this in the deposition, it's in the             10 of him trying to intimidate me.
11 protective order.                                        11 Q. Okay. When people feel that their
12       MR. SIEGEL: Yeah.                                  12 personal space is invaded, right, they often kind
13       MR. McMURTRY: I think we just need to              13 of back away a little bit, right?
14 make it --                                               14 A. Right.
15       MR. SIEGEL: Yeah. No. It's fine.                   15 Q. Why didn't you do that?
16 Whatever we are required to do, we will abide by         16 A. It's worth mentioning that where I was
17 it.                                                      17 located in this crowd of people was on a chunk of
18       MR. McMURTRY: I think we just have                 18 ice on one of these stairs. I wasn't on flat
19 to -- we have to mark this portion of the                19 ground. And so with all the kids around me, I
20 deposition dealing with the confidential                 20 didn't really feel that I could move without
21 materials as confidential and then file this             21 slipping and falling.
22 exhibit under seal, if it's filed, is what I             22 Q. Okay. And we will get to some video of
23 think it says here on paragraph 8, on page 9.            23 where you were.
24       So proceed. We will just -- if you go              24 A. Okay.
25 to file the deposition, we just need to --               25 Q. It would be fair to say that the reason
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                      CONTAINS CONFIDENTIAL
                                     2161       INFORMATION
                                      Transcript of Nicholas Sandmann                                    47 (185 to 188)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       185                                                          187
1 you decided to stand there was not because of the          1 information that that's true?
2 ice, it was because of your perception of what             2 A. My -- my counsel may, but I do not.
3 Mr. Phillips was doing to try to intimidate you?           3 I -- I -- to my knowledge, I don't -- I don't
4 A. I think it was a combination. Because                   4 think -- I don't know if it happened.
5 the longer it went on, the more I felt like                5 Q. Okay. Did you ever have any other
6 getting out of there. But at first, I didn't               6 communication with Mara Schutt about supposedly
7 want to. And then when I did, I realized I                 7 whether this had happened with some other high
8 didn't have the option to.                                 8 schools?
9 Q. Okay. And we will see some video, and                   9 A. I don't think so. But I cannot recall
10 you can tell us at what point later on you felt           10 my text messages from two and a half --
11 like you wanted to get out.                               11 Q. Okay. No. Fair. And when I use
12 A. Okay.                                                  12 communication in this context, I mean anything.
13 Q. Now, Mara responds to you: Also thought                13 It could be text message. It could be face to
14 you should know that this guy goes around the             14 face. It could be a phone call. It could be --
15 country doing this and that he has done the same          15 A. I -- I honestly cannot recall.
16 situations with another high school. At 49.               16       (This concludes the Confidential
17 A. Uh-huh.                                                17 portion.)
18 Q. And then your next response on 551 is:                 18       MR. SIEGEL: Okay. Let's go to page
19 I heard that. Apparently, he also tried to do it          19 335.
20 to Covington Latin earlier, too. I hope the               20       MR. McMURTRY: Just note this does not
21 truth hits them.                                          21 have a confidential stamp on it, so...
22       What -- what were you talking about?                22       MR. SIEGEL: We will certainly agree
23 A. I was told, which I'm not sure at this                 23 that, you know -- well, and you are saying it
24 point if it turned out being true, but it was             24 should?
25 unconfirmed that earlier that Nathan Phillips had         25       MR. McMURTRY: No.
                                                       186                                                          188
1 gone up to other students from other schools               1        MR. SIEGEL: Okay.
2 and -- I -- I don't know exactly what he did, but          2        MR. McMURTRY: I'm saying, just to be
3 that he approached other students, and Covington           3 clear, we are out of that territory now.
4 Latin is a school in northern Kentucky.                    4        MR. SIEGEL: Okay. Fair enough.
5 Q. And when did you hear that he had                       5 BY MR. SIEGEL:
6 approached them?                                           6 Q. Okay. So if you look at text 573 on
7 A. I can't recall. I think that -- it was                  7 335 -- and again, this is the text exchange you
8 probably that another student mentioned it to me           8 were having with her on -- it looks like the
9 after it happened or on the bus.                           9 night of January 19th?
10 Q. Which student?                                         10 A. Yes.
11 A. I can't recall. I -- I just know that I                11 Q. Okay. So on 573, Ms. Schutt texts: Me
12 heard that.                                               12 too because you did nothing wrong and this guy
13 Q. And -- and where -- did the student tell               13 does this for a living to ruin -- that's young --
14 you when this supposedly happened that Nathan             14 A. Yeah.
15 Phillips approached Covington Latin?                      15 Q. -- kids' lives. I think roles were
16 A. No.                                                    16 reversed and you were acting like the adult and
17 Q. Do you understand that he was -- the                   17 he was the kid.
18 student was telling you that it happened the same         18       You respond: I agree. He was trying to
19 day, supposedly?                                          19 intimidate young kids.
20 A. It was my impression that it had                       20       So why did you think Phillips was acting
21 happened on the same day. But with so many                21 like a kid and you the adult?
22 question marks, is why I basically never did              22 A. Because I think it's childish as a elder
23 anything with it, because I had no idea if it had         23 to get in the face of a stranger that also
24 actually happened.                                        24 happens to be a child at 16 and get in their face
25 Q. So to this day, do you have any                        25 for several minutes. I think that's childish.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 49 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2162       INFORMATION
                                         Transcript of Nicholas Sandmann                                 48 (189 to 192)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                       189                                                         191
1 Q. Okay. But you don't think that deciding                 1 percent of it is irrelevant to this phase, just
2 to stand your ground in that situation was?                2 putting in, you know, the particular page that I
3 A. No. I think that's very mature.                         3 want to ask some questions about.
4 Q. When -- could anyone disagree with you                  4         If he wants to look at the document, I
5 about that?                                                5 have it. But I don't think there also wasn't any
6 A. They could. I don't think they are                      6 reason -- in the event this ever does become a
7 right.                                                     7 public record, then we didn't need the whole
8 Q. You just -- you would disagree with                     8 report. Is that fair?
9 them, right? You wouldn't agree with their                 9         MR. McMURTRY: Yes.
10 opinion?                                                  10        MR. SIEGEL: Okay.
11 A. Right.                                                 11        MR. McMURTRY: Just to be clear, now, at
12 Q. Okay. Did you think that by not                        12 this point, we are marking the deposition as
13 parting, along with the other students who were           13 being confidential and the exhibit, as part of
14 doing that, that you were acting like the adult?          14 the deposition, also being confidential.
15       MR. McMURTRY: Objection. Go ahead.                  15        MR. SIEGEL: Okay.
16 A. No. I think I was acting like the adult                16 BY MR. SIEGEL:
17 for staying calm in a situation that was very             17 Q. So, Nick, if I could direct you to --
18 high pressure.                                            18 this is just one page of NS 16, right?
19 BY MR. SIEGEL:                                            19 A. Uh-huh.
20 Q. Do you know what Mara Schutt was                       20 Q. Look at the -- I guess it's the fourth
21 referring to when she texted: Phillips ruins              21 paragraph down. Just -- just read that to
22 young people's lives for a living?                        22 yourself for a moment, the one that starts "I
23 A. I do not.                                              23 felt."
24       MR. SIEGEL: Okay.                                   24        MR. McMURTRY: If I may just jump in
25 A. Now I think it's in reference to                       25 here, if we are just going to talk about these
                                                       190                                                         192
1 something that he was involved in, in Detroit              1 facts, there is no need to mark it as
2 with -- I mean, I don't even know that story               2 confidential, his recollection.
3 fully. I just know that this -- this isn't the             3        MR. SIEGEL: Okay.
4 first time his name necessarily appeared.                  4        MR. McMURTRY: I think the whole report,
5 Q. Okay. Do you know anything more about                   5 obviously, was confidential, and I would like to
6 what you were referring to, the incident in                6 treat the portions of the report as confidential.
7 Detroit?                                                   7 But to the extent you are asking him questions
8 A. No. And I don't -- I know nothing about                 8 about what he thought or felt or said --
9 it, whether Phillips was in the right or wrong,            9        MR. SIEGEL: Sure.
10 any of it.                                                10       MR. McMURTRY: -- that's fine. Okay.
11       MR. SIEGEL: Okay.                                   11       MR. SIEGEL: I will isolate this as much
12   A.   I just know it exists.                             12 as possible.
13       MR. SIEGEL: I will ask about maybe a                13       MR. McMURTRY: Okay.
14 couple more exhibits, and then we will take               14       THE WITNESS: Okay. I read it.
15 another break, Todd.                                      15 BY MR. SIEGEL:
16       MR. McMURTRY: Yes.                                  16 Q. So you have read it?
17       MR. SIEGEL: Does that work?                         17       So the examiner quotes you as saying: I
18       MR. McMURTRY: Yes.                                  18 felt Phillips was creepy and weird and I didn't
19       MR. SIEGEL: Okay. Let's show Exhibit                19 know his intentions.
20 14.                                                       20       Did you say that to the -- whichever
21       Now, this is -- this is confidential,               21 examiner was recording this report?
22 too, certainly. And Todd, I will say for the              22 A. I believe I did.
23 record, it's only going to come up a couple of            23 Q. Okay. Why did you think he was creepy
24 times, but what we elected to do here is, rather          24 and weird?
25 than put the whole document in the record, a high         25 A. Because, as I said before, in my
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 50 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2163       INFORMATION
                                       Transcript of Nicholas Sandmann                                    49 (193 to 196)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       193                                                         195
1 experience, adults don't get that close to kids,           1 Q. But you disagree with that?
2 especially for that long.                                  2 A. Well, it's not how I was raised.
3 Q. Okay. Do you believe respecting your                    3        MR. SIEGEL: Let's go to Exhibit 15.
4 elders is a value that you hold?                           4 After this one, we will take a break.
5 A. Yes. It's part of how I was raised.                     5        MR. McMURTRY: Okay. Just for the
6 Q. If a teenager sees an older person                      6 record, 15 is also marked as confidential.
7 walking in his or her direction and other people           7        MR. SIEGEL: Yes.
8 are parting for that person as he moves forward,           8        (The following portion from Page 195,
9 is it a respectful thing to do to move out of the          9 Line 11 to Page 199, Line 17 was designated
10 way as well?                                              10 Confidential and is bound separately.)
11 A. I would agree. But it's not my                         11 BY MR. SIEGEL:
12 responsibility to slip on the steps and                   12 Q. Nick, can you explain what medium of
13 potentially break an arm or something to make             13 communication is Exhibit 15?
14 sure he can get through.                                  14 A. This is direct messaging on Instagram.
15 Q. Well, there were lots of other kids on                 15 Q. Okay. And it looks like you are
16 the steps, right?                                         16 directly messaging with Will Fries, I take it?
17 A. But not all the kids were on ice.                      17 A. Correct.
18 Q. And other kids moved away, right?                      18 Q. And someone named Josh Merkle?
19 A. Right.                                                 19 A. Correct.
20 Q. And I think you said before, that                      20 Q. Who is Josh Merkle?
21 originally, you were -- you were making a                 21 A. Josh is a cousin of Will.
22 decision, right, that you didn't want to move             22 Q. Okay. Was Josh there?
23 because you felt he was trying to intimidate you?         23 A. No.
24 A. Correct.                                               24 Q. Are you friendly with Josh independently
25 Q. Right? So do you -- even if a teenager                 25 or --
                                                       194                                                         196
1 thinks that an older person might be trying to             1 A. I really only know him through Will.
2 intimidate them, you see that that person is               2 Q. Okay. Let's turn to page 2,047.
3 walking forward and other people are parting for           3        So if you look sort of in the middle of
4 him, isn't the respectful thing to do to move out          4 the page where Josh messages: Why was your
5 of his way as well?                                        5 school there? LOL.
6 A. Not if he's trying to intimidate me.                    6        Which is laugh out loud, right? Do you
7 Q. You don't think that even if the older                  7 see that?
8 person -- even if you think the older person is            8 A. Yes.
9 trying to intimidate you, you don't think the              9 Q. Okay. So Josh texts: Why was your
10 respectful thing to do is to just move out of the         10 school there? LOL.
11 way?                                                      11       You message: March For Life.
12 A. I can't see why I would. If -- if they                 12   A.   Uh-huh.
13 want to intimidate me, which I would assume then          13 Q. Right? He messages: Ah, promoting
14 means they exhibit a dislike of me, I can't find          14 prolife, I see.
15 any compelling reason as to why I would equally           15       You respond: Among other things, yes.
16 return the respect to clear a place for them to           16 A. Yes.
17 move.                                                     17 Q. He messages: What other things?
18 Q. Do you think people could disagree with                18       You respond: I also promoted not being
19 you about that?                                           19 intimidated by leftists.
20 A. They could.                                            20 A. Yes.
21 Q. Do you have any idea what in the Native                21 Q. So when you are saying not being
22 American culture would be considered the                  22 intimidated there, are you referring to the same
23 respectful thing to do in that situation?                 23 perception you've testified to before, that
24 A. I would assume the respectful thing is                 24 Mr. Phillips was trying to intimidate the group?
25 probably to just move out of the way regardless.          25 A. Correct. Or I should also add -- excuse
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 51 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2164       INFORMATION
                                      Transcript of Nicholas Sandmann                                  50 (197 to 200)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       197                                                         199
1 me. I should also add this was not meant to be             1 Phillips, correct, and you didn't?
2 taken seriously. This was more of a joke that,             2 A. Hut-uhn.
3 oh, I was there to promote not being intimidated.          3 Q. Couldn't Phillips have perceived that
4        I obviously didn't plan on ever meeting             4 you intended to stop his path forward?
5 Nathan Phillips that day, and I made this remark           5        MR. McMURTRY: Objection.
6 more as a joke at my own expense.                          6 A. He could have. I think he would have
7 Q. Okay. Well, but you -- the statement                    7 figured out really quickly, if he tried to move
8 was, right, not what you were intending to, but            8 anywhere else, that I wasn't going to follow
9 it was: I also promoted not being intimidated.             9 them.
10       I think that's what ended up happening,             10 BY MR. SIEGEL:
11 right?                                                    11 Q. So you think you could have -- you think
12 A. Right.                                                 12 he could have figured that out, and we will talk
13 Q. Okay. Do you disagree with that                        13 about that, but would you acknowledge that he
14 statement or did you feel you also promoted not           14 could have perceived that it was your intention
15 being intimidated by leftists?                            15 to stop his path forward?
16 A. I mean, if I had any control over it,                  16 A. Right.
17 the nar -- or the covers that would have come out         17       MR. SIEGEL: Okay. Let's break.
18 for the March For Life would have been about the          18       (This concludes the Confidential
19 March For Life and not about what happened.               19 portion.)
20       Obviously, I don't. So the joke here                20       THE VIDEOGRAPHER: We are going off the
21 kind of was that, well, among other things, yeah,         21 record. The time is 2:22 p.m.
22 I supported the March For Life but,                       22       (Thereupon, there was a recess taken at
23 unfortunately, this is what everyone's talking            23 2:22 p.m.)
24 about right now and I didn't mean for it to               24       THE VIDEOGRAPHER: We are back on the
25 happen.                                                   25 record. The time is 2:41 p.m.
                                                       198                                                         200
1 Q. Okay. But given that it did happen,                     1        (Thereupon, the proceedings were resumed
2 right?                                                     2 at 2:41 p.m.)
3 A. Right.                                                  3 BY MR. SIEGEL:
4 Q. How did what happened promote not being                 4 Q. Nick, in one of the clips from the
5 intimidated by leftists?                                   5 Guthrie interview that we played for you earlier,
6 A. Because there -- a lot of the                           6 you said: He also had a -- referring to
7 commentators and people who are weighing in on             7 Phillips: He also had a companion that also had
8 what happened to me made kind of the slogan of             8 a drum and a cameraman with him.
9 stand your ground, whatever.                               9        Do you remember that?
10       So even whether this was my goal or not             10 A. Yes.
11 or whether I wanted it to happen or not, I became         11 Q. Okay. Was that one of the reasons you
12 kind of this poster for not being intimidated and         12 felt that Phillips was trying to intimidate the
13 standing your ground.                                     13 group, you saw he had a cameraman with him?
14 Q. Were the leftists who you are saying you               14 A. Yes. That seemed odd.
15 are humorously referring to, right -- but did the         15 Q. Okay. And -- and why did you say that
16 leftists mean Mr. Phillips?                               16 he had a cameraman with him?
17 A. No. I would -- I would attribute that                  17 A. I saw someone following him as he walked
18 comment more to the members of Congress and other         18 towards the students that was filming him.
19 people on the political left that decided that            19 Q. Okay. And by saying he, meaning
20 they should weigh in on what happened. Because I          20 Phillips had a cameraman with him, was it your
21 would say there is a whole lot more than me --            21 perception that that was like somebody that
22 there is a whole lot more standing that I did             22 Phillips had brought with him?
23 than me just physically standing there.                   23 A. Yes. Now, I -- that was my perception
24 Q. Okay. Now, those -- the other                          24 from standing there.
25 students -- other students, right, parted for             25 Q. Okay. And if you recall, just off the
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 52 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2165       INFORMATION
                                         Transcript of Nicholas Sandmann                                     51 (201 to 204)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                       201                                                            203
1 top of your head, whom you were referring to?              1 videotaping this incident?
2 A. Not off the top of my head. I can                       2        MR. McMURTRY: Objection. Go ahead.
3 describe to you what his -- one of his companions          3 A. I can't -- I can't guess as to if he
4 looked like that had the second drum, but I -- I           4 arranged to be videotaped before he walked over
5 can't remember off the top of my head what the             5 or if that was just a decision made by whoever
6 cameraman looked like.                                     6 did it. I -- I don't know.
7 Q. Okay. So we are going to show you some                  7 Q. Okay. And you referred to the gentleman
8 video, and I'm going to ask if you can point out           8 with the drum as a companion of Phillips. What
9 who it was that you were referring to. Okay?               9 did you mean by that?
10 A. Okay.                                                  10 A. I meant like he was definitely a part of
11 Q. Before we do, just the person with the                 11 the group that walked over that was led by Nathan
12 drum, what do you remember he looked like?                12 Phillips.
13 A. He has a -- almost like a baseball hat                 13 Q. Okay. And did you -- did you -- by
14 kind of thing on that is completely white and             14 companion, did you mean they were friends or
15 this sort of handlebar mustache. And he is                15 they -- perceived that they were friends in some
16 holding a smaller drum. The drum he has is                16 way?
17 smaller than Phillips'.                                   17 A. I meant that they -- kind of like a -- I
18 Q. Okay. And I will ask you to point him                  18 know it's a short distance. But like a traveling
19 out, too.                                                 19 companion somewhat. They both traveled from
20 A. Okay.                                                  20 their area to ours together.
21 Q. This is Exhibit 9, which is video 10.                  21       From what I perceived, it seemed like
22 Again, the one produced by your counsel.                  22 they -- they knew each other or at least were a
23       So is that the cameraman you are                    23 part of the same group in some sense.
24 referring to? There is a fellow who is holding            24 Q. Okay. Traveling, you mean like
25 up a camera there with the --                             25 traveling to DC?
                                                       202                                                            204
1 A. Yes, that the cursor is on --                           1 A. Traveling from where they were at the
2         MR. SIEGEL: Yeah.                                  2 memorial to where we were. It's a -- I mean,
3 A. -- with the red hat. That is him.                       3 it's a short distance. So that analogy, but --
4 Q. It looks like a -- it looks like a Reds                 4 Q. Okay. And that was your perception, I
5 hat?                                                       5 take it, based on what you saw?
6 A. It does. It does.                                       6 A. Yes.
7 Q. I'm going to refer to him as the man                    7         MR. SIEGEL: Okay. Let's go to Exhibit
8 with the Reds hat. Okay?                                   8 16, video 2 of the videos.
9 A. Okay.                                                   9         (Thereupon, a video recording of Exhibit
10 Q. And I think it's pretty -- the fellow                  10 16 was played.)
11 with the white hat sort of behind him to the              11        MR. SIEGEL: I guess if you could just
12 right, is that the -- that's the drummer?                 12 point   to -- we're at -- point the cursor at Nick.
13 A. I --                                                   13 BY MR. SIEGEL:
14        MR. SIEGEL: Let's -- you know what,                14 Q. That is you, right, or that is your face
15 let's -- let's move it forward about nine                 15 where she's pointing?
16 seconds, where I think -- we'll play it for about         16 A. Right.
17 nine seconds.                                             17 Q. So I think you may have given us his
18        (Thereupon, a video recording of Exhibit           18 name before.
19 9 was played.)                                            19        But right now, there are about three or
20 BY MR. SIEGEL:                                            20 four at least rows of students in front of you,
21 Q. Okay. So you can see a little clearer                  21 right?
22 here. He has a mustache, wearing glasses, right?          22 A. Right.
23 A. Right.                                                 23 Q. And do you see that sort of in front of
24 Q. Okay. So sitting here today, do you                    24 you, to your right, there is a student wearing
25 think Mr. Phillips had anything to do with                25 a -- it looks like a gray and white ski hat?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 53 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2166       INFORMATION
                                         Transcript of Nicholas Sandmann                                52 (205 to 208)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                      205                                                         207
1 A. Yes.                                                   1 Q. You -- you looked down, right?
2 Q. Turned to his side? Do you know who                    2 A. Right.
3 that is?                                                  3 Q. And you mentioned before that that's
4 A. Not off -- not from this picture, no.                  4 where it could be slippery in parts. So you
5 Q. Okay. Is he a Covington student, to                    5 looked down, right?
6 your knowledge?                                           6 A. Right.
7 A. I don't know.                                          7        MR. SIEGEL: Okay. Keep going.
8 Q. Okay. And at -- at the front -- so it's                8  BY   MR.  SIEGEL:
9 at the front, at the very right side of the               9 Q. Didn't you just move a little to your
10 frame, there is a fellow in an L.L. Bean shirt.          10 right?
11 Do you know who he is?                                   11       MR. McMURTRY: Objection.
12 A. Yes.                                                  12 A. I -- I honestly can't tell with the way
13 Q. Who is that?                                          13 it's rotating.
14 A. Cammeron Martin.                                      14       I guess the perspective makes me seem as
15 Q. That's Cammeron Martin?                               15 if I'm moving; or if I moved, I can't tell.
16 A. Yes.                                                  16 Q. You can't tell. But it's possible that
17 Q. Okay. So right now, you are -- and you                17 you did move a little to your right at that
18 see the student we talked about before in the            18 point?
19 black sweatshirt who was moving up his hands --          19       MR. McMURTRY: Objection. Go ahead.
20 hands up and down, and you say you have no idea          20   A.   I mean, it could be. It depends.
21 who he is?                                               21 Q. Okay. You would agree at this point you
22 A. Correct.                                              22 were actually on the opposite side of the fellow
23 Q. So right now, you are -- if you look at               23 with the black sweatshirt than you were when we
24 the -- where the L.L. Bean guy is, you look like         24 looked at that about two seconds earlier?
25 you are a little bit to his left behind there?           25       MR. McMURTRY: Objection. Go ahead.
                                                      206                                                         208
1 A. Yes.                                                   1 BY MR. SIEGEL:
2 Q. Okay. And the student who was doing the                2 Q. Right.
3 up and hands down motion is standing to your              3 A. Yeah, we're -- we're on -- we don't line
4 right, correct?                                           4 up the same way anymore. But I -- I don't know
5 A. Correct.                                               5 if that is because he moved or I moved or it's
6        MR. SIEGEL: Let's go about 10 more                 6 just a different angle of the camera or what it
7 seconds.                                                  7 is.
8        (Thereupon, a video recording of Exhibit           8       MR. SIEGEL: Okay. Let's go -- you can
9 16 was played.)                                           9 just play it normal, normal speed from here.
10       MR. SIEGEL: Go back just a little bit.             10      (Thereupon, a video recording of Exhibit
11 BY MR. SIEGEL:                                           11 16 was played.)
12 Q. So in those 10 seconds, Nick, it looks                12 BY MR. SIEGEL:
13 like you moved to your right a little bit?               13 Q. All right. I'm going to play this
14 A. I'm not sure if I moved or the people                 14 again, because it -- do you see the -- in the
15 around me did. I'm pretty -- I'm almost positive         15 frame right now, there is a -- someone wearing a
16 that I did not move and the people around me             16 brown hoodie?
17 shifted and that's why it looks like I'm in a            17 A. Yeah.
18 different spot.                                          18 Q. There is someone wearing a green hoodie?
19       MR. SIEGEL: Okay. So let's go -- let's             19 A. Yes.
20 go back to 7 seconds.                                    20 Q. And there is a student in between them?
21       (Thereupon, a video recording of Exhibit           21 A. Yes.
22 16 was played.)                                          22 Q. Do you know who the student in between
23       MR. SIEGEL: And we are going to go                 23 them is?
24 through this frame by frame. Okay? Stop.                 24 A. Yes.
25 BY MR. SIEGEL:                                           25 Q. Who is that?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 54 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2167       INFORMATION
                                     Transcript of Nicholas Sandmann                                     53 (209 to 212)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       209                                                          211
1 A. That is Sam Paley.                                      1 A. I think I knew at that point in time
2 Q. Okay. So we're just going to go back to                 2 that to some Native Americans it was
3 10 seconds. And I'm going to ask you to see, can           3 disrespectful and that to others it -- that it --
4 you make out what Sam Paley is saying.                     4 other Indians -- or Native Americans are fine
5 A. Okay.                                                   5 with it.
6        (Thereupon, a video recording of Exhibit            6        At that point, I knew it was
7 16 was played.)                                            7 controversial.
8 A. He said -- I think he said, hey, Law.                   8 Q. Did you -- do you have an understanding
9 And Law -- because that is John Lawrie. That is            9 that some Native Americans feel like it makes fun
10 his nickname.                                             10 of their culture?
11       MR. SIEGEL: Okay. Okay. Let's                       11 A. As I said, I -- I really don't know why
12 restart.                                                  12 they find it disrespectful. I guess it makes fun
13       MS. MEEK: We are restarting at 13,                  13 of them somewhat.
14 Exhibit  16.                                              14 Q. So earlier you said that you felt
15       (Thereupon, a video recording of Exhibit            15 insulted and, you know, mocked by the BHIs.
16 16 was played.)                                           16       Is it your contention that you felt that
17       MR. SIEGEL: Where did we stop?                      17 you were mocked by the BHIs but Mr. Phillips
18       MS. MEEK: Paused at 30. I think we                  18 couldn't have felt that he was being mocked by
19 need to go a bit further to be --                         19 the students at that point?
20 BY MR. SIEGEL:                                            20 A. I never claimed that he felt like we
21 Q. Some of the students at this point are                 21 weren't mocking him. I mean, he's entitled to
22 doing what is referred to as the tomahawk chop?           22 feel however he wants to. What I'm saying is
23 A. Yes.                                                   23 that I -- from my perception, it didn't seem like
24 Q. Were you doing it?                                     24 anyone ever was mocking him.
25 A. No.                                                    25       MR. SIEGEL: Let's go back to 24 seconds
                                                       210                                                          212
1 Q. Why weren't you doing it?                               1 and go frame by frame. No. Go back to 24 and
2 A. I don't know.                                           2 then start frame by frame.
3        MR. McMURTRY: I think he answered that              3        MS. MEEK: Yeah, I did.
4 before. But go ahead. You can answer again.                4        MR. SIEGEL: Is that what you did?
5 A. As I said, I did not feel a need to or                  5 Okay.
6 any reason to.                                             6 BY MR. SIEGEL:
7 BY MR. SIEGEL:                                             7 Q. Aren't you doing the tomahawk chop
8 Q. Did you consider doing a tomahawk chop                  8 there?
9 there to be disrespectful to Mr. Phillips?                 9 A. No. I think I had raised my hand up to
10 A. As I said before, I am completely                      10 point at something. I don't know what I'm -- I
11 uneducated on the origins of the tomahawk chop,           11 don't -- I'm not -- I have my hands like right
12 why it may or may not be seen as disrespectful;           12 here.
13 and, therefore, I really don't have any informed          13       I think there is a difference between
14 opinion on it whatsoever.                                 14 this and this, is what I'm getting at.
15 Q. Okay. And -- and is that still true                    15 Q. So it's your testimony that you weren't
16 today?                                                    16 in any way even sort of slightly trying to join
17 A. That is true today. I -- I, yes,                       17 in with the tomahawk chop?
18 understand why some people consider it                    18 A. No. I think -- I think when you listen
19 disrespectful. But other times, Indians will --           19 to the video with the audio, and maybe it's from
20 Native Americans will run out to people doing the         20 a different angle, you can hear me with my hand
21 tomahawk chop. I don't understand it.                     21 up kind of like shrugging and asking what is
22 Q. And at the time of this incident did you               22 going on right now.
23 have any understanding that some people consider          23 Q. Okay. Well, if you hear that at any
24 it disrespectful to Native Americans to do the            24 point in any of the videos, just point it out.
25 tomahawk chop?                                            25 A. Okay.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 55 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2168       INFORMATION
                                         Transcript of Nicholas Sandmann                                 54 (213 to 216)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                      213                                                         215
1        MR. SIEGEL: Okay. So let's keep going              1 16 was played.)
2  in realtime.                                             2        MR. SIEGEL: Okay. Just go back and
3        (Thereupon, a video recording of Exhibit           3 start again.
4 16 was played.)                                           4 BY MR. SIEGEL:
5 BY MR. SIEGEL:                                            5 Q. Okay. So this is at 32 seconds. Where
6 Q. So at this point, there are still at                   6 I showed you this before, there are at this point
7 least two or three rows of students between you           7 still several of the students, right, between you
8 and wherever the camera is?                               8 and where the camera is, right?
9 A. Yes.                                                   9 A. Yes.
10       MR. SIEGEL: Okay. Let's keep going.                10       MR. SIEGEL: Okay. So let's go about 12
11       MS. MEEK: I just paused at 32, and I'm             11 more seconds.
12 continuing from that point.                              12       (Thereupon, a video recording of Exhibit
13       MR. SIEGEL: Now, this is at 37, right?             13 16 was played.)
14       MS. MEEK: Yes.                                     14       MR. SIEGEL: Okay. So where is it now,
15 BY MR. SIEGEL:                                           15 Jessica?
16 Q. Now, at this point, there are a bunch of              16       MS. MEEK: 44 seconds.
17 students to Mr. Phillips' right and to the right         17 BY MR. SIEGEL:
18 of some of the other individuals, the one with           18 Q. So in those 12 seconds, those several
19 the drum and the one with the camera, right?             19 rows of students who were in front of you before
20 A. Right.                                                20 have parted for Mr. Mr. Phillips, right?
21 Q. Couldn't someone perceive that there                  21 A. Right.
22 were students who were swarming around him at            22 Q. Okay. And there are students behind you
23 this point?                                              23 who are parting as well, right?
24       MR. McMURTRY: Objection. Go ahead.                 24       MR. McMURTRY: Objection. I'm not --
25 A. I mean, to me, not really.                            25 part, you mean -- it looks to me like they are
                                                      214                                                         216
1        If you look at a couple of the students            1 moving away.
2 there, they don't really look like they are               2        MR. SIEGEL: Moving to the side.
3 swarming. They are looking off at something               3        MR. McMURTRY: Well, no, I don't even
4 else. They are not even -- they are at best half          4 see that. But go ahead. Ask him the questions.
5 interested in what's going on right now. You can          5 He can --
6 see them all looking in a different direction.            6 BY MR. SIEGEL:
7        MR. SIEGEL: Okay. Let's go back and --             7 Q. Okay. Are there students behind you who
8 to 32 seconds again.                                      8 are moving to the side?
9        (Thereupon, a video recording of Exhibit           9 A. I mean, it looks like some of the
10 16 was played.)                                          10 students behind me are moving.
11       MR. SIEGEL: You can stop.                          11       MR. SIEGEL: Right.
12 BY  MR.   SIEGEL:                                        12   A.   I don't -- I don't necessarily know -- I
13 Q. So, it could -- I mean, it's just a                   13 don't know if I would say they are moving aside.
14 matter of opinion, right? Somebody could                 14       MR. SIEGEL: Okay. Let's watch the next
15 perceive that there are students now who have            15 few seconds.
16 sort of swarmed around Phillips on both sides,           16       (Thereupon, a video recording of Exhibit
17 right?                                                   17 16 was played.)
18 A. Yeah. I mean, someone could look at it                18 BY MR. SIEGEL:
19 that way if they wanted to.                              19 Q. Okay. Now, most of the students behind
20       MR. SIEGEL: Okay. Now let's go back to             20 you have moved to the side, right?
21 32 seconds.                                              21 A. I mean, most. There are still, it looks
22       MS. MEEK: And for the record, a moment             22 like, three rows deep behind me.
23 ago, I just stopped at 44 seconds. Now I'm going         23 Q. It's more -- there are some students at
24 back to 32 seconds.                                      24 the top of the stairs, right?
25       (Thereupon, a video recording of Exhibit           25 A. Right. And I can count the blue
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 56 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2169       INFORMATION
                                     Transcript of Nicholas Sandmann                                 55 (217 to 220)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                     217                                                         219
1 sweatshirt, the black, and then the head popping         1 knowing what that would have led to.
2 out behind him who were all one after another.           2 Q. So it's your testimony, Nick, that you
3 Q. Okay. Fair enough. So it would be                     3 were the only student there, with several rows in
4 three rows of students had moved behind you to           4 front of you and behind you, who somehow were at
5 the side?                                                5 risk to move to the side?
6       MR. McMURTRY: Objection.                           6 A. That is not what I said.
7 A. At least three rows of students are                   7        My testimony is that I was on ice and --
8 still behind me at this point.                           8  and  at the current moment, I judged that there
9 BY MR. SIEGEL:                                           9 was a chance I could have fallen.
10 Q. Directly behind you? No, no, no. I                   10 Q. Did you see before the video where you
11 understand that. But the three rows -- the              11 looked down?
12 several rows of students who were most                  12 A. Yes.
13 immediately behind you are not --                       13 Q. Do you remember before?
14 A. Are not there --                                     14 A. Yes.
15 Q. They have all moved to the side,                     15 Q. Were you looking down to -- to put
16 correct?                                                16 yourself in a place that was secure?
17 A. Correct.                                             17 A. I -- I don't -- I don't know what I
18      MR. McMURTRY: Objection.                           18 was -- I think -- I don't -- I don't remember
19 BY MR. SIEGEL:                                          19 what I was looking at when I looked down.
20 Q. So were you aware at the time that                   20       I mean, I probably just glanced down for
21 students behind you were moving to the side?            21 a second.
22      MR. McMURTRY: Objection. Go ahead.                 22       I mean, my shoes -- I could have been
23 A. I don't really think I was. Most of my               23 looking at my shoes which were covered in mud
24 attention was taken up by Nathan Phillips.              24 from when I ran back from the Capitol. Because
25 Q. Okay. But certainly Mr. Phillips could               25 all the dirt streets were -- were mud from the
                                                     218                                                         220
1 have perceived that people behind you were moving        1 snow, and I had gotten mud all over my white
2 to the side?                                             2 shoes.
3 A. I mean, yes, he could have. He                        3 Q. Okay. There -- the other students
4 definitely saw that there's -- I don't know how          4 weren't physically preventing you at that point
5 many feet of -- excuse me -- I don't know how            5 from moving?
6 many feet of space in between me and the kid with        6 A. I mean, they parted. I still had
7 the white hat holding on to a sweatshirt, but we         7 students to my left that are just out of frame
8 are clearly not shoulder to shoulder.                    8 that you can't see.
9        So it even looks to me as if he just              9       I could -- I mean, I could have tried to
10 went around to my right, he had even more room to       10 make my way a little more over towards the kid in
11 keep walking if that is what he wanted to do.           11 the white hat.
12 Q. Okay. And so we've seen, you know, in                12      MR. SIEGEL: Right.
13 front of you, there were several students, or a         13 A. But someone directly behind me, that's
14 lot of students, who moved to the side, right?          14 almost covered up by me. And I mean, at that
15 A. Right.                                               15 point, I really wasn't looking to see how the
16 Q. Now, behind you, there were students who             16 crowd had adjusted itself.
17 moved to the side, right?                               17 Q. Okay. You later, in a couple of
18 A. Right.                                               18 statements, said, I think, you wished that you
19 Q. So, I mean, physically, you could have               19 had walked away?
20 done the same thing, right? You could have              20 A. Yes.
21 done -- you could have moved aside as the other         21 Q. So it is right you could have walked
22 students did?                                           22 away?
23 A. I could have moved and risked falling                23      MR. McMURTRY: Objection.
24 down the steps and, you know, potentially in my         24 BY MR. SIEGEL:
25 fall bumping right into Mr. Phillips and not            25 Q. At least at this point?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 57 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2170       INFORMATION
                                       Transcript of Nicholas Sandmann                                   56 (221 to 224)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       221                                                          223
1       MR. McMURTRY: Objection.                             1 A. No. I was not paying attention to
2    A.  I mean, there was never a point where I             2 behind me.
3 was unable to walk -- to walk away. It was just,           3        MR. SIEGEL: Okay. Let's go.
4 in my head, a cost/benefit of what -- if I move            4        MS. MEEK: We just paused at 32. I'm
5 now, there is a chance I fall and hit people,              5 restarting from that point.
6 especially the person that is in my face, and I            6        MR. SIEGEL: Just stop a second. So
7 don't know how that's going to play out.                   7 again, where are we at, 1:34?
8 Q. Okay. But at the point that you first                   8        MS. MEEK: Yes.
9 made your decision to stay there, you were, as             9 BY MR. SIEGEL:
10 you said in all of the texts, right, feeling that         10 Q. Again, the fellow in the black hoodie
11 Mr. Phillips was trying to intimidate you and the         11 has crossed all the way over from one side to the
12 group and you didn't want that to happen?                 12 other, right?
13 A. Right.                                                 13 A. Right.
14      MR. SIEGEL: Okay. Let's go to -- let's               14 Q. And again, there is space for you on
15 keep going a little bit.                                  15 your left side and behind you still at this
16      MS. MEEK: We are at 52 seconds, which                16 point, right?
17 is where we were paused before. Continuing on.            17 A. Right. And at this point, his companion
18      (Thereupon, a video recording of Exhibit             18 that I described is right next to him, because
19 16 was played.)                                           19 seeing him a couple frames ago.
20 BY MR. SIEGEL:                                            20       And if it's me, Phillips and him, he's
21 Q. Okay. Now you see there are a couple of                21 got a clear shot up and around me if he wants to
22 students who have now -- who were sort of right           22 go there.
23 behind you, and they have moved over some, right?         23 Q. Okay. And do you -- why does the fact
24 A. Right.                                                 24 that his companion who is next to him on the
25      MR. SIEGEL: Okay. Keep going.                        25 right side mean he has a free shot?
                                                       222                                                          224
1        MS. MEEK: Paused at 56. Now continuing              1 A. Because he has a -- by free shot, I mean
2 on.                                                        2 he has a free lane to move.
3        (Thereupon, a video recording of Exhibit            3        Like, as we said earlier, when he got
4 16 was played.)                                            4 into the group, I at that point didn't know that
5        MS. MEEK: Paused at 1:05.                           5 he wanted to go to the Lincoln. So in my mind,
6  BY  MR.   SIEGEL:                                         6 if -- if I don't know what he wants to do and
7 Q. Okay. So, again, at this point, there                   7 where he wants to go, I -- and with the ice
8 is still space to your side, to your left and              8 coming into play, it really didn't seem like
9 behind you, right?                                         9 there was much of a reason to move because I
10 A. To my --                                               10 didn't know where he was trying to go. And if he
11 Q. To your left. To your left as you are                  11 wanted to go there, he could have made that clear
12 standing there?                                           12 to me. I would have moved -- there is a chance I
13 A. Yes. There is space behind me and right                13 could have moved, but --
14 and my left.                                              14 Q. And how would he have made that clear to
15       MR. SIEGEL: Okay. Let's keep going.                 15 you in your mind; to say: Excuse me. May I
16       (Thereupon, a video recording of Exhibit            16 pass?
17 16 was played.)                                           17 A. Yeah. I mean, you do that in public all
18 BY MR. SIEGEL:                                            18 the time.
19 Q. Okay. So you see the fellow in the                     19 Q. I just want to go back to -- so now you
20 black hoodie crosses over, right?                         20 say your companion -- the person you called his
21 A. Yes.                                                   21 companion is on the right side, right?
22 Q. From one side to the other?                            22 A. Right.
23 A. Uh-huh.                                                23 Q. His companion is actually physically to
24 Q. Okay. Were you -- were you aware of                    24 his right?
25 that at the time?                                         25 A. Yes.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 58 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2171       INFORMATION
                                      Transcript of Nicholas Sandmann                                     57 (225 to 228)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       225                                                          227
1 Q. Which is also to your left now?                         1 people moved.
2 A. Uh-huh.                                                 2        MR. SIEGEL: Okay. Let's go to Exhibit
3 Q. How does that free up a path for                        3 17, which is video 8 of the stip.
4 Phillips? Doesn't that make him more pinned in?            4        MR. McMURTRY: Exhibit 17?
5 A. Well, if they -- if they are going to                   5        MR. SIEGEL: Yeah, Exhibit 17, video 8
6 the same area, or they are a part of the same              6 of the stip.
7 group, it's now easier for them to go somewhere            7        (Thereupon, a video recording of Exhibit
8 because his companion can go up first and then             8  17  was  played.)
9 Phillips can follow him.                                   9 BY MR. SIEGEL:
10 Q. Even, in fact, assuming that the person                10 Q. Okay. Zero seconds. So, again, Nick, I
11 you called his companion did exactly what                 11 will ask you the same question. Do you see where
12 Phillips wanted him to do, wanted to do?                  12 your hand is up?
13 A. Well, yeah. I mean, I don't know                       13       MR. McMURTRY: Where the cursor is?
14 anything about them. But I know that there is --          14       MR. SIEGEL: Yeah, where the cursor is.
15 there is space right there if either of them want         15 A. I can't even be sure that that is my
16 to go there.                                              16 hand, to be honest with you. I don't -- I don't
17       And I didn't know what their intentions             17 think it is my hand.
18 were. So I stayed right where I was.                      18 Q. You think that's not your hand?
19 Q. Okay. And you still don't know what was                19 A. No. I do see a hand in the crowd,
20 the intent or the intentions of the person you            20 but --
21 call his companion, right?                                21       MR. McMURTRY: I'm sorry. I was just
22 A. I don't know his intentions.                           22 thinking out loud. I apologize.
23       MR. SIEGEL: Okay. Let's keep going.                 23       MR. SIEGEL: All right. Human nature.
24       MS. MEEK: Starting from 1:34.                       24       Okay. So let's go ahead and just play
25       (Thereupon, a video recording of Exhibit            25 that in realtime.
                                                       226                                                          228
1 16 was played.)                                            1        (Thereupon, a video recording of Exhibit
2        MR. SIEGEL: Okay.                                   2 17 was played.)
3        MS. MEEK: Paused at 1:55.                           3        MS. MEEK: Paused at 9 seconds.
4 BY MR. SIEGEL:                                             4        MR. SIEGEL: Can we make out Nick?
5 Q. So at this point, there are students                    5 BY MR. SIEGEL:
6 sort of behind you and on the side there that are          6 Q. That's you, where the cursor is
7 filling that space back in, right?                         7 pointing?
8 A. Yeah. They are trying to move                           8 A. Yes.
9 somewhere.                                                 9 Q. Okay. So at this point, it looks like
10 Q. Okay. Were you -- again, were you --                   10 you were standing somewhat to Mr. Phillips' left?
11 were you aware of that at the time? Were you              11 A. Correct.
12 aware there were more kids now directly behind            12 Q. Okay. And again, at this point, there
13 you?                                                      13 are students between you and Phillips?
14 A. No. I was -- almost all of my attention                14 A. Correct.
15 was placed on Phillips.                                   15 Q. And there are students -- quite a few
16 Q. Did you -- you know, as this went along,               16 students behind you, right, in the rows right
17 did you become aware of that at some point, that          17 behind you?
18 there were a bunch of kids kind of right behind           18 A. Right.
19 you?                                                      19       MR. SIEGEL: Okay. Let's restart.
20 A. In the back of my head, I knew there                   20       MS. MEEK: Restarting at 9 seconds.
21 were people somewhat all around me. And I -- I            21       (Thereupon, a video recording of Exhibit
22 guess I somewhat knew that people were moving.            22 17 was played.)
23 But I never actually bothered to think about              23 BY MR. SIEGEL:
24 where they were going and what they were doing.           24 Q. Okay. Again, some students in front of
25 I just knew it was packed and at some point some          25 you have parted, right, moved out of the way,
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 59 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2172       INFORMATION
                                         Transcript of Nicholas Sandmann                                58 (229 to 232)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                     229                                                          231
1 between where you and Phillips are, right?               1 you now, right?
2 A. Right.                                                2 A. Correct.
3 Q. Okay. And there are still some students               3 Q. He is looking -- you are sort of looking
4 standing behind you?                                     4 at him, but he's not looking at you, right?
5 A. Right.                                                5 A. Right.
6        MR. SIEGEL: Okay. Where are we now?               6 Q. He's looking up towards his left?
7 Are we at 15?                                            7 A. Right.
8        MS. MEEK: Yes, this is 15.                        8        MR. SIEGEL: Where are we now, at 20
9        MR. SIEGEL: Okay. Look at yourself and            9 seconds?
10 play a couple more seconds.                             10       MS. MEEK: Yes.
11       (Thereupon, a video recording of Exhibit          11 BY MR. SIEGEL:
12 17 was played.)                                         12 Q. And so right now, the -- the student who
13 BY MR. SIEGEL:                                          13 is standing right in front of Phillips is
14 Q. Do you see you look down?                            14 Cammeron, right?
15 A. Not really.                                          15 A. Correct.
16 Q. Okay. Let's go back and look at that                 16       MR. SIEGEL: Okay. So let's go -- just
17 again.                                                  17 another second frame by frame.
18       (Thereupon, a video recording of Exhibit          18       (Thereupon, a video recording of Exhibit
19 17 was played.)                                         19 17 was played.)
20 BY MR. SIEGEL:                                          20       MR. SIEGEL: Now stop. Where are we
21 Q. Do you see that looking down?                        21 now?
22 A. Yeah. I'm looking down that way.                     22       MS. MEEK: 21 seconds.
23       MR. SIEGEL: Okay.                                 23 BY MR. SIEGEL:
24       MS. MEEK: We are at 16 seconds.                   24 Q. Now, Cammeron has just moved over,
25       MR. SIEGEL: Now, just frame -- go frame           25 right?
                                                     230                                                          232
1 by frame a little bit more.                              1 A. Right.
2        (Thereupon, a video recording of Exhibit          2 Q. Moved over to his right?
3 17 was played.)                                          3 A. Right.
4        MR. SIEGEL: Okay. Stop.                           4 Q. So he is no longer standing in front of
5 BY MR. SIEGEL:                                           5 Phillips, right?
6 Q. So it looks like the camera is blocked                6 A. Right.
7 by the white hat, right?                                 7 Q. And so do you know why Mr. Phillips
8 A. Right.                                                8 turned to his left after first facing you and
9 Q. But it looks like at this point there is              9 looked towards his left?
10 nobody between you and Mr. Phillips?                    10 A. No.
11 A. Correct.                                             11 Q. Is it possible that he was trying to see
12 Q. Okay. And it looks like at this point                12 if Cammeron and you would move out of his way?
13 you and Phillips are kind of facing each other?         13      MR. McMURTRY: Objection.
14 A. Right.                                               14 A. That's possible. But if you rewind the
15       MR. SIEGEL: Okay. All right. Let's go             15 video a couple of seconds, you will see that
16 a few more seconds.                                     16 there was a lot less students to go through if he
17       MS. MEEK: Starting at 16.                         17 had gone to my right, which the other angle shows
18       (Thereupon, a video recording of Exhibit          18 when his companion gets up next to him.
19 17 was played.)                                         19 Q. At this -- right now, you are saying
20 BY MR. SIEGEL:                                          20 there is lots of room on the right?
21 Q. Do you see now Phillips has turned to                21 A. No. I'm saying if you rewind it a
22 his left -- I mean, to his left a little bit,           22 couple seconds ago, you will see a lot less
23 right?                                                  23 students, and they are a lot more spread out to
24 A. Right.                                               24 my right.
25 Q. And he's looking -- he's not looking at              25      MR. SIEGEL: Let's go back a couple --
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                      CONTAINS CONFIDENTIAL
                                     2173       INFORMATION
                                      Transcript of Nicholas Sandmann                                 59 (233 to 236)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      233                                                          235
1        MR. McMURTRY: To his right.                        1 If you can answer --
2  BY   MR.  SIEGEL:                                        2         MR. SIEGEL: No, I didn't say that. But
3 Q. You are saying to your --                              3 go ahead.
4 A. No. To -- to my left. My right now on                  4         MR. McMURTRY: Well, it is the same
5 the video.                                                5 frame. No, it is the same frame. Right in
6        MR. McMURTRY: We are at five hours now.            6 there, where you said everybody was moving and
7 You can go over, but --                                   7 there was space for him to move, that is where he
8        MR. SIEGEL: Are we?                                8 would -- you were suggesting that Nick move. Now
9        MR. McMURTRY: Yes.                                 9 you are calling into question Nick's judgment by
10       MR. SIEGEL: Okay. Let's go back over               10 suggesting his suggestion that Phillips do --
11 those two frames.                                        11        MR. SIEGEL: No, what I'm asking is why
12       MS. MEEK: Starting at 19 seconds.                  12 is it his testimony that he somehow was
13       (Thereupon, a video recording of Exhibit           13 encumbered but a 65-year-old man, roughly
14 17  was  played.)                                        14 65-year-old man, in his view --
15       MR. SIEGEL: Okay. So keep going.                   15        MR. McMURTRY: And you argued the
16       THE WITNESS: Right there.                          16 opposite point. But now you are arguing his
17 BY MR. SIEGEL:                                           17 side. You are just arguing both sides. That's
18 Q. Okay. So -- so your testimony is that,                18 all I'm saying.
19 if I understand what you are saying, is that if          19        But go ahead and answer the question.
20 Mr. Phillips at that point wanted to try to              20   A.    My -- my testimony is that if I -- if I
21 find -- find a path, he could have made a better         21 would have been able to move out of the way, then
22 decision by looking to your right?                       22 he should have been able to go up.
23 A. Right. He could have gone around that                 23        I mean, that's two sides of the same
24 kid with what I think is a Notre Dame Irish              24 coin. If -- if it's dangerous for me to move,
25 beanie on and gotten all the way up to the kid           25 it's dangerous for him.
                                                      234                                                          236
1 with both the sweatshirt and the red hat.                 1        If it wasn't for him, then it wouldn't
2 Q. And it's your testimony he should have                 2 have been for me either.
3 walked right through those snow piles?                    3        It seems like Mr. Phillips and I both
4 A. Why? I mean, what -- why wouldn't he be                4 made the same judgment right here that we both
5 able to? Is there a chance that he would have             5 prefer not to move on the snow and ice. That is
6 fallen maybe?                                             6 my point.
7 Q. Your testimony is that a 65-year-old man               7 Q. And your contention is you made a
8 should have just walked right through the snow            8 different judgment than all the other students
9 piles. Do you see there are like three snow               9 who were standing on those same steps and moved
10 piles on the three steps?                                10 to the side?
11 A. Oh, I mean --                                         11 A. Yes, the same way that Phillips did.
12 Q. Is it visible here?                                   12 Q. Well, how do you know what judgment
13       MR. McMURTRY: You don't need to argue              13 Phillips made?
14 it out with him. Just -- just answer the                 14 A. Because I -- I saw what judgment he made
15 question. Is there a question?                           15 because I was two feet in front of him and I saw
16 A. My --                                                 16 where he moved.
17       MR. McMURTRY: Wait a second. Let's see             17 Q. You don't know what was in his mind?
18 if there's a question.                                   18 A. Oh, I'm not -- I'm not claiming I knew
19 BY MR. SIEGEL:                                           19 what was in his mind. I'm saying I saw the
20 Q. I just want to say, your testimony is                 20 result of his thinking in his actions.
21 that a roughly 65-year-old man could have walked         21 Q. Right. So let's go back to the
22 up through those three snow piles to your right?         22 question. Right?
23       MR. McMURTRY: First off, objection.                23 A. Okay.
24 You have already suggested that Nick should have         24 Q. So we have established that initially
25 walked up that way as if he did something wrong.         25 you and Phillips came face to face?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 61 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2174       INFORMATION
                                      Transcript of Nicholas Sandmann                                    60 (237 to 240)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      237                                                         239
1 A. Right.                                                 1 six minutes.
2 Q. And Phillips turns to his left?                        2        MR. SIEGEL: Okay.
3 A. Right.                                                 3        MR. McMURTRY: I'm not stopping you.
4 Q. He is looking at Cammeron?                             4 I'm just telling you.
5 A. Right.                                                 5        (Thereupon, a video recording of Exhibit
6 Q. Right? And Cammeron moves --                           6 17 was played.)
7 A. Right.                                                 7        MS. MEEK: I just paused at 32 seconds.
8 Q. -- to the right? And then Phillips                     8  BY  MR.   SIEGEL:
9 turns back towards you, right?                            9 Q. Okay. So again, at this point in the
10 A. Right.                                                10 video there are students behind you who have
11 Q. So isn't it possible that Mr. Phillips                11 parted as well, right, or moved, moved to the
12 at that point was trying to see if you all would         12 side?
13 create a path to his left --                             13 A. Right.
14       MR. McMURTRY: Objection.                           14       MR. SIEGEL: Okay. All right. Let's
15 BY MR. SIEGEL:                                           15 quickly -- we will do part of one more video and
16 Q. -- so he could move that way?                         16 then we will stop. Okay? I think that would be
17 A. Correct. But I don't think there is a                 17 sort of a logical breaking point.
18 difference. Because the way this is being shaped         18       MR. McMURTRY: That's fine.
19 is that if I moved, he would have had a safer            19       MR. SIEGEL: Obviously, for the record,
20 path. When in reality, the conditions on my              20 it will be less time tomorrow.
21 left, where we can see that it's clear and where         21       MR. McMURTRY: Video -- which is the
22 I actually was, were the same; and mine, if not,         22 video?
23 might have been a little worse.                          23       MR. SIEGEL: I'm sorry. Exhibit 18,
24 Q. Well, again, that is not my question.                 24 which is video 17 of the stip. Sorry. 1 minute,
25       My question is, it's possible that                 25 55 seconds.
                                                      238                                                         240
1 Phillips was, when he turned to his left and              1        (Thereupon, a video recording of Exhibit
2 looked at Cammeron and Cammeron moved out of the          2 18 was played.)
3 way, looked back and looked at you, that Phillips         3        MR. SIEGEL: Let's go 10 more seconds.
4 was trying to see if you guys would both move to          4        (Thereupon, a video recording of Exhibit
5 create a path for him to go towards what would            5 18 was played.)
6 now be where you are standing?                            6 BY MR. SIEGEL:
7         MR. McMURTRY: Objection.                          7 Q. It looks like you were sort of cupping
8 BY MR. SIEGEL:                                            8 your mouth, maybe yelling something there. Do
9 Q. Slightly to your right. Isn't that                     9 you want to look at it again?
10 possible?                                                10       MR. SIEGEL: Just do a quick --
11        MR. McMURTRY: Objection. Go ahead.                11       MS. MEEK: This is at 2 minutes and 25
12   A.    It's possible he was thinking that.              12 seconds.
13 Again, he never made that clear.                         13       (Thereupon, a video recording of Exhibit
14 BY MR. SIEGEL:                                           14 18 was played.)
15 Q. He never made that clear, meaning he                  15 A. Yes.
16 didn't articulate it --                                  16 BY MR. SIEGEL:
17 A. Correct.                                              17 Q. What were you -- do you know what you
18 Q. -- to you at the -- at the moment?                    18 were yelling?
19 A. Correct.                                              19 A. I do not.
20        MR. SIEGEL: Okay. Okay. Let's just go             20 Q. Okay. So, again, at this point, there
21 a little bit more.                                       21 are several rows of students between you and the
22        MS. MEEK: We were just discussing a               22 camera, right?
23 frame   at 20 seconds. I will continue the video         23 A. Correct.
24 from that point.                                         24       MR. SIEGEL: Okay. Let's restart.
25        MR. McMURTRY: We are at five hours and            25       MS. MEEK: Restarting at 2 minutes and
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 62 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2175       INFORMATION
                                         Transcript of Nicholas Sandmann                                 61 (241 to 244)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                     241                                                          243
1 25 seconds.                                              1        I mean, I can't -- you say this stuff.
2        (Thereupon, a video recording of Exhibit          2  I can't see it. I'm just trying to know whether
3 18 was played.)                                          3 I need to object or not.
4        MR. SIEGEL: We can keep going.                    4        You are saying he moved forward. Can
5        (Thereupon, a video recording of Exhibit          5 you identify where he moved --
6 18 was played.)                                          6        MR. SIEGEL: No. My question was, you
7        MR. SIEGEL: Okay. So now we are at --             7 moved to your right?
8  where  are we at now, Jessie?                           8        (Thereupon, a video recording of Exhibit
9        MS. MEEK: 2 minutes and 45 seconds.               9 18 was played.)
10 BY MR. SIEGEL:                                          10       MS. MEEK: We just did frame by frame
11 Q. Okay. So, again, there are still two or              11 from 3:07 to 3:12.
12 three rows of students between you and the              12 BY MR. SIEGEL:
13 camera?                                                 13 Q. So from that vantage point, Nick, is
14 A. Yes.                                                 14 when you moved some to your right?
15       MR. SIEGEL: Okay. Keep going.                     15 A. I answered so as I may have. It's
16       (Thereupon, a video recording of Exhibit          16 somewhat hard to tell with the video. Whoever
17 18 was played.)                                         17 recorded this, it's kind of shaky. I could have.
18 BY MR. SIEGEL:                                          18 It's -- it's -- I can't put a definite answer on
19 Q. So --                                                19 it.
20       MS. MEEK: We just paused at 3 minutes             20 Q. Okay. And at this point, it looks like
21 and 7 seconds.                                          21 there are still maybe one or two rows of students
22 BY MR. SIEGEL:                                          22 between you and the camera?
23 Q. Okay. So now you're -- you're -- from                23 A. Correct.
24 this angle, you're -- the fellow who you don't          24       MR. SIEGEL: Okay. Let's keep going
25 know is to your right, right, behind you in the         25 realtime.
                                                     242                                                          244
1 black hoodie?                                            1        MS. MEEK: Starting at 3 minutes and 12
2        Who is the fellow in the Notre Dame hat           2 seconds.
3 right behind you, a little to your left?                 3        (Thereupon, a video recording of Exhibit
4 A. I think I was able to identify him on                 4 18 was played.)
5 the stills. It's kind of hard to right here.             5        MS. MEEK: Paused at 3 minutes and 32
6 But I would assume -- I would guess, based off           6  seconds.
7 this picture, that it's Chase Donahue.                   7 BY MR. SIEGEL:
8 Q. Chase Donahue? Okay.                                  8 Q. Okay. So at this point, Nick, am I
9 A. I could be wrong.                                     9 correct that the student to your left as you are
10 Q. Is he somebody you knew?                             10 looking from the stairs is Beau?
11 A. He was in my grade, yeah.                            11 A. Yes.
12       MR. SIEGEL: Okay. Let's go ahead.                 12 Q. Okay. And do you see on your right,
13       (Thereupon, a video recording of Exhibit          13 there is a student in a -- like a gray hoodie and
14 18 was played.)                                         14 a blue or black ski hat?
15 BY MR. SIEGEL:                                          15 A. Yes.
16 Q. Okay. From that angle, Nick, didn't you              16 Q. Do you know who that is?
17 just move over to your right a little?                  17 A. Yes.
18 A. Can you rewind it?                                   18 Q. Who's that?
19       MR. SIEGEL: Sure.                                 19 A. That's Joe Kiely.
20       MR. McMURTRY: Can you go frame by frame           20 Q. Joe Kiely. Okay. So Joe Kiely is on
21 backwards?                                              21 your right and Beau's on your left. I will try
22       MS. MEEK: Not on a VLC player. I'm                22 to remember those names.
23 starting at 3:07.                                       23       And the guy -- the guy -- there is a guy
24       MR. McMURTRY: Do it frame by frame,               24 who you don't know, right, a row behind, between
25 please.                                                 25 you and Beau?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 63 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2176       INFORMATION
                                        Transcript of Nicholas Sandmann                                 62 (245 to 248)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       245                                                          247
1 A. Correct.                                                1 little to your left?
2 Q. You are a little bit to his right. Beau                 2 A. I think the guy behind me moved. I
3 is a little bit to his left. Right?                        3 think I kind of -- if I moved over, it may have
4 A. Yes.                                                    4 been two inches, an inch. I think I was just
5        MR. SIEGEL: Okay. Let's go.                         5 kind of resetting my footing on the step.
6        MS. MEEK: Continuing on from 3:32.                  6        MR. McMURTRY: We do need to wrap it up.
7        (Thereupon, a video recording of Exhibit            7 BY MR. SIEGEL:
8  18  was  played.)                                         8 Q. Okay. So -- so you may have been
9        MS. MEEK: Paused at 3:37.                           9 repositioning yourself a little bit, just
10 BY MR. SIEGEL:                                            10 resetting your footing?
11 Q. Okay. So now Beau's -- Beau's sort of                  11 A. Yeah, resetting my footing. If I moved,
12 moving over to the side, right? He is moving              12 it was very minimal to where it was not -- was
13 over to your left. And the other guy, the blue            13 not noticeable, for the most part, besides when
14 ski hat --                                                14 you slow down the frame.
15 A. Joe.                                                   15 Q. Well, you say it's not noticeable for
16 Q. -- Joe is moving over to your right?                   16 the most part. Can you say that it's absolutely
17 A. Right.                                                 17 not noticeable to somebody who was watching this
18 Q. Okay. And let's go -- okay. And you                    18 at the time?
19 are still standing in front of the fellow with            19 A. No. I'm -- I'm just saying that the
20 the black sweatshirt sort of to his right, right?         20 movement in which I did was minimal. It's not
21 A. Right.                                                 21 like I slid over a foot or two. I moved six
22       MR. SIEGEL: Okay. Let's play it.                    22 inches at the most.
23       MS. MEEK: Playing from 3 minutes and 37             23       MR. SIEGEL: Okay. And at this point,
24 seconds.                                                  24 you're -- let's go six more seconds, and then we
25       (Thereupon, a video recording of Exhibit            25 will --
                                                       246                                                          248
1 18 was played.)                                            1        MS. MEEK: Starting at 3:42.
2       MS. MEEK: Paused at 3 minutes and 42                 2        MR. SIEGEL: Yes.
3 seconds.                                                   3        (Thereupon, a video recording of Exhibit
4 BY MR. SIEGEL:                                             4 18 was played.)
5 Q. Okay. Nick, do we see you look down                     5 BY MR. SIEGEL:
6 again?                                                     6 Q. So at this point, you are right in front
7 A. Yeah.                                                   7 of Nathan Phillips, right?
8 Q. And did you move a little bit over to                   8 A. Right.
9 your left?                                                 9        MR. SIEGEL: Okay. Let's call it a day
10 A. My left?                                               10 and come back tomorrow.
11 Q. Your left as you were standing there?                  11       MR. McMURTRY: See you in the morning.
12 A. Can you replay it?                                     12       MR. SIEGEL: For my prep purposes, how
13      MR. SIEGEL: Sure.                                    13 long did we go today?
14      MS. MEEK: Going back to 3:37. We will                14       THE VIDEOGRAPHER: Counsel, would you
15 pause at 3:42.                                            15 like to go off the record and I can tell you the
16 BY MR. SIEGEL:                                            16 full amount?
17 Q. Just to get it into the record, so now                 17       MR. SIEGEL: Sure.
18 you are to the right of the fellow in the black           18       THE VIDEOGRAPHER: We are going off the
19 sweatshirt who you don't know, right?                     19 record. The time is 3:39 p.m.
20 A. Right.                                                 20       (Off the record at 3:39 p.m.)
21      MR. SIEGEL: Go ahead and play it.                    21 Tuesday, September 14, 2021 Continuation of the
22      (Thereupon, a video recording of Exhibit             22 deposition of Nicholas Sandmann
23 18 was played.)                                           23       THE VIDEOGRAPHER: This begins day two,
24 BY MR. SIEGEL:                                            24 continuing the deposition of Nicholas Sandmann in
25 Q. It seems like you just moved over a                    25 the matter of Nicholas Sandmann, et al. versus
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 64 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2177       INFORMATION
                                       Transcript of Nicholas Sandmann                                  63 (249 to 252)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       249                                                       251
1 NBCUniversal Media, LLC, Case Number                       1 Depos.
2 19-CV-00056-WOB-CJS, and Nicholas Sandmann, et             2        Will the reporter please swear in the
3 al. versus The New York Times Company dba The New          3 witness?
4 York Times, Case Number 20-CV-00023-WOB-CJS, and           4        MR. SIEGEL: Before you do, before we go
5 Nicholas Sandmann, et al. versus CBS News,                 5 on the record, can you hear me okay? I ask only
6 Incorporated, et al., Case Number                          6 because yesterday, there was a microphone in
7 20-CV-00024-WOB-CJS, and Nicholas Sandmann, et             7 front of me, but I don't think I have one yet
8 al. versus ABC News, Incorporated, et al., Case            8 today, so.
9 Number 2:20-CV-00025-WOB-CJS, and Nicholas                 9        THE REPORTER: I can hear you fine,
10 Sandmann, et al. versus Gannett Company,                  10 Mr. Siegel.
11 Incorporated, et al., Case Number                         11       MR. SIEGEL: Okay. But we can start.
12 2:20-CV-00026-WOB-CJS, and Nicholas Sandmann, et          12 Go ahead. You can swear the witness in. Wait.
13 al. versus Rolling Stone, LLC, et al., Case               13 Yeah.
14 Number 2:20-CV-00027-WOB-CJS, all cases filed in          14       MR. McMURTRY: We don't need to.
15 the United States District Court Eastern District         15       MR. SIEGEL: We waive -- he's already
16 of Kentucky Northern Division at Covington.               16 sworn.
17       Today's date is Tuesday, September 14th,            17       THE REPORTER: Okay.
18 2021. The time on the video monitor is now                18       MR. SIEGEL: We all agree to that.
19 9:16 a.m. eastern daylight time.                          19 Okay?
20       The videographer today is John Parkman              20       THE REPORTER: Okay.
21 representing Planet Depos.                                21       MR. SIEGEL: And everything is fine with
22       This video deposition is taking place               22 the video?
23 remotely via Zoom video conference.                       23       THE VIDEOGRAPHER: Yes, sir. You may
24       Would counsel please voice-identify                 24 proceed.
25 themselves and state whom they represent?                 25       MR. SIEGEL: Okay. Great.
                                                       250                                                       252
1       MR. McMURTRY: Todd McMurtry here                     1                P RO CEED I N GS
2 representing the Plaintiff, Nicholas Sandmann.             2            NICHOLAS SANDMAN, having been previously
3       MR. SIEGEL: Nathan Siegel, Davis,                    3    duly sworn, was recalled and testified as
4 Wright, Tremaine, representing ABC.                        4    follows:
5       MR. FORD: Darren Ford representing                   5     EXAMINATION BY COUNSEL FOR THE DEFENDANTS ABC
6  NBCUniversal,    LLC, and The New York Times              6    NEWS, INC., ABC NEWS INTERACTIVE, INC., AND THE
7 Company.                                                   7               WALT DISNEY COMPANY
8       MR. SHOOK: Kevin Shook representing                  8    BY MR. SIEGEL:
9 Rolling Stone.                                             9      Q. Good morning, Nick. We are going to
10      MS. KRISHNAN: Meenu Krishnan                         10   continue with some of the video we were showing.
11 representing ABC.                                         11   And I will ask if you can just try to pay
12      MR. ABATE: Michael Abate representing                12   attention on this to what you can hear from the
13 Gannett Satellite Information.                            13   crowd. Okay? Thanks.
14      MR. GRYGIEL: Michael Grygiel, Greenberg              14           So we are going to start at Exhibit 18,
15 Traurig, also representing Gannett and Gannett            15   which is video 17 on the stip.
16 Satellite.                                                16           MS. MEEK: It is video 19.
17      MS. SPEARS: Natalie Spears representing              17           MR. SIEGEL: I'm sorry. Why don't you
18 CBS Defendants.                                           18   call it out? You will --
19      MR. CRAIG: Bob Craig for Defendant ABC.              19           MS. MEEK: We are starting on Exhibit 18
20      MR. GOELLNER: Ryan Goellner for                      20   at 4 minutes and 38 seconds.
21 Defendants Rolling Stone and Penske Media.                21           MR. SIEGEL: She has it as video 17. I
22      MR. HUBER: Will Huber for Plaintiff                  22   just want to make sure there is no --
23 Nick  Sandmann.                                           23           MS. MEEK: Maybe it was adjusted later.
24      THE VIDEOGRAPHER: The court reporter                 24           MR. SIEGEL: Yeah. It's video 17.
25 today is Dianna Kilgalen also representing Planet         25           MS. MEEK: This one is video 2.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 65 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2178       INFORMATION
                                      Transcript of Nicholas Sandmann                                 64 (253 to 256)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                     253                                                          255
1        MR. SIEGEL: Right. Exhibit 18, video              1 has a right to move me.
2  2 -- video 17. Okay. We will go with that. I            2 BY MR. SIEGEL:
3 will double check it just to make sure of it.            3 Q. Okay. Would it be fair to say that
4        (Thereupon, a video recording of Exhibit          4 people -- someone could reasonably disagree with
5 18 was played.)                                          5 you about whether that was disrespectful to him
6 BY MR. SIEGEL:                                           6 in that moment?
7 Q. Do you -- do you hear a couple of kids                7        MR. McMURTRY: Objection.
8 saying: You can't move him?                              8    A.   I disagree with that.
9 A. No. You can replay it.                                9        MR. SIEGEL: Yeah, I understand you
10       MR. SIEGEL: Yeah. Let's replay it.                10 would disagree with it.
11       MS. MEEK: Starting again at 4:38.                 11 A. No, I don't think it's reasonable to
12       (Thereupon, a video recording of Exhibit          12 think that.
13 18 was played.)                                         13 Q. Okay. So you -- you think that your
14 BY MR. SIEGEL:                                          14 opinion is the only reasonable opinion?
15 Q. Did you hear that?                                   15       MR. McMURTRY: Objection.
16 A. Yes.                                                 16 A. I didn't say that. I think it's just
17 Q. Okay. Did you hear that at the time?                 17 unreasonable to think that it would be respectful
18 A. I'm not sure if I did. And from this, I              18 to be able to move me out of the way.
19 can't really tell who said it.                          19 BY MR. SIEGEL:
20 Q. Okay. And what do you understand it to               20 Q. Well, what the person said was: You
21 mean?                                                   21 can't move him, right?
22       MR. McMURTRY: Objection. Go ahead.                22 A. Right.
23 A. I understand that based off whoever --               23 Q. So what -- so why do you think it would
24 whoever said it, whether it was a student from          24 be disrespectful to think that Mr. Phillips could
25 Cov Cath, a third party or someone associated           25 move you out of the way?
                                                     254                                                          256
1 with Mr. Phillips, that Mr. Phillips would be            1 A. Because Mr. Phillips and I have never
2 unable to move me.                                       2 known each other for our entire lives, and for
3 BY MR. SIEGEL:                                           3 him to physically move me out of the way would
4 Q. Okay. Do you -- whoever said it, right,               4 involve him in some way using some kind of force
5 do you think it would be fair to say that that           5 to alter where I was. And to me, that's very
6 could be interpreted as taunting Mr. Phillips?           6 disrespectful to put your hands on someone you
7        MR. McMURTRY: Objection.                          7 don't know.
8 A. No.                                                   8 Q. Okay. What about, do you think it would
9 BY MR. SIEGEL:                                           9 be disrespectful for Mr. Phillips to -- strike
10 Q. And why not?                                         10 that.
11 A. Because I -- whoever said it was, I                  11       Okay. Let's keep going.
12 think -- or I think was noticing how close              12       MS. MEEK: Starting at 4:43.
13 Mr. Phillips was to me and simply stating the           13       MR. SIEGEL: Listen here, because it's
14 obvious, that Mr. Phillips could not move me.           14 literally like two or three seconds. Okay? We
15 Q. Okay. So, what, they were in your --                 15 will replay it, if we need to.
16 so --                                                   16       (Thereupon, a video recording of Exhibit
17       MR. McMURTRY: He answered the question.           17 18 was played.)
18       MR. SIEGEL: No. That's fair.                      18 BY MR. SIEGEL:
19 BY MR. SIEGEL:                                          19 Q. Did you hear somebody say: Get him?
20 Q. And so, your -- in your opinion, they                20 A. It kind of cut off.
21 weren't in any way -- well, I will rephrase it.         21       MR. SIEGEL: It actually was
22       Do you think that was disrespectful to            22 literally -- listen to it again.
23 Mr.  Phillips, whoever said it?                         23       (Thereupon, a video recording of Exhibit
24       MR. McMURTRY: Objection.                          24 18 was played.)
25 A. No, because I don't think Mr. Phillips               25 A. Yes, I hear that.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 66 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2179       INFORMATION
                                          Transcript of Nicholas Sandmann                                 65 (257 to 260)

                                         Conducted on 9/13/2021 & 9/14/2021
                                                       257                                                          259
1 BY MR. SIEGEL:                                             1 when I did, I realized I didn't have the option.
2 Q. Okay. Did you hear that at the time?                    2 Was this about the point where you were sort of
3 A. It's possible.                                          3 thinking I wish I could get out of here?
4 Q. Do you know who said either one of                      4 A. Yes. After a couple minutes, when I
5 those?                                                     5 realized that he wasn't going to move around me
6 A. No.                                                     6 or go anywhere else, it started to make me feel
7 Q. Okay. What do you understand it to                      7 uncomfortable. Because in my opinion, it was
8 mean?                                                      8 very awkward, and I -- I just felt as if the
9        MR. McMURTRY: Objection. Go ahead.                  9 longer he stayed there, the more weird the
10 A. To be honest, I don't really know what                 10 encounter was, which made me want to leave more.
11 they mean by that. I -- I don't -- I don't                11        MR. SIEGEL: Okay. Let's go to -- can
12 really know.                                              12 you hand, Nick and Todd, Exhibit 19, which is --
13 BY MR. SIEGEL:                                            13 the Bates numbers are NS 105 and 106.
14 Q. Okay. Could that be interpreted as                     14        Nick, you have the same initials as me,
15 disrespectful to Phillips?                                15 and this completely confounds me throughout this
16       MR. McMURTRY: Objection.                            16 case. I keep thinking I'm looking at my name.
17 BY MR. SIEGEL:                                            17 BY MR. SIEGEL:
18 Q. In your opinion.                                       18 Q. So this is -- this appears to be --
19 A. That could be interpreted.                             19 well, you tell us what this is.
20 Q. Okay. Now, at this point -- let's                      20 A. This is an e-mail I sent the time day
21 just --                                                   21 after the encounter to my principal.
22       MR. SIEGEL: For the record, the time                22 Q. Okay. And I take it you -- you wrote
23 code?                                                     23 this, right?
24       MS. MEEK: 4 minutes and 46 seconds.                 24 A. Correct.
25 BY MR. SIEGEL:                                            25 Q. Okay. I'm going to try to go -- do you
                                                       258                                                          260
1 Q. Okay. So at this point, there is                        1 see the sentence that's maybe about a third of
2 still -- this is a little bit of an angle, but             2 the way down where it says: We did the normal
3 there are still several rows of space behind you,          3 spirit cheers?
4 right, where there -- where there are not any              4        I'm actually going to start on the next
5 kids?                                                      5 one, which says: At this point, I was in the
6 A. Correct.                                                6 middle surrounded.
7        MR. McMURTRY: Objection. Go ahead.                  7 A. Okay.
8 A. Correct.                                                8        MR. McMURTRY: Where are we?
9        MR. SIEGEL: Okay. Let's keep playing                9 A. I see it, at this point.
10 it.                                                       10 BY MR. SIEGEL:
11       (Thereupon, a video recording of Exhibit            11 Q. So you say: At this point, I was in the
12 18  was  played.)                                         12 middle surrounded by all other 250-ish students.
13       MS. MEEK: I just paused at 5 minutes.               13       So do you -- when you said 250-ish in
14 BY MR. SIEGEL:                                            14 the e-mail, do you believe that is about accurate
15 Q. Okay. So in that roughly 15 seconds we                 15 in terms of the number of students who were
16 saw, right, the students have all kind of filled          16 there? And Covington students, is what I mean.
17 back in, right?                                           17 A. To be honest, at this point -- and even
18 A. Right.                                                 18 now I don't know the actual total number of
19 Q. And so you have several kids that are                  19 students there. And at the time of writing this
20 right behind you at that point and closer on your         20 e-mail, I was under a lot of duress and just
21 side, et cetera, right?                                   21 writing off the top of my head. So I would not
22 A. Correct.                                               22 take this 250 number literally.
23 Q. Okay. And you testified before that the                23 Q. Okay. Fair enough.
24 longer it went on, the more I felt like getting           24       So a couple of sentences later, you say:
25 out of there; at first I didn't want to; then             25 Our students moved out of his way. It was as if
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 67 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2180       INFORMATION
                                         Transcript of Nicholas Sandmann                                  66 (261 to 264)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                         261                                                          263
1 he was trying to make a path through our section,            1 Q. So your perception was that Phillips
2 which was obviously unsafe.                                  2 realized you were not moving, and then he locked
3         So it appeared to you that Phillips was              3 eye contact with you?
4 trying to make a path through the students?                  4 A. Correct.
5 A. Yes, based off their reaction.                            5        MR. McMURTRY: Objection. Go ahead.
6 Q. Okay. Did you think all the other                         6 BY MR. SIEGEL:
7 students were doing something that was unsafe?               7 Q. Did you feel like the two of you were at
8 A. No. I -- I meant, obviously, unsafe,                      8 an impasse?
9 and then as in unsafe that Nathan Phillips was               9        MR. McMURTRY: Objection. Go ahead.
10 walking through our section.                                10 A. In some form of it, yes.
11 Q. No, I understand that. I'm sorry. I --                   11 BY MR. SIEGEL:
12 I -- that was a confusing question.                         12 Q. Okay. Isn't it possible he locked eye
13        Did you think that by making a path for              13 contact with you because he realized you were the
14 Mr.   Phillips, right, so that he continued to walk         14 only student who wasn't moving and he perceived
15 forward, the other students were allowing him to            15 that you were intentionally blocking him?
16 do something that was unsafe? Is that clear?                16       MR. McMURTRY: Objection.
17 A. Yes. I --                                                17 A. I don't think that's possible.
18        MR. McMURTRY: Objection to the form of               18 BY MR. SIEGEL:
19 the question. Go ahead. Sorry.                              19 Q. Why?
20 A. I meant this as what Nathan Phillips was                 20       MR. McMURTRY: Objection.
21 doing was unsafe for us as students.                        21 A. Because when he first looked at me, he
22 BY MR. SIEGEL:                                              22 was still next to Joe and the other student on my
23 Q. Okay. And why did you think it was                       23 right, left on the video. And so there is no way
24 unsafe?                                                     24 for me to block him when I'm five or six feet
25 A. As I testified earlier, this is based                    25 away from him. He waited to come up to me and
                                                         262                                                          264
1 off of my understanding of how field trips                   1 then claim that I blocked him.
2 operate ever since I had been in first grade,                2 Q. So when do you maintain he first --
3 which was that we don't -- we don't let, you                 3 he -- let's go back a second.
4 know, strangers who are not affiliated or cleared            4        The other students are parting, right?
5 with the school to walk through that closely to              5        At what point do you maintain that
6 us.                                                          6  Phillips locked eye contact with you?
7        I mean, our school even has whole                     7 A. At some -- at some point before -- a
8 programs set up to like basically background                 8 couple of seconds before he approached me. He
9 checking, clear volunteers. So this was out of               9 looked at me and then walked towards me.
10 the ordinary to me.                                         10 Q. So he was -- wasn't he walking -- he was
11 Q. Okay. Did you feel like you had better                   11 walking through the students, right?
12 judgment about what was safe at that moment than            12 A. Right.
13 Mr. Phillips?                                               13 Q. And he was walking forward, right?
14       MR. McMURTRY: Objection. Go ahead.                    14 A. Right.
15 A. I wasn't really -- I wasn't really                       15 Q. So he was walking towards you, right?
16 thinking as to -- in the moment as to what --               16 A. Right.
17 whether Mr. Phillips was or was not thinking                17 Q. And then stopped in front of you?
18 about what was safe. I was only reacting off of             18 A. No. Because as we saw yesterday, he
19 what I was thinking.                                        19 went a little bit to the left, and then he came
20 BY MR. SIEGEL:                                              20 back.
21 Q. Okay. You then say -- you also write to                  21 Q. Well, Correct. So he first stopped in
22 Principal Roe: As he approached me, he realized             22 front of you?
23 I was not moving and locked eye contact with me.            23       MR. McMURTRY: Objection.
24       Right?                                                24 BY MR. SIEGEL:
25 A. Right.                                                   25 Q. And then he went a little to the left.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 68 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2181       INFORMATION
                                       Transcript of Nicholas Sandmann                                67 (265 to 268)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                     265                                                          267
1 Then he looked back to you, right?                       1 A. That is a question that can't be --
2        MR. McMURTRY: Objection.                          2 that's compounded in a way that doesn't allow me
3 A. Right.                                                3 to answer it correctly. I contend that he locked
4 BY MR. SIEGEL:                                           4 eyes with me because I wasn't moving, but I did
5 Q. We saw that on the video, right?                      5 not block him.
6 A. Right.                                                6 BY MR. SIEGEL:
7 Q. So he -- it's the point where you say --              7 Q. Well, I -- I understand that that's what
8 you are saying he locked eye contact with you            8 you contend. Okay?
9 when he kind of first came to you, before he             9 A. Yes.
10 moved to the -- before he looked to the left and        10 Q. But my question is, okay, so he locks
11 then looked back?                                       11 eye contact with you because you weren't moving?
12 A. Well, I think -- I -- when I describe                12 A. Right.
13 when he locked eye contact with me, that was when       13 Q. Right?
14 he came back after he had gone off to the left.         14       MR. McMURTRY: Objection. I don't think
15 Q. Got it. Okay.                                        15 he testified that he locked eye contact with him.
16       Okay. So we saw this on the video,                16       MR. SIEGEL: That is exactly what he
17 right, when he first approached you, approached         17 just testified to.
18 where you were, right?                                  18       MR. McMURTRY: Well, let's read it back
19 A. Uh-huh.                                              19 so I can be educated.
20 Q. And then he looked to the left?                      20       MR. SIEGEL: Okay.
21 A. Right.                                               21       MR. McMURTRY: If he -- he may have
22 Q. He looks at Cammeron? Is that Cammeron?              22 answered one of your leading questions
23 A. I think Cammeron and Joe.                            23 incorrectly, but I mean --
24 Q. So Cammeron. And then Cammeron moves                 24       MR. SIEGEL: I think you are really
25 over?                                                   25 crossing over the line here now, Todd.
                                                     266                                                          268
1 A. Uh-huh.                                               1        MR. McMURTRY: I don't think --
2        MR. McMURTRY: You need to answer yes.             2        MR. SIEGEL: I'm fine if you want --
3 BY MR. SIEGEL:                                           3        MR. McMURTRY: Let's read it back so I
4 Q. Right? Yes? Looks back at you, right?                 4 can see if that's what he said.
5 And you don't move.                                      5        THE REPORTER: Exactly what do you want
6        So why do you contend it's not possible           6  me  to read back, Counsel?
7 that he locked eye -- that he at that point              7        MR. SIEGEL: Maybe go one or two
8 locked eye contact with you because he realized          8 questions back.
9 you were the only student who wasn't moving?             9        MR. McMURTRY: Sure. I guess we are off
10       MR. McMURTRY: Objection. I don't                  10 the record.
11 understand the question.                                11       MR. SIEGEL: Yes.
12       MR. SIEGEL: Fair enough.                          12       MR. McMURTRY: Your -- your contention
13 A. I don't understand it either.                        13 question is, is that --
14 BY MR. SIEGEL:                                          14       THE REPORTER: We are not off the
15 Q. So why do you contend at that point                  15 record.
16 he -- Joe had just moved, right?                        16       MR. McMURTRY: Okay. Well, go -- get
17 A. Right.                                               17 your question.
18 Q. Other students had moved as he                       18       THE REPORTER: Do you want me to read it
19 approached where you were, right?                       19 back?
20       So why do you contend that it's                   20       MR. McMURTRY: Yes.
21 impossible that he locked eye contact with you          21       THE REPORTER: One second.
22 because he realized that you were the only              22       MR. SIEGEL: I think it's somewhere in
23 student who wasn't moving and so his perception         23 the course  of where Nick said something about a
24 was that you were trying to block him?                  24 compound question.
25       MR. McMURTRY: Objection.                          25       (Thereupon, the proceedings from Page
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 69 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2182       INFORMATION
                                       Transcript of Nicholas Sandmann                                 68 (269 to 272)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       269                                                          271
1 266, Line 21 to Page 267, Line 8 were read back            1 compared to what was happening there, but just,
2 by the reporter.)                                          2 you know, a news headline, which I didn't want.
3        MR. SIEGEL: Okay?                                   3 Q. Okay. You then say: I am sure he
4        MR. McMURTRY: Okay.                                 4 wanted to intimidate me or get a reaction as he
5        MR. SIEGEL: That's fine.                            5 moved into my personal space and hit the drum
6 BY MR. SIEGEL:                                             6 harder than he had before.
7 Q. So I understand you contend that --                     7        What reaction did you think Phillips
8 so -- okay. And I will rephrase the question.              8  wanted  to get out of you?
9        So he locked eye contact with you                   9 A. I would say something other than me --
10 because you were the only student who wasn't              10 something -- I think Nathan Phillips wanted a
11 moving, right?                                            11 reaction out of me that he could legitimately
12 A. Yes.                                                   12 claim was disrespectful.
13 Q. So couldn't he have perceived that you                 13 Q. And why do you think that?
14 were intentionally blocking him?                          14 A. Because when he came -- when he walked
15       MR. McMURTRY: Objection. Go ahead.                  15 over, there was -- he already had people from the
16 A. I mean, he could perceive whatever he                  16 indigenous people's rally filming before he had
17 wants to. That doesn't mean it's actually                 17 even gotten -- gotten into the middle of the
18 truthful.                                                 18 group. And in my opinion, you usually don't film
19       MR. SIEGEL: Okay. Let's go.                         19 things unless you are expecting something to
20   Q.   Do you see the sentence that has the               20 happen.
21 word "elder" in it?                                       21 Q. And what is the basis of your statement
22 A. Yes.                                                   22 that Nathan Phillips had people filming?
23 Q. I'm aware what happened to Elder; and as               23 A. Based off what I noticed and then
24 I saw the cameras, I was determined to not have           24 footage afterwards where one of the men that was
25 that happen to our school.                                25 filming and -- or one of the men that was a part
                                                       270                                                          272
1 A. Right.                                                  1 of the group with Nathan Phillips walks up to
2 Q. Can you explain what that means, what                   2 Mr. Phillips and says: We got him, Grandpa. We
3 you meant by that?                                         3 won. We won.
4 A. I used to remember more about it. But                   4 Q. Okay. And what did you understand that
5 all I can basically remember is that Elder, which          5 man -- what do you understand that to mean?
6 is a high school in Cincinnati, it's in the                6 A. To me, it means --
7 Catholic school system, played a basketball game           7 Q. Just for the record, we will show it
8 against another Catholic school, and they chanted          8 later, but I think that is the guy in the Reds
9 racial slurs at one of the basketball players,             9 cap, right?
10 the student section did.                                  10 A. Right.
11 Q. Okay. And what about that -- what was                  11 Q. So when the guy in the Reds cap -- when
12 it about the event with Elder that you thought            12 the man in the Reds cap said that, what did you
13 related to what was happening at the memorial?            13 understand that to mean?
14 A. The fact that, as I was looking at                     14 A. To me that means that they got their
15 Nathan Phillips, I started to look more and more          15 captured moment on camera and they planned to
16 at the background, and there were four, five              16 post it, which turned out to be exactly what they
17 cameras that I could see, and that made me                17 did.
18 uncomfortable. And that's what -- that was what           18      Nathan Phillips was already behind a
19 I initially thought of. Because we had had that           19 camera at the Lincoln Memorial some like 45
20 assembly just recently before we went on the trip         20 minutes to an hour later, before I even knew what
21 to DC.                                                    21 was happening.
22       So I -- I, for some reason, thought that            22 Q. Do you have any facts to support -- do
23 cameras    could mean that, you know, something           23 you know if the man in the Reds hat ever posted
24 viral happens and the school will look bad for            24 anything on social media?
25 it, not necessarily the content of what they did          25 A. Personally, I am not sure.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 70 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2183       INFORMATION
                                       Transcript of Nicholas Sandmann                                  69 (273 to 276)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       273                                                          275
1 Q. Do you believe he did?                                  1 A. I mean, I can't -- I can't a hundred
2 A. Well, I think that the other guy, the                   2 percent say for sure that an hour before this
3 guy in the white hat with the -- I'm not sure.             3 that -- or five minutes before this, when they
4 I -- I'm pretty -- I can't remember at this point          4 saw something happening, that they spoke to each
5 who had the camera, but I'm --                             5 other and said, hey, I'm going to go and you film
6 Q. Well, we went over that earlier, right?                 6 it. I -- I can't prove that.
7 A. Yes.                                                    7 Q. Okay. In the next sentence, you say:
8 Q. We were talking about a man in the Reds                 8 The only response I gave him was to be a bigger
9 hat?                                                       9 person and stand there without responding.
10 A. Yeah. I -- I think the video exists. I                 10      And when you said -- when you wrote, the
11 don't know if it exists on social media. I think          11 only response I gave him to be -- was to be a
12 it does, but --                                           12 bigger person, did you mean to be a bigger person
13 Q. Okay.                                                  13 than Mr. Phillips was being?
14 A. -- I'm not -- I'm not entirely sure.                   14 A. Right.
15 Q. So other than that, do you have any                    15 Q. Okay. Let's go to --
16 facts to support the contention that Nathan               16      MR. McMURTRY: Are we done with 19?
17 Phillips had any involvement in asking,                   17      MR. SIEGEL: We are done with 19. Let's
18 suggesting, planning that anyone film this event?         18 go to 20. And 20, for the record, is NS 102 to
19 A. Yes. Because --                                        19 104.
20 Q. What is the basis of that?                             20 BY MR. SIEGEL:
21 A. Because of what was said afterwards.                   21 Q. Do you want to tell us what this is,
22       To me, when they come up to him                     22 Nick?
23 afterwards and say, we got him, we won, that              23 A. This was my first public statement
24 demonstrates a clear, for lack of a better word,          24 released to the world, I guess.
25 conspiracy between them to capture something.             25 Q. Okay. Go to the second page, which is
                                                       274                                                          276
1 Q. Okay. And that's entirely based on the                  1 NS 103. And turn your attention to the second
2 assumption, right, that what you understood the            2 paragraph, the one that says: I never felt.
3 man in the Reds hat to mean when he said, we got           3 Right?
4 him, is that we got him on camera, right, we got           4        So the statement says: I never felt
5 him on the camera?                                         5 like I was blocking the Native American
6 A. Right. And to be honest, they didn't                    6 protester. He did not make any attempt to go
7 even have to capture me on their camera because            7 around me. It was clear to me that he was
8 there was someone from the Black Hebrew                    8 singling me out for a confrontation; although,
9 Israelites filming as well. There were other               9 I'm not sure why.
10 random people filming.                                    10       Okay. Now, when -- you were standing in
11      The fact that it got on so many digital              11 front of him, right?
12 cameras   is enough to where they didn't need to          12 A. Right.
13 record it.                                                13 Q. Phillips -- Phillips couldn't have gone
14      And even one of the people from the                  14 forward without running into you, right?
15 Indigenous People's March did post it on social           15       MR. McMURTRY: Objection. Go ahead.
16 media, the Titano (phonetically spelled) video.           16 BY MR. SIEGEL:
17 Q. Do you know if Nathan Phillips had                     17 Q. I mean, if he just continued to move
18 anything to do with Hyas Titano filming this              18 forward, he would have physically knocked into
19 event?                                                    19 you?
20 A. Not a -- no, not -- not completely.                    20 A. He would hit me, yes.
21 Q. But even a little bit?                                 21 Q. Right. So -- and you thought he should
22      MR. McMURTRY: Objection.                             22 have tried to go around you, right? And I think
23 BY  MR.  SIEGEL:                                          23 you testified about that.
24 Q. What do you mean by -- fair enough.                    24       So if he needed to try to go around you
25      What do you mean by not completely?                  25 to move forward, how were you not blocking him?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 71 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2184       INFORMATION
                                      Transcript of Nicholas Sandmann                                    70 (277 to 280)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       277                                                        279
1        MR. McMURTRY: Objection.                            1 Q. Is that what you just said?
2    A.   Because blocking requires some sort of             2 A. Yes. He wasn't trying to go anywhere.
3 active attempt to cut someone off.                         3 Q. But that -- your perception is that he
4        MR. SIEGEL: Right.                                  4 wasn't trying to go anywhere, right, that he --
5 A. And I did not -- I was -- I was standing                5 your perception was that he never had any
6 there. He had the option to go around me                   6 intention of going anywhere?
7 whatever way he would choose, or he could have             7 A. No. The reality of it is, is that for
8 gone back out the way that he entered the group            8 those minutes --
9 and taken, you know, use of the hundreds of feet           9        MR. SIEGEL: Right.
10 of space that the memorial offers to get wherever         10 A. -- when he stood there, his feet were
11 he was trying to get.                                     11 planted, and he did not take even the slightest
12 Q. And you testified -- we testified before               12 step in any direction.
13 on one of the other videos that was taken from            13 Q. Okay. And again, I think we went over
14 the top, right?                                           14 this before, but I will -- I will say it again.
15 A. Right.                                                 15       Isn't it -- it's possible that the
16 Q. That there were certainly people behind                16 reason he did that is because he perceived by
17 him at that moment, right?                                17 that point that you didn't want to let him go?
18 A. Right. But not near as many as there                   18       MR. McMURTRY: Objection.
19 were behind me.                                           19 A. Well, as I said before, he can perceive
20 Q. Okay. What does blocking mean to you?                  20 whatever he wants to.
21       MR. McMURTRY: Objection. Go ahead.                  21 BY MR. SIEGEL:
22 A. Blocking to me means that you actively                 22 Q. Okay. And, in fact, couldn't this be
23 try to cut someone off from further continuing in         23 the fact that given that you -- you perceived
24 the way that they are trying to go.                       24 that it was unsafe for him to be sort of moving
25 BY MR. SIEGEL:                                            25 in the first place, he could have perceived
                                                       278                                                        280
1 Q. Okay. So you were -- you were standing                  1 unsafe at that point to try to, like, maneuver
2 there, right?                                              2 around you?
3 A. Right.                                                  3        MR. McMURTRY: Objection.
4 Q. And you were standing there                             4 A. Again, he can perceive what he wants to.
5 deliberately. So -- so if he couldn't continue             5 BY MR. SIEGEL:
6 to go in the way that he had been going and he             6 Q. Okay. In your opinion, what would it
7 needed to go around you, how is that not blocking          7 have looked like if you had blocked him, if you
8 him?                                                       8 were blocking him?
9       MR. McMURTRY: Objection to the form.                 9 A. In my opinion, for me to block him, he
10 A. Because at that point, he wasn't trying                10 would have had to have taken a step or a half
11 to go anywhere else.                                      11 step in another direction, other than standing
12      I mean, like you -- like you said, I                 12 there, even forward, and it would have required
13 didn't know at that point that he wanted to go to         13 me to meet him in the corresponding way, wherever
14 the Lincoln Memorial. And when he's standing in           14 he went, to, you know, basically not let him go
15 front of me with his drum, he's making no effort          15 anywhere.
16 or any kind of signal to me that he is trying to          16 Q. Okay. And that's your understanding or
17 move somewhere else. Like, he is planted in               17 definition of blocking in this context?
18 front of me.                                              18 A. Yes.
19 BY MR. SIEGEL:                                            19 Q. All right. Let's play a clip from your
20 Q. Okay. You say that you didn't feel like                20 interview with Ms. Guthrie.
21 you were blocking --                                      21       Actually, you know what, I think -- I
22 A. Right.                                                 22 think we can skip that. Let's go to Exhibit 21.
23 Q. -- Mr. Phillips, right?                                23 I will represent this is the only other page from
24      And why was that the way that you felt?              24 the Shelton report.
25 A. Well, as I said --                                     25       MR. McMURTRY: Yeah. Let me just look
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 72 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2185       INFORMATION
                                       Transcript of Nicholas Sandmann                                   71 (281 to 284)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       281                                                          283
1 at it.                                                     1 specifically about any of the words, but you --
2        MR. SIEGEL: Do you want to take a look              2 you -- I think you testified before that
3 at it? We can go off the record to let him --              3 Mr. Phillips, that he didn't request you to move,
4 let him read this.                                         4 right, or ask you to move, okay, verbally? In
5        THE VIDEOGRAPHER: We are going off the              5 other words, he didn't -- he didn't say anything
6 record. The time is 9:56 a.m.                              6 to you.
7        (Thereupon, there was a recess taken at             7 A. Correct.
8  9:56  a.m.)                                               8 Q. Is that right?
9        (Thereupon, the proceedings were resumed            9       Okay. Now, the -- the people that
10 at 9:57 a.m.)                                             10 were -- and I think we saw in the video, it was
11       THE VIDEOGRAPHER: We are back on the                11 Exhibit 18, right, particularly, there is a point
12 record. The time is 9:57 a.m.                             12 of maybe a minute, a minute and a half into the
13       MR. McMURTRY: Yeah. Because this                    13 encounter, where all the students are sort of
14 discusses  his psychological condition, I would           14 kind of filling back in and they are kind of
15 like to have it remain confidential and mark this         15 around you on all sides at that point, right?
16 portion of the deposition confidential, unless --         16 A. Right.
17 if the questions are simply about facts, I don't          17 Q. Now, those folks were -- many of them
18 mind that. But there is some, you know -- some            18 were your friends, right? Some of them were your
19 statement in there about depression and so forth.         19 friends?
20 So I prefer that that --                                  20 A. Some of them.
21       MR. SIEGEL: That is fine. I'm not                   21 Q. And they were certainly your fellow
22 going to ask him about that.                              22 students, right?
23       MR. McMURTRY: Okay. Well, I will just               23 A. Right.
24 worry about the exhibit, and your questions are           24 Q. So you didn't -- did you ever ask any of
25 fine. If there is an objection to a question --           25 those students if they would move so that you
                                                       282                                                          284
1         MR. SIEGEL: The other thing I will                 1 could move away a little?
2 represent we would be willing to do is after the           2 A. No.
3 fact, I'm happy to redact any of the -- for                3 Q. Do you have any reason to believe that
4 purposes of putting the exhibit in the record, we          4 if you had asked one or two of them to do that,
5 would be happy to redact any of those paragraphs           5 that they would not have let you go?
6 that --                                                    6 A. No.
7         MR. McMURTRY: That's fine.                         7 Q. Okay. So you said you felt like you
8         MR. SIEGEL: -- relate to those matters.            8 were being, at least at one point, at some point
9         MR. McMURTRY: That's fine.                         9 in the encounter, right, blocked by the crowd?
10        MR. SIEGEL: Okay.                                  10 A. Right.
11        MR. McMURTRY: So for now, you are not              11 Q. So why do you contend that you felt like
12 going  to ask him about his mental health?                12 you were being blocked but Mr. Phillips couldn't
13        MR. SIEGEL: No, no, no, no, no.                    13 have felt the same way?
14        MR. McMURTRY: Just about the facts?                14       MR. McMURTRY: Objection.
15        MR. SIEGEL: Correct.                               15 A. I don't -- I don't think I specifically
16        MR. McMURTRY: Go ahead. We do not need             16 ever labeled the crowd as blocking me, but I
17 to mark this portion of the deposition                    17 think that I -- I've -- I've always used that I
18 confidential.                                             18 was just surrounded on all sides and there was no
19        MR. SIEGEL: Okay. So consistent with               19 room to -- to move in any direction.
20 that, the only paragraph I'm going to ask you is          20 BY MR. SIEGEL:
21 the one that begins: He had a good recall.                21 Q. So maybe we will cut through it.
22        MR. McMURTRY: That's fine. Go ahead.               22       So is your testimony that you did not
23 BY  MR.   SIEGEL:                                         23 say, as he was being blocked by the crowd, to I
24 Q. Okay. And -- and really, my only                       24 guess it's Doctor Graves-Alcorn?
25 question about this, Nick, is not even                    25 A. I'm not being quoted on that. And I --
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 73 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2186       INFORMATION
                                       Transcript of Nicholas Sandmann                                 72 (285 to 288)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       285                                                          287
1 and what I remember from this trip is that they            1 A. I don't recall ever specifically using
2 took notes and typed up what -- what they                  2 that word.
3 understood and, you know, put it in their own              3 Q. Okay. And so do you believe that that
4 words. I don't recall if I ever used the word              4 is an inaccurate characterization of what you
5 blocked to Doctor Graves-Alcorn.                           5 told her?
6 Q. Okay. And so is -- is what Doctor                       6 A. I think my -- my description was then
7 Graves-Alcorn wrote, just in that sentence, an             7 followed down to a word that was the wrong word
8 inaccurate statement as to what you said to her?           8 choice.
9       MR. McMURTRY: Objection. Go ahead.                   9        MR. SIEGEL: Okay. Let's go to Exhibit
10 A. I think --                                             10 22. What's the time?
11      MR. SIEGEL: Who was -- is there -- just              11       MR. McMURTRY: It's 5 after 10.
12 what is your objection?                                   12       MR. SIEGEL: I'm going to go through --
13      MR. McMURTRY: I'm not sure who is being              13 I'm going to suggest we go through -- I think I
14 blocked?   What are we talking about? Maybe I             14 have got about two or three more exhibits on this
15 missed it. But the objection is --                        15 thing, but I think it will be pretty quick. And
16      MR. SIEGEL: Well, I think --                         16 then we will take a break.
17      MR. McMURTRY: -- that he was being --                17       MR. McMURTRY: Fine. Yes.
18      MR. SIEGEL: -- it's his recall they                  18 BY MR. SIEGEL:
19 couldn't move because he was being blocked by the         19 Q. So, Nick, this is a screenshot taken of
20 crowd. He means Nick, right, in that sentence?            20 a tweet that you posted?
21      MR. McMURTRY: And I'm not -- so the                  21 A. Correct.
22 question would be, Nick, did you feel as if you           22 Q. Is that correct? And the tweet links to
23 were blocked by the crowd? Nick would answer.             23 a video?
24 And then the follow-up question is what -- did            24 A. Right.
25 you state this to the physician? And he can               25       MR. SIEGEL: So let's go to Exhibit 23.
                                                       286                                                          288
1 answer. And he said no.                                    1 We are going to play the video that I will
2        MR. SIEGEL: Yeah. I think he already                2 represent the tweet links to. Obviously, on
3 sort of answered the first part of it.                     3 paper, I can't.
4 BY MR. SIEGEL:                                             4        MR. McMURTRY: This is one of the better
5 Q. So I'm asking did you -- let's break it                 5 videos, I agree. Is it Tom Petty? It's one of
6 down.                                                      6 my favorites.
7        Did you tell Doctor Graves-Alcorn that              7        THE WITNESS: I love Tom Petty.
8 you were being blocked by the crowd?                       8        (Thereupon, a video recording of Exhibit
9 A. I cannot recall what specific words I                   9 23 was played.)
10 used. I relayed to the doctors that, especially           10       MS. MEEK: I'm starting from the
11 when the students filled back in, is that I had           11 beginning of Exhibit 23.
12 Nathan Phillips in front of me and I had students         12 BY MR. SIEGEL:
13 all around me and I was at the center of it and I         13 Q. That's the video you linked to, right?
14 couldn't -- I couldn't have moved to the side for         14 A. Yes.
15 Nathan Phillips at that point, really, even if I          15 Q. And why did you say you liked that video
16 wanted to. I was stuck in the middle.                     16 or you liked it better than the one you were
17 Q. Okay. And then the other part, you                     17 responding to?
18 could have asked one or two of the students --            18 A. I think because I like the song attached
19 A. Right.                                                 19 to it better. But in all honesty, this is part
20 Q. -- would you give me some space, right?                20 of a larger trend of things that I post where I'm
21 A. At the time I didn't really consider                   21 very cynical about what happened, just to keep my
22 that.                                                     22 spirits relatively high.
23 Q. Okay. And so my last question is, did                  23 Q. Did you feel like the song expressed
24 you tell Doctor Graves-Alcorn that you were being         24 something that spoke to you?
25 blocked by the crowd?                                     25 A. Yes, as I testified earlier about how I
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 74 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2187       INFORMATION
                                       Transcript of Nicholas Sandmann                                 73 (289 to 292)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       289                                                          291
1 wanted to stand up for the school.                         1 sure. But he was older and had graduated by that
2 Q. Okay. So it's the stand -- you feel                     2 point.
3 like you stood your ground?                                3 Q. He says: Pretty sure you know me. I
4 A. Yes.                                                    4 graduated CCH last year. I'm texting you to get
5 Q. I will just represent the screenshot of                 5 permission from your parents to print a shirt
6 this tweet was taken in early August, I think,             6 that has your face on it. Right?
7 you know --                                                7        And then you respond in 1530: I can ask
8 A. Uh-huh.                                                 8  them.   Do you have a picture of what it would
9 Q. -- maybe six weeks ago?                                 9 look like?
10       And it appears that the tweet was no                10       And in 1531, he texts an image, right?
11 longer on your Twitter feed after that point. Is          11 A. Yes.
12 that right? Do you know if that's right?                  12 Q. And it looks like the image has a
13 A. I'm unaware of ever deleting this.                     13 picture of your face with a red hat?
14 Q. Okay. And have you deleted any tweets                  14 A. Yes.
15 from your Twitter feed?                                   15 Q. Okay. And it says Stand Your Ground?
16 A. I've deleted tweets from back before                   16 A. Yes.
17 this ever happened that I look at now. I know I           17 Q. Okay. And then 1532, 1533, you guys
18 wasn't the smartest kid at 14 or 15, and I would          18 text a couple other things back and forth.
19 rather -- I would rather look a lot more                  19       Then on 1534, you says -- you say:
20 professional.                                             20 Okay.   Thank you. I will ask my parents when I
21 Q. You don't want -- you don't want them to               21 can.
22 show up on a job search five years from now?              22 A. Right.
23 A. Well, not necessarily that. I just                     23 Q. Okay. Now we are going to move ahead to
24 would rather have a more accurate reflection --           24 page 667. And if you look at 1548, Isaac, the
25       MR. SIEGEL: I got it.                               25 phone number that is associated with Isaac, texts
                                                       290                                                          292
1 A. -- of who I am now on my social media.                  1 you back: Hey, any news on approval for the
2 Q. Okay. Do you -- the last time I checked                 2 shirts? I know you have been busy, so I just
3 your Twitter feed, it looked to me like that all           3 wanted to give you some time.
4 the tweets before I think around November 19,              4        And in 1549, you respond: Yeah. I have
5 2019, weren't there anymore. Is that -- is that            5 been told we need to ask the lawyers on their
6 correct?                                                   6 opinion. I wish I could just give you the
7 A. I -- I have no idea. I have not en                      7 go-ahead.
8 masse deleted tweets from that point.                      8 A. Correct.
9 Q. Okay. So you haven't done anything                      9 Q. Why did you wish that you could just
10 with it?                                                  10 give Isaac the go-ahead?
11 A. Correct.                                               11 A. Well, in all honesty, my feelings on
12 Q. Okay. Okay. Let's do Exhibit 24, and                   12 Isaac changed over time.
13 then we will take a break.                                13       At first -- at first, I wanted -- the
14       So Exhibit 24 consists of Bates numbers             14 date on this, I still was not -- not projected in
15 NS 662 through NS 671. Again, Nick these are --           15 a very positive light, and so I figured anyone
16 these are texts that you exchanged?                       16 that could show some way to support me or
17 A. Yes.                                                   17 whatever was a good thing.
18 Q. Okay. So if you could look at the first                18       And then I later -- so that is why I
19 page, which is 662, and it looks like -- the text         19 said I wish I could just go ahead and give you
20 is just sent from a telephone number, but it              20 the support. But I then kind of felt like he was
21 says: Nick, it's Isaac -- Boldery?                        21 more leeching off the idea of making some money
22 A. Boldery.                                               22 on selling T-shirts with my face on it than
23 Q. Did you know him?                                      23 actually caring.
24 A. I knew of him. He went to Cov Cath.                    24 Q. Okay. So you came -- you became
25 And he was maybe two grades above me. I'm not             25 uncomfortable with what you felt were his
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 75 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2188       INFORMATION
                                       Transcript of Nicholas Sandmann                                    74 (293 to 296)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       293                                                          295
1 motives. Is that fair say?                                 1 And I take it the him in this is Mr. Phillips.
2 A. Right. Right.                                           2 A. Correct.
3        MR. SIEGEL: Okay.                                   3 Q. How did you think smiling at
4 A. And I talked to my -- I think I had                     4 Mr. Phillips would communicate the message to him
5 another conversation with my parents or whatever,          5 that he wasn't going to intimidate you?
6 and we felt more uneasy about it. And I ended up           6 A. To me, usually when I think of someone
7 never giving him permission to do it.                      7 smiling, it projects a more friendly -- friendly
8 Q. Right. So we can jump ahead then on                     8 image or whatever. And I -- I assumed that
9 671. On 1562, you text: Unfortunately, I don't             9 partly if I gave him a smile, that he might
10 think it's a good idea. Other people printed              10 realize that I was just standing there and he
11 them, but they didn't ask us. I -- is that I              11 could back away from me.
12 don't know?                                               12 Q. Okay. And how is that let him --
13 A. Yes.                                                   13 letting him know that he wasn't going to
14 Q. -- if stuff will happen to them.                       14 intimidate you?
15       And is that -- is what you just                     15       MR. McMURTRY: Objection. Go ahead.
16 testified to, is that what you had in mind when           16 A. I mean, I don't know if it was effective
17 you responded with that --                                17 or it was the right -- right body language choice
18 A. Yes.                                                   18 to -- to use. But that's what I was hoping it
19 Q. -- later?                                              19 would accomplish.
20       Okay. So if -- if -- would it be fair               20 BY MR. SIEGEL:
21 to say that if you had felt that his motive was           21 Q. Okay. And I think you in your -- you
22 purely to express support for you, you would have         22 testified before and you wrote in your e-mail to
23 been comfortable with the idea of him printing            23 Principal Roe that you thought that your actions,
24 these Stand Your Ground shirts, at least at that          24 right, to stand there and smile was being a
25 point?                                                    25 bigger person than Mr. Phillips was being. Is
                                                       294                                                          296
1 A. Maybe. I'm not sure. I -- I -- I don't                  1 that fair?
2 know if I still would have let him do it.                  2 A. Correct.
3 Because, I don't know, at the time we had more             3 Q. So do you think a smile that reflects a
4 important things to worry about than starting a            4 belief that you are being a bigger person is not
5 shirt campaign.                                            5 a smirk?
6        MR. SIEGEL: Okay. Okay. Let's break,                6 A. No, I don't think that.
7 take a break.                                              7 Q. What's a smirk to you?
8        MR. McMURTRY: Okay.                                 8 A. I don't really know, to be honest with
9        THE VIDEOGRAPHER: We are going off the              9 you. I -- I -- I would say -- I would say my
10 record. The time is 10:17 a.m.                            10 best guess or definition of a smirk is a facial
11       (Thereupon, there was a recess taken at             11 expression that is -- has the appearance of a
12 10:17  a.m.)                                              12 smile but is not authentic and meant to kind of
13       (Thereupon, the proceedings were resumed            13 just blow people off. I -- I mean, I really
14 at 10:33 a.m.)                                            14 don't have any way of defining it.
15       THE VIDEOGRAPHER: We are back on the                15 Q. Okay. And I can show you the exhibit
16 record. The time is 10:33 a.m.                            16 again, but maybe to save the -- to save us, in
17 BY MR. SIEGEL:                                            17 the Shelton interview, you are actually quoted,
18 Q. Okay. Nick, I'm showing you Exhibit 25,                18 and you said other people I guess think my smile
19 which is Bates number NS 720. And I want you to           19 looks like a smirk.
20 look at particularly number 74 -- 1714, the one           20 A. Yes.
21 in the middle, where it looks like you are                21 Q. Is that right? Is it fair to say
22 texting Mara Schutt.                                      22 whether your smile looks like a smirk is a matter
23 A. Uh-huh.                                                23 of opinion?
24 Q. And you said: I smiled at him to let                   24 A. Oh, I would agree.
25 him know he wasn't going to intimidate me, right?         25 Q. Okay. We showed you a video a little
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 76 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2189       INFORMATION
                                      Transcript of Nicholas Sandmann                                    75 (297 to 300)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       297                                                         299
1 bit earlier where you heard somebody say you               1 students came up to me and told me things that
2 can't move him, right, and then you heard                  2 they had said or that they had heard.
3 somebody say get him.                                      3 Q. Okay. And the last question so it's
4 A. Right.                                                  4 clear, in any other way, through e-mails or texts
5 Q. And I think you testified to that.                      5 or social media or anything like that, did you --
6        So -- and other than the words get him,             6 have you come to learn about anything? And I'm
7 which I think you said you thought could be                7 not talking about anything we saw here today. So
8 disrespectful, did you ever hear any students say          8 prior to today, have you come to learn
9 anything to Mr. Phillips that you thought was              9 about any -- did you come to learn about anything
10 inappropriate?                                            10 that was said during that encounter that you
11 A. I don't recall specifically --                         11 thought was inappropriate?
12 specifically paying attention to what most of the         12 A. At this point, I can't recall any -- any
13 students were saying. I was -- I was positioned           13 information I may have received or things that I
14 so close to the drum that that was mostly what I          14 could have witnessed prior to the -- or now, in
15 heard and also where all of my attention was. So          15 the future of when the event was, at this point
16 even if there was something audible that I may            16 in time that would have been said.
17 have or probably heard, I -- I think I probably           17       MR. SIEGEL: Okay. All right. Let's go
18 tuned it out.                                             18 to Exhibit 16, which is video 2 on the
19 Q. Okay. And that's fair. So just -- so I                 19 stipulation.
20 take it that your -- the answer is that you               20       MS. MEEK: I'm starting Exhibit 16 at 55
21 personally didn't hear anything that you said to          21 seconds.
22 Mr. Phillips that you thought was inappropriate?          22       (Thereupon, a video recording of Exhibit
23 A. Correct.                                               23 16 was played.)
24 Q. Okay. And partly that's because you                    24       MS. MEEK: I just paused at 1 minute and
25 didn't hear much at all because that is not what          25 3 seconds.
                                                       298                                                         300
1 you were focused on?                                       1 BY MR. SIEGEL:
2 A. Right.                                                  2 Q. Now I'm going to ask you -- let's back 8
3 Q. Okay. And I will just ask you the                       3 seconds -- let's go back to where you started and
4 question to be complete. Would your answer be              4 ask you to watch it again and focus on Will
5 the same for anyone else who may have been behind          5 Fries.
6 Mr. Phillips? In other words, did you hear                 6 A. Okay.
7 anything directed to anyone that you thought was           7        MR. McMURTRY: I can ask which one is
8 inappropriate during that encounter?                       8 Will Fries?
9 A. I -- I did not.                                         9        MR. SIEGEL: Good point.
10       MR. SIEGEL: Okay.                                   10 BY MR. SIEGEL:
11 A. And that doesn't mean there weren't                    11 Q. Can you -- let's just for the record,
12 things said. And if I heard them now, I would --          12 can you point --
13 I would have an opinion on it.                            13       MR. McMURTRY: Okay. I see him. Back
14 Q. Did you ever later come to learn about                 14 there in the glasses and the red hat?
15 anything that had been said?                              15       MR. SIEGEL: Right. For the record, to
16 A. Currently, not that I can recall.                      16 be accurate, at 1 minute and 3 seconds, he's the
17       MR. SIEGEL: Okay.                                   17 fellow who kind of -- you see his hand.
18 A. I have -- I have not watched these                     18       MR. McMURTRY: His arms are up and you
19 videos in a long time. I try not to.                      19 can't see the hands?
20 Q. Okay. But did anyone ever                              20       MR. SIEGEL: Okay. All right. Let's go
21 communicate -- any other students there                   21 back.
22 communicate with you about something that was             22       (Thereupon, a video recording of Exhibit
23 said during that encounter that you thought was           23 16  was played.)
24 inappropriate?                                            24 BY MR. SIEGEL:
25 A. No. No one -- none of the other                        25 Q. Okay. What did you hear Will say?
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 77 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2190       INFORMATION
                                         Transcript of Nicholas Sandmann                               76 (301 to 304)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                     301                                                          303
1 A. I can make out parts of it. I think I                 1 A. I believe so.
2 know what he said.                                       2 Q. Okay. So did you hear them say that at
3 Q. What do you think he said?                            3 the time?
4 A. I will -- I don't want to repeat.                     4 A. I don't think I did. And judging by my
5 Q. I'm going to ask you to repeat for the                5 facial reaction, it really doesn't change when I
6 record.                                                  6 heard that. So I -- I don't believe I ever did.
7 A. What I believe was said was grab his                  7 Q. When did you first become aware that he
8 dick and twist it.                                       8 had said that?
9 Q. Okay. And he made a twisting motion                   9 A. I think he might have mentioned it to
10 with his hand?                                          10 me. And a week -- I don't know, a week or so
11 A. I believe so.                                        11 after that, he -- he had said that at one point.
12      MR. SIEGEL: Okay. And let's look at                12 But it didn't really stay in the front of my mind
13 the next exhibit, which is Exhibit 17, video 8.         13 because I didn't do it and it really wasn't my
14      MS. MEEK: I'm starting Exhibit 17 at 35            14 priority.
15 seconds.                                                15 Q. What do you think of it?
16      (Thereupon, a video recording of Exhibit           16 A. I mean, I think it was not the smartest
17 17 was played.)                                         17 thing to say. It was probably inappropriate.
18 BY MR. SIEGEL:                                          18      I know -- I know why he said it. It's
19 Q. Okay. Do you hear Will saying that too,              19 based off a viral Internet video that I guess he
20 same thing, grab his dick and twist it?                 20 was quoting. Because he thought others didn't --
21 A. Yes.                                                 21 maybe would find it funny.
22      MR. SIEGEL: Let's just play a few more             22 Q. What is the viral Internet video that he
23 seconds.                                                23 was quoting?
24      MS. MEEK: Starting at 39 seconds.                  24 A. The -- what he is quoting is a video
25      (Thereupon, a video recording of Exhibit           25 where there are sports fans at -- and in a fight,
                                                     302                                                          304
1 17 was played.)                                          1 and one of the fans stands up and says that line.
2        MR. SIEGEL: All right. And let's play             2 And I -- I don't know. Someone reacts to it.
3 it again. And I want you to look the couple of           3 And that's -- that's what the video is.
4 students who are to -- sort of to Will Fries'            4 Q. Okay. So in the video, is the fan who
5 right.                                                   5 says that line saying that to one of the
6        MS. MEEK: I will restart at 35                    6 wrestlers, wrestler one, grab the other
7 seconds through --                                       7 guy's penis and twist it?
8        MR. SIEGEL: No. You can just do 39, go            8 A. Yeah, I believe so. I believe he's
9 to 39.                                                   9 yelling it at the ring. I don't know.
10       (Thereupon, a video recording of Exhibit          10 Q. He's yelling it at the ring?
11 17 was played.)                                         11 A. Yeah.
12 BY MR. SIEGEL:                                          12 Q. Okay. So in this situation, when you
13 Q. Do you see at least one other student                13 and Phillips are face to face and Fries is
14 after Will kind of make a twisting motion?              14 yelling it out, whose penis do you understand
15 A. Yes.                                                 15 Fries is referring to?
16 Q. Who is that?                                         16       MR. McMURTRY: Objection. I'm just
17 A. Well, can you cursor point out which --              17 curious, today or -- I think he said before he
18 which one it was?                                       18 didn't hear it then.
19       MR. SIEGEL: Yeah. It's the fellow in              19       MR. SIEGEL: He didn't hear it then.
20 the -- that one.                                        20 BY MR. SIEGEL:
21 A. Okay. I believe that to be Henry.                    21 Q. But when you came to learn about it.
22 Q. Henry Bennett, right?                                22       MR. McMURTRY: Okay. I'm sorry.
23 A. Yes.                                                 23   A.   I have no idea. I don't know.
24 Q. And is the fellow next to him named                  24 BY MR. SIEGEL:
25 Cahill, last name Cahill?                               25 Q. Okay. Do you think that was an
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 78 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2191       INFORMATION
                                       Transcript of Nicholas Sandmann                                   77 (305 to 308)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       305                                                            307
1 appropriate thing to say to an elderly Native              1 have read this, but I -- I -- I can't say for
2 American man?                                              2 sure.
3        MR. McMURTRY: Objection. Go ahead.                  3 Q. And the last name here is Cahill. Is
4 A. Again, I don't know even if he directed                 4 that Chris Cahill?
5 it at Nathan Phillips. But I can say that he is            5 A. Yes.
6 a 17-year-old-kid and it was probably just a               6        (This concludes the Confidential
7 poorly timed joke.                                         7 portion.)
8 Q. Do you think that could be perceived as                 8        MR. SIEGEL: Okay. Let's look at
9 disrespectful?                                             9 Exhibit 27.
10 A. Of course.                                             10       MR. McMURTRY: Just real quick on 26.
11 Q. Okay. And could it be perceived as                     11 It was marked confidential. Because we don't
12 mocking Mr. Phillips?                                     12 want to see this -- you know, these kids
13 A. Yes, if you -- if you speculate or                     13 subjected to anything like Will was subjected to.
14 surmise that Will was saying it at Mr. Phillips,          14       So to the extent that we have mentioned
15 if you take that jump, then yeah.                         15 their names and all that, I would ask that the
16 Q. Well, whether he was saying it to you or               16 record and the document be treated as
17 to Mr. Phillips, fair to say that it would be --          17 confidential just referring to that.
18 it could be perceived as mocking Mr. Phillips?            18       MR. SIEGEL: Okay. Let's go to Exhibit
19 A. Yes.                                                   19 27.
20       MR. SIEGEL: Okay. Let's go to Exhibit               20       MR. McMURTRY: Exhibit 27 is also marked
21 26.                                                       21 as confidential.
22       MR. McMURTRY: This is 25 here?                      22       (The following portion from Page 308,
23       MR. SIEGEL: Yes. And 25 is NS 780.                  23 Line 25 through Page 309, Line 13 was designated
24       (The following portion from Page 306,               24 Confidential and is bound separately.)
25 Line 2 to Page 307, Line 5 was designated                 25 BY MR. SIEGEL:
                                                       306                                                            308
1 Confidential and is bound separately.)                     1 Q. And Exhibit 27 is Bates stamped by your
2 BY MR. SIEGEL:                                             2 counsel NS 717.
3 Q. And the first text, Nick, comes from                    3        And the first text at the top at 1705 is
4 Henry B. Is that Henry Bennett?                            4 from Will Clark texting you and those four other
5 A. Yes.                                                    5 students.
6 Q. And it looks like he's texting you,                     6 A. Yes.
7 Steve Schaeper, Will Fries, Jared Gallagher, Will          7 Q. And he texts: They showed the same clip
8 Clark and Nick Sandmann. I already said you.               8 like four times of you screaming in the
9       The text is: Can we all appreciate                   9 background grab his dick and twist it. I was
10 Cahill and I screaming, grab his dick and twist           10 dying, dude.
11 it?                                                       11       Do you know when Will Clark said they
12      And this is texted around 6 in the                   12 showed   the same clip like four times, do you have
13 evening on January 19th.                                  13 any idea what he was referring to?
14 A. Right.                                                 14 A. I have no idea.
15 Q. So was this the first point that you                   15 Q. Okay. When Will Clark texted: I was
16 learned anything about that?                              16 dying, dude, what -- how did you understand that?
17 A. Probably.                                              17 A. Again, I don't know if I was paying
18      MR. SIEGEL: Okay.                                    18 attention to the text at this point, but I would
19 A. Actually, if I may add, I think at this                19 assume that means that he was dying of laughter.
20 point my phone was still dead from earlier in the         20 He thought that it was funny.
21 day, so I don't think I would have seen it yet.           21 Q. Okay. Did you think it was funny?
22 Q. Okay. And at some point when you --                    22       MR. McMURTRY: Objection. Go ahead.
23 when your phone came back on, did you go back and         23   A.   In the present or in the past?
24 read old texts?                                           24 BY MR. SIEGEL:
25 A. I did. I would have -- I assume I would                25 Q. Well, that is a fair question.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 79 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2192       INFORMATION
                                        Transcript of Nicholas Sandmann                                  78 (309 to 312)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                      309                                                         311
1        Did -- did this -- did any of these                1 Q. So I think somebody says give them the
2  texts ever cause you to go back and look at any          2 old, and then I'm not sure what else was said.
3 of the video and see if you could tell what they          3 Did you hear that?
4 were talking about?                                       4 A. I heard the start of something, but I
5 A. I have never gone back to look at the                  5 can't hear the ending either.
6 video to see if I could hear that.                        6       MR. SIEGEL: Okay. Let's go to Exhibit
7        MR. SIEGEL: Okay.                                  7 16, which is video 2.
8     A.  As I testified earlier, I try to watch            8       MS. MEEK: Starting Exhibit 16 at 1:18.
9 these videos as little as possible.                       9       (Thereupon, a video recording of Exhibit
10 Q. Okay. Looking at it today, do you -- do               10 16 was played.)
11 you think it was funny?                                  11      MS. MEEK: I just paused at 1:20.
12 A. As I've testified earlier, I don't think              12      MR. SIEGEL: Okay. Play it again.
13 it was appropriate. So no.                               13      (Thereupon, a video recording of Exhibit
14       (This concludes the Confidential                   14 16 was played.)
15 portion.)                                                15 BY MR. SIEGEL:
16       MR. SIEGEL: Okay. Let's go to Exhibit              16 Q. Did you hear someone shout he ain't
17 17, which is video 8.                                    17 moving?
18       MS. MEEK: I'm starting Exhibit 17 at 34            18 A. Yeah.
19 seconds.                                                 19 Q. Did you hear that at the time?
20       (Thereupon, a video recording of Exhibit           20 A. Again, I probably tuned it out --
21 17 was played.)                                          21      MR. SIEGEL: Okay.
22       MR. SIEGEL: Okay. Let's just listen to             22 A. -- or wasn't paying attention.
23 it one more time. And again, I'm going to ask            23 Q. What do you understand it to mean
24 you to focus on what is coming out of the crowd.         24 hearing it now?
25       THE WITNESS: Okay.                                 25 A. I would guess that they are either
                                                      310                                                         312
1 BY MR. SIEGEL:                                            1 referring to me or Mr. Phillips as one of us
2 Q. Did you hear someone say surrounded you?               2 wasn't moving, and as an observation, I guess.
3 A. No.                                                    3 Q. Okay. And I take it you don't know who
4        MR. SIEGEL: Go through it one more                 4 said that?
5 time.                                                     5 A. Correct.
6        (Thereupon, a video recording of Exhibit           6        MR. SIEGEL: Okay. Let's restart.
7 17 was played.)                                           7        MS. MEEK: Restarting at 1:22.
8 A. I -- I can't -- I do not personally,                   8        (Thereupon, a video recording of Exhibit
9 because when -- when that sound starts coming,            9 16 was played.)
10 it's the same time as Will starts to say what he         10       MS. MEEK: Paused at 1:29.
11 said, which we have already covered.                     11 BY MR. SIEGEL:
12       MR. SIEGEL: Right.                                 12 Q. Did you hear someone say movable object
13 A. And I -- I really can't tell, to be                   13 or unmovable object?
14 honest with you.                                         14 A. Yes.
15       MR. SIEGEL: Okay. Let's then -- okay.              15       MR. McMURTRY: I can't hear any of this
16 Let's restart it.                                        16 stuff. You guys are good.
17       MS. MEEK: Restarting at 37 seconds.                17 BY MR. SIEGEL:
18       (Thereupon, a video recording of Exhibit           18 Q. Do you understand it to be referring to
19 17 was played.)                                          19 you, that you are the unmovable object?
20       MR. SIEGEL: Okay. Now let's go back                20 A. No. It could have been either of us at
21 about five seconds and play it again.                    21 this point. We are both standing there.
22       MS. MEEK: Going back to 43 seconds.                22       MR. SIEGEL: Okay. Let's keep going.
23       (Thereupon, a video recording of Exhibit           23 And  I want you to focus on Will Fries again.
24 17 was played.)                                          24       MS. MEEK: Starting at 1:29.
25 BY MR. SIEGEL:                                           25       (Thereupon, a video recording of Exhibit
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 80 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2193       INFORMATION
                                        Transcript of Nicholas Sandmann                                 79 (313 to 316)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                    313                                                          315
1 16 was played.)                                         1 comment?
2        MS. MEEK: Pausing at 1:39.                       2 A. I don't really know what to make of it.
3        MR. SIEGEL: Go back a few seconds. We            3 Q. Do you think that was -- there was only
4 might have cut that off a bit too early.                4 one person playing the drum there, right?
5        MS. MEEK: Okay. Restarting at 1:29               5 A. Correct. Well, two, technically.
6 through --                                              6 Q. So when you hear him saying beat that
7        MR. SIEGEL: Play another like ten                7 drum, he is referring to Mr. Phillips beating the
8  seconds.                                               8 drum?
9        MS. MEEK: Okay.                                  9 A. I would assume.
10       (Thereupon, a video recording of Exhibit         10 Q. Okay. Do you think that that was
11 16 was played.)                                        11 respectful to shout at, at Mr. Phillips?
12 BY MR. SIEGEL:                                         12 A. Probably not.
13 Q. Do you see it looked like Will was                  13 Q. Okay. Do you think that could be
14 shouting something?                                    14 perceived as mocking him?
15 A. Yes. Yes.                                           15 A. You could perceive it that way, yes.
16 Q. Can you tell what he's saying?                      16 Q. Okay. Do you?
17 A. There he was inaudible. I couldn't even             17 A. I -- the way I look at it is it's
18 hear his voice.                                        18 probably not the smartest thing to do.
19       MR. SIEGEL: If that gives you any more           19      MR. SIEGEL: Okay. Let's keep going.
20 comfort,  Todd --                                      20      MS. MEEK: Restarting at 1:52.
21       MR. McMURTRY: I was feeling like there           21      (Thereupon, a video recording of Exhibit
22 is something wrong.                                    22 16 was played.)
23       MR. SIEGEL: I couldn't hear it either.           23 BY MR. SIEGEL:
24       MR. McMURTRY: He keeps answering, and            24 Q. So you are seeing some of the students
25 I'm --                                                 25 going what, what, what, what, what?
                                                    314                                                          316
1       MR. SIEGEL: On that one. All right.               1 A. Yes.
2 Let's keep going. And again, I ask you to sort          2 Q. Do you have any understanding of what
3 of focus on Will.                                       3 that is in that context?
4       THE WITNESS: Okay.                                4 A. We would do what, what, what. It was
5       MS. MEEK: All right. I'm going to go              5 another one of our school spirit chants that we
6  back to 1:39.                                          6 did when we couldn't hear the opposing team's
7       MR. SIEGEL: I think you can actually              7 cheering section. So we basically called them
8 start where you are.                                    8 out for being quiet.
9       MS. MEEK: Okay. Now we are at 1:42.               9       But I think here, they are doing it
10      (Thereupon, a video recording of Exhibit          10 because they -- you can see Mr. Phillips raise
11 16 was played.)                                        11 the drum almost -- I think part of it starts to
12 BY MR. SIEGEL:                                         12 go past my head. And I think they are doing that
13 Q. So did you see Will -- you saw Will                 13 because they are confused as to what's going on.
14 shouting something?                                    14      MR. SIEGEL: Okay. Let's keep going.
15 A. Yes.                                                15      MS. MEEK: I paused before at 2:12. And
16 Q. Did he say beat that drum?                          16 now I'm continuing from that point.
17 A. Could you replay it?                                17      (Thereupon, a video recording of Exhibit
18      MR. SIEGEL: Absolutely.                           18 16 was played.)
19 A. I heard beat that drum. I didn't hear               19      MS. MEEK: Paused at 2:34.
20 it necessarily from him.                               20 BY MR. SIEGEL:
21      (Thereupon, a video recording of Exhibit          21 Q. Okay. So you hear somebody says what's
22 16 was played.)                                        22 going on or I don't know what's going on?
23 A. Yes.                                                23 A. Correct.
24 BY MR. SIEGEL:                                         24 Q. And the woman wearing that green hat --
25 Q. Okay. What do you think of that                     25 A. Yes.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 81 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2194       INFORMATION
                                      Transcript of Nicholas Sandmann                                   80 (317 to 320)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       317                                                         319
1 Q. -- says you guys are acting like a mob,                 1 shoulders?
2 that's what is going on, fucking mob mentality?            2 A. I believe that's Charlie, but I could be
3 A. Yeah.                                                   3 wrong. Because earlier he had a red hat on, and
4 Q. Do you agree with her?                                  4 now it looks like a white hat. So it looks like
5 A. Of course not.                                          5 Charlie, but I don't know.
6 Q. Okay. And why is that?                                  6        MR. SIEGEL: Do you want to play it a
7 A. Because we weren't. We are a group of                   7 few more -- I will tell you, we are going to play
8 students and -- whose personal space is being              8 it forward anyway. So if you are able to see his
9 invaded by adults while we have an entire camera           9 face more clearly and, you know, answer on that
10 crew set up to capture it.                                10 basis, let's just -- let me know.
11 Q. Do you have any -- do you believe that                 11       (Thereupon, a video recording of Exhibit
12 that's how she perceived the students' behavior           12 16 was played.)
13 at that time?                                             13       MS. MEEK: Paused at 3:22.
14       MR. McMURTRY: Objection.                            14   A.   That's Charlie.
15 A. No. I think that right here she's                      15 BY MR. SIEGEL:
16 already starting to craft the story that is               16 Q. That's Charlie? Okay.
17 eventually going to be taken to social media and          17       MS. MEEK: I'm continuing on from that
18 public interviews before I will even know what's          18 point.
19 happening.                                                19       (Thereupon, a video recording of Exhibit
20 BY MR. SIEGEL:                                            20 16 was   played.)
21 Q. And what's your basis for saying that?                 21       MS. MEEK: Paused at 3:32.
22 A. Because Nathan Phillips was on                         22 BY MR. SIEGEL:
23 television before I even knew what was happening.         23 Q. Okay. Here again, somebody said you
24 Q. And do you know who that woman is?                     24 can't move him?
25 A. No.                                                    25 A. Yeah.
                                                       318                                                         320
1 Q. So what is the -- your basis for saying                 1        MR. SIEGEL: Okay. Let's just play it
2 that or claiming that she had anything to do with          2 one more time. Maybe go one more second past.
3 crafting a story at that moment?                           3        MS. MEEK: Okay. Going back to 3:20.
4 A. Because you are asking me what I thought                4        MR. SIEGEL: No, no, no, I'm sorry.
5 she was doing, and I'm -- I'm telling you from             5 Yeah. Just -- you can go maybe five seconds
6 this point, I -- that's what I believe she's               6 before and then go one second past so he can
7 doing.                                                     7 focus just on that.
8 Q. Okay. That's your perception of it,                     8        MS. MEEK: Playing from 3:27.
9 right?                                                     9        (Thereupon, a video recording of Exhibit
10 A. Yes.                                                   10 16 was played.)
11 Q. Okay. Just one last time, to make the                  11 BY MR. SIEGEL:
12 record clear, you don't have any other facts              12 Q. So would it be fair to say that whoever
13 about her, do you, to substantiate that                   13 said that is kind of in a sing-song voice, like
14 perception?                                               14 you can't move him?
15 A. Right. I don't -- I have no idea who                   15 A. Yeah. It was Beau.
16 she is.                                                   16 Q. That was Beau?
17       MR. SIEGEL: Okay. Let's keep going.                 17 A. Yeah.
18       MS. MEEK: I'm playing Exhibit 16                    18 Q. Okay. And do you think that could be
19 starting at 3 minutes and 15 seconds.                     19 interpreted as mocking Mr. Phillips?
20       (Thereupon, a video recording of Exhibit            20 A. No.
21 16 was played.)                                           21 Q. Why not?
22       MS. MEEK: I just paused at 3 minutes                22 A. Because, I mean, that's a very neutral,
23 and 20  seconds.                                          23 truthful statement.
24 BY MR. SIEGEL:                                            24       Technically, he is not allowed to move
25 Q. Who is the student with his hand on your               25 me or put his hands on me, if you are looking at
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 82 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2195       INFORMATION
                                         Transcript of Nicholas Sandmann                                    81 (321 to 324)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                       321                                                           323
1 this legally. So I don't -- I don't see that as            1 16 was played.)
2 how you could take that as disrespectful to                2 BY MR. SIEGEL:
3 Mr. Phillips.                                              3 Q. Beau cups his mouth after that.
4 Q. Does the tone of voice that he says it                  4 A. Okay. My mistake then.
5 in, you can't move him, does that affect your              5 Q. Okay. So I take it you don't know who
6 answer at all?                                             6 says that?
7 A. No. That was the way in which we                        7 A. Yeah. Then, I don't know.
8 recited our school spirit chants.                          8 Q. Have you ever talked to Beau about this
9 Q. Okay. So your interpretation of it is                   9 incident after it happened?
10 Beau was reciting it here as if it were a cheer?          10 A. I never had the chance to speak to Beau,
11 A. Yes.                                                   11 and then he transferred out of Cov Cath.
12       MR. SIEGEL: Okay. Just go back. Play                12 Q. Did you know him?
13 that one more time.                                       13 A. I did not. He was a freshman. I was a
14 BY MR. SIEGEL:                                            14 junior.
15 Q. And can you point out to me where you                  15       MR. SIEGEL: Okay. So let's go back to
16 see that it is Beau who is saying this?                   16 3:32 and then play it normally.
17 A. Okay. It might be helpful to do it                     17       (Thereupon, a video recording of Exhibit
18 frame by frame so I can --                                18 16 was played.)
19       MS. MEEK: Sure. I will do that from                 19       MS. MEEK: Paused at 3:36.
20 3:27.                                                     20       MR. SIEGEL: Now, it looks -- play that
21       THE WITNESS: Okay.                                  21 again. And I'm going to ask you to focus on what
22       (Thereupon, a video recording of Exhibit            22 the kid in the -- it looks like that black
23 16 was played.)                                           23 sweatshirt that I think -- okay.
24       THE WITNESS: You will see him when the              24       (Thereupon, a video recording of Exhibit
25 camera shows back over to the left.                       25 16 was played.)
                                                       322                                                           324
1        (Thereupon, a video recording of Exhibit            1 BY MR. SIEGEL:
2 16 was played.)                                            2 Q. Do you hear someone saying this is how
3        THE WITNESS: You can see his hand right             3 we won this war?
4 there.                                                     4 A. No.
5        MR. SIEGEL: Right.                                  5        MR. SIEGEL: Try it again.
6        THE WITNESS: And then he will go up to              6    A.   I -- with my best try, I cannot
7 cup his mouth in a couple of seconds.                      7 understand.
8        MR. SIEGEL: Okay.                                   8        (Thereupon, a video recording of Exhibit
9        MS. MEEK: This frame by frame is not                9 16 was played.)
10 working great. There we go.                               10 A. No.
11       (Thereupon, a video recording of Exhibit            11 BY MR. SIEGEL:
12 16 was  played.)                                          12 Q. You can't --
13       MR. SIEGEL: Keep going.                             13 A. I hear this is how, and then the rest is
14       THE WITNESS: Again, he says it right                14 speculation at best. I don't -- I can't tell.
15 there.                                                    15       MR. SIEGEL: Okay. Let's -- okay.
16       MS. MEEK: For the record, was that                  16 Let's keep going.
17 3:33?                                                     17       MS. MEEK: Restarting at 3:36.
18       MR. SIEGEL: So can you just go -- go                18       (Thereupon, a video recording of Exhibit
19 back about five seconds again and play it through         19 16 was played.)
20 him cupping his mouth?                                    20       MS. MEEK: Paused at 3:43.
21       MS. MEEK: Sure.                                     21       MR. SIEGEL: And I'll just -- then we
22       MR. SIEGEL: A little before, because                22 can -- why don't we just play it so it's clear on
23 he's already doing it then. Okay.                         23 the record. The video is about to stop. Go back
24       MS. MEEK: Starting from 3:28.                       24 to 3:43.
25       (Thereupon, a video recording of Exhibit            25 BY MR. SIEGEL:
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 83 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2196       INFORMATION
                                      Transcript of Nicholas Sandmann                                 82 (325 to 328)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                    325                                                        327
1 Q. Okay. So at this point, which is right               1 shouting build that wall?
2 before the video cuts off, Nick, would you agree        2 A. No. I can't hear that.
3 that by this point, there are students on all           3        MR. SIEGEL: Let's listen to it again.
4 side of Phillips, right, including behind him?          4        (Thereupon, a video recording of Exhibit
5 A. I mean, behind him to me does not seem               5 28 was played.)
6 very accurate. The people immediately behind him        6 BY MR. SIEGEL:
7 are people from the Indigenous People's March,          7 Q. Can you say for certain that that's not
8 and you've got students five or six feet past           8 what is being said?
9 that.                                                   9 A. Of course not. But I don't think you
10       MR. SIEGEL: Right.                               10 could say for certain someone did say that.
11 A. So, I mean, technically, yes, they are              11 Q. Okay. I know you have already said that
12 behind him, but not immediately --                     12 you generally weren't able to hear much or you
13 Q. I understand that. But in -- and I'm                13 weren't focusing on what the crowd -- what was
14 not asking you who was standing like literally         14 audible coming from the crowd.
15 right immediately behind him. But in the               15 A. Right.
16 direction behind him, right, to his rear, there        16 Q. But did you ever hear anyone say build
17 are now students standing there, right?                17 that wall?
18 A. Correct.                                            18 A. Not from --
19 Q. Okay. So in -- and Nick, you may have               19 Q. During the -- during the encounter?
20 recognized. I mean, this is what is called the         20 A. Not from what I remember, no.
21 Titano video, and the -- in this video, you and        21 Q. Okay. Did anyone ever tell you that
22 Phillips came face to face around 50 seconds, and      22 they said that?
23 the video ends at 3:44. So that is roughly three       23 A. No one has told me that they said build
24 minutes later, right, you are still standing           24 that wall.
25 there?                                                 25 Q. Okay. Has anyone ever told you that
                                                    326                                                        328
1        So for those three minutes, you didn't           1 they heard that?
2 move from your spot, right?                             2 A. No one's told me that they've heard it
3 A. Right.                                               3 either.
4        MR. SIEGEL: Okay. Let's go to Exhibit            4       MR. SIEGEL: Okay. Let's go to Exhibit
5 28.                                                     5 29.
6        MR. McMURTRY: Tell me again what video           6       MS. MEEK: This is video 3 in the
7 that is.                                                7 stipulation, and I'm playing Exhibit 29 from the
8        MR. SIEGEL: I'm sorry. Video 9. And              8 beginning.
9 it's just the first five or six seconds. And            9       (Thereupon, a video recording of Exhibit
10 again, listen to the crowd.                            10 29 was played.)
11       THE WITNESS: Okay.                               11 BY MR. SIEGEL:
12       (Thereupon, a video recording of Exhibit         12 Q. So what are the students shouting there?
13 28 was played.)                                        13 A. Cov Cath is the best.
14 BY MR. SIEGEL:                                         14      MR. SIEGEL: Okay.
15 Q. Did you hear somebody shouting something            15 A. Which is a school spirit thing.
16 out?                                                   16 Q. Okay. Do you assume that everyone else
17 A. I mean, I heard people shouting. I                  17 there knows what or knew what Cov Cath is?
18 didn't hear anything.                                  18      MR. McMURTRY: Objection.
19       MR. SIEGEL: Let's -- let's just play it          19 A. I mean, I don't think it would be pretty
20 one more time.                                         20 hard to figure out. A lot of kids have
21       (Thereupon, a video recording of Exhibit         21 sweatshirts that say in pretty big letters
22 28 was played.)                                        22 Covington Catholic on it.
23 BY MR. SIEGEL:                                         23 BY MR. SIEGEL:
24 Q. So right there, around four or five                 24 Q. Okay. So you assume that anyone in that
25 seconds, does it sounds like someone may be            25 Lincoln Memorial area would know that this was
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 84 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2197       INFORMATION
                                        Transcript of Nicholas Sandmann                                83 (329 to 332)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       329                                                          331
1 some kind of school cheer?                                 1 communicating to somebody, right?
2        MR. McMURTRY: Objection.                            2 A. Right.
3 A. I think even without -- again, as I had                 3 Q. So do you know how that communication
4 said yesterday, Cov Cath to me sounds like a high          4 got started?
5 school name. Anything Catholic, I would think              5 A. I -- I do not know. I know that
6 school at the very least. And I think it's                 6 eventually, unlike other one-line things that
7 pretty -- pretty common to abbreviate it, the              7 were being said by everybody in the crowd, that
8 first four letters. So to me, it does not seem             8 ended up catching my attention because I could
9 too hard to figure out.                                    9 hear a back-and-forth going on.
10 BY MR. SIEGEL:                                            10 Q. Okay. Did you ever talk to Will about
11 Q. Okay. Let's jump to 1 minute and 15                    11 how that conversation with the man in the Reds
12 seconds.                                                  12 hat got started?
13       And while we are doing that, do you know            13 A. I have talked to him about it, but I --
14 who  took this video?                                     14 I can't accurately remember how it started. I --
15 A. No.                                                    15 I'm pretty -- I'm pretty sure I know how it
16       MR. SIEGEL: Okay.                                   16 started, but I don't want to definitely say it
17       MS. MEEK: Starting at 1:15.                         17 happened one way and then that not be true.
18       (Thereupon, a video recording of Exhibit            18 Q. Okay. Well, so let's break that down.
19 28 was played.)                                           19 Okay?
20       MR. SIEGEL: Actually, let's go back                 20      So you said at the point that -- in that
21 because I want to sort of focus Nick's attention          21 moment, when he said -- what was it that caught
22 so he will know what to be looking for.                   22 your ear?
23 BY MR. SIEGEL:                                            23 A. I don't -- I can't remember what exactly
24 Q. So I'm going to ask you to try to focus                24 he said that caught my ear. I think I just heard
25 on the communication between the man in the Reds          25 both of them in an argument, and that caught my
                                                       330                                                          332
1 hat and Will Fries. Okay?                                  1 attention. Because up until that point, none of
2 A. Okay.                                                   2 the other students were interacting with anyone
3        (Thereupon, a video recording of Exhibit            3 outside of Cov Cath, at least to my knowledge.
4 28 was played.)                                            4 Q. Okay. So how do you -- you say you
5        MS. MEEK: Paused at 1:43.                           5 don't know for sure, but how do you think it got
6  BY  MR.   SIEGEL:                                         6 started?
7 Q. Okay. Towards the end of that you hear                  7 A. From -- from what I remember, which
8 the man in the Reds hat say --                             8 could not be -- may not be accurate, the person
9        MR. McMURTRY: Excuse me.                            9 we are calling the man in the Reds hat turned
10 BY MR. SIEGEL:                                            10 around to Will and said F you, F you, you stole
11 Q. Do you hear the man in the Reds hat say,               11 our land, which prompted Will to respond to him.
12 if you want to make America great, of course, you         12 Q. And -- and what's the basis of your
13 white people go back to Europe where you came             13 saying that? In other words, where is that
14 from?                                                     14 information coming from?
15 A. I didn't hear all of that. I did hear                  15 A. This is information that I think -- this
16 him telling Will to go back to Europe, and that           16 is what I think Will Fries told me.
17 this was -- the Reds hat -- red hat guy say this          17       MR. SIEGEL: Okay.
18 is our land.                                              18 A. I will say again, I don't know -- I
19 Q. Okay. So from this video, do you see                   19 don't even know if he told me that, like in
20 that -- you can tell that they are communicating          20 that -- that's what I think I remember him
21 in some way, right, before the man in the Reds            21 telling me.
22 hat says that?                                            22 Q. Do you recall anything else Will telling
23       MR. McMURTRY: Who is communicating?                 23 you about not just this moment but anything about
24 BY MR. SIEGEL:                                            24 the guy in the Reds hat?
25 Q. Well, the man in the Reds hat is                       25 A. I remember him kind of describing more
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 85 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2198       INFORMATION
                                      Transcript of Nicholas Sandmann                                   84 (333 to 336)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       333                                                          335
1 of the conversation he had with the man in the             1 go back -- let's go back to 1:43 and listen to
2 red hat. But, I mean, anything else he would               2 that again.
3 have described to me, I don't remember.                    3       (Thereupon, a video recording of Exhibit
4 Q. Okay. Is there anything else that Will                  4 28 was played.)
5 told you about this that you recall?                       5 BY MR. SIEGEL:
6 A. Not besides some of the things that were                6 Q. Okay. So that is what you are talking
7 said in the conversation.                                  7 about.
8 Q. Okay. Well, I will tell you what,                       8       Is that -- you testified earlier about
9 maybe -- what do you remember that he told you             9 Will describing to you that the guy had used the
10 about what was said in the conversation other             10 F word. Is that what you think Will was
11 than what you've already testified to?                    11 describing to you?
12 A. I -- I remember Will telling -- Will                   12 A. Yeah. Well, in this clip, he said it
13 telling me that he told the man in the red hat            13 twice so far, and I would imagine that he
14 that -- he said something along the lines of like         14 probably said it other times which aren't in this
15 we are kids or we are from Kentucky, we didn't            15 section we're watching.
16 steal anything. And then I know at one point              16 Q. Okay. Now, I'm going to play that
17 Will tells the man in the red hat, well, let's            17 again. But this time I want you to look at not
18 just go back to Africa where all life started.            18 Will but the man you described as the -- the
19 And I think at one point, he tries to talk to him         19 other man with the drum who has the white hat.
20 about the land bridge theory or whatever, that            20 A. Okay.
21 that's where Native Americans even got to North           21      MR. SIEGEL: Okay.
22 America in the first place. But that's about all          22 Q. So he's --
23 I recall.                                                 23 A. He's got the checkered --
24       MR. SIEGEL: Okay. And a lot of that is              24      MR. SIEGEL: Yeah, the checkered hat.
25 captured on the video. So let's go ahead and              25      THE WITNESS: Okay.
                                                       334                                                          336
1 play it through to the next pause point.                   1       (Thereupon, a video recording of Exhibit
2        MS. MEEK: Restarting from 1:43.                     2 28 was played.)
3        (Thereupon, a video recording of Exhibit            3 BY MR. SIEGEL:
4 28 was played.)                                            4 Q. Did you see what Will is saying when
5        MS. MEEK: Paused at 2:05.                           5 he's saying there appears to be some -- some
6  BY  MR.   SIEGEL:                                         6 communication between the man in the white hat
7 Q. Okay. So what's your reaction to that                   7 and the man in the red hat?
8 conversation so far?                                       8 A. Yes.
9        MR. McMURTRY: Objection. Go ahead.                  9 Q. Did you hear any of that?
10 A. I mean, Will, and I think he knows this                10 A. No.
11 now, was just better off not -- not bothering to          11 Q. Okay. So did you have any idea what
12 interact with this guy.                                   12 they were saying to each other?
13       I don't -- my reaction is I don't really            13 A. No.
14 see any point in having this conversation. I              14      MR. SIEGEL: Okay. Let's keep going.
15 don't think either of them are going to come out          15      MS. MEEK: Restarting at 2:05.
16 of it feeling better about themselves or feeling          16      (Thereupon, a video recording of Exhibit
17 more knowledgeable.                                       17 28 was played.)
18 Q. You heard the man in the Reds hat use                  18      MS. MEEK: Paused at 2:20.
19 the F word in that last -- do you think that is           19 BY MR. SIEGEL:
20 what Will was describing to you?                          20 Q. Okay. And you -- it looks like you
21 A. Yeah, I heard the man in the red hat say               21 motioned to Will, right?
22 get the fuck out of my face, which I think in             22 A. Right.
23 some way made Will want to argue more and prove           23 Q. And is that -- what were you trying to
24 his point.                                                24 communicate to him?
25       MR. SIEGEL: Okay. Let's -- maybe let's              25 A. To stop talking.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 86 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2199       INFORMATION
                                      Transcript of Nicholas Sandmann                                  85 (337 to 340)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       337                                                         339
1 Q. Okay. Let's go back to Exhibit 20,                      1 Q. Okay. Do you -- and why does the fact
2 which is your -- the first public statement that           2 that -- why do you attribute what you perceive to
3 you issued.                                                3 be the intentions of the man in the Reds hat to
4        Just give me a minute here. Yeah. Go                4 Nathan Phillips?
5 to the second page, which is NS 103, the first             5 A. No. I'm not saying that they both had
6 paragraph.                                                 6 the same intentions. I'm just saying that there
7 A. Uh-huh.                                                 7 is a common link between both of them, that I
8 Q. Read it to yourself for a second.                       8 believe that Nathan Phillips was -- I believe
9        MR. McMURTRY: I'm sorry. Can you                    9 that Nathan Phillips stayed in front of me
10 reorient me as to what you just said? I was --            10 intentionally; and that once that argument began
11       MR. SIEGEL: Yes. It's NS 103.                       11 between Will and the man with the red hat on,
12       MR. McMURTRY: First paragraph?                      12 that the guy in the red hat kept responding to
13       MR. SIEGEL: First paragraph.                        13 Will because he was trying to make a point as
14 BY  MR.   SIEGEL:                                         14 well, which I think is clearly expressed when he
15 Q. Okay. And Nick, I take it this                         15 tells Will that we stole their land and that he
16 paragraph refers to that interaction that we just         16 needs to go back to Europe.
17 watched?                                                  17 Q. And do you think that Nathan Phillips
18 A. Correct.                                               18 wanted him to make that point?
19 Q. Okay. You refer to the man in the red                  19 A. I have no idea.
20 hat as a member of the protestor's entourage.             20 Q. Do you think when Will Fries yelled out
21       What did you mean by a member of the                21 grab his dick and twist it that that said
22 protestor's entourage?                                    22 something about your intentions when you were
23 A. In the same way I referred to the guy                  23 standing there?
24 with the white and checkered hat as a companion           24 A. I don't -- I -- I don't think so.
25 of Mr. Phillips. They followed him over to our            25 Q. So why do you see a common link between
                                                       338                                                         340
1 group.                                                     1 the man in the Reds hat and Nathan Phillips but
2 Q. Okay. Did you think that everyone who                   2 not between you and Will Fries?
3 followed him was a companion of his?                       3 A. As I said -- as I said earlier, I'm not
4 A. I mean, yes. I made that assumption                     4 saying that they both had -- that that -- I'm not
5 because they were over there conducting their own          5 saying that Nathan Phillips' motive was the same
6 indigenous people's rally. I assumed some of               6 motive. I'm just saying they both appeared to be
7 them knew each other. And it appears afterwards            7 doing similar things.
8 like they did. And so when they followed him               8        I think it would be incorrect to make
9 over there, I assumed that they were all a part            9 that same conclusion about Will and I because
10 of the same group.                                        10 Will and I were behaving in two different ways.
11 Q. Okay. But that was an assumption,                      11       Will was vocal and interacting with him.
12 right?                                                    12 I stood  there and did or said nothing.
13 A. Right.                                                 13 Q. Well, did Nathan Phillips ever say
14 Q. Okay. Do you think that what the man in                14 anything disparaging to you?
15 the Reds hat said to Will reflects anything about         15 A. No. But --
16 Nathan Phillips?                                          16 Q. Or to any other -- through that
17 A. In some ways.                                          17 encounter, did he ever say anything disparaging
18 Q. How so?                                                18 to you?
19 A. I think that in the way Nathan Phillips                19 A. He didn't say anything disparaging to
20 walked up to me and then we had our encounter for         20 me. But when he was close to me, I mean, his
21 how many minutes, when the guy with the red hat,          21 spit was getting on my face. I was smelling his
22 as we are calling him, found out that he could            22 breath. It wasn't a pleasant experience.
23 engage Will in an argument, that it kind of               23       I think that his words -- he doesn't
24 reflects that both of them were trying to make            24 have to speak to -- for it to be obvious that
25 points.                                                   25 he's trying to do something.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 87 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2200       INFORMATION
                                          Transcript of Nicholas Sandmann                                 86 (341 to 344)

                                         Conducted on 9/13/2021 & 9/14/2021
                                                       341                                                          343
1 Q. Okay. So you perceived that he was                      1 A. I -- I think so.
2 trying to do something even though he wasn't               2 Q. Okay. We probably will see her at one
3 articulating in words?                                     3 point down the road. So we will just point her
4 A. Correct.                                                4 out. But I think I know who you are talking
5 Q. Okay. I want to show you -- let's call                  5 about.
6 up -- again, this is one of the videos that your           6         Okay. So I think those were five
7 counsel produced. It's Exhibit 9.                          7 people. Anyone else that you contend was in
8        MR. McMURTRY: What number video?                    8 Nathan Phillips' entourage?
9        MR. SIEGEL: It's not marked here, but               9 A. I mean, there were other people that I
10 we -- I know we called it out before.                     10 think probably came from over there, but I
11       MS. MEEK: NS 128.                                   11 wouldn't say that they were specific -- it would
12       MR. SIEGEL: It's NS 128. But we did                 12 be too much of a leap at that point to say for
13 label it as one of the videos.                            13 sure.
14       MR. McMURTRY: Okay.                                 14 Q. Do you assume that Nathan Phillips knew
15       MS. MEEK: Video 10.                                 15 all five of those people?
16       MR. SIEGEL: Okay.                                   16 A. I would say they were familiar with each
17 BY MR. SIEGEL:                                            17 other based on the fact that they call him
18 Q. So I'm going to ask you, who -- just                   18 Grandpa or -- and Elder Nathan at some points
19 watching this, looking at this screenshot, right?         19 after this thing.
20 A. Yes.                                                   20        I -- to me, Nathan Phillips seems like
21 Q. Who do you contend is part of Phillips'                21 somewhat of a leader in organizing their rally.
22 entourage?                                                22 So I would say they know each other.
23 A. I would say --                                         23 Q. Okay. And when you say he -- Nathan
24 Q. Why don't you -- yeah, let -- let Jessie               24 Phillips seems to be a leader organizing their
25 follow with the cursor.                                   25 rally, are you referring to the indigenous
                                                       342                                                          344
1 A. Okay. So Nathan Phillips, right?                        1 people's rally that happened earlier?
2        MR. SIEGEL: Right.                                  2 A. Yes.
3 A. The man in the red hat that we see to                   3 Q. Okay. And -- okay. Okay. You used the
4 his left. Just above him, the guy with the white           4 word conspiracy before I think or conspired.
5 hat.                                                       5 A. Yes.
6        MR. SIEGEL: Uh-huh.                                 6 Q. Do you believe that all five of those
7 A. You can't see it from this screenshot,                  7 people conspired with Nathan Phillips in some
8 but there is a man with a snappack that's holding          8 way?
9 a professional camera. And he has a black shirt            9 A. I don't know.
10 on that says Indigenous People's March.                   10 Q. Okay. Do you believe that all five of
11 Q. I think I know -- I believe that is him.               11 them had some prior communication with Nathan
12 The fellow with the beard?                                12 Phillips about this encounter before it happened?
13 A. Yes.                                                   13 A. I don't know.
14 Q. Okay.                                                  14 Q. Okay. And in -- again, I think I can
15 A. And then there -- there is one more                    15 just read it to you.
16 person who I can't see from the screenshot but is         16       In the Complaint you filed in ABC's
17 wearing -- I'm unsure if he has the same                  17 case, in paragraph 43, you -- you said he
18 Indigenous People's March black shirt on, but I           18 intentionally walked up to the crowd of Cov Cath
19 remember her having dream catcher earrings and            19 students; and in paragraph 44, immediately behind
20 her attire seemed to suggest that she -- she had          20 and around Phillips were several of his own
21 come from the Indigenous People's March as well.          21 companions, right?
22 Q. Okay. So just stop it there.                           22 A. Right.
23       There is a woman who had very short                 23 Q. So this is the point where he is walking
24 hair. Is that -- do you think that is who you             24 up to you guys.
25 are talking about?                                        25       Is it the same people you are referring
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 88 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2201       INFORMATION
                                      Transcript of Nicholas Sandmann                                   87 (345 to 348)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      345                                                        347
1 to as his companions?                                     1 standing in front of Nathan Phillips was about
2 A. Yes.                                                   2 six minutes.
3        MR. SIEGEL: Okay. And I will just note             3 A. Okay.
4 for the record the same allegations are in                4 Q. Does that seem correct?
5 paragraphs 43 and 44 of your Complaint against            5 A. That seems accurate.
6 CBS, 73 and 74 for NBC, 42 and 43 for The New             6 Q. Okay. And so for that six minutes, you
7 York Times, 42 and 43 for Rolling Stone and 29            7 didn't move from your spot, right?
8 and 30 for Gannett.                                       8 A. Right.
9        Okay. Let's go back to Exhibit 29,                 9 Q. And then you exited when Ms. Hagedorn
10 which is video 3.                                        10 came?
11       MS. MEEK: Starting at 2:20.                        11 A. Correct.
12       (Thereupon, a video recording of Exhibit           12       MR. SIEGEL: Okay. Okay. Let's play
13 29 was played.)                                          13 the next 17 seconds, I guess.
14       MS. MEEK: Paused at 2:37.                          14       MS. MEEK: Starting at 2:37.
15 BY MR. SIEGEL:                                           15       (Thereupon, a video recording of Exhibit
16 Q. Okay. So the man in the Reds hat is                   16 29 was played.)
17 continuing to talk to Will, right?                       17 BY MR. SIEGEL:
18 A. Yes.                                                  18 Q. So you hear the man in the reads cap say
19 Q. And did you -- at this point, did you                 19 I got him man, I got him man, we are not alone?
20 hear what they were saying?                              20 A. Yes.
21 A. No.                                                   21 Q. Do you have any understanding of what he
22 Q. If you can recall?                                    22 meant by that?
23 A. No. And in this frame, I'm exiting.                   23 A. Not -- not really. At that point, maybe
24       MR. SIEGEL: Okay. So that's -- yeah,               24 he got Will, he beat him in the argument they
25 that's -- let's go back to -- to the beginning           25 were having or whatever. I'm not sure.
                                                      346                                                        348
1 again and get that point where you are exiting.           1 Q. Okay. Okay. Let's keep going. And
2        (Thereupon, a video recording of Exhibit           2 again, I will ask you to just sort of focus on
3 29 was played.)                                           3 whatever communication you might be able to hear
4 BY MR. SIEGEL:                                            4 from the man in the Reds hat. Okay?
5 Q. Okay. So we see you walking off, right,                5 A. Okay.
6 towards the -- maybe the last five seconds of             6        MS. MEEK: Restarting at 2:54.
7 that, of that frame.                                      7        (Thereupon, a video recording of Exhibit
8        So -- so recognizing that you didn't               8 29 was played.)
9 hear it at the time, the man in the Reds hat              9        MS. MEEK: Paused at 3:07.
10 says: We were here already. We were here                 10 BY MR. SIEGEL:
11 already. We had a demonstration here and now you         11 Q. Okay. So do you see it looks like the
12 come here and F-ing do this. You're being white.         12 man in the red hat is talking to the man in the
13       Do you have any understanding what he              13 white hat?
14 was talking about?                                       14 A. Yes.
15 A. I think he was saying that they had                   15 Q. Can you hear anything the man in the
16 scheduled their indigenous people's rally before         16 white hat is saying?
17 we started showing up for our busses.                    17 A. I heard him say close your eyes at one
18 Q. Okay. And why did you move away at that               18 point, but I could not really make out most of
19 point?                                                   19 what he was saying.
20 A. My teacher -- one of my teachers came up              20       MR. SIEGEL: Okay. Let's just listen to
21 to me, Ms. Hagedorn, and told us that the busses         21 that one more time.
22 were here and it was time to leave, and so I             22       (Thereupon, a video recording of Exhibit
23 exited.                                                  23 29 was  played.)
24 Q. Okay. And we have counted -- it looks                 24 BY MR. SIEGEL:
25 like the total amount of time that you were              25 Q. The reason I ask, I thought I heard the
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 89 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2202       INFORMATION
                                        Transcript of Nicholas Sandmann                               88 (349 to 352)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                      349                                                         351
1 man in the Reds hat say close your eyes.                  1 Q. Okay. And do you have any understanding
2 A. I think he's saying close your eyes and                2 of what he meant by that?
3 you will see our people.                                  3        I'm going to rephrase that. What do you
4        MR. SIEGEL: Right.                                 4 think he meant by that?
5 A. And then I thought at the end I heard                  5 A. I think that -- by this point, I think
6 him repeat twice, we F-ing won, we F-ing won. I           6 that when he refers to him as Grandpa, I gather
7 heard -- that's what I can hear.                          7 from that that these two know each other. And by
8 Q. The man in the Reds hat saying that?                   8 the he got them, we won, or whatever, that they
9 A. Yes.                                                   9 have me on camera or whatever and that they won
10 Q. Yes, he says -- I think he says he won,               10 or whatever because they are going to share this
11 he F-ing won, right?                                     11 and, you know, edit it down and try to say what
12 A. I heard we, not he, like him --                       12 happened.
13       MR. SIEGEL: Okay. Let's just go back               13 Q. Okay. And do you have any -- well, do
14 and hear  that one more time, maybe the last             14 you have any specific facts supporting that
15 like -- the last seven seconds of it.                    15 belief that that's what the man in the red had
16       (Thereupon, a video recording of Exhibit           16 was referring to?
17 29 was played.)                                          17 A. No.
18 BY MR. SIEGEL:                                           18       MR. SIEGEL: Okay. Keep going.
19 Q. What does that sound like?                            19       MS. MEEK: Restarting at 3:24.
20 A. It could be he -- I think -- it sounds                20       (Thereupon, a video recording of Exhibit
21 to me like he's -- he's talking about                    21 29 was played.)
22 Mr. Phillips.                                            22       MS. MEEK: Paused at 3:33.
23 Q. Right. And he says he won, he F-ing                   23 BY MR. SIEGEL:
24 won.                                                     24 Q. Do you understand why Nathan Phillips is
25 A. Right.                                                25 hitting the drum in a circle like that?
                                                      350                                                         352
1 Q. And what do you understand him to mean                 1 A. No.
2 by that, if anything?                                     2 Q. Okay. No, do you have any belief about
3 A. He won the apparent standoff taking                    3 why he's doing that?
4 place.                                                    4 A. My best guess is that he's celebrating,
5 Q. Okay. And do you have any understanding                5 but I don't know.
6 of what -- withdraw that.                                 6 Q. And celebrating what?
7       What do you think the man in the Reds               7 A. Like they said, that they won.
8 hat was saying Nathan Phillips had won?                   8 Q. Okay. And what do you think that Nathan
9 A. I don't know about all of -- Will, I                   9 Phillips -- if he was celebrating, what victory
10 guess, or something.                                     10 is it that he thought he was celebrating in your
11      I don't -- I don't know what there was              11 view?
12 to win.  I never looked at it as there was going         12 A. Over me, maybe. But I -- whatever they
13 to be a winner and a loser out of this.                  13 are taking winning to mean, I would assume that
14      As soon as I had the opportunity to                 14 he's celebrating that he won, however they view
15 leave and get on my bus, that's what I did.              15 winning.
16      MR. SIEGEL: Okay. Let's keep going. I               16 Q. Okay. Now, maybe go to a frame where
17 think you are going to hear what you were                17 it's a little clearer. You're -- it looks like
18 referring to before.                                     18 you're off to the side now, talking to a couple
19      MS. MEEK: Starting at 3:07.                         19 of friends?
20      (Thereupon, a video recording of Exhibit            20 A. I'm talking to -- I'm there with Will,
21 29 was played.)                                          21 and I'm talking to Jake Kleier.
22 BY MR. SIEGEL:                                           22 Q. Yeah, Jake Kleier, who I admit, I keep
23 Q. So there he goes -- you heard him say we              23 thinking looks like a high school student. There
24 won Grandpa, we F-ing won Grandpa?                       24 you go.
25 A. Right.                                                25 A. Yeah.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 90 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2203       INFORMATION
                                       Transcript of Nicholas Sandmann                                     89 (353 to 356)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       353                                                          355
1 Q. So -- first of all, at that point were                  1        THE WITNESS: The woman that I named
2 you listening to any of the things that were               2  earlier with the --
3 being said by the man in the red hat or --                 3        MR. McMURTRY: Short entourage hair.
4 A. No. I only -- I mean, at one point                      4        THE WITNESS: Yes.
5 after this, I'm going to look over at them. But            5 BY MR. SIEGEL:
6 I -- I was just so confused at that point, I               6 Q. Oh, yes, very good point. So that's the
7 really wasn't bothering to listen to any of the            7 one that Jessie -- is talking to you. She is
8 things they were saying.                                   8 wearing, it looks like, a black skirt with sort
9 Q. Okay. Do you remember what you were                     9 of white stars or something on it?
10 discussing with Mr. Kleier and Will?                      10 A. Yep.
11 A. My best guess is I probably asked Jake                 11 Q. And carrying a backpack?
12 Kleier what just happened. I mean, I didn't               12 A. Correct.
13 really understand what was going on at that               13       MR. SIEGEL: Okay.
14 point, so that's probably what I asked him.               14       MS. MEEK: We are on Exhibit 30 at 3:33.
15 Q. Okay. But that's a -- that's a guess.                  15 BY MR. SIEGEL:
16 You don't have a specific memory of --                    16 Q. And I guess just while we are here, is
17 A. I don't have -- I can't recall exactly.                17 there anyone else you see that you think was --
18 Q. Okay. Did any of your fellow                           18 that you were referring to as member of Phillips'
19 students -- before the busses came, did anyone            19 entourage other than the ones you testified
20 talk to you about what had happened that day?             20 before?
21 A. Yes.                                                   21 A. No, no one else.
22 Q. Who?                                                   22       MR. SIEGEL: Okay. Let's go to the next
23 A. I don't remember specifics. I had                      23 exhibit, which is Exhibit 30, video 11.
24 students coming -- there wasn't a ton, maybe like         24       MS. MEEK: This is actually -- a
25 five or so. But there were students from the              25 correction for the record. That was Exhibit 29
                                                       354                                                          356
1 younger grades, who I didn't necessarily know,             1 at 3:33 we were just discussing.
2 asking me what it -- what was that all about.              2 BY MR. SIEGEL:
3 And I -- I generally told everyone I didn't know.          3 Q. And I will stop a couple times, Nick,
4 I don't really know what happened.                         4 just to ask you to identify people. But
5 Q. Okay. And once you left the steps of                    5 basically, this is another video of the
6 the memorial, do you remember about how long it            6 interactions involving the man in the Reds cap
7 was before the busses left?                                7 that is just taken from a different angle. So
8 A. I think like a couple of minutes, less                  8 other than the couple of times I will stop it to
9 than ten, and we got on them.                              9 ask you who the people are, I just want to watch
10       MR. SIEGEL: Okay. What time is it?                  10 it -- for you to watch it and see if you see
11       MR. McMURTRY: 11:58. So we started                  11 any -- see or hear anything more than in the
12 about  10:35. So about an hour and 25 minutes so          12 other video that would affect any of your
13 far.                                                      13 answers. Okay?
14       MR. SIEGEL: Why don't I -- I've got one             14 A. Okay.
15 more exhibit that will sort of close out this             15        MS. MEEK: Starting Exhibit 30 at 30
16 portion, and maybe we'll just break for -- do you         16 seconds.
17 want to do an early lunch?                                17        (Thereupon, a video recording of Exhibit
18       MR. McMURTRY: Sure.                                 18 30 was played.)
19       MS. MEEK: One thing, Nathan, I think                19        MS. MEEK: Paused at 56 seconds.
20 this may be the woman -- let's see. We are in             20 BY MR. SIEGEL:
21 exhibit --                                                21 Q. Okay. Was it 56 or 35 we were going to
22       THE WITNESS: That I named earlier.                  22 pose -- we were going to pause here?
23       MR. SIEGEL: What is that?                           23        MS. MEEK: I have from 30 to 56. Go
24       MS. MEEK: Yeah. Exhibit -- okay. we                 24 earlier?
25 are in Exhibit 30 now.                                    25        MR. SIEGEL: This is Exhibit 30, right?
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                      CONTAINS CONFIDENTIAL
                                     2204       INFORMATION
                                         Transcript of Nicholas Sandmann                               90 (357 to 360)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                       357                                                         359
1        MS. MEEK: Yes.                                      1 about what the man in the red hat said with
2        MR. SIEGEL: Yeah. Try 35 quickly.                   2 anyone that changes anything that you have
3        MS. MEEK: 35 seconds?                               3 testified about before?
4        MR. SIEGEL: Yeah. Yes. That's it.                   4 A. No. I -- I generally heard the same
5 BY MR. SIEGEL:                                             5 things I heard from the other angle.
6 Q. Do you see the fellow in the brown hat,                 6 Q. Okay. Were you -- could you make out
7 like brown kind of beanie hat?                             7 anything about what the man in the white hat was
8 A. Yes.                                                    8 communicating?
9 Q. You can actually see his phone kind of                  9 A. Not really.
10 facing forward. Do you know who that is?                  10       MR. SIEGEL: Okay. All right. Let's
11 A. No.                                                    11 take a -- let's take a lunch break.
12       MR. SIEGEL: Okay.                                   12       THE VIDEOGRAPHER: We are going off the
13 A. And just to be clear, the person I was                 13 record. The time is 12:06 p.m.
14 referring to earlier is the person to the -- the          14       (Thereupon, there was a recess taken at
15 person in the beanie is left --                           15 12:06 p.m.)
16       MR. SIEGEL: Right.                                  16       (Thereupon, the proceedings were resumed
17 A. -- with the backwards hat.                             17 at 12:50 p.m.)
18       MR. SIEGEL: Right. And why don't you                18       THE VIDEOGRAPHER: We are back on the
19 just put the cursor on that, Jessie, so it's              19 record. The time is 12:50 p.m.
20 clear for the record, on him, the fellow with the         20 BY MR. SIEGEL:
21 beard and the backwards hat.                              21 Q. Okay. Nick, you delivered a speech that
22       THE WITNESS: No -- yes.                             22 was broadcast as part of the Republican National
23 BY MR. SIEGEL:                                            23 Convention, right?
24 Q. As -- as a member of Phillips'                         24 A. That is correct.
25 entourage?                                                25 Q. And how did you come to do that?
                                                       358                                                         360
1 A. Yes.                                                    1 A. I was contacted through Turning Point
2       MR. SIEGEL: Okay. Okay. You can jump                 2 USA and was notified that there was interest from
3 forward to 56 now and then pause at 1:02.                  3 the Trump campaign to have me speak. And they
4 BY MR. SIEGEL:                                             4 inquired about whether or not I would be
5 Q. Do you recognize whether the person in                  5 interested in doing that.
6 the brown hat is a Cov Cath student? Do you                6 Q. And do you remember who at Turning Point
7 know?                                                      7 contacted you?
8 A. I would say for sure that it's not.                     8 A. Yes. His name is Alex Lorusso.
9 Well, I don't know who that is, in all honesty.            9        MR. SIEGEL: Okay.
10      MR. SIEGEL: Okay. Okay.                              10 A. He more commonly goes on the Internet by
11      (Thereupon, a video recording of Exhibit             11 just ALX.
12 30 was played.)                                           12 Q. Okay. And you will excuse my ignorance.
13 BY MR. SIEGEL:                                            13 But is he -- is he one of the commentators
14 Q. Okay. Is that Ms. Hagedorn at 1:02?                    14 essentially of TP?
15 A. Correct.                                               15 A. Yes. Yes. He's -- he's -- I think his
16      MR. SIEGEL: Okay. Keep going.                        16 official title is he is a TPUSA ambassador.
17      (Thereupon, a video recording of Exhibit             17 Q. Okay. So after he contacted you, what
18 30 was played.)                                           18 happened? How did you actually come to agree and
19 BY MR. SIEGEL:                                            19 then record that speech?
20 Q. Do you know who that is?                               20 A. If I remember it correctly, after
21 A. Yes.                                                   21 speaking to Alex, I then spoke to Charlie, who
22 Q. Who is that?                                           22 runs Turning Point, and then --
23 A. I think, if I'm right, his name is Trey                23 Q. Charlie Kirk?
24 Lowery (phonetically spelled.)                            24 A. Charlie Kirk, yes.
25 Q. Okay. And did you hear anything more                   25       And then he connected me with members of
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 92 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2205       INFORMATION
                                     Transcript of Nicholas Sandmann                                    91 (361 to 364)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                       361                                                          363
1 the Trump campaign, who spoke to me first of --            1 Q. Okay. And so what was his role?
2 the first discussion we had was organizing how             2 A. He played a role in helping me write the
3 was I going to get to DC, what was the schedule            3 speech.
4 going to look like, where was I actually going to          4        Most of the original speech that I had
5 film my speech or whatever. And we just worked             5 written ended up staying in there by the finished
6 out all the logistics or whatever.                         6 product.
7        And then from then on, I moved to                   7 Q. Okay. And are there any -- do you have
8  actually  writing my speech. And after that, I            8 any of the drafts of the speech that you wrote?
9 flew to DC.                                                9 A. I think I do.
10 Q. Okay. And were you standing in front of                10       MR. SIEGEL: Okay. I think we had asked
11 the Lincoln Memorial when you gave it or was that         11 for those to be produced, Todd, only because they
12 a backdrop?                                               12 do describe the events at --
13 A. That was actually at the Lincoln                       13       MR. McMURTRY: Yeah, that is fine. I
14 Memorial.                                                 14 never  thought of that. It didn't strike me as
15 Q. It was actually at Lincoln -- and who                  15 anything relevant. But if you want us to get
16 were the people in the Trump campaign that you            16 those to you -- I don't think we've produced
17 communicated with?                                        17 them.
18 A. I can remember a couple of names. I                    18       MR. SIEGEL: Right.
19 won't be able to remember all of them.                    19       THE WITNESS: I don't know if it's
20       I think there were about four or five.              20 relevant to add that I think I do have several
21 I think one of them was Cliff Sims. And another           21 different draft copies. But on some of them, I
22 one who was kind of the point person on keeping           22 might have wrote it and then just wrote the new
23 my schedule and making sure I got where I needed          23 draft over that.
24 to be, his name was David Mariash. And he kind            24       MR. SIEGEL: Over it, I understand.
25 of organized my flights and things like that.             25       THE WITNESS: And edited it, but --
                                                       362                                                          364
1        Another one that was -- that I can                  1         MR. SIEGEL: Okay.
2 remember, which is -- the last name I can, was             2         THE WITNESS: Yeah.
3 Jaylin Johnson. And he wasn't necessarily                  3 BY MR. SIEGEL:
4 connected to the actual speech itself. But when            4 Q. Okay. And why did you agree to speak?
5 I was in DC, he helped organize for me to tour             5 A. Well, I think, first and foremost, when
6 the Trump campaign office and like the war room,           6 the President asks for something, you know, it's
7 the headquarters, typically.                               7 kind of an honor and you do it.
8 Q. And what was the process of coming up                   8         So I was told that the President
9 with the substance of the speech?                          9 personally wanted me to speak, and I was -- I was
10 A. So the -- we had a couple -- he gave me                10 very honored by that. So that was probably my
11 the general themes for what they wanted the               11 leading motivation.
12 convention to center around. And he offered me            12 Q. Okay. So let's -- I'm going to put the
13 two different approaches.                                 13 speech up. I'm just going to play about the
14       I could -- I could write the speech, how            14 first ten seconds for you to confirm that this is
15 I kind of wanted it to look, and then get input           15 your speech.
16 from the speech writer on adjustments, or I could         16        THE WITNESS: Okay.
17 tell the speech writer some of the things I               17        MR. SIEGEL: This is Exhibit 31.
18 wanted and let him write it.                              18        (Thereupon, a video recording of Exhibit
19       I took the initiative and wrote the                 19 31 was played.)
20 entire speech myself. And then from there, we             20 BY MR. SIEGEL:
21 made some adjustments.                                    21 Q. Yeah. That's the speech you gave?
22 Q. And do you recall the name of the speech               22 A. That is my speech.
23 writer? Was it -- was it John Pastovich, or               23 Q. Okay. So let's go to 58 seconds.
24 something like that?                                      24        MR. McMURTRY: Recognize the suit?
25 A. Yes, John Pastovich.                                   25 A. I actually needed one. I have had this
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 93 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2206       INFORMATION
                                      Transcript of Nicholas Sandmann                                  92 (365 to 368)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       365                                                          367
1 one so long.                                               1 Q. Okay. You call him -- and I take it
2        MS. MEEK: Starting at 58 seconds.                   2 there you are referring to the man in the Reds
3        (Thereupon, a video recording of Exhibit            3 hat?
4 31 was played.)                                            4 A. Yes.
5 BY MR. SIEGEL:                                             5 Q. Why did you call him one of Mr. Phillips'
6 Q. Okay. So you refer to Nathan Phillips                   6 fellow agitators?
7 as a professional protestor?                               7 A. Because I believe that that's -- that is
8 A. Correct.                                                8 a term that describes their behavior when they
9 Q. Why did you call him that?                              9 entered our group.
10 A. As I mentioned in earlier testimony,                   10 Q. Okay. And just explain what you mean by
11 Nathan Phillips had gotten to headlines in                11 agitator?
12 Detroit. And then after the -- after the                  12 A. I mean, it's pretty agitative behavior
13 standstill at the Lincoln Memorial, he then               13 when you invade the personal space of someone 59
14 appeared at another protest in another state. I           14 years younger than you and make them smell your
15 can't remember where. I want to say California.           15 breath and have their spit on their face.
16 But it was clear to me that he was able to                16       In the case of the man in the Reds hat,
17 appear, appear on videos in DC, Detroit and               17 start arguing, trying to debate someone. However
18 somewhere else, and he seemed like a professional         18 the age gap is between them, that difference, it
19 protestor.                                                19 seems to me they were trying to agitate us.
20 Q. So what does the term professional                     20       MR. SIEGEL: Okay. And just go back and
21 protestor mean? Did you think that he -- does             21 play that one more time. And listen carefully
22 that mean that he makes money off of it, doing            22 again.
23 that?                                                     23       We are at 1:47 again?
24 A. I can't -- I can't say for sure. But I                 24       MS. MEEK: Yes.
25 would equate that phrase to he's definitely an            25       (Thereupon, a video recording of Exhibit
                                                       366                                                          368
1 activist and appears at -- appears at rallies for          1 31 was played.)
2 many different causes.                                     2 BY MR. SIEGEL:
3 Q. Okay. How does that make him a                          3 Q. When did the man in the Reds cap ever
4 professional protestor? What does the word                 4 say it's all right here on the video?
5 professional mean as you used it?                          5 A. In one of the -- in one of the video
6 A. He's very good at what he does. As I                    6 angles. I'm pretty sure that he -- he said that
7 said before, he -- he has a habit of getting on            7 line.
8 video or appearing in the headlines.                       8 Q. We showed you two videos of the man --
9 Q. Okay. And you said you referred to                      9 angles of the man in the Reds cap. Did you ever
10 others with him as professional protestors in             10 hear him say it's all right here on video?
11 your speech.                                              11 A. Correct. But those two angles don't --
12 A. Yes.                                                   12 don't cover the entire situation at the memorial.
13 Q. And why did you say that?                              13 Q. Okay. So what is the source of your
14 A. As I testified earlier, because I                      14 statement that the man in the Reds cap said,
15 believe, when they approached me, they had --             15 quote, it's all right here on video?
16 that there was -- it was somehow arranged for the         16 A. At one point in one of the videos, he
17 camera to be filming before he approached me.             17 says it's all right here on video to -- I can't
18 Q. Okay. And that's what you were                         18 remember who at this point. But that is captured
19 referring to when you were saying others were             19 on camera.
20 professional protestors?                                  20 Q. And can you describe the video that you
21 A. Yes.                                                   21 say it's captured on?
22       MR. SIEGEL: Okay. Let's go to 1:47.                 22 A. Well, as I said earlier, when you were
23       (Thereupon, a video recording of Exhibit            23 showing me these videos, I can't recall which one
24 31 was played.)                                           24 is which video. I mean, they are all videos to
25 BY MR. SIEGEL:                                            25 me. But I can't remember who is the author of
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 94 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2207       INFORMATION
                                       Transcript of Nicholas Sandmann                                   93 (369 to 372)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                     369                                                          371
1 which one. I just know on one of the videos that         1 said?
2 it is -- it takes place.                                 2 A. His name is Jacks, like --
3 Q. So there are like, I don't know, like                 3 Q. And which one is that?
4 whatever the number is, 18 or 19 videos that --          4 A. In between Will and I.
5 that, you know, the parties here have stipulated         5 Q. Behind you?
6 to. Is it on one of those videos?                        6 A. Right there.
7 A. I believe so.                                         7 Q. Okay. And do you know who the guy with
8 Q. But it's -- you contend it's on one of                8 the red, white and blue ski hat is?
9 those videos but not on the ones I've shown you?         9 A. No. I mean, I can't tell.
10 A. Correct.                                             10       MR. SIEGEL: Okay. Okay. Let's keep
11       MR. SIEGEL: All right.                            11 going.
12 A. Or at least -- not -- maybe it is on one             12       (Thereupon, a video recording of Exhibit
13 of the videos you have shown me and we just             13 32 was played.)
14 haven't played that part.                               14       MS. MEEK: I just paused at 30 seconds.
15 Q. We played the part where he said we won              15 BY MR. SIEGEL:
16 Grandpa, right?                                         16 Q. Okay. So when you were -- at the time,
17 A. Correct. I'm saying that of the videos               17 did you hear Nathan Phillips shouting any of
18 you have shown me, we haven't looked at all of          18 that?
19 them from start to finish. I mean, we have              19 A. It's possible. I don't really remember
20 jumped around on some of them.                          20 paying attention to it.
21       MR. SIEGEL: Okay. So I will put a                 21 Q. Okay. Well, either then or watching it
22 pause on it for now. Okay. We may come back to          22 now, do you have a view of why Mr. Phillips was
23 that.                                                   23 shouting relatives?
24       THE WITNESS: Okay.                                24 A. I just assume it's because he's
25 Q. But other than -- other than what you                25 referring to the people he's with. But I don't
                                                     370                                                          372
1 have just said, can you be any more specific             1 know.
2 about which video you say that is contained in?          2 Q. Okay. You are assuming it's referring
3 A. No, I really can't.                                   3 to people -- Native Americans and any of the
4         MR. SIEGEL: Okay. Let's go to Exhibit            4 other people who were the --
5 32.                                                      5 A. Yes.
6         And this, Nick, is all -- what I'm               6 Q. Okay. And he said let's make America
7 showing you now is some of the video after you           7 great, let's do that.
8 left the stairs.                                         8        Do you have any view of what he meant by
9         THE WITNESS: Okay.                               9 that?
10        (Thereupon, a video recording of Exhibit         10 A. No.
11 32 was played.)                                         11       MR. SIEGEL: Okay. Keep going.
12 BY MR. SIEGEL:                                          12       (Thereupon, a video recording of Exhibit
13 Q. Is one of the guys you're -- I know that             13 32 was played.)
14 is Will. There is Mr. Kleier, right? Who are            14       MS. MEEK: I paused at 56 seconds.
15 the other guys you are talking to?                      15 BY MR. SIEGEL:
16 A. The one in between me and Will, behind               16 Q. The fellow who we see in the Owensboro
17 me, his name is Jacks.                                  17 sweatshirt, is that -- do you know what school he
18        The other ones, I can -- I can't tell.           18 is from?
19 I'm looking at their backs here.                        19 A. I would assume Owensboro Catholic.
20 Q. The one that has C-R-I-M something on                20 Q. Okay. So to your knowledge was he not a
21 it -- Crimson, maybe?                                   21 Covington student?
22 A. Yeah. I can't tell.                                  22 A. Yes.
23 Q. And Jack Clark is -- I'm sorry. I                    23 Q. Okay. Do you know who he is?
24 probably have the wrong name.                           24 A. No idea.
25        Jack. Who is the other guy you just              25 Q. Okay. Do you have any reaction to what
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 95 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2208       INFORMATION
                                       Transcript of Nicholas Sandmann                                 94 (373 to 376)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       373                                                          375
1 he said?                                                   1 3 was played.)
2 A. Not really.                                             2       MS. MEEK: Paused at 1:18:44.
3        MR. SIEGEL: Go ahead. Let's go to                   3 BY MR. SIEGEL:
4 Exhibit 3 again, which is video 4. And this is             4 Q. So you hear the -- one of the BHI men
5 the Banyamyan video, some of the footage after             5 says you've got two N words in the crowd?
6 the incident was over.                                     6 A. Yes.
7        MS. MEEK: Starting at 1 hour, 18                    7 Q. And someone holds up his hands and says
8  minutes  and 18 seconds.                                  8 we've got two?
9        (Thereupon, a video recording of Exhibit            9 A. Yes.
10 3 was played.)                                            10 Q. Who is that, the guy who held up his
11       MS. MEEK: Paused at 1 hour -- 1 hour,               11 hand?
12 18 minutes and 26 seconds.                                12 A. I don't know. He was a grade above me.
13       MR. SIEGEL: Let's go back one more                  13 I don't know his name.
14 time.  See if you --                                      14 Q. What do you think of that response?
15 BY MR. SIEGEL:                                            15 A. Well, I mean, if you want my opinion
16 Q. Do you hear one of the BHI guys saying I               16 here, he's obviously being baited into this where
17 don't see one black person?                               17 the guy's using words which are -- are frowned
18 A. I would assume they probably said that.                18 upon. And I don't -- I don't think he realizes
19 I will listen for it.                                     19 that when he is correcting the guy and he says we
20       MR. SIEGEL: Okay. Let's go back and                 20 actually have two, that when you look at this on
21 listen for that.                                          21 camera, you would assume that he's saying -- or
22       (Thereupon, a video recording of Exhibit            22 that people could take that as we have two, and
23 3 was played.)                                            23 then the identification that the BHI used, I
24 BY MR. SIEGEL:                                            24 think that it's a senior in high school that
25 Q. Right. It's not the guy who is                         25 doesn't realize what he's being baited in to
                                                       374                                                          376
1 shouting, right?                                           1 saying.
2 A. Yes.                                                    2 Q. Well, whether you think he was being
3 Q. Someone else says it.                                   3 baited or not, you understand that he's saying
4       Do you recall, did you witness any of                4 we've got two, we've got two African Americans?
5 that?                                                      5        MR. McMURTRY: I don't think that's what
6 A. I don't think I did.                                    6  he testified to. But go ahead.
7 Q. Okay. And now it appears that the                       7 BY MR. SIEGEL:
8 kids -- the students are all turning around to             8 Q. Okay. Well, when he says we've got two,
9 try to find the African American student?                  9 what do you understand --
10 A. No.                                                    10 A. Well --
11 Q. You don't think that's what they are                   11 Q. Two what?
12 doing?                                                    12       MR. McMURTRY: You know, I don't know
13 A. I think that is one heck of a guess.                   13 what we are trying to prove here. I think Nick
14 Q. All right. Well, tell us -- do you                     14 said he wasn't aware of any of this happening.
15 know -- go ahead. Tell us.                                15       MR. SIEGEL: I get that. I understand
16 A. I don't -- I don't understand why they                 16 that.
17 would have to stand there and look at the Black           17       MR. McMURTRY: I don't know if there is
18 Hebrew Israelites who -- who are shouting that at         18 a question. If you would either read back the
19 them.                                                     19 question or ask it again.
20 Q. So he just -- the guy who said I don't                 20       MR. SIEGEL: Okay.
21 see one black person, right?                              21 BY MR. SIEGEL:
22 A. Right.                                                 22 Q. So when the guy holds up his hand and
23      MR. SIEGEL: That's what he shouted.                  23 says we've got two, what do you understand the
24 Okay. So let's keep going.                                24 two to be?
25      (Thereupon, a video recording of Exhibit             25 A. I would say probably that there was more
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 96 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2209       INFORMATION
                                         Transcript of Nicholas Sandmann                                 95 (377 to 380)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                      377                                                         379
1 than one African American with us.                        1         (Thereupon, a video recording of Exhibit
2 Q. Okay. And -- and your only view of that                2  3  was  played.)
3 was that the -- that the student was being baited         3         MS. MEEK: I'm back to 1:18:44.
4 to say that?                                              4 BY MR. SIEGEL:
5        MR. McMURTRY: Objection. That's not                5 Q. Did you hear that, hell, yeah, we've got
6 what he said. He didn't say that was his only             6 one?
7 view.                                                     7 A. I wouldn't a hundred percent confirm
8 A. Yeah. I think that he was --                           8 that, but that's what it sounds like.
9        MR. McMURTRY: I'm sorry. We are not                9 Q. Okay. And what do you think of that?
10 going to go down this road of debating this word         10        MR. McMURTRY: Objection. I think he's
11 to try to recancel Nick or recancel --                   11 already answered what he thinks about this.
12       MR. SIEGEL: I'm not going to --                    12        MR. SIEGEL: I'm going to ask him
13       MR. McMURTRY: I mean, it's too risky               13 statements like baiting. He testified about the
14 for you  to be asking these questions.                   14 one --
15       And what this kid said, we don't know.             15        MR. McMURTRY: This doesn't have
16 What the video says exactly is open for                  16 anything -- I mean, I have said -- objected very
17 interpretation. I think that you're -- you're            17 little, said very little. But now you are -- you
18 asking too much.                                         18 know, you are trying to drag Nick in to what
19       And if you want to continue these                  19 other people said that he didn't witness that
20 questions,  you know, I would rather take it up          20 have nothing to do with Phase 1 discovery and --
21 with the judge, because I don't think they have          21 or Phase 1 Motion For Summary Judgment.
22 anything to do with Phase 1.                             22        And, you know, really, you are dancing
23       MR. SIEGEL: Well, I think Nick does                23 around topics that are -- that are too
24 make a number -- made a number of public                 24 incendiary, really, to even be spoken about by
25 statements about the behavior of the students.           25 anybody in this room or anybody on this feed.
                                                      378                                                         380
1 Right? Not him, but the students in general.              1 And anything that we say about anything like this
2 And I think this is relevant to that.                     2 is going to put us all at risk.
3       MR. McMURTRY: He did answer. And you                3        And so, you know, I just don't think
4 mischaracterized his testimony. And, you know --          4 it's appropriate to continue to ask these
5       MR. SIEGEL: I will just ask a different             5 questions. What do you think about what somebody
6  question.                                                6 said that you didn't hear three years ago in
7 BY MR. SIEGEL:                                            7 hindsight sitting here today is totally
8 Q. Do you think that was an appropriate                   8 inappropriate. And, you know, I just think it's
9 response that that senior gave, an appropriate            9 in bad faith to -- not bad faith, but a bad
10 thing to do and gesture?                                 10 decision to ask these questions in this context.
11 A. As I testified before, I think that this              11       So I would ask you to go -- take on a
12 student was being baited into giving a response          12 new  line of questioning.
13 that sounded like he was identifying our own             13       MR. SIEGEL: I think it's perfectly
14 students, our brothers, because we are a                 14 appropriate. This -- this relates to the
15 brotherhood, as derogatory terms.                        15 behavior of the students who were there.
16      MR. SIEGEL: Okay. Let's keep going.                 16       MR. McMURTRY: How does that have
17      MS. MEEK: Starting at 1:18:44.                      17 anything to do with Nick's behavior?
18      (Thereupon, a video recording of Exhibit            18       MR. SIEGEL: Well, Nick spoke about the
19 3 was played.)                                           19 students. Nick spoke about --
20 BY MR. SIEGEL:                                           20       MR. McMURTRY: It has nothing do with
21 Q. Did you hear someone shout out hell,                  21 the lawsuit. I don't want to debate you on this.
22 yeah, we've got one?                                     22       We -- you know, I don't have to say how
23 A. It seemed a little hard to hear it. If                23 I really feel about all this. I'm sure you know.
24 we could replay it.                                      24       But, you know, you are putting Nick in
25      MR. SIEGEL: Sure.                                   25 danger, and you are revictimizing him.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 97 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2210       INFORMATION
                                          Transcript of Nicholas Sandmann                                 96 (381 to 384)

                                         Conducted on 9/13/2021 & 9/14/2021
                                                       381                                                          383
1        This is going to come out, and he is                1 aggressively. And I just think it's not a good
2  going  to be revictimized by this. And I think it         2 idea to -- to be asking --
3 is irresponsible to, especially when we are                3         MR. SIEGEL: Todd, I have given you a
4 dealing with these pejoratives, to have him even           4 lot of leeway here for a speaking objection.
5 commenting on them.                                        5         MR. McMURTRY: No, I appreciate that.
6        THE WITNESS: If I can add, in my public             6 Thank you. It's not a speaking objection. I'm
7 statement, I said, and I quote: I cannot speak             7 just stating my concerns.
8 for everyone, only for myself.                             8         MR. SIEGEL: Okay. But I don't think
9        In my own experience, I haven't seen                9 that's a basis to object to a line of -- I'm
10 anything except people be respected of all races          10 sorry -- not to object. I am not going to --
11 and cultures, which is line by line from the              11 I'll never tell you you can't object, but I don't
12 second page.                                              12 think that is a basis for my not asking some of
13 BY MR. SIEGEL:                                            13 these questions.
14 Q. You said I didn't -- you also said I did               14        I understand your view about it, but I
15 not witness or hear any students chant build that         15 think that they are appropriate questions to ask.
16 wall or anything hateful or racist at any time.           16        MR. McMURTRY: Well, I think he's
17 A. Correct.                                               17 answered them, so . . .
18       MR. SIEGEL: Right. And so I think I'm               18        MR. SIEGEL: He hasn't answered all of
19 entitled to explore whether you --                        19 them. He answered the first one.
20       MR. McMURTRY: He said he didn't see                 20        MR. McMURTRY: I think he just answered
21 anything or hear anything.                                21 your second one, too. So let's ask a new
22       MR. SIEGEL: I understand that. And I'm              22 question.
23 not suggesting that you did. But to the extent            23        MR. SIEGEL: Well, no. I said a student
24 that that statement could be understood to mean           24 yelled out hell, yeah, we got one. And I said
25 that you don't believe that anything hateful or           25 what do you think of that. That's when you came
                                                       382                                                          384
1 racist happened, I think I'm entitled to explore           1 in.
2 that.                                                      2       MR. McMURTRY: I don't think what he
3         THE WITNESS: I mean, I -- what -- what             3 thinks -- objection. Go ahead and answer the
4 I'm telling you now, and what I have said then,            4 question.
5 is I can't speak for everyone. I'm not saying              5 A. Okay. To me, in my opinion, and I have
6 there is not a chance that maybe there is one or           6 not witnessed any of this, I would say that the
7 more people at Cov Cath that were out of line on           7 phrase hell, yeah, we got one, was probably a
8 this day or maybe another day. But I can only              8 defense of one of the students of Cov Cath, given
9 speak for my own actions and what I witnessed.             9 that earlier in the day, that one of these
10        And at this point, I did not see any of            10 students was told that his organs would have --
11 this, just like I didn't hear any of the other            11 were going to be harvested by the white members
12 things. And then you are asking me to comment on          12 of our school.
13 how I feel about things that I didn't see and             13      I take that to be in defense of the
14 witness. So I just -- I don't know.                       14 student of color at Cov Cath, that he was saying,
15        MR. McMURTRY: May I just add one                   15 yes, we've got one, like he is one of ours, he is
16 comment? Thank you.                                       16 one of -- he is a Colonel, a student of Covington
17        I'm concerned, as well, that due to the            17 Catholic.
18 nature of the questioning surrounding this                18      I think at the same time, these kids,
19 particular term, that anything is insufficient.           19 which we are, we are all kids, none of us know
20 There is no sufficient answer that will not               20 the way the world works, quite frankly, didn't
21 result in -- in a risk of further cancellation,           21 realize that when -- when they were trying to
22 condemnation.                                             22 defend that student, that the foul language used
23        And, you know, the way -- the way people           23 in the question could make it seem as if
24 organize in our society today, you know, all of           24 something else -- or that they were -- they were
25 this could be taken out of context and used very          25 responding to the question asked.
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 98 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2211       INFORMATION
                                       Transcript of Nicholas Sandmann                                  97 (385 to 388)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                      385                                                          387
1       MR. SIEGEL: Okay. Let's go to the next              1 that they didn't realize that -- that people
2  few seconds.                                             2 would take it as we have one and then fill in the
3       MS. MEEK: Continuing at 1:18:52.                    3 word that the Hebrew Israelites were using and
4       (Thereupon, a video recording of Exhibit            4 instead were saying that we have another African
5 3 was played.)                                            5 American who is a brother of our school and --
6       MS. MEEK: Pausing two seconds later.                6 it's my same response as last time, which, to be
7 BY MR. SIEGEL:                                            7 honest, is only support -- supported more by the
8 Q. So now does it appear that the -- that                 8 horrendous display of language a couple of
9 Beau -- we are talking about Beau here, right --          9 seconds ago that the Black Hebrew Israelites used
10 has kind of been brought to the front of the             10 that you can then see all our students kind of
11 crowd by the other students?                             11 recoil at because it's disgusting the way they
12 A. No.                                                   12 described a freshman in high school.
13 Q. You do not think that's what happened?                13 Q. Okay. So do you think -- and I will
14 A. You cannot prove that from this video,                14 just ask you for you, do you think that any of
15 where the angle was at a completely different            15 the statements or conduct by any of the students
16 view and then suddenly pans over to see Beau.            16 that we have seen reflects any racially
17      We can't tell if Beau was already there             17 derogatory attitude?
18 before the camera turns over or whether he chose         18       MR. McMURTRY: Objection. Go ahead.
19 to move to the front of the crowd to show up in          19 A. I mean, specifically in this instance --
20 front of them of his own will or, you know, they         20 I can't -- I can't really understand how any
21 asked Beau to come up or anything like that.             21 of -- or how these students would have been
22      So I would say that this videotaping is             22 acting in a racially derogatory fashion when
23 inconclusive on why Beau is where he is.                 23 after the Black Hebrew Israelites started to
24      MR. SIEGEL: Okay. Let's keep going.                 24 berate the freshman, that many of them went up to
25      (Thereupon, a video recording of Exhibit            25 him and hugged him and said we love you. That to
                                                      386                                                          388
1 3 was played.)                                            1 me seems the very opposite of racism.
2 BY MR. SIEGEL:                                            2 BY MR. SIEGEL:
3 Q. Did you hear what the -- this fellow in                3 Q. Okay. And just to make clear, I'm not
4 the -- is that Cammeron?                                  4 asking you about every single student in the
5 A. Charlie.                                               5 crowd, right? But the ones that we've -- the
6 Q. Or Charlie, sorry -- what he said?                     6 specific things that we've seen, you know --
7 A. No.                                                    7 we've got two, hell, yeah, we've got one -- we've
8       MR. SIEGEL: Okay. Let's just go back                8 got one home, he ain't here, would your answer be
9 about maybe six seconds and play it again.                9 the same with respect to those specific --
10      MS. MEEK: Restarting at 1:19:21.                    10 A. Yes.
11      (Thereupon, a video recording of Exhibit            11       MR. SIEGEL: Okay. Let's keep going.
12 3 was played.)                                           12       MS. MEEK: Restarting at 1:19:27.
13 BY MR. SIEGEL:                                           13       (Thereupon, a video recording of Exhibit
14 Q. Okay. Do you hear it says we've got one               14 3 was played.)
15 at home but he ain't here, names something like          15 BY MR. SIEGEL:
16 Dayron or something like that?                           16 Q. It sounds like people are shouting the
17 A. I don't know about a name, but I would                17 same name or something that I think Cammeron
18 agree that he said we have one that isn't here.          18 referred to before. Do you recognize what they
19 Q. Okay. And do you -- do you recognize                  19 are shouting?
20 the name that he threw out?                              20 A. I don't. I don't, honestly.
21 A. No.                                                   21 Q. Okay. Other than Beau, did you know any
22 Q. And what do you think of Charlie's                    22 other African American students at Covington at
23 response there?                                          23 the time?
24 A. Again, I think that none of the -- it's               24 A. I believe there was one in the class
25 my same response to when they said it earlier,           25 above me, a senior. His name was -- I think it
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Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 99 of 196 - Page ID#:
                      CONTAINS CONFIDENTIAL
                                     2212       INFORMATION
                                       Transcript of Nicholas Sandmann                                   98 (389 to 392)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       389                                                         391
1 was Mod, but I could be wrong. I think his first           1 side. And I spent most of that time interacting
2 name was Mod.                                              2 with various people from my school until the bus
3        MR. SIEGEL: Okay.                                   3 came and I got on it.
4 A. And I -- I don't remember, though, if                   4       MR. SIEGEL: Okay.
5 that's correct. I think there is a chance, too,            5 A. All I basically did was have con -- many
6 he could have been on the trip, but I am not a             6 conversations with a lot of people.
7 hundred percent certain.                                   7 Q. Did you talk to any of the chaperones
8        MR. SIEGEL: Okay. Let's keep going.                 8 about what had happened?
9        MS. MEEK: Restarting at 1:19:34.                    9 A. I talked to Coach Kleier, or Jake
10       (Thereupon, a video recording of Exhibit            10 Kleier. And then later when we left the memorial
11 3 was played.)                                            11 and went to the national mall in DC, like the
12       MS. MEEK: Paused at 1:20.                           12 shopping mall, not the monument mall, I spoke
13       MR. SIEGEL: Yeah, just go a frame                   13 again with Kleier and Matthew Hansman.
14 back  -- a couple frames back so we can see who           14 Q. And -- and do you recall anything about
15 that person is.                                           15 the conversation with them?
16 BY MR. SIEGEL:                                            16 A. All three of us looked at each other,
17 Q. Yeah, the person holding the water                     17 kind of laughed, and we were like what just
18 bottle, which he then holds out, do you recognize         18 happened. Because none of us could really piece
19 who that is?                                              19 together what had just occurred.
20 A. No.                                                    20 Q. Okay. You mentioned before that your
21 Q. Okay. So, Nick, can -- just sort of                    21 phone died. When did it -- when did you -- so
22 walk me through -- I think the last time we left,         22 when was the first time you could use it?
23 it was a little bit after the incident. You are           23 A. I think around the time I got to the
24 chatting with Mr. Kleier and a few of your                24 actual shopping mall or maybe on the bus, I tried
25 friends. What happened between that time and the          25 turning it back on again. Because sometimes when
                                                       390                                                         392
1 time you got on the bus?                                   1 it dies halfway through, you can get it to come
2 A. Well, after I walked away --                            2 back on.
3        MR. SIEGEL: Right.                                  3       MR. SIEGEL: Right.
4 A. -- I never -- I never -- to the best of                 4 A. So I first -- I think it was once I
5 my recollection, I never came back over. Every             5 boarded the bus to go to the shopping mall, I --
6 time I moved further away, I never took a -- I             6 I was able to use my phone again.
7 don't know, I will just say this, retraced my              7 Q. Got it. Explain to me, to go to the
8 steps backwards towards where everything                   8 shopping mall, what's the shopping mall?
9 happened.                                                  9 A. The national shopping mall in DC, the
10       So at this point, I don't know where I              10 one that's like four or five stories. And we
11 am, but I am not within earshot at the volume             11 went there to eat, get some food before we left
12 that everyone is talking about. I wouldn't have           12 DC, and then also kind of as one last stop to
13 heard this.                                               13 walk around and look at stuff and then leave.
14 Q. No, okay. And I'm actually moving on                   14 Q. Oh, okay. So first, you went to that
15 from this. I'm not -- I'm just asking you to              15 mall, had dinner, I guess?
16 sort of -- just the facts of what -- what -- just         16 A. Yes.
17 tell your best memory of you come down from the           17 Q. And then you got back on the busses to
18 steps, you were chatting with Mr. Kleier and I            18 go home?
19 think a few of your friends. And eventually you           19 A. Correct.
20 get on the bus, right?                                    20 Q. And about -- do you recall about when
21 A. Uh-huh.                                                21 you got home?
22 Q. Do you remember what happened in that                  22 A. I got home at around 7 -- 6:50, 7 in the
23 time?                                                     23 morning.
24 A. I would have -- if you are looking at                  24 Q. Okay. Let's go to -- and I'm not going
25 the memorial, I would have been off to the left           25 to ask any questions about the substance of this
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 100 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2213     INFORMATION
                                        Transcript of Nicholas Sandmann                                   99 (393 to 396)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       393                                                          395
1 because I think it's really for Phase 2, but just          1        Are these drafts in one form or another?
2 to sort of help with the timeline so we know.              2    A.   I would not have the knowledge of
3        When did you first learn that this                  3 whether or not these -- well, in the subject, it
4 incident was out there in some way on social               4 does say draft statement.
5 media or wherever?                                         5        MR. SIEGEL: Right.
6 A. Somewhere -- somewhere between 2 and                    6 A. So, yes, I would assume they are drafts.
7 3 a.m., on the bus back, I got woken up, and               7 Q. So in what -- and I understand. The
8 people had found it trending on Twitter.                   8 first e-mail is to your dad, right? That is Ted
9        MR. SIEGEL: Okay. Let's go to -- I                  9 Sandmann?
10 think I skipped it the last time, but we will             10 A. Correct.
11 still mark it as Exhibit 8. And Exhibit 8 is DOC          11 Q. The second e-mail is to -- the second
12 1 and 2. It's an e-mail that was produced by the          12 e-mail is also to your dad. And the third
13 diocese.                                                  13 e-mail, which is January 22nd, 2019, at 1 a.m.,
14 A. Okay.                                                  14 is to Todd McMurtry and a couple of other people,
15 Q. And is it -- I take it that the FR                     15 I believe, at RunSwitch, Gary Gerdemann and Steve
16 Schomaker is for father?                                  16 Bryant.
17 A. Yes.                                                   17       Did you -- did you see any of these?
18 Q. Who is Father Schomaker?                               18 A. I think I did.
19 A. He -- I think he was the vicar general                 19 Q. Okay. A couple of them -- and, for
20 at the diocese number two, which is the second in         20 example, if you go on one of them, the one that
21 command, basically.                                       21 is to Todd, Mr. McMurtry says statement from Nick
22 Q. Okay. And did you know him?                            22 Sandmann?
23 A. I didn't know him personally. I had                    23 A. Yes.
24 seen him a handful of times when the bishop would         24 Q. Do you know, was this originally
25 visit the school or when I would attend church            25 drafted, at least potentially, as another public
                                                       394                                                          396
1 and the bishop was presiding.                              1 statement?
2 Q. Okay. And who prepared the words of                     2 A. No. I believe this was -- this was a
3 this e-mail?                                               3 statement that was going to be sent to the
4 A. I believe, to the best of my knowledge,                 4 diocese. This was not prepared to be publicly
5 that this was done by Scott Jennings.                      5 released.
6 Q. Okay. And did you review it before it                   6 Q. And why did you want to communicate this
7 was sent?                                                  7 to the diocese?
8 A. I believe I did.                                        8 A. Actually -- Okay. Let me rephrase.
9 Q. Okay. So did you approve what it said?                  9        MR. SIEGEL: Sure.
10 A. Yes.                                                   10 A. Because this will make more sense.
11 Q. And did you -- did you actually send it?               11       I think we told the diocese that we were
12 I mean, it says from Nicholas Sandmann, but did           12 going   to release this statement in an effort to
13 you actually send the e-mail from your account to         13 help ease emotions around the country and --
14 Father Schomaker?                                         14 yeah.
15 A. I think I did. I can't remember.                       15 Q. Okay. But I take it in the end, you
16       MR. SIEGEL: Okay. Maybe let's just                  16 didn't release it, at least as a public
17 show him Exhibit 33 now.                                  17 statement?
18 BY MR. SIEGEL:                                            18 A. Correct.
19 Q. And I'll -- Exhibit 33 are a series of                 19 Q. And why was that?
20 three e-mails that were produced by RunSwitch in          20 A. Because the diocese threatened us and
21 response to a subpoena to them.                           21 told us that there would be consequences if we
22 A. Yes.                                                   22 released it.
23 Q. And they appear to me to be -- a lot of                23 Q. Okay. What did they -- did they tell
24 the text seems to be similar to the e-mail you            24 you what the consequences would be?
25 eventually sent.                                          25 A. No. We had a phone call with my
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 101 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2214     INFORMATION
                                      Transcript of Nicholas Sandmann                                   100 (397 to 400)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       397                                                          399
1 principal. He was working very closely with the            1 done.
2 bishop. And he told my mom, please, please just            2        So that's -- it seems that there was --
3 don't release that statement and bear with us,             3 there seemed to be, on the part of both some
4 trust me, it will not be good for you if you               4 people associated with Phillips and the Black
5 release it, is the gist of what he said.                   5 Hebrew Israelites, there seemed to be some
6 Q. Okay. And so, how did you ultimately --                 6 apparent race tensions that they were bringing
7 ultimately, you sent this as an e-mail, right, to          7 into the situation.
8 Father Schomaker?                                          8 Q. Did you think that you -- and by mean --
9 A. Right. We proposed it to them. We were                  9 well, you can answer both, you personally --
10 trying to even give them a heads-up on what we --         10 strike that. I will ask it first that way.
11 what we were thinking about sending out.                  11       Did you think that you needed to discuss
12 Q. Okay. So -- so was the purpose to --                   12 and learn from people about race issues?
13 and I see it says the subject, proposal -- so             13 A. I think it's always helpful to learn new
14 sort of say, Father, this is what we are                  14 things, especially, you know -- I would say race
15 proposing or thinking about releasing?                    15 is an important topic. And whether or not we
16 A. Yes.                                                   16 would learn things that I agree or disagree with
17 Q. For him to review it?                                  17 is kind of irrelevant because it would be more
18 A. Correct.                                               18 knowledge. And while I could have disagreed with
19 Q. Okay. So let's look at the first page,                 19 the Black Hebrew Israelites and how they look at
20 which is DOC 1, which is I can't help but                 20 race, I would have at least been knowledgeable of
21 think --                                                  21 what they were talking about.
22       MR. McMURTRY: Exhibit 8?                            22 Q. Okay. Did you think that -- who is the
23       MR. SIEGEL: I'm sorry. What?                        23 we that you referred to? I mean, it looks
24       MR. McMURTRY: Exhibit 8?                            24 like -- you talk about -- you say: I think Cov
25       MR. SIEGEL: Exhibit 8, yes. It's the                25 Cath should hold a day-long town meeting and a
                                                       398                                                          400
1 page marked DOC 1.                                         1 series of workshops with students, parents and
2 BY MR. SIEGEL:                                             2 other people to discuss all that has happened and
3 Q. Go down to -- I guess it's the next to                  3 how we can learn from it.
4 last paragraph, the one that says I can't help.            4       Right?
5 Why don't you just read that to yourself for a             5 A. Right.
6 second?                                                    6 Q. Use this moment to be better men and
7        THE WITNESS: Okay.                                  7 better Christians.
8 Q. Okay. And then I'm going to ask you to                  8       So is the we the students, parents and
9 go to DOC 2, where it says -- read through the             9 other people? Is that who you are referring to?
10 paragraph that says -- including the paragraph            10 A. Yes.
11 that starts so I have made a proposal to the              11 Q. Okay. So did you think that the
12 bishop.                                                   12 students, parents and other people, that there
13       THE WITNESS: Okay.                                  13 was anything about this event that could educate
14 Q. Okay. So in the paragraph that says I                  14 them in some way about race issues?
15 have made a proposal to the bishop and Principal          15 A. I mean, it's the same answer I had
16 Roe, you say we need to discuss and learn from            16 before, that, you know, it would -- it would be
17 people about many things, the first one is race           17 an opportunity for everyone to have a little more
18 issues.                                                   18 knowledge, which can't hurt.
19       What did you think there was the need to            19 Q. Okay. Did you think that there was a
20 discuss and learn about race issues?                      20 need -- did you think that there was anything --
21 A. Well, I think clearly from the video,                  21 any need to explore your own attitudes about
22 the Black Hebrew Israelites and members in Nathan         22 race?
23 Phillips' group, such as the man in the red cap,          23      MR. McMURTRY: Objection.
24 were angry at us at different points and made             24 A. I don't believe that I have any unfair
25 generalizations about what white people have              25 attitude about race. So I would say no.
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 102 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2215     INFORMATION
                                     Transcript of Nicholas Sandmann                                     101 (401 to 404)

                                    Conducted on 9/13/2021 & 9/14/2021
                                                      401                                                         403
1 BY MR. SIEGEL:                                            1 Q. Okay. And your dad writes: Hello,
2 Q. Okay. And is the answer the same for                   2 Father Dan, please see below what I think the
3 the students, parents and other people you were           3 bishop's response should be to Nick's proposal.
4 referring to?                                             4        Right?
5 A. I'm not sure. I mean . . .                             5        Please review and let us know your
6 Q. Okay. Towards the end you say -- you                   6 thoughts.
7 also refer to how to understand people from               7        So is the -- and then the e-mail -- the
8 different cultures.                                       8  rest of  it is written like in the first person,
9 A. Right.                                                 9 right? I began to gain lots of information --
10 Q. What did you think there was to -- why                10 A. Right.
11 did you include that in the list?                        11 Q. So was this essentially a suggestion
12 A. Well, as I had said, when -- when Nathan              12 that your dad was making for what he thought the
13 Phillips approached me, and something I will             13 bishop should say or the bishop should issue in
14 honestly admit is I didn't know what the purpose         14 response to your proposal?
15 of the drum was. He claims it was a prayer. And          15 A. I believe so.
16 it could have been helpful to know that                  16       MR. SIEGEL: Okay.
17 beforehand. So certain -- certain things like            17 A. But I -- to me, that is what it says.
18 that, things that I am not familiar with, it             18 But I'm really not the person to ask.
19 never hurts to learn.                                    19 Q. And I get that. And I -- so -- so --
20       MR. SIEGEL: Okay. Let's go to Exhibit              20 and -- and for that reason, I'm -- there is just
21 34.                                                      21 one thing I want to ask you about.
22       MR. McMURTRY: 34.                                  22       If you go down to the third paragraph,
23       MR. SIEGEL: Take a moment to read it,              23 the one that says -- starts, my heart was full
24 Nick.                                                    24 today, and it -- about the second sentence from
25       THE WITNESS: Okay.                                 25 the bottom says: I was uncomfortable.
                                                      402                                                         404
1 BY MR. SIEGEL:                                            1       Do you see that one? I was
2 Q. Do you know what this e-mail is?                       2 uncomfortable with what I saw all around?
3 A. It's an e-mail from my dad to Father                   3 A. Yes.
4 Schomaker.                                                4 Q. Including some of the behavior from our
5 Q. Right. Yes. Okay. Do you -- have you                   5 students. I understand there are explanations
6 ever seen it before?                                      6 for this behavior, but I want our kids to know
7 A. Yes.                                                   7 how things can be perceived even if you don't
8 Q. When did you see it?                                   8 mean any disrespect?
9 A. I think before it was sent -- or after.                9 A. Sure.
10 Q. Okay. And so can you explain what the                 10 Q. Do you have any understanding of why
11 context of this e-mail is?                               11 your dad proposed that the bishop say that?
12 A. This is kind of like an introduction                  12 A. I think my dad -- excuse me. I think my
13 before the e-mail is sent -- was sent to Father          13 dad inserted that sentence that the bishop was
14 Dan with the actual proposal, which is why the           14 uncomfortable at our behavior not as an admission
15 first sentence says: Please see below what I             15 that our behavior was something to be
16 think the bishop's response would be to the next         16 uncomfortable about but because the diocese had
17 proposal.                                                17 already released a statement saying that we went
18 Q. Okay. So is this -- is this essentially               18 against the church's teachings on the dignity of
19 a proposal for what the bishop should do in              19 a human person. So it would have been awkward
20 response to your statement?                              20 for the bishop to be like, I thought the
21 A. I think there's a correction that needs               21 students' behavior was fine, because that would
22 to be made. It was -- I had sent the proposal.           22 be a complete flip-flop on what they had rushed
23 They responded. They responded negatively. And           23 to put out. So I think that sentence is in there
24 this is an e-mail from my dad trying to get them         24 to kind of give him an option to tone it down and
25 to think twice about rejecting my idea.                  25 walk it back a little bit.
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 103 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2216     INFORMATION
                                      Transcript of Nicholas Sandmann                                     102 (405 to 408)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       405                                                          407
1 Q. Okay. And so the -- that -- did your                    1 I don't have the count on how many interviews he
2 dad ever express to you that he was uncomfortable          2 did, but it was probably seven or eight.
3 with some of the behavior from the students?               3 Q. Okay. And you write: Nor am I going to
4 A. He has only ever expressed the opposite,                4 comment further on the other protestors, since I
5 that my behavior was well within what it should            5 don't know their hearts or minds either.
6 have been.                                                 6        Do you think you now know what is in
7 Q. And just to be clear, I'm not asking you                7 their hearts and minds, or what's not in their
8 about -- I'm not now going to ask you about your           8 hearts or minds?
9 father's view of your behavior. Did he ever say            9        MR. McMURTRY: Objection.
10 he was uncomfortable with the behavior of any of          10 A. Oh, yes.
11 the other students?                                       11 BY MR. SIEGEL:
12 A. I don't believe he ever has.                           12 Q. Or you believe -- you perceive what you
13 Q. Okay. Let's go back to Exhibit 20,                     13 think is in their hearts and minds, right?
14 which is your first public statement.                     14 A. Right.
15      And, Nick, who -- who prepared -- tell               15       MR. SIEGEL: Okay. Let's put on -- I'm
16 us about the process of drafting this statement.          16 going to show you a clip from your NBC interview.
17 A. This statement was done in -- together                 17       MS. MEEK: Nathan, can we take a quick
18 with RunSwitch, specifically Scott Jennings.              18 break?
19      MR. SIEGEL: Uh-huh.                                  19       MR. SIEGEL: What?
20   A.   But the process where he was on the                20       MS. MEEK: Can we take a quick break?
21 phone, over the phone -- and -- but I -- I spoke          21       MR. SIEGEL: Sure.
22 into the phone as he typed in. Pretty much all            22       MR. McMURTRY: He is used to me asking
23 he did was type what I said and just made sure            23 for a break.
24 the grammar and everything was correct so that it         24       THE VIDEOGRAPHER: We are going off the
25 looked clean and official. But, I mean, he                25 record. The time is 1:58 p.m.
                                                       406                                                          408
1 basically just wrote what I said for the most              1        (Thereupon, there was a recess taken at
2 part.                                                      2 1:58 p.m.)
3 Q. Okay. Did your parents have any                         3        (Thereupon, the proceedings were resumed
4 involvement in -- in the --                                4 at 2:15 p.m.)
5 A. My parents were in the room, but they                   5        THE VIDEOGRAPHER: We are back on the
6 didn't have much of anything to really add                 6  record.   The time is now 2:15 p.m.
7 because they were not in DC for the March For              7 BY MR. SIEGEL:
8 Life.                                                      8 Q. Okay. So, Nick, I think that your --
9 Q. So if we go down to the second page,                    9 your interview with Savannah Guthrie was
10 which is NS 103, the person that says: I cannot           10 broadcast on January 23rd. When did you actually
11 speak for everyone, only for myself, but I can            11 do it?
12 tell you my experience with Covington Catholic is         12 A. Let's see. That would have been, I'm
13 that students are respectful of all races and             13 guessing, maybe the 22nd. The timeline is a
14 cultures. We also support everyone's right to             14 little -- a little out of order in my head, but I
15 free speech.                                              15 was -- I think it was the 22nd because it would
16       Then you say: I'm not going to comment              16 have been immediately put up the next day.
17 on the words or account of Mr. Phillips, as I             17 Q. Right. And -- and where was the
18 don't know him and would not presume to know what         18 interview conducted?
19 is in his heart or mind.                                  19 A. In a hotel in northern Kentucky.
20       Why did you say that?                               20 Q. Okay. And do you recall roughly what
21 A. I think just at that point, I still was                21 part of the day it was on the 22nd?
22 unaware of Mr. Phillips' intentions and hadn't            22 A. I think it was early -- or somewhere in
23 seen his comments on what he was trying to do.            23 between breakfast and lunch, like in the first
24 Q. And when did you see those?                            24 half of the day.
25 A. I guess on the days after this, where --               25 Q. Okay. So your recollection is you did
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                      CONTAINS CONFIDENTIAL
                                  ID#: 2217     INFORMATION
                                        Transcript of Nicholas Sandmann                               103 (409 to 412)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       409                                                      411
1 the interview the first half of the day, and then          1 meanwhile, he sat in the States, went AWOL, and
2 it was the next day it was on television. Is               2 then lied and said that he actually fought.
3 that right?                                                3       Furthermore than that, he gave
4 A. Yes. Actually -- see, now, it could                     4 interviews in which he constantly contradicts
5 have been in -- it could have been in the                  5 himself on things like he wants me expelled, that
6 afternoon, too. I think -- I don't know.                   6 he doesn't think I should be punished, he might
7        MR. SIEGEL: Okay.                                   7 want me suspended. He was very here and there on
8    A.   I know it was daytime.                             8 what he thought should happen to me.
9 Q. I'm sure that's a -- that's a fact that                 9       He made up a false claim that I was
10 could be established easily.                              10 trying to steal his narrative of the events that
11       So -- okay. So let's put a clip up from             11 actually happened, basically calling me
12 that interview.                                           12 untruthful. And he also was not consistent on
13       MS. MEEK: This is Exhibit 5 starting at             13 what he was trying to do.
14 20 minutes   and 8 seconds.                               14      At one point, he claims that he was
15       (Thereupon, a video recording of Exhibit            15 trying to stop a fight between us and the Black
16 5 was played.)                                            16 Hebrew Israelites. And then at a different
17 BY MR. SIEGEL:                                            17 point, he claims that he was actually trying to
18 Q. Okay. So -- so you did this interview a                18 do a prayer that went up to the Lincoln Memorial,
19 couple of days after that public statement was            19 which kind of contradicts itself on which one was
20 issued, right? But by that point, had you seen            20 he actually doing, was he trying to stop a fight
21 some of the interviews that Mr. Phillips had              21 or was he trying to have this journeying prayer
22 done?                                                     22 up to the Lincoln Memorial?
23 A. I had seen bits and pieces. I honestly                 23      Everything that he said, he just turned
24 did -- I tried to stay away from it as much as I          24 out to not be a very truthful person. And he
25 could. And a lot of the -- I mean, kind of no             25 does not have my respect.
                                                       410                                                      412
1 matter what, I was in a way glued to the TV,               1 Q. Okay. And your testimony is that you
2 watching what was being said about me. But most            2 came to learn all of that after your interview
3 of what I watched was coverage done by like news           3 with Ms. Guthrie?
4 anchors, and I didn't see too much of what he              4        MR. McMURTRY: Objection.
5 actually said.                                             5 A. That's correct. I -- the more -- more
6 Q. Okay. So is it your testimony that                      6 of what I got, I gained a lot of that knowledge
7 whenever this was, morning or afternoon of                 7 during the summer when I worked in my counsel's
8 January 22nd, you were not aware of what                   8 office. I reviewed those videos.
9 Mr. Phillips had said publicly about the                   9 BY MR. SIEGEL:
10 incident?                                                 10 Q. Okay. At that point, you had already
11 A. I -- the only thing I knew was bits and                11 filed lawsuits, right?
12 pieces. I had not listened to every word he               12 A. Correct.
13 said.                                                     13 Q. Okay. So are you saying you didn't have
14 Q. Okay. So do you still agree with the                   14 that knowledge at the time you filed both -- the
15 sentiments that you expressed in the interview?           15 lawsuits were filed on your behalf?
16 A. No.                                                    16 A. No, I did. I'm saying that that's kind
17 Q. And when did you no longer feel that                   17 of the timeline I most accurately dived into all
18 way?                                                      18 of this. But I -- I listened to more of what he
19 A. As soon as the information came out.                   19 had to say after this interview.
20 Like in the video I thanked him for his military          20 Q. Okay. You testified that Mr. Phillips
21 service. But he was dishonorably discharged.              21 was dishonorably discharged?
22 And I then found content on the Internet that --          22 A. Yes.
23 where he falsely claims that he was actually in           23 Q. What's the basis of that?
24 Vietnam in the country. And I have family                 24 A. I think there are records that say that
25 members that actually served during that war; and         25 he went AWOL and he was dishonorably discharged.
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 105 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2218     INFORMATION
                                       Transcript of Nicholas Sandmann                                  104 (413 to 416)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                       413                                                          415
1 Q. Okay. So what record are you aware of                   1 calm.
2 that said he was dishonorably discharged?                  2 Q. Okay. And you referred to what you said
3 A. I don't know the name of the record. I                  3 are statements by Mr. Phillips to the effect that
4 can't cite that specifically, but I am pretty              4 he was trying to stop a fight or a potential
5 sure that that did happen.                                 5 fight?
6 Q. And where did you see that?                             6 A. Right.
7 A. I saw it somewhere online that said that                7 Q. And statements or a statement about
8 he was a refrigerator mechanic and that he never           8 finishing a prayer?
9 left the United States, went AWOL, and then was            9 A. Right.
10 discharged dishonorably.                                  10 Q. Do you know where he made -- are there a
11 Q. Okay. But you are not sure what the                    11 specific interview or source that you have in
12 source is of that that you saw on line?                   12 your mind when you are saying that?
13 A. No. I believe that in part it came from                13 A. I know that in separate interviews that
14 a veteran that specializes in calling people out          14 he claims that he was trying to interrupt a fight
15 for stolen valor; although, I could be wrong              15 that he saw about to break out between us and the
16 about that. That's where I seem to remember it            16 Black Hebrew Israelites. And then in a different
17 coming from.                                              17 interview, he claims that he was trying to get up
18 Q. And other than that, is there any other                18 to the top of the Lincoln Memorial to finish his
19 information that you have of the basis of saying          19 prayer. He gives two different reasons for why
20 that Mr. Phillips was dishonorably discharged?            20 he was doing what he was doing.
21 A. I think when it was discovered, there                  21 Q. Okay. And do you have any understanding
22 might -- may have been some other sources, people         22 that Mr. Phillips says, in substance, that
23 that do the same sort of thing or people that             23 initially he approached the students in order to
24 researched it themselves and corroborated it.             24 diffuse the situation; and then at that point,
25 Q. And where, what sources are you talking                25 he, you know, once he got there, decided that he
                                                       414                                                          416
1 about?                                                     1 wanted to exit and go to the Lincoln Memorial?
2 A. Again, I can't specifically remember the                2 A. I mean, I don't think that we are really
3 names of these people. This was two years ago.             3 here to debate what he was doing. But in my
4 Q. Has anybody ever provided you directly                  4 mind --
5 with that information?                                     5 Q. I'm not debating what he was doing. I'm
6 A. It's -- I believe now that that                         6 just -- what he said, your understanding of what
7 information has been found available publicly              7 he was saying.
8 online.                                                    8 A. In my mind, he began playing the drum
9 Q. I understand that. But what I'm saying,                 9 before he got there, and so then -- and again, I
10 and setting aside what the information may or may         10 don't really have any understanding of how
11 not contain, but other than accessing it,                 11 prayers and drums, how that -- that works. But
12 accessing whatever sources were online, has               12 to me, if his -- his drum and his chanting were a
13 anyone ever directly communicated with you to             13 prayer, then he started that before he got to us.
14 provide you any information about Mr. Phillips'           14 So he was either praying on his way there and
15 military service?                                         15 when he was there and trying to get up to the
16 A. No.                                                    16 Lincoln Memorial or he was trying to stop a
17 Q. Okay. You testified that Mr. Phillips                  17 fight, at least in the way I look at it.
18 at one point accused you of trying to steal his           18 Q. Okay. You said that you saw something
19 narrative?                                                19 online of Mr. Phillips saying to the effect of
20 A. Yes.                                                   20 that he had served in Vietnam?
21 Q. What are you referring to?                             21 A. Yes.
22 A. In one of his television interviews, he                22 Q. What are you referring to?
23 remarked that I was trying to steal his narrative         23 A. There was a video on I believe YouTube
24 of when I -- when I claim that I was trying to            24 where Mr. Phillips describes what it was like
25 keep the situation as toned down as possible and          25 when he got off the plane returning home from
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 106 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2219     INFORMATION
                                      Transcript of Nicholas Sandmann                                     105 (417 to 420)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       417                                                         419
1 Vietnam and that a woman spit on him, which I do           1 I was unsuspecting and surprised when I had a
2 not think is factually correct.                            2 number of cameras put on me, I was able to act in
3        I don't think he has ever been to                   3 a way that I believe was appropriate. And I
4 Vietnam, and yet claims that he returned and was           4 believe that Nathan Phillips had a role in those
5 treated -- treated meanly and demeaningly by               5 cameras, or at least his supporters had a role in
6 anti-war protestors.                                       6 placing those on me, before he even came up to
7 Q. Okay. And so do you -- you believe -- I                 7 me. But when Nathan Phillips unexpectedly has a
8 assume you don't know what happened back in the            8 camera pointed on him, when he -- when he is not
9 1970s. But do you disbelieve him when he makes             9 prepared for it, he darts away.
10 the statement attributed to a woman spit on him?          10 Q. Okay. And other than your pinned tweet
11 Do you disbelieve that?                                   11 of that, is there anything else that you have
12 A. I mean, I guess it's possible that he's                12 learned about Mr. Phillips' conduct since the
13 been spit on in his life. But based off the               13 incident?
14 sources that have claimed that he has never left          14 A. I -- I am not aware of any of his
15 the country during his time in the military, I            15 actions besides that.
16 don't see how it was possible that these specific         16 Q. And -- and you -- is there anything you
17 chain of events, where he got off a plane, was            17 have learned about any of the other people who
18 confronted by protestors and spit on, is                  18 were present behind Mr. Phillips who were not
19 accurate.                                                 19 students?
20 Q. Okay. Is there anything else about                     20 A. Not that I can recall.
21 Nathan Phillips' past -- and by past, I mean              21       MR. SIEGEL: Okay. Okay. Let's do
22 anything that happened before January 18th, 2019,         22 Exhibit 38, which is video 13. This is a video
23 right, that you -- and that you haven't already           23 that was produced by your counsel -- video 13 on
24 discussed -- that you think speaks to his                 24 the stip, and it was produced by your counsel as
25 credibility?                                              25 NS 1804.
                                                       418                                                         420
1 A. Not off the top of my head, no. I can't                 1        (Thereupon, a video recording of Exhibit
2 think of anything else.                                    2 38 was played.)
3 Q. Okay. And other than what you testified                 3 BY MR. SIEGEL:
4 to-since the event, and other than what you                4 Q. Okay. Do you know who shot the video?
5 testified to, is there -- strike that question.            5 A. No.
6        Is there -- do you have any                         6 Q. Do you know who the woman talking is?
7 information -- and I'm not talking about like              7 A. No.
8 interviews he gave about this incident. Okay?              8 Q. She says the way the students were
9 We've already talked about that. But other than            9 acting was disrespectful, right?
10 that, do you have any information about anything          10 A. Right.
11 Nathan Phillips has been up to since the incident         11 Q. Without --
12 and the coverage of the incident?                         12       MR. McMURTRY: We are not going to go
13 A. Since I testified earlier, there -- and                13 back over this.
14 it's actually -- the video is my pinned tweet on          14 BY MR. SIEGEL:
15 my Twitter account that shows Nathan Phillips at          15 Q. You don't agree with what she says,
16 a rally somewhere and a girl goes up to him and           16 right?
17 asks him about Cov Cath and what he did and he            17 A. Right.
18 proceeds to basically run away.                           18 Q. Do you think her -- do you have any
19 Q. And what is -- what is the significance                19 reason to believe that she's not expressing what
20 of that to you?                                           20 her genuine opinion about it is?
21 A. Well, I don't think it speaks to his                   21 A. No. That could be her genuine opinion.
22 veracity for truthfulness or -- like we were              22 Q. Okay. Is there anything -- for purposes
23 talking about earlier. But the significance of            23 of this case, is there anything about that video
24 it to me, and why it is pinned to the top of my           24 that has any significance to you?
25 Twitter account, is because just in the same way,         25 A. At the current moment, there's no
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 107 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2220     INFORMATION
                                         Transcript of Nicholas Sandmann                                106 (421 to 424)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                       421                                                            423
1 significance that I recognize.                             1 responded to there's always about a time in
2 Q. Okay. Is there anything else that she                   2 America where things weren't exactly perfect.
3 said that you have any reaction to?                        3        I'm aware of the social rights, civil
4 A. I mean, I disagree with her statement                   4 rights climate at the time of the '40s. I was
5 before that. I think it damages her credibility.           5 speaking more to America's ability to come
6 Q. What are you referring to?                              6 together and fight evil, such as Nazi Germany.
7 A. When she said this is why people hate                   7        I acknowledge that up until the '60s,
8 white people.                                              8  and  even  after, African Americans have not always
9 Q. Okay. Let's go to Exhibit 39, which is                  9 been treated fairly, nor have Native Americans.
10 video 13 on the stip, which was produced as NS            10 And I was using that example more to point
11 1735.                                                     11 towards a time where there was more national
12      (Thereupon, a video recording of Exhibit             12 unity than there usually is.
13 39 was played.)                                           13 Q. Okay. In your view, have civil rights
14 BY MR. SIEGEL:                                            14 or -- I will use both of your examples. Right?
15 Q. Do you know who shot that video?                       15       Have civil rights for Native Americans
16 A. Yes.                                                   16 improved since say the time of Jimmy Carter,
17 Q. And who shot it?                                       17 which is what, the late '70s?
18 A. Will.                                                  18 A. I would -- I would assume.
19 Q. Right. And how did you get it?                         19 Q. So, and what about the same question for
20 A. I think Will turned the video in.                      20 African Americans?
21 Q. Do you mean like to your counsel or                    21 A. Yes.
22 something like that?                                      22 Q. So -- okay. When you reached out to
23 A. Yes, or I got it from Will over text.                  23 Charlie Kirk and Kyle Kashuv, what -- what was
24 But Will initially had it, right.                         24 the purpose of your reaching out to them?
25 Q. And just for -- as it relates to this                  25       In other words, what were you hoping
                                                       422                                                            424
1 case, what do you -- do you think the video shows          1 they might do?
2 anything?                                                  2 A. I was hoping that with their
3 A. I think it covers the same things that                  3 connections, that they could -- and honestly, I
4 we have seen in the other angles.                          4 didn't have any knowledge about how to help
5        MR. SIEGEL: Okay.                                   5 myself at that point, and I was hoping that in
6    A.   There's not much besides that.                     6 their dealing with students and their
7 Q. Okay. So there is nothing else                          7 understanding of the climate of America, since
8 particular about this video that you think shows           8 they deal with culture and politics a lot, that
9 anything about the case?                                   9 they could point me in the right direction.
10 A. Correct.                                               10 Q. Okay. And I think you mentioned that
11 Q. You -- towards the beginning of the                    11 there came a point when you started working with
12 deposition, in connection with the slogan Make            12 Scott Jennings?
13 America Great Again, right -- remember, I asked           13 A. Yes.
14 you some questions about when did you think               14 Q. How did that happen?
15 America functioned more according to the values           15 A. I believe it was through my mom that one
16 that you believe in. I think you said World War           16 of her friends was -- one of her friends' husband
17 II was kind of your biggest example, and then you         17 was a lawyer and knew who Scott was and knew that
18 said before Jimmy Carter?                                 18 he did good work and connected us through that
19 A. Right.                                                 19 way.
20 Q. Let's just go back to, say, the 1940s,                 20      I could be wrong, though. I didn't -- I
21 right?                                                    21 wasn't a part of the search for Scott. And I
22 A. Right.                                                 22 think by the time I had finally met, my parents,
23 Q. Do you have any knowledge about how                    23 when things nationally were elevating as far as
24 Native Americans were treated in the 1940s?               24 news coverage goes, they had already found Scott
25 A. Yes. If you notice, this is why I                      25 before I had talked to him.
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                      CONTAINS CONFIDENTIAL
                                  ID#: 2221     INFORMATION
                                      Transcript of Nicholas Sandmann                                   107 (425 to 428)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       425                                                          427
1 Q. And I think you testified before that                   1 attachment that has been produced by RunSwitch.
2 you had a phone call with Scott about the                  2 Do you recognize this, Nick?
3 statement, right?                                          3 A. Yes.
4 A. Right.                                                  4 Q. What is this?
5 Q. Did you -- before you had the phone call                5 A. This is something that Scott gave me
6 about the statement, had you communicated with             6 before the interview.
7 him directly?                                              7 Q. Okay. And was there anything -- was
8 A. No. That was my first time meeting                      8 there anything else other than this that he gave
9 Scott, over the phone.                                     9 you?
10 Q. Okay. So up to that point, your parents                10 A. Not that I can recall.
11 handled the communications with him?                      11       MR. SIEGEL: Okay. Let's go to Exhibit
12 A. Right. And at that point, I don't --                   12 41. This is Exhibit 30 --
13 I -- it would be better to ask them if they had           13       MR. McMURTRY: This is also confidential
14 even communicated to Scott at that point.                 14 subject  to the protective order.
15 Q. Okay. So you don't know whether they                   15       MR. SIEGEL: Sure. Yes.
16 had?                                                      16       (The following portion from Page 427,
17 A. Right.                                                 17 Line 19 to Page 463, Line 16 was designated
18 Q. All right. And did you communicate with                18 Confidential and is bound separately.)
19 Scott after the -- you know, the conversation or          19 BY MR. SIEGEL:
20 conversations you had concerning the January 20th         20 Q. Exhibit 41 is Bates stamped NS 803 and
21 statement?                                                21 804. And again, these are texts that you had --
22 A. Yes. He was in charge of organizing the                22 or received, Nick?
23 interview with Savannah Guthrie and helping us            23 A. Correct.
24 deal with the diocese, as we have already looked          24 Q. So, it looks like on 803, text 1935, you
25 at. So I began to end up talking to Scott semi-           25 text a group of your friends, we made it.
                                                       426                                                          428
1 regularly.                                                 1       Will Clark texts, protect your water
2 Q. How long did that continue?                             2 protectors, with an emoji I'm not sure I can make
3 A. I would say until the press around the                  3 out.
4 situation started to die down, which I really              4       And on 804 at 1997, you respond, sacred
5 can't define what die down is. And then                    5 P-I-P-E-E-E. What was that?
6 eventually it was more of my counsel that I spoke          6 A. Pipe.
7 to. And then we filed lawsuits.                            7 Q. Sacred pipe?
8 Q. Okay. And how did you prepare for the                   8 A. Yes.
9 NBC interview?                                             9 Q. So is that a misspelling?
10 A. Before the interview, Scott told me                    10 A. Or just an -- I think what I was doing
11 these are the kind of questions that they are             11 was exaggerating it, like elongating the E.
12 going to ask you, just think about how you want           12 Q. Got it. So what -- what does that mean?
13 to respond. And I said okay.                              13 What does this text exchange mean?
14        I read the piece of paper that he had              14 A. I'm not sure. I think I was
15 given me that had some questions he thought               15 referencing -- I was referencing, I guess, the
16 Savannah would ask me. And then I -- I did the            16 sacred pipe from Native American culture.
17 interview.                                                17 Q. And what was the point you were making
18        MR. SIEGEL: Okay. And do we have that              18 by doing that?
19 -- I thought we had that piece of paper as an             19 A. It was intended to be humorous.
20 exhibit.                                                  20 Q. And what was the humor?
21        MS. MEEK: I'm not sure that we do. We              21 A. The humor was in the text before. Will
22 could go off if you want.                                 22 Clark said water protectors, and I assumed that
23        MR. SIEGEL: It's Exhibit 36.                       23 also had something to do with Native American
24 BY MR. SIEGEL:                                            24 culture. I don't know if it does or it doesn't.
25 Q. Exhibit 36, again, is an e-mail and                    25 And so I responded with another thing that has to
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                      CONTAINS CONFIDENTIAL
                                  ID#: 2222     INFORMATION
                                         Transcript of Nicholas Sandmann                                108 (429 to 432)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                       429                                                          431
1 do with Native American culture.                           1 A. I believe so.
2 Q. And why did you consider that humorous?                 2 Q. At the -- at the time of this incident,
3 A. Just because it related to what had                     3 you said you had an iPhone 6, right?
4 happened the day before.                                   4 A. Right.
5 Q. Okay. And again, what was funny about                   5 Q. And what other electronic devices did
6 it to you?                                                 6 you use at that time?
7 A. As I said, just that it was -- that it                  7 A. I used some kind of Microsoft Surface
8 was in relation to something he had said. And              8 tablet that I was required to use for school, and
9 obviously, this is connected to the same culture           9 I -- I had a -- a computer at home, an actual
10 of Mr. Phillips and what had happened the day             10 tower computer, that I had built freshman year.
11 before.                                                   11       I can't remember at that point if I even
12 Q. And why was that funny to you?                         12 used it still. I don't think I did.
13       MR. McMURTRY: I think he's answered                 13       I think that's the only -- the only
14 that question. But just try to answer.                    14 three  devices that I really had.
15 A. I believe I have -- I'm saying that it                 15 Q. Okay. And by tower, do you mean what
16 was funny because I was referencing something the         16 they call a desktop, the old fashioned --
17 day before.                                               17 A. Yes, like you -- you could -- it was not
18       It's kind of dark and cynical humor.                18 portable.
19 Because at this point, I'm convinced that more            19 Q. Okay. And did you use -- what did you
20 than half the country hates me. And if I don't            20 use the Microsoft Surface device for?
21 find some way to make light of the situation, I           21 A. Mostly for school. I would also use it
22 don't know how I'm going to deal with it.                 22 to browse the Internet when I had something
23 BY MR. SIEGEL:                                            23 random I needed to look up, or I used it to check
24 Q. And just what do you understand a sacred               24 my e-mail accounts.
25 pipe to be?                                               25 Q. Okay. And when did you last have that
                                                       430                                                          432
1 A. To be honest, I really don't know,                      1 Microsoft Surface device?
2 besides that it exists.                                    2 A. I think I had it until senior year.
3 Q. When did you -- or when did your                        3        Cov Cath, I think, has a space issue on
4 parents -- strike that. I'm going to try to make           4 their servers, deleted our e-mails, which was I
5 the timeline clear.                                        5 think what I needed to sign in to it. But also
6        So you returned from Washington DC in               6 just the quality of it, by -- I think I had had
7 the morning, early in the morning of January               7 it since -- I forget which year I got it. I
8 19th?                                                      8 think it was freshman year. I had had it all
9 A. Right.                                                  9 four years of high school. And by senior year,
10 Q. And the public statement was issued a                  10 four years of a cheap Microsoft school version
11 day later?                                                11 tablet, the thing basically did not work, and so
12 A. Right.                                                 12 I discarded it.
13 Q. When did you -- at what point did you or               13 Q. Did you use that device to communicate
14 your parents retain Mr. McMurtry?                         14 in any way about this incident?
15 A. I believe it was on the day the                        15 A. I don't believe so. And with the one
16 statement was drafted, the day after.                     16 e-mail account that I would have written an
17 Q. So the day you got home?                               17 e-mail off of, it was not my school account. And
18 A. Correct.                                               18 we have searched everything in that account, to
19 Q. I'm sorry. Either the day the statement                19 the best of my knowledge, and in good faith I
20 was drafted or the day after it was drafted?              20 don't believe I ever wrote anything on my school
21 A. The day -- the same day the statement                  21 account, and I have no access to it anymore.
22 was drafted.                                              22 Q. And it was the school account that you
23 Q. Okay. So did they -- to your knowledge,                23 said was deleted by the school?
24 did they retain Scott Jennings first and then             24 A. Yes.
25 subsequently retain Mr. McMurtry?                         25 Q. And what is the -- is it a Gmail account
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 110 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2223     INFORMATION
                                      Transcript of Nicholas Sandmann                                  109 (433 to 436)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       433                                                         435
1 that you used personally?                                  1 case on there. And so I identified that one
2 A. For the school account?                                 2 thing, and I think we did try popular search
3 Q. No, for your own personal.                              3 words that might produce something, and I don't
4 A. Correct. It is my first and last name                   4 think we found anything.
5 combined with a 24 at the end and then Gmail.com.          5 Q. Okay. And your iPhone, you said you had
6 Q. And since January 19th, 2019, have you                  6 the iPhone 6 in January of 2019, right?
7 had any other e-mail accounts?                             7 A. Correct.
8 A. Since then, I have had -- I had a -- one                8 Q. How long did that last for?
9 before that, that I made in grade school to be             9 A. I think it lasted until my birthday the
10 able to sign up for websites and games and stuff          10 next year, or until Christmas. It was either a
11 back when I was a kid. That was just a random             11 birthday or a Christmas I got a new phone.
12 assortment of letters and numbers. And I                  12 Q. And so would that be either your
13 realized that as I was getting older I probably           13 seventeenth birthday or the Christmas after your
14 needed something that looked more put-together            14 seventeenth birthday?
15 and professional. So I mean, it still exists. I           15 A. I think so. Either from January --
16 have never used it for anything related to this.          16 either that immediate Christmas or that
17      We have already searched it just in case             17 seventeenth birthday.
18 somehow I did. But that, that e-mail account,             18 Q. Okay. And what happened to the
19 along with my now university e-mail account, are          19 information that was contained on your -- the
20 the only two accounts I really ever use.                  20 data that was contained on your iPhone 6?
21 Q. Okay. So you have, I take it, some                     21 A. In a short time period, after the March
22 kind of like .edu account at the university?              22 For Life incident happened, we had the phone
23 A. Correct.                                               23 forensically imaged to get all the data that we
24 Q. And have you used that account to                      24 have now. And I still have kept the phone itself
25 communicate about this incident?                          25 and left it in my room and preserved it.
                                                       434                                                         436
1 A. Not about the incident specifically.                    1        I haven't gone on there and touched
2       At one point, someone e-mailed my                    2 anything on it. It just kind of sits there dead.
3 university account inquiring. It was just some             3 And when I need it, I hand it back over.
4 random person. And they e-mailed me, inquiring             4 Q. Okay. And how did you search for
5 about why I fired Lynwood, to which I responded            5 information -- how did you search the data that
6 to, but I don't think it really falls in the               6 was taken from that phone?
7 actual incident itself.                                    7 A. Like the information we have here?
8 Q. Okay. And did you, in responding to                     8        MR. SIEGEL: Yes.
9 discovery in this case, did you search your edu            9 A. I was not a part of the process in which
10 e-mail account?                                           10 this all got produced.
11 A. Yes.                                                   11       We tried, just in case, on my current
12 Q. Okay. And both for your Gmail account                  12 phone,   to search iMessage with the same key words
13 and your edu account, how did you conduct that            13 to see if we could find anything. And we also
14 search?                                                   14 tried to find the same text messages on this
15 A. We used a number of keywords that would                15 phone. But my -- and we couldn't at first
16 relate to the incident, such as March For Life,           16 through word search, so I tried manually
17 pro-life, Phillips, my name.                              17 scrolling back two and a half years, and the
18      We -- we spelled them both accurately.               18 phone would not let me scroll back that far.
19 We tried spelling Phillips inaccurately just in           19       So anything that we have from around
20 case there was a spelling error.                          20 then will be on my older phone.
21      I think for my Gmail account we actually             21 Q. Okay. And I'm not sure I fully
22 scrolled all the way through it manually looking          22 understood you.
23 for anything that might be related to it.                 23       Do you know how the data that -- you
24      As far as my school account goes, again,             24 said the older phone was forensically imaged,
25 there's really never been anything related to the         25 right?
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                      CONTAINS CONFIDENTIAL
                                  ID#: 2224     INFORMATION
                                      Transcript of Nicholas Sandmann                                  110 (437 to 440)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      437                                                          439
1 A. Right.                                                 1 media to message, right?
2 Q. Back in 2019.                                          2 A. Right.
3       Do you know how that data was searched              3 Q. Send and receive messages.
4 to produce the information that your counsel              4        So starting -- going back to January of
5 produced to us?                                           5 2019, have you used Instagram for that purpose?
6 A. I did not play a part in searching and                 6 A. Yes.
7 collecting the data. I assume that that would             7 Q. And did you search whatever Instagram
8 have been -- it would have been more techno --            8 history there may be in connection with
9 techno -- technologically advanced than I know.           9 responding to discovery in this case?
10 So I did not play a part in that.                        10 A. We looked through all of the -- we -- we
11 Q. Okay. And so you had the Microsoft                    11 looked through all of the Instagram direct
12 Surface device through your senior year. What            12 messages available. The problem is, is that
13 did you use after that?                                  13 after the incident, I had thousands of --
14 A. Currently, now, I have a newer phone. I               14 Instagram wouldn't even display the number. It
15 have a Mac computer. And this summer I recently          15 just said 999 plus of people that had DMed me
16 got back into the idea of building computers.            16 about the incident, most of them obviously
17 And I have built a new computer just in the past         17 negative, and I never -- there was no way of
18 two months.                                              18 looking at or responding to all of them, not that
19 Q. How did you learn how to do that?                     19 I even wanted to. And Instagram now I think has
20 A. I watched videos online.                              20 automatically deleted those.
21 Q. So you've had the Mac since your senior               21       Those are -- I don't -- I don't know of
22 year. And do you still have the same phone that          22 any way to repossess those.
23 you got when were you 17?                                23 Q. Do you know when Instagram automatically
24 A. Correct.                                              24 deleted them?
25 Q. And the phone that you got since you                  25 A. I do -- I do not.
                                                      438                                                          440
1 were -- whenever the point you got it when you            1 Q. Was it -- just going back to the --
2 were seventeen, do you know how that was                  2 let's say the week after the event, when you
3 searched? Did you search that for -- in                   3 started receiving those messages, about how long
4 connection with the discovery in this case?               4 after that was it that you noticed they were
5 A. Yes. And I believe it was searched in                  5 deleted?
6 the same way that my e-mail was searched with             6 A. I would say they were probably present
7 keywords.                                                 7 for a couple of months and then started to delete
8 Q. Okay. And have you used your laptop,                   8 by themselves.
9 your Mac, to communicate about this incident?             9        It's also important to add that if now,
10 A. The only time I would have communicated               10 like say today, if someone were to DM me that had
11 it -- with it was when I wrote the e-mail. The           11 DMed me in the past, and that conversation was
12 Mac has the same e-mail accounts that's on it.           12 deleted, if I scroll up, I can see the message
13       MR. SIEGEL: Right.                                 13 that they sent me originally.
14 A. There is nothing stored on the Mac that               14       So if people decide to remessage me, I
15 wouldn't be accessible from the other devices.           15 can see the history which had the initial one.
16       I had something to add.                            16 But if they don't message me, as far as I know,
17       Oh, my current phone, I think, was also            17 there's no way for me to get that.
18 forensically imaged, I believe, in the same way.         18 Q. Okay. And did you at some point search
19 So both of those have been stored.                       19 your DM messages in connection with responding to
20       MR. McMURTRY: And the old phone was                20 discovery?
21 reimaged up until its final dying day.                   21 A. Yes.
22       MR. SIEGEL: Okay.                                  22 Q. And when did you do that?
23 BY   MR.  SIEGEL:                                        23 A. We -- I believe we did that in -- I want
24 Q. And like from some of the material that               24 to say late August, before I went to school.
25 you produced, that you sometimes used social             25 During the month of August.
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 112 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2225     INFORMATION
                                      Transcript of Nicholas Sandmann                                   111 (441 to 444)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       441                                                         443
1 Q. Okay. Before that, had you done                         1 Q. So other than Instagram and other than
2 anything to preserve any of the messages that              2 Twitter, are there any other -- well, let me go
3 were on Instagram?                                         3 back.
4 A. To be honest, I was unaware of how to                   4       So you produced a few Twitter direct
5 preserve them.                                             5 messages, right?
6        Now I think that the only way to be able            6 A. Right.
7 to do that would have been to manually one by one          7 Q. Are all of your Twitter direct messages
8 accept every single message request so it went             8 going back to 2019 still accessible?
9 into my inbox and not as a request. Because                9 A. All of the ones that -- in the same way
10 Instagram does not delete messages you have --            10 as Instagram, all of the ones that are accepted
11 conversations that you have accepted. And that            11 conversations.
12 would have required me back right after the               12 Q. Okay. So were there -- was there a
13 incident had happened to -- I can't even give you         13 point where your -- there were messages deleted
14 the number. But you know, thousands on                    14 from your Twitter account, direct messages, I
15 thousands, I would have had to sit there and              15 mean?
16 accept, accept, accept, which seems quite                 16 A. I have never -- I don't believe I -- to
17 burdensome to me.                                         17 the best of my knowledge, I don't believe I have
18 Q. Okay. Who -- who were you -- and I                     18 ever deleted a direct message.
19 assume that your testimony is you got a lot of            19 Q. Do you know if Twitter has ever deleted
20 things that were sent to you on Instagram by              20 any of your direct messages?
21 people you didn't know, right, who sent them to           21 A. Not actual conversations. I believe in
22 you?                                                      22 the same way Instagram does, if it's a request,
23 A. Right.                                                 23 and after a certain period of time, if you don't
24 Q. So at that time, who were you -- who                   24 accept it, the app thinks clearly you are not
25 did -- who did you use Instagram to communicate           25 interested in this and they -- they remove it.
                                                       442                                                         444
1 with?                                                      1 Q. When was the first time that you looked
2 A. Most -- I would say that there -- if you                2 at your Twitter direct messages to see if there
3 look at my Instagram direct messages, there will           3 was any information that might be responsive for
4 be a lot of names. But I think most of them are            4 this case?
5 usually one-offs or people I had only talked to a          5 A. I believe it would have also been in
6 couple of times. I think I used Instagram mainly           6 August, during discovery.
7 to communicate with my closest friends.                    7 Q. Okay. And who did you use Twitter to
8 Q. Okay. And do you believe that you --                    8 communicate with by direct message?
9 did you have communications with your closest              9 A. Twitter direct messages, I mainly use
10 friends about this incident on Instagram prior to         10 more to connect with people that I didn't
11 the point where Instagram deleted messages?               11 necessarily know, such as Charlie, Kyle, Ben
12 A. I cannot recall if we ever discussed it                12 Shapiro, people like that. I'm trying to think
13 on Instagram since we also had a group message.           13 who else. My -- my Twitter direct messages, I'm
14 Q. Okay. So you either -- you just -- you                 14 not as much active on that as I am on Instagram.
15 can't recall one way or the other?                        15 Q. So, for example, the DMs to Charlie Kirk
16 A. Yes. And I -- I can say for a fact that                16 and Kyle Kashuv, when did you go back and find
17 on Instagram, my -- my group message does not             17 those?
18 contain all of the members of the text group              18 A. I mean, I -- obviously, I knew they
19 chat. So I believe that we probably did not say           19 existed before August. But during information
20 anything in there. Because not all of us were             20 sharing in discovery in August is when we
21 included in it. But to the best of my knowledge,          21 captured those and obviously sent them.
22 I don't know if we ever did or didn't.                    22 Q. And did you go back and search your
23 Q. Okay. And we know you have a Twitter                   23 DMs --
24 feed, right?                                              24 A. Yes.
25 A. Right.                                                 25 Q. -- to see if they contained -- and how
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 113 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2226     INFORMATION
                                      Transcript of Nicholas Sandmann                                112 (445 to 448)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                      445                                                         447
1 did you do that?                                          1       Do you believe that you used Snapchat to
2 A. I can't recall. I'm not sure exactly                   2  communicate  with people about this incident?
3 how we went through my DMs. I think that Twitter          3 A. I believe so. And -- and my honest
4 doesn't allow you to search. So I'm pretty sure           4 testimony, there may be some group chats where
5 me and my counsel went through manually and               5 things are manually saved, that after this, I can
6 looked at all the DMs we could. And there were            6 recheck just to make sure that there isn't any
7 certain people that I knew I didn't talk about            7 stone that is unturned.
8 the situation with. So we crossed them off the            8 Q. Okay. Well, we will ask you to do that.
9 list. But, yeah.                                          9       So we have done Instagram, Twitter,
10       MR. McMURTRY: I can help. We have all              10 Snapchat. Any other social media mediums?
11 the log-in information. We searched every single         11 A. Yes, but none used to communicate with
12 message.                                                 12 people. Just in general.
13       MR. SIEGEL: Okay.                                  13 Q. What do you mean by that?
14       MR. McMURTRY: And also, I don't know               14 A. I have a social -- I'm on a social media
15 that you are clear. It doesn't seem to me that           15 platform where you only post pictures. You don't
16 you have understood the point that Instagram only        16 actually really interact with other people.
17 deleted messages to which he didn't accept a             17 Q. And which one is that?
18 response. That is the way I'm perceiving your            18 A. It's called VSCO.
19 questions, but I don't think that is what he             19 Q. Any other social media medium you use to
20 said.                                                    20 communicate?
21       MR. SIEGEL: Okay. And I object to                  21 A. No, not that I can remember.
22 testifying for him.                                      22 Q. I'm dating myself, but do you have a
23       MR. McMURTRY: I'm not. I'm just -- you             23 Facebook account?
24 missed his point. You were asking questions that         24 A. I did, but I deleted it.
25 were improperly premised. And I was just trying          25 Q. And why did you delete it?
                                                      446                                                         448
1 to let you know --                                        1 A. Because I had -- there were pictures of
2        MR. SIEGEL: Okay. Same request.                    2 me on there from when I was -- I think I was
3        MR. McMURTRY: -- so that we didn't                 3 younger, like in eighth grade that people -- they
4 later misinterpret it.                                    4 obviously had found my Facebook and were using it
5 BY MR. SIEGEL:                                            5 too. I don't know. I just didn't like seeing a
6 Q. The -- so we have covered Instagram. We                6 12 or 11-year-old me out there being used by
7 have covered Twitter. Are there any other                 7 strangers. So I deleted it.
8 mediums of social media that you use to                   8 Q. When did you delete it?
9 communicate with people?                                  9 A. I think in a week or a month after, very
10 A. Yes.                                                  10 shortly after.
11 Q. What is that?                                         11 Q. Okay. And had you posted anything to
12 A. I have a Snapchat account.                            12 Facebook about this event?
13 Q. Okay. And what do you use Snapchat for,               13 A. No. No. It was just the previous
14 going back to 2019?                                      14 content that I had that was being used. It made
15 A. Just to conversate with people I know.                15 me uncomfortable.
16 Q. Okay. And did you search Snapchat?                    16 Q. Did you ever use Facebook messenger?
17 A. I don't believe so.                                   17 A. I don't believe I ever did.
18 Q. And why is that?                                      18 Q. Did you ever use WhatsApp?
19 A. Well, my understanding was, and I'm not               19 A. I'm not sure. I -- I think I -- there
20 sure if you are aware of it, but Snapchat                20 is a chance that I have. I don't, to the best of
21 automatically deletes things after 24 hours. And         21 my knowledge, ever communicate about anything
22 so I believe any picture, Snap things I would            22 related to this, in my honest answer.
23 have sent to people, I have no way of obtaining.         23 Q. Okay. And if you have some thought that
24 Q. Okay. We have covered Instagram. We                   24 you might have used it, what do you think you
25 have covered Twitter. We have covered Snapchat.          25 used it for?
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 114 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2227     INFORMATION
                                      Transcript of Nicholas Sandmann                                  113 (449 to 452)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       449                                                          451
1 A. I honestly can't say. I -- I don't                      1 had left, kind of an eyewitness.
2 know. It's hard to remember in the past two and            2 Q. Have you ever talked to Ms. Hagedorn
3 a half, almost three years if I have ever used an          3 about the incident?
4 app once. I don't know.                                    4 A. I don't believe I ever have since.
5 Q. Any other social media apps or media                    5 Maybe -- maybe we had conversations once or twice
6 that you have used to communicate?                         6 during the end of the school year that year, but
7 A. Not that I can remember.                                7 I cannot recall what we would have talked about.
8 Q. Okay. In your responses to -- in your                   8 Q. Okay. And why did you list Will Fries?
9 written response to the discovery requests in              9 A. I listed Will because of Will's --
10 this case, you listed Will Fries and Sam Paley as         10 Will's vantage point, and where he stood on any
11 people who you thought had videotaped the                 11 higher-up step would have been able to observe a
12 incident.                                                 12 lot of the movements of people going on, as well
13       Now, we've already covered Will. And is             13 as his knowledge of my signal to him when he got
14 that the only videotape that to your knowledge            14 in the argument with the guy in the red hat. He
15 Will took?                                                15 seemed to be knowledgeable on a lot of different
16 A. To my knowledge, yes.                                  16 parts of this.
17 Q. And what about Sam Paley?                              17 Q. And have you ever -- have you talked to
18 A. I believe he took a short video similar                18 Will about being a witness in this case
19 to Will. To the best of my knowledge, I think             19 potentially?
20 Sam put it on his Snapchat story, which only              20 A. I mean, Will has been my roommate in
21 lasts for 24 hours. I am not sure if Sam still            21 college for two years now.
22 has access to that video. He may or he may not.           22      MR. SIEGEL: Okay.
23 But to best of my knowledge, I remember him               23 A. I mean, I think -- and Will also did
24 posting a video.                                          24 mock trial. I think Will is very aware that he
25 Q. Okay. And do you -- did you ever                       25 could have to testify as a eyewitness in this
                                                       450                                                          452
1 receive or capture that video?                             1 case.
2 A. To the best of my knowledge, I don't                    2 Q. Okay. Have you ever discussed with Will
3 think I have a copy of it.                                 3 about him doing a deposition or providing an
4 Q. Okay. And in what is called your                        4 affidavit or anything like that?
5 initial disclosures, you listed four people as             5 A. Well, I did tell Will I think a day
6 persons likely to have knowledge about the                 6 before his subpoena came in the mail that he was
7 incident that you might use in your case. And              7 probably going to be called and, you know, forced
8 those were Barbara Hagedorn, Will Fries, John              8 to discuss what he saw.
9 Lawrie and Joe Kiely?                                      9 Q. Okay. And have you ever talked to him
10 A. Correct.                                               10 about voluntarily providing you with any kind of
11 Q. So I'm just going to go through each one               11 sworn testimony, whether it's oral or written, in
12 and ask you the same questions.                           12 support of your case?
13      So for Barbara Hagedorn, who is she?                 13 A. Do you mean asking him to testify just
14 She's a chaperone, right?                                 14 as something that would help me?
15 A. Yes.                                                   15       MR. SIEGEL: Yes.
16 Q. She was a chaperone?                                   16 A. Do you mean by that, like are you asking
17 A. She was also a teacher at Cov Cath.                    17 if I asked him to dishonestly testify or are you
18 Q. Okay. And why did you list her?                        18 saying like help me in a way that -- like, you
19 A. She was responsible for coming in at the               19 know, dishonestly?
20 end of the confrontation and announcing, excuse           20 Q. No, no. I'm not asking the substance of
21 me, that the busses were present, which allowed           21 his testimony, Nick. Really, it's just a factual
22 me to leave.                                              22 question.
23      She also was in -- close to Phillips and             23       THE WITNESS: Okay.
24 other people after I left and she could have              24 Q. Have you ever -- you know, have you ever
25 knowledge of basically what was going on once I           25 asked him to either -- have you ever asked him to
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 115 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2228     INFORMATION
                                      Transcript of Nicholas Sandmann                                  114 (453 to 456)

                                     Conducted on 9/13/2021 & 9/14/2021
                                                       453                                                          455
1 be a witness if the case went to trial, for                1 position in the crowd when Phillips goes to the
2 example?                                                   2 left. Joe is one of the people right there.
3 A. I think I have definitely mentioned to                  3        I also listed Joe because he was
4 him that it would probably be nice for him to              4 important in the immediate aftermath. He wrote a
5 testify. I don't believe I've ever formally                5 letter and sent it to the local news station
6 asked him to agree to testifying. I -- I don't             6 basically defending me. And he seemed to have
7 think we have ever agreed on that.                         7 kind of that experience that no one else in the
8       MR. SIEGEL: Okay.                                    8 group had.
9 A. At this point, he probably would, but                   9 Q. Okay. And have you spoken to Joe about
10 we -- I haven't asked him, if this goes to court,         10 the incident since it happened?
11 can we agree right now you will?                          11 A. I mean, Joe and I have definitely
12 Q. Okay. And I take it you haven't asked                  12 discussed it since that day since we were both
13 him if he would provide you with some kind of,            13 present, since when it happened.
14 you know, written statement or sworn statement or         14       Joe actually sat next to me on the bus
15 something like that?                                      15 when we were returning and was involved in waking
16 A. No.                                                    16 me up and showing me what was being said about me
17 Q. Oral testimony?                                        17 online.
18 A. No.                                                    18 Q. Okay. I'm not going to ask you to walk
19 Q. John Lawrie, why did you list him?                     19 through that phase by phase. It's probably for
20 A. I listed John because, as you can see,                 20 the next phase, if there is one.
21 John is seen when Mr. Phillips approaches us.             21       But to the best of your recollection,
22 And he turns around and kind of tries to                  22 what has Joe communicated to you about the
23 videotape him. And then John has a way of being           23 incident?
24 there at first but then is in a different                 24 A. I believe Joe has only ever told me
25 location when Mr. Phillips is closer to me. So            25 things that he has seen from his point of view.
                                                       454                                                          456
1 it seems to me that John had moved around and              1       I mean, if we have ever talked about it,
2 would have observed what happened from multiple            2 we have talked about what we both saw and things
3 different areas and would be knowledgeable in              3 like that.
4 kind of how people moved and what happened.                4 Q. And what has he -- what did he tell you
5 Q. Have you talked with John after the                     5 that he saw?
6 incident about what happened?                              6 A. I mean, I cannot recall specifically
7 A. I talked to John after John received a                  7 what we -- what he saw. It was not a main
8 subpoena and basically explained to him that he            8 priority and something I would have focused on.
9 could be forced to testify based on his presence.          9 It was not committing to memory what Joe saw.
10 Q. And did you have any discussion with him               10 Q. Okay. And have you ever had any
11 about what -- if he were going to testify, what           11 conversation with Joe Kiely about him being a
12 he would say?                                             12 witness?
13 A. No.                                                    13 A. To the best of my knowledge, I'm not --
14 Q. Okay. And the subpoena was recent,                     14 I am leaning towards I don't think I ever have
15 right? It was for documents or materials?                 15 talked to Joe about him being a witness.
16 A. Right.                                                 16 Q. Okay. And for all of these people,
17 Q. Okay. Other than communicating with him                17 Barbara Hagedorn, Will Fries, John Lawrie and Joe
18 when he received the subpoena, have you had any           18 Kiely, other than any information your counsel
19 discussion with him about him possibly being a            19 may have told you, do you have any knowledge that
20 witness?                                                  20 anyone has communicated with them about
21 A. I don't believe I ever have to the best                21 essentially being a witness in the case?
22 of my knowledge.                                          22 A. Again, I cannot recall any time where I
23 Q. Okay. And same questions for Joe Kiely,                23 specifically asked any -- any one of them to
24 why did you list him?                                     24 commit to being a witness.
25 A. I listed Joe again because of his                      25      I'm not saying that -- like with Joe,
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                      CONTAINS CONFIDENTIAL
                                  ID#: 2229     INFORMATION
                                        Transcript of Nicholas Sandmann                                 115 (457 to 460)

                                       Conducted on 9/13/2021 & 9/14/2021
                                                       457                                                          459
1 for example, I'm not saying that I might have not          1        MR. McMURTRY: Talking about this guy?
2 mentioned to him that he could end up being one.           2        MR. SIEGEL: Yes.
3 But in my mind, no one has set in stone agreeing           3 A. This does not necessarily match up with
4 to being a witness at this point.                          4 what I had submitted. Because it --
5 Q. Okay. You may have answered my next                     5        MR. SIEGEL: That's what we received.
6 question, which was, other than these four                 6        MR. McMURTRY: I know we had to -- you
7 people, is there anyone else that you have                 7 basically asked us to redo it. I know we did it
8 communicated with about potentially being a                8 twice.
9 witness in this case?                                      9        MR. SIEGEL: And this may be -- this may
10 A. I -- to the best of my knowledge, I                    10 get to the second one, which I was wondering
11 don't think so.                                           11 about that. Because I thought you might have
12 Q. Okay. Do you know if anyone -- there is                12 identified him as somebody else.
13 anyone that your parents have communicated with           13 BY MR. SIEGEL:
14 about potentially being a witness in this case,           14 Q. Do you see number 6, Nick, on the
15 either of your parents?                                   15 Interrogatories? The first page also with John
16 A. To the best of my knowledge, I don't                   16 Lawrie? Says believed to be labeled Exhibit 33
17 know who they would have talked to about that.            17 in Exhibit A. And then you go to 33.
18      MR. McMURTRY: I thin we are at about                 18 A. Yes. No. Okay. These -- I -- I have a
19 ten hours. You may want to check. Can we ask              19 list where I labeled these as what they are.
20 the court reporter to tell us where we are?               20 This is all out of order.
21      MR. SIEGEL: Sure. Hello?                             21       MR. SIEGEL: So we may just need to redo
22      MR. McMURTRY: Hello?                                 22 it, but --
23      THE VIDEOGRAPHER: We are going off the               23       MR. McMURTRY: I don't know if this is
24 record. The time is 3:29 p.m.                             24 the first or second effort. I redid it and sent
25      (Thereupon, there was a recess taken at              25 it and said, is this the way you want it?
                                                       458                                                          460
1 3:29 p.m.)                                                 1        THE WITNESS: I believe there is a
2        (Thereupon, the proceedings were resumed            2 different list that has more names on it or it's
3 at 3:45 p.m.)                                              3 done a little differently.
4        THE VIDEOGRAPHER: We are back on the                4        MR. McMURTRY: Can we go off the record?
5 record. The time is 3:45 p.m.                              5 I can check with Will.
6 BY MR. SIEGEL:                                             6        MR. SIEGEL: Sure. Okay. And I will
7 Q. Okay. We will send these to the court                   7 check, too.
8 reporter. But I just showed Nick what we will              8        THE VIDEOGRAPHER: We are going off the
9 mark as Exhibit 43 and 44.                                 9 record. The time is 3:47 p.m.
10       I think 44 -- 43, Nick, is your                     10       (Thereupon, there was a recess taken at
11 responses to Interrogatories that are in front of         11 3:47 p.m.)
12 you, and 44 are the Interrogatories that were             12       (Thereupon, the proceedings were resumed
13 sent that's in front of Todd.                             13 at 3:57 p.m.)
14       And so this is pretty simple, Nick. I               14       THE VIDEOGRAPHER: We are back on the
15 think if you -- there are a bunch of pictures on          15 record. The time is 3:57 p.m.
16 the back of 44. Go to the first picture.                  16 BY MR. SIEGEL:
17 A. Okay.                                                  17 Q. Okay. So we took Exhibit 43, which was
18 Q. And if you -- and then look at the list                18 the most recent response to the Interrogatories
19 that you have open to you?                                19 that Todd correctly pointed out they were served.
20 A. Right.                                                 20       So looking first at John Lawrie, on page
21 Q. So you have listed, in your answers,                   21 5 of that, he's identified as Number 33.
22 Number 1 is Joe Kiely. Is the fellow with the             22       And if you look at the first picture,
23 number 1 on the first picture there, is that Joe          23 Nick,  that is on the -- attached to the
24 Kiely?                                                    24 Interrogatories. Is that right, 33?
25 A. Oh.                                                    25 A. That is not right.
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 117 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2230     INFORMATION
                                         Transcript of Nicholas Sandmann                             116 (461 to 464)

                                        Conducted on 9/13/2021 & 9/14/2021
                                                      461                                                         463
1 Q. Is that Henry Bennett?                                 1 video 2. I will share it and put it up.
2 A. Correct. But in some of these,                         2       MR. SIEGEL: Yeah. Why don't you just
3 there's -- there's the same number for multiples.         3 put up a screenshot, and maybe that will take
4 Q. Okay. So you think -- you think there                  4 care of it.
5 may be another 33?                                        5       MS. MEEK: I'm putting up Exhibit 16 at
6 A. Yes. I think that's possible. Let me                   6 14 seconds.
7 find John Lawrie and --                                   7       THE WITNESS: I cannot locate him.
8 Q. You know what, Nick, if you see John                   8  BY  MR.   SIEGEL:
9 Lawrie, whatever he's numbered, you can just              9 Q. Is that John Lawrie?
10 point him out to us also.                                10 A. Yes, that is.
11 A. Okay. I do not --                                     11 Q. The one in the green hoodie is John
12      MR. McMURTRY: Who is 33? I'm sorry.                 12 Lawrie?
13      THE WITNESS: 33 is Henry Bennett,                   13 A. Yes, correct.
14 according  -- or in this picture. I'm not --             14      MR. SIEGEL: Okay.
15      MR. McMURTRY: Let's just wait until he              15 A. I just don't see him in here. I'm not
16 asks you a question.                                     16 sure how it got onto 33.
17      I'm sorry. Are you waiting for us to                17       (This concludes the Confidential
18 respond?                                                 18 portion.)
19      MR. SIEGEL: Yeah. Is he looking                     19      MR. SIEGEL: All right. We are done.
20 through  the pictures to try to see if he can            20      MR. McMURTRY: That's it. Okay. Thank
21 identify John Lawrie, if he's not 33.                    21 you.
22      THE WITNESS: Yes.                                   22      These are our copies of this?
23      MR. SIEGEL: And actually, to save you               23      THE VIDEOGRAPHER: Are there no other
24 time, Nick, you identified 115 as the person you         24 questions?
25 believed was Joe Kiely.                                  25      MR. McMURTRY: I have no questions.
                                                      462                                                         464
1         Do you want to check that, too? That is           1        MR. SIEGEL: No.
2 like third from the back.                                 2        THE VIDEOGRAPHER: All right. Just a
3         MR. McMURTRY: No, sorry.                          3 moment, please.
4         THE WITNESS: Joe Kiely, 115?                      4        We are going off the record. The time
5         MR. SIEGEL: Uh-huh.                               5 is 4:02 p.m. This concludes the deposition.
6         THE WITNESS: Yes.                                 6        THE REPORTER: Counsel, could I get copy
7 BY MR. SIEGEL:                                            7 orders?
8 Q. Okay. You believe that is Joe Kiely?                   8        MR. McMURTRY: Todd McMurtry would like
9 A. Correct.                                               9 a copy.
10 Q. In the red -- I'm sorry. It's a black                 10       THE VIDEOGRAPHER: Mr. McMurtry, would
11 ski hat?                                                 11 you like a copy of the video as well, please, or
12 A. Yes.                                                  12 sir?
13 Q. Okay. And then do you see John Lawrie                 13       MR. McMURTRY: Yes.
14 in any of the photos?                                    14       THE VIDEOGRAPHER: Thank you.
15 A. Currently, no.                                        15       AV TECH LOILER: Mr. Siegel, would you
16        MS. MEEK: Is he wearing a green                   16 like the exhibits attached to the transcript?
17 sweatshirt?                                              17       MR. SIEGEL: Yes.
18        THE WITNESS: Yes.                                 18       MR. McMURTRY: I would like exhibits
19        MS. MEEK: I think I found him on the              19 attached to the transcript, too, the copy.
20 video, if this helps.                                    20       THE REPORTER: So I hear no other orders
21        THE WITNESS: Yes. I'm aware there                 21 from counsel.
22 is -- I know what he looks like. I just --               22       MR. FORD: Darren Ford, NBC and New York
23        MR. SIEGEL: Which video is that?                  23 Times,  a pdf with exhibits and e tran.
24        MS. MEEK: We could use that                       24       UNIDENTIFIED SPEAKER: And Rolling
25 alternatively. This is Exhibit 15, which is              25 Stone would like a copy, too.
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 Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 118 of 196 - Page
                      CONTAINS CONFIDENTIAL
                                  ID#: 2231     INFORMATION
                                       Transcript of Nicholas Sandmann     117 (465 to 468)

                                      Conducted on 9/13/2021 & 9/14/2021
                                                        465
1        MS. KRISHNAN: So would ABC, Dianna.
2  ABC,   Nathan Siegel and Meenu Krishnan would like
3 a copy.
4        MR. SHOOK: This is Kevin Shook.
5 Rolling Stone would like a copy, too.
6        MS. SPEARS: This is Natalie Spears, and
7 CBS Defendants would also like a copy.
8        THE REPORTER: Okay. Does that conclude
9 the orders?
10       (Thereupon, there was a discussion off
11 the record.)
12       MR. GRYGIEL: We want the same as
13 everyone else. Mike Abate and myself would like
14 a copy.
15 (Off the record at 4:05 p.m.)
16
17
18
19
20
21
22
23
24
25
                                                        466
1        CERTIFICATE OF SHORTHAND REPORTER
2              NOTARY PUBLIC
3        I, Dianna C. Kilgalen, the officer
4 before whom the foregoing deposition was
5 taken, do hereby certify that the foregoing
6 transcript is a true and correct record of
7 the testimony given; that said testimony was
8 taken by me stenographically and thereafter
9 reduced to typewriting under my direction;
10 that reading and signing was not requested;
11 and that I am neither counsel for, related
12 to, nor employed by any of the parties to
13 this case and have no interest, financial or
14 otherwise, in its outcome.
15       IN WITNESS WHEREOF, I have hereunto
16 set my hand and affixed my notarial seal this
17 23rd day of September, 2021.
18       My commission expires June 28th,
19 2025.
20
21
22 _______________________________________
23 NOTARY PUBLIC
24 IN AND FOR THE STATE OF MARYLAND
25 COUNTY OF HARFORD
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                                 ID#: 2232 INFORMATION
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                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         118
        A           access               acting               447:16, 455:14,
aaa                 432:21, 449:22       120:21, 188:16,      461:23
37:18               accessible           188:20, 189:14,      add
abate               438:15, 443:8        189:16, 317:1,       166:13, 196:25,
6:20, 6:21,         accessing            387:22, 420:9        197:1, 306:19,
11:5, 11:6,         414:11, 414:12       action               363:20, 381:6,
15:17, 250:12,      accomplish           96:20                382:15, 406:6,
465:13              295:19               actions              438:16, 440:9
abbreviate          according            236:20, 295:23,      added
329:7               77:15, 422:15,       382:9, 419:15        30:22, 30:23
abc                 461:14               active               addition
2:9, 5:10,          account              179:8, 277:3,        88:8
9:10, 14:11,        394:13, 406:17,      444:14               addressed
15:8, 15:16,        418:15, 418:25,      actively             154:1
16:16, 103:12,      432:16, 432:17,      277:22               adjusted
249:8, 250:4,       432:18, 432:21,      activist             220:16, 252:23
250:11, 250:19,     432:22, 432:25,      178:23, 366:1        adjustments
252:5, 252:6,       433:2, 433:18,       actual               362:16, 362:21
465:1, 465:2        433:19, 433:22,      39:12, 49:1,         administration
abc's               433:24, 434:3,       260:18, 362:4,       44:21, 76:19
344:16              434:10, 434:12,      391:24, 402:14,      administrators
abide               434:13, 434:21,      431:9, 434:7,        31:21
182:16              434:24, 443:14,      443:21               admission
ability             446:12, 447:23       actually             404:14
41:20, 423:5        accounts             22:2, 24:20,         admit
able                431:24, 433:7,       29:10, 30:19,        352:22, 401:14
22:6, 23:3,         433:20, 438:12       61:18, 64:23,        admitted
26:16, 72:10,       accurate             147:3, 159:4,        127:11, 170:24
98:2, 108:1,        129:25, 178:21,      166:21, 179:11,      adult
160:20, 178:14,     260:14, 289:24,      186:24, 207:22,      31:25, 188:16,
179:5, 234:5,       300:16, 325:6,       224:23, 226:23,      188:21, 189:14,
235:21, 235:22,     332:8, 347:5,        237:22, 256:21,      189:16
242:4, 255:18,      417:19               260:4, 269:17,       adult-size
319:8, 327:12,      accurately           280:21, 292:23,      100:14
348:3, 361:19,      147:21, 147:24,      296:17, 306:19,      adults
365:16, 392:6,      331:14, 412:17,      314:7, 329:20,       80:4, 80:12,
419:2, 433:10,      434:18               355:24, 357:9,       120:20, 120:21,
441:6, 451:11       accuse               360:18, 361:4,       163:8, 193:1,
above               59:10, 96:18,        361:8, 361:13,       317:9
290:25, 342:4,      96:19                361:15, 364:25,      advanced
375:12, 388:25      accused              375:20, 390:14,      23:8, 437:9
absolutely          414:18               394:11, 394:13,      advertised
247:16, 314:18      acknowledge          396:8, 408:10,       35:5
accept              199:13, 423:7        409:4, 410:5,        affect
441:8, 441:16,      across               410:23, 410:25,      321:5, 356:12
443:24, 445:17      96:11, 178:22        411:2, 411:11,       affidavit
accepted            act                  411:17, 411:20,      452:4
                    28:22, 419:2         418:14, 434:21,      affiliated
441:11, 443:10
                                                              262:4


                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 120 of 196 - Page
                                 ID#: 2233 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         119
affixed             390:2, 402:9,        ago                  77:20, 84:23,
466:16              406:25, 409:19,      38:21, 56:6,         85:3, 92:1,
africa              412:2, 412:19,       57:8, 74:1,          96:17, 101:9,
333:18              423:8, 425:19,       144:23, 145:6,       108:7, 108:13,
african             430:16, 430:20,      214:23, 223:19,      110:15, 119:7,
49:12, 50:5,        435:13, 435:21,      232:22, 289:9,       124:11, 124:19,
52:10, 53:1,        437:13, 439:13,      380:6, 387:9,        127:9, 127:23,
53:4, 65:19,        440:2, 440:4,        414:3                127:24, 128:13,
66:3, 66:7,         441:12, 443:23,      agree                128:22, 129:7,
66:9, 66:11,        446:21, 447:5,       42:7, 42:10,         138:16, 139:3,
66:13, 66:21,       448:9, 448:10,       43:11, 52:3,         144:18, 149:3,
66:25, 67:22,       450:24, 454:5,       68:1, 74:24,         149:9, 150:7,
77:14, 77:16,       454:7                75:8, 76:24,         152:11, 174:8,
81:25, 82:2,        aftermath            77:3, 77:7,          176:13, 176:22,
82:15, 85:5,        455:4                77:19, 81:3,         177:6, 177:10,
87:19, 101:3,       afternoon            84:24, 99:1,         177:13, 189:15,
101:14, 102:6,      37:5, 37:6,          103:17, 105:10,      203:2, 207:19,
102:8, 102:9,       409:6, 410:7         112:2, 119:24,       207:25, 210:4,
103:23, 164:9,      afterwards           120:4, 124:12,       213:24, 216:4,
165:2, 165:3,       271:24, 273:21,      124:17, 139:6,       217:22, 227:24,
374:9, 376:4,       273:23, 338:7        151:17, 155:25,      235:3, 235:19,
377:1, 387:4,       against              156:8, 157:21,       238:11, 242:12,
388:22, 423:8,      34:6, 103:12,        157:25, 162:23,      246:21, 251:12,
423:20              104:6, 104:7,        165:19, 166:9,       253:22, 257:9,
after               104:8, 104:9,        187:22, 188:18,      258:7, 261:19,
17:2, 21:20,        135:15, 184:6,       189:9, 193:11,       262:14, 263:5,
21:21, 29:17,       270:8, 345:5,        207:21, 251:18,      263:9, 269:15,
38:15, 40:5,        404:18               288:5, 296:24,       276:15, 277:21,
41:4, 45:3,         age                  317:4, 325:2,        282:16, 282:22,
45:6, 47:13,        120:19, 178:10,      360:18, 364:4,       285:9, 291:23,
63:17, 73:13,       178:15, 179:7,       386:18, 399:16,      292:19, 293:8,
84:8, 89:16,        367:18               410:14, 420:15,      295:15, 305:3,
91:22, 94:16,       aggression           453:6, 453:11        308:22, 333:25,
127:13, 146:21,     103:23, 120:7,       agreed               334:9, 373:3,
149:4, 162:22,      127:21               124:13, 178:15,      374:15, 376:6,
168:18, 171:19,     aggressive           453:7                384:3, 387:18
186:9, 195:4,       47:23, 94:6,         agreeing             ain't
217:2, 232:8,       95:11, 96:21,        457:3                311:16, 386:15,
259:4, 259:21,      98:18, 124:23        ah                   388:8
265:14, 282:2,      aggressively         196:13               al
287:11, 289:11,     383:1                ahead                1:36, 2:9,
302:14, 303:11,     agitate              15:6, 44:8,          2:34, 14:3,
323:3, 323:9,       367:19               44:14, 55:4,         14:8, 14:9,
343:19, 353:5,      agitative            57:25, 58:24,        14:11, 14:13,
360:17, 360:20,     367:12               61:24, 62:13,        14:14, 14:16,
361:8, 365:12,      agitator             62:19, 64:4,         248:25, 249:3,
370:7, 373:5,       367:11               71:11, 72:12,        249:5, 249:6,
387:23, 389:23,     agitators            76:2, 76:25,         249:8, 249:10,
                    367:6



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 121 of 196 - Page
                                 ID#: 2234 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         120
249:11, 249:13      176:15, 234:24,      altercation          142:23, 149:25,
albany              251:15, 271:15,      98:23, 99:3          154:20, 155:3,
7:9, 11:16          272:18, 286:2,       alternate            157:21, 164:9,
alex                306:8, 310:11,       129:14               165:3, 175:6,
360:8, 360:21       317:16, 322:23,      alternatively        175:7, 194:22,
all's               327:11, 333:11,      462:25               276:5, 305:2,
114:3               346:10, 346:11,      although             374:9, 377:1,
all-boys            379:11, 385:17,      73:18, 182:8,        387:5, 388:22,
112:8               404:17, 412:10,      276:8, 413:15        428:16, 428:23,
all-girls           417:23, 418:9,       always               429:1
36:11, 36:12        424:24, 425:24,      28:18, 32:8,         americans
all-male            433:17, 449:13       39:9, 88:9,          23:10, 23:17,
25:19               also                 284:17, 399:13,      24:1, 24:5,
allegation          8:1, 12:1,           423:1, 423:8         24:11, 24:14,
104:4               15:19, 16:6,         alx                  24:20, 25:1,
allegations         20:3, 20:16,         360:11               47:16, 49:6,
345:4               26:17, 31:8,         ambassador           49:9, 52:16,
alleges             35:7, 38:20,         360:16               52:22, 53:1,
103:12              50:6, 52:21,         america              66:3, 67:13,
allow               60:9, 62:22,         41:7, 42:5,          67:22, 77:14,
158:21, 267:2,      66:23, 67:21,        42:19, 42:25,        80:24, 87:20,
445:4               69:18, 88:12,        43:2, 43:9,          97:6, 133:3,
allowed             92:15, 99:2,         43:17, 43:20,        133:10, 141:23,
25:19, 87:21,       176:7, 183:25,       43:21, 44:5,         145:2, 154:5,
320:24, 450:21      184:1, 185:13,       44:19, 62:21,        155:9, 157:20,
allowing            185:19, 188:23,      103:14, 156:7,       210:20, 210:24,
                    191:5, 191:14,       330:12, 333:22,      211:2, 211:4,
121:4, 261:15       195:6, 196:18,                            211:9, 333:21,
almost                                   372:6, 422:13,
                    196:25, 197:1,       422:15, 423:2,       372:3, 376:4,
40:16, 52:6,        197:9, 197:14,                            422:24, 423:8,
95:17, 97:11,                            424:7
                    200:6, 200:7,        america's            423:9, 423:15,
97:15, 137:2,       225:1, 250:15,                            423:20
146:21, 201:13,                          423:5
                    250:25, 262:21,      american             among
206:15, 220:14,     297:15, 307:20,                           100:14, 196:15,
226:14, 316:11,                          23:7, 23:22,
                    381:14, 392:12,      23:24, 24:17,        197:21
449:3               395:12, 401:7,                            amongst
alone                                    49:12, 50:5,
                    406:14, 411:12,      52:10, 53:4,         127:15
92:12, 347:19       427:13, 428:23,                           amount
along                                    65:19, 66:4,
                    431:21, 432:5,       66:8, 66:9,          67:7, 173:13,
45:16, 141:10,      436:13, 438:17,                           248:16, 346:25
150:21, 189:13,                          66:11, 66:13,
                    440:9, 442:13,       66:21, 66:25,        analogy
226:16, 333:14,     444:5, 445:14,
433:19                                   77:16, 81:25,        204:3
                    450:17, 450:23,      82:2, 82:15,         ancestors
already             451:23, 455:3,
17:8, 39:16,                             85:5, 97:15,         142:12
                    459:15, 461:10,      101:3, 101:14,       anchors
40:1, 62:20,        465:7
63:13, 63:14,                            102:6, 102:8,        410:4
                    alter                103:24, 141:20,      angels
79:11, 91:16,       256:5
92:5, 126:20,                            142:8, 142:20,       114:4




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 122 of 196 - Page
                                 ID#: 2235 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         121
angle               210:4, 234:14,       457:13               approach
84:20, 85:20,       235:1, 235:19,       anyone's             60:5
110:23, 145:21,     243:18, 266:2,       95:24                approached
149:23, 160:1,      267:3, 285:23,       anyway               133:13, 148:23,
208:6, 212:20,      286:1, 297:20,       22:12, 134:23,       172:7, 180:16,
232:17, 241:24,     298:4, 319:9,        319:8                186:3, 186:6,
242:16, 258:2,      321:6, 378:3,        anywhere             186:15, 262:22,
356:7, 359:5,       382:20, 384:3,       46:3, 86:13,         264:8, 265:17,
385:15              388:8, 399:9,        137:25, 138:5,       266:19, 366:15,
angles              400:15, 401:2,       199:8, 259:6,        366:17, 401:13,
86:15, 368:6,       429:14, 448:22       278:11, 279:2,       415:23
368:9, 368:11,      answered             279:4, 279:6,        approaches
422:4               44:8, 126:20,        280:15               38:19, 39:7,
angrier             134:22, 138:15,      ap                   162:12, 362:13,
152:2               149:9, 174:8,        23:13, 24:7,         453:21
angry               210:3, 243:15,       24:8                 approaching
80:5, 80:13,        254:17, 267:22,      apologize            132:24, 133:5,
116:1, 152:2,       286:3, 379:11,       24:24, 177:9,        133:6, 133:25,
398:24              383:17, 383:18,      227:22               171:4
animal              383:19, 383:20,      app                  appropriate
69:20               429:13, 457:5        177:18, 443:24,      84:21, 85:5,
announcing          answering            449:4                87:15, 120:14,
450:20              313:24               apparent             120:18, 120:22,
another             answers              350:3, 399:6         121:2, 140:16,
33:8, 47:14,        17:10, 22:16,        apparently           141:3, 153:20,
51:8, 53:4,         356:13, 458:21       185:19               153:24, 305:1,
57:6, 66:3,         anti-war             appear               309:13, 378:8,
66:11, 106:22,      417:6                66:20, 67:21,        378:9, 380:4,
108:1, 108:19,      anybody              165:15, 365:17,      380:14, 383:15,
143:6, 157:18,      379:25, 414:4        385:8, 394:23        419:3
185:16, 186:8,      anymore              appearance           approval
190:15, 217:2,      176:18, 208:4,       296:11               292:1
231:17, 270:8,      290:5, 432:21        appeared             approve
280:11, 293:5,      anyone               137:3, 190:4,        394:9
313:7, 316:5,       35:14, 80:24,        261:3, 340:6,        approved
356:5, 361:21,      87:10, 94:21,        365:14               174:12
362:1, 365:14,      117:10, 124:21,      appearing            apps
382:8, 387:4,       131:2, 178:3,        366:8                449:5
395:1, 395:25,      189:4, 211:24,       appears              area
428:25, 461:5       273:18, 292:15,      177:2, 177:20,       32:20, 36:14,
answer              298:5, 298:7,        259:18, 289:10,      38:24, 39:13,
19:11, 19:13,       298:20, 327:16,      336:5, 338:7,        40:9, 48:7,
22:11, 22:18,       327:21, 327:25,      366:1, 374:7         92:20, 95:13,
55:5, 139:4,        328:24, 332:2,       apply                128:1, 184:6,
140:23, 145:23,     343:7, 353:19,       32:12                203:20, 225:6,
152:4, 156:15,      355:17, 359:2,       appreciate           328:25
156:24, 157:2,      414:13, 456:20,      17:13, 306:9,        areas
172:11, 176:14,     457:7, 457:12,       383:5                44:24, 454:3




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 123 of 196 - Page
                                 ID#: 2236 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         122
aren't              326:24, 332:10,      377:14, 377:18,      attached
163:1, 164:12,      344:20, 362:12,      382:12, 383:2,       35:16, 180:6,
180:3, 212:7,       369:20, 374:8,       383:12, 388:4,       288:18, 460:23,
335:14              379:23, 391:23,      390:15, 405:7,       464:16, 464:19
argue               392:13, 392:22,      407:22, 445:24,      attachment
22:6, 155:8,        396:13, 404:2,       452:13, 452:16,      427:1
234:13, 334:23      426:3, 436:19,       452:20               attempt
argued              453:22, 454:1        asks                 276:6, 277:3
235:15              arranged             364:6, 418:17,       attend
arguing             203:4, 366:16        461:16               26:22, 393:25
235:16, 235:17,     arrived              aspirations          attendance
367:17              37:4, 38:7,          21:18                26:20, 48:19
argument            48:23, 48:24         assembly             attended
155:1, 331:25,      articulate           270:20               97:6
338:23, 339:10,     238:16               associated           attending
347:24, 451:14      articulated          95:8, 166:2,         18:9, 31:16
arlington           28:25, 39:6,         253:25, 291:25,      attention
38:25               43:15, 44:12         399:4                47:21, 50:23,
arm                 articulating         assortment           91:24, 109:13,
153:18, 184:6,      143:13, 341:3        433:12               111:22, 164:18,
193:13              aside                assume               164:20, 165:5,
arms                216:13, 218:21,      53:19, 54:18,        165:8, 217:24,
300:18              414:10               61:4, 62:1,          223:1, 226:14,
around              asked                68:21, 86:8,         252:12, 276:1,
20:14, 24:10,       24:23, 89:23,        92:14, 94:23,        297:12, 297:15,
25:25, 28:13,       90:7, 90:8,          95:4, 95:12,         308:18, 311:22,
29:4, 32:19,        112:12, 170:12,      95:16, 97:10,        329:21, 331:8,
37:15, 38:1,        172:4, 172:11,       110:19, 119:4,       332:1, 371:20
38:22, 40:4,        284:4, 286:18,       132:18, 134:13,      attesting
40:8, 46:2,         353:11, 353:14,      178:9, 194:13,       63:3
47:20, 48:7,        363:10, 384:25,      194:24, 242:6,       attire
48:13, 50:19,       385:21, 422:13,      306:25, 308:19,      50:1, 342:20
52:6, 53:15,        452:17, 452:25,      315:9, 328:16,       attitude
82:1, 94:23,        453:6, 453:10,       328:24, 343:14,      387:17, 400:25
114:5, 127:15,      453:12, 456:23,      352:13, 371:24,      attitudes
136:20, 157:17,     459:7                372:19, 373:18,      400:21
173:15, 178:10,     asking               375:21, 395:6,       attribute
184:19, 185:14,     33:4, 42:23,         417:8, 423:18,       198:17, 339:2
206:15, 206:16,     75:25, 87:8,         437:7, 441:19        attributed
213:22, 214:16,     114:12, 130:19,      assumed              417:10
218:10, 223:21,     135:23, 138:24,      50:22, 295:8,        audible
226:21, 233:23,     138:25, 140:20,      338:6, 338:9,        17:9, 297:16,
259:5, 276:7,       147:23, 147:25,      428:22               327:14
276:22, 276:24,     165:8, 171:7,        assuming             audio
277:6, 278:7,       192:7, 212:21,       225:10, 372:2        51:12, 51:21,
280:2, 283:15,      235:11, 273:17,      assumption           212:19
286:13, 290:4,      286:5, 318:4,        274:2, 338:4,        august
306:12, 325:22,     325:14, 354:2,       338:11               289:6, 440:24,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 124 of 196 - Page
                                 ID#: 2237 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         123
440:25, 444:6,      awol                 456:17               battle
444:19, 444:20      411:1, 412:25,       barely               33:9, 33:19,
austin              413:9                76:23                33:20, 33:23,
8:8                          B           bart                 34:1, 134:1
authentic           babies               81:11                bean
296:12              79:6, 79:8           baseball             205:10, 205:24
authentically       back-and-forth       27:8, 201:13         beanie
66:13               331:9                based                69:23, 117:18,
author              backdrop             66:1, 66:19,         163:22, 165:4,
368:25              361:12               87:19, 174:16,       233:25, 357:7,
automatically       backed               204:5, 242:6,        357:15
439:20, 439:23,     148:14               253:23, 261:5,       beanies
446:21              background           261:25, 271:23,      164:10
av                  71:23, 262:8,        274:1, 303:19,       bear
8:8, 12:8,          270:16, 308:9        343:17, 417:13,      397:3
464:15              backpack             454:9                beard
available           117:15, 355:11       basic                342:12, 357:21
414:7, 439:12       backs                95:15                beat
avery               55:17, 370:19        basically            169:18, 171:23,
25:10               backwards            66:2, 82:14,         314:16, 314:19,
avoid               70:5, 242:21,        147:1, 178:15,       315:6, 347:24
32:3, 95:17         357:17, 357:21,      186:22, 262:8,       beating
aware               390:8                270:5, 280:14,       315:7
97:13, 133:10,      bad                  316:7, 356:5,        beau
142:1, 157:16,                           391:5, 393:21,       244:10, 244:25,
                    41:13, 44:1,         406:1, 411:11,
167:19, 180:22,     104:17, 270:24,                           245:2, 320:15,
217:20, 222:24,                          418:18, 432:11,      320:16, 321:10,
                    380:9                450:25, 454:8,
226:11, 226:12,     baited                                    321:16, 323:3,
226:17, 269:23,                          455:6, 459:7         323:8, 323:10,
                    375:16, 375:25,      basis
303:7, 376:14,      376:3, 377:3,                             385:9, 385:16,
410:8, 413:1,                            271:21, 273:20,      385:17, 385:21,
                    378:12               317:21, 318:1,
419:14, 423:3,      baiting                                   385:23, 388:21
446:20, 451:24,                          319:10, 332:12,      beau's
                    379:13               383:9, 383:12,
462:21              balls                                     244:21, 245:11
away                                     412:23, 413:19       became
                    41:11, 41:21         basketball
39:9, 55:20,        baltimore                                 133:10, 149:2,
73:14, 91:20,                            26:24, 31:3,         150:4, 198:11,
                    38:21                31:6, 270:7,
91:22, 92:6,        banged                                    292:24
92:25, 137:17,                           270:9                become
184:13, 193:18,     182:5, 183:19        bastards
                    banging                                   21:19, 21:23,
216:1, 220:19,                           85:14                34:14, 91:9,
220:22, 221:3,      31:9                 bates                191:6, 226:17,
263:25, 284:1,      banyamyan            181:15, 259:13,      303:7
295:11, 346:18,     54:5, 67:4,          290:14, 294:19,      beechwood
390:2, 390:6,       106:11, 126:23,      308:1, 427:20        34:7, 34:8,
409:24, 418:18,     143:18, 373:5        bathroom             34:18, 34:24
419:9               barbara              47:8                 been
awkward             450:8, 450:13,       battery              16:11, 16:25,
259:8, 404:19                            46:11



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 125 of 196 - Page
                                 ID#: 2238 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         124
19:23, 33:15,       162:3, 162:4,        217:13, 217:21,      377:3, 378:12,
44:1, 45:7,         171:13, 172:3,       218:1, 218:16,       410:2, 448:6,
46:22, 48:4,        288:11, 328:8,       219:4, 220:13,       448:14, 451:18,
52:8, 73:21,        345:25, 422:11       221:23, 222:9,       453:23, 454:19,
80:22, 81:16,       begins               222:13, 223:2,       455:16, 456:11,
86:18, 87:15,       14:1, 248:23,        223:15, 226:6,       456:15, 456:21,
90:7, 95:13,        282:21               226:12, 226:18,      456:24, 457:2,
97:11, 97:12,       behalf               228:16, 228:17,      457:4, 457:8,
102:23, 112:3,      5:3, 5:10,           229:4, 239:10,       457:14
112:18, 115:19,     5:19, 6:3, 6:11,     241:25, 242:3,       belief
115:22, 116:2,      6:18, 7:3, 7:11,     244:24, 247:2,       42:14, 148:20,
117:12, 121:7,      9:3, 9:10, 10:3,     258:3, 258:20,       296:4, 351:15,
121:25, 123:19,     10:10, 10:18,        272:18, 277:16,      352:2
126:19, 137:2,      11:3, 11:11,         277:19, 298:5,       believe
137:10, 138:7,      11:18, 15:18,        325:4, 325:5,        96:9, 97:15,
141:24, 143:9,      412:15               325:6, 325:12,       100:24, 116:19,
145:5, 170:9,       behaving             325:15, 325:16,      146:12, 156:17,
174:10, 175:12,     124:15, 130:22,      344:19, 370:16,      175:20, 177:25,
197:18, 219:22,     340:10               371:5, 419:18        179:10, 192:22,
235:21, 235:22,     behavior             being                193:3, 260:14,
236:2, 237:23,      125:5, 156:18,       22:6, 28:25,         273:1, 284:3,
247:4, 247:8,       157:1, 157:10,       37:23, 59:10,        287:3, 301:7,
252:2, 262:2,       157:22, 317:12,      62:20, 63:2,         301:11, 302:21,
278:6, 292:2,       367:8, 367:12,       63:3, 63:23,         303:1, 303:6,
292:5, 293:23,      377:25, 380:15,      76:7, 82:1,          304:8, 317:11,
298:5, 298:15,      380:17, 404:4,       83:12, 83:22,        318:6, 319:2,
299:16, 312:20,     404:6, 404:14,       88:6, 90:23,         339:8, 342:11,
385:10, 387:21,     404:15, 404:21,      94:15, 95:11,        344:6, 344:10,
389:6, 390:25,      405:3, 405:5,        119:9, 122:8,        366:15, 367:7,
399:20, 401:16,     405:9, 405:10        134:10, 144:21,      369:7, 381:25,
404:19, 405:6,      behind               175:15, 178:13,      388:24, 394:4,
408:12, 408:16,     45:18, 69:18,        185:24, 191:13,      394:8, 395:15,
409:5, 413:22,      73:21, 147:19,       191:14, 196:18,      396:2, 400:24,
414:7, 417:3,       149:24, 162:24,      196:21, 197:3,       403:15, 405:12,
417:13, 418:11,     163:17, 163:24,      197:9, 197:15,       407:12, 413:13,
423:9, 427:1,       163:25, 164:3,       198:4, 198:12,       414:6, 416:23,
434:25, 437:8,      164:8, 164:10,       211:18, 237:18,      417:7, 419:3,
438:19, 441:7,      164:15, 164:17,      275:13, 284:8,       419:4, 420:19,
444:5, 451:11,      165:2, 165:20,       284:12, 284:23,      422:16, 424:15,
451:20              165:21, 166:12,      284:25, 285:13,      429:15, 430:15,
beforehand          166:15, 166:21,      285:17, 285:19,      431:1, 432:15,
401:17              167:11, 170:13,      286:8, 286:24,       432:20, 438:5,
began               173:11, 202:11,      295:24, 295:25,      438:18, 440:23,
339:10, 403:9,      205:25, 215:22,      296:4, 316:8,        442:8, 442:19,
416:8, 425:25       216:7, 216:10,       317:8, 327:8,        443:16, 443:17,
begin               216:19, 216:22,      331:7, 346:12,       443:21, 444:5,
16:13               217:2, 217:4,        353:3, 375:16,       446:17, 446:22,
beginning           217:8, 217:10,       375:25, 376:2,       447:1, 447:3,
105:4, 159:6,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 126 of 196 - Page
                                 ID#: 2239 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         125
448:17, 449:18,     126:19, 146:7,       big                  209:19, 221:15,
451:4, 453:5,       233:21, 262:11,      34:18, 40:2,         230:1, 230:22,
454:21, 455:24,     273:24, 288:4,       178:11, 179:2,       238:21, 245:2,
460:1, 462:8        288:16, 288:19,      328:21               245:3, 246:8,
believed            334:11, 334:16,      bigger               247:9, 258:2,
459:16, 461:25      400:6, 400:7,        180:11, 275:8,       264:19, 274:21,
believes            425:13               275:12, 295:25,      297:1, 313:4,
23:1, 179:10        between              296:4                389:23, 404:25
below               41:10, 79:23,        biggest              bits
402:15, 403:2       92:10, 92:11,        93:11, 422:17        409:23, 410:11
ben                 99:4, 133:11,        bill                 black
444:11              137:24, 145:1,       74:25, 75:21,        47:10, 49:15,
benches             154:17, 161:4,       77:4, 77:14,         54:21, 55:10,
31:10               177:18, 208:20,      77:19                55:17, 57:24,
benefit             208:22, 212:13,      billy                60:4, 62:10,
221:4               213:7, 215:7,        56:17, 62:4,         62:17, 63:4,
bengals             218:6, 228:13,       62:9, 62:16,         63:13, 64:2,
27:6                229:1, 230:10,       65:1, 81:11          65:13, 67:12,
bennett             240:21, 241:12,      bind                 71:25, 72:3,
25:10, 40:14,       243:22, 244:24,      18:19                75:24, 77:25,
302:22, 306:4,      273:25, 329:25,      bingham              81:20, 84:1,
461:1, 461:13       336:6, 339:7,        5:22, 10:6           86:21, 91:18,
berate              339:11, 339:25,      bird                 91:23, 92:25,
49:22, 387:24       340:2, 367:18,       6:21, 11:6           116:17, 133:8,
berated             370:16, 371:4,       birth                139:24, 144:21,
91:9                389:25, 393:6,       17:23                144:23, 145:1,
besides             408:23, 411:15,      birthday             146:12, 169:5,
42:16, 247:13,      415:15               435:9, 435:11,       176:8, 176:9,
333:6, 419:15,      beyda                435:13, 435:14,      205:19, 207:23,
422:6, 430:2        8:4, 12:4            435:17               217:1, 222:20,
best                bhi                  bishop               223:10, 242:1,
25:4, 35:4,         86:1, 93:24,         36:17, 393:24,       244:14, 245:20,
52:3, 56:16,        94:8, 99:4,          394:1, 397:2,        246:18, 274:8,
70:18, 168:5,       105:10, 105:21,      398:12, 398:15,      323:22, 342:9,
214:4, 296:10,      110:14, 112:24,      402:19, 403:13,      342:18, 355:8,
324:6, 324:14,      113:2, 115:20,       404:11, 404:13,      373:17, 374:17,
328:13, 352:4,      116:3, 118:20,       404:20               374:21, 387:9,
353:11, 390:4,      119:2, 120:1,        bishop's             387:23, 398:22,
390:17, 394:4,      120:3, 126:15,       402:16, 403:3        399:4, 399:19,
432:19, 442:21,     145:5, 145:9,        bit                  411:15, 415:16,
443:17, 448:20,     146:16, 148:2,                            462:10
                                         40:9, 51:2,          blacks
449:19, 449:23,     151:10, 155:24,      71:4, 71:13,
450:2, 454:21,      373:16, 375:4,       78:10, 78:11,        76:6, 76:17
455:21, 456:13,     375:23               82:22, 106:16,       blah
457:10, 457:16      bhis                 106:17, 137:6,       81:18, 82:4
better              211:15, 211:17       160:16, 166:17,      blanking
41:16, 41:18,       bicycle              184:13, 205:25,      70:6
44:6, 121:6,        71:6                 206:10, 206:13,      block
                                                              263:24, 266:24,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 127 of 196 - Page
                                 ID#: 2240 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         126
267:5, 280:9        236:4, 238:4,        102:17, 102:18,      bryant
blocked             312:21, 331:25,      103:1, 190:15,       395:16
109:11, 230:6,      338:24, 339:5,       193:13, 195:4,       budget
264:1, 280:7,       339:7, 340:4,        199:17, 286:5,       39:2
284:9, 284:12,      340:6, 399:3,        287:16, 290:13,      build
284:23, 285:5,      399:9, 412:14,       294:6, 294:7,        71:23, 72:4,
285:14, 285:19,     423:14, 434:12,      331:18, 354:16,      72:18, 72:19,
285:23, 286:8,      434:18, 438:19,      359:11, 407:18,      327:1, 327:16,
286:25              455:12, 456:2        407:20, 407:23,      327:23, 381:15
blocking            bothered             415:15               building
263:15, 269:14,     51:1, 226:23         breakfast            38:12, 45:18,
276:5, 276:25,      bothering            408:23               437:16
277:2, 277:20,      334:11, 353:7        breaking             built
277:22, 278:7,      bottle               102:20, 239:17       431:10, 437:17
278:21, 280:8,      57:16, 57:23,        breath               bump
280:17, 284:16      58:3, 61:3,          340:22, 367:15       138:9
blow                61:6, 61:23,         bridge               bumped
296:13              62:11, 62:18,        333:20               137:5
blue                62:22, 62:24,        briefly              bumping
56:12, 61:6,        64:1, 64:6,          29:23                139:10, 218:25
70:15, 70:21,       106:22, 107:20,      bring                bunch
106:21, 117:17,     109:25, 110:4,       41:23                49:22, 50:6,
216:25, 244:14,     110:7, 112:1,        bringing             50:7, 96:9,
245:13, 371:8       112:2, 112:9,        399:6                97:24, 162:24,
boarded             112:22, 389:18       brings               167:20, 213:16,
392:5               bottom               23:6                 226:18, 458:15
bob                 181:25, 403:25       broad                burdensome
250:19              bought               6:15, 10:22          441:17
body                41:7, 41:21          broadcast            bus
295:17              boulevard            359:22, 408:10       37:16, 37:17,
boldery             9:22                 broke                37:20, 38:5,
290:21, 290:22      bound                37:16                38:11, 39:21,
boo                 183:11, 195:10,      brother              93:15, 177:22,
105:14, 105:15,     306:1, 307:24,       70:12, 387:5         177:25, 186:9,
105:16, 105:18      427:18               brother's            350:15, 390:1,
booing              bowing               70:13                390:20, 391:2,
105:21              140:13               brotherhood          391:24, 392:5,
book                box                  378:15               393:7, 455:14
24:19, 66:1,        53:15                brothers             busses
66:5                boys                 18:3, 378:14         36:20, 36:23,
books               60:23, 68:13,        brought              37:1, 38:10,
24:16               69:4, 119:25,        200:22, 385:10       39:10, 48:12,
boom                165:16               brown                92:23, 180:14,
53:15               brave                6:14, 10:21,         346:17, 346:21,
both                182:3, 183:18        69:22, 208:16,       353:19, 354:7,
155:7, 203:19,      braveheart           357:6, 357:7,        392:17, 450:21
214:16, 234:1,      34:3, 34:12          358:6                busy
235:17, 236:3,      break                browse               292:2
                    17:14, 98:21,        431:22



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 128 of 196 - Page
                                 ID#: 2241 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         127
buy                 calm                 270:17, 270:23,      299:12, 300:19,
41:15, 42:2         151:10, 151:11,      274:12, 419:2,       307:1, 310:8,
         C          151:16, 152:5,       419:5                310:13, 311:5,
c-r-i-m             189:17, 415:1        cammeron             312:15, 319:24,
370:20              calmer               69:19, 205:14,       320:14, 321:5,
cabin               152:8                205:15, 231:14,      324:12, 324:14,
66:2                came                 231:24, 232:12,      327:2, 331:14,
cahill              41:24, 42:3,         237:4, 237:6,        331:23, 342:7,
                    47:9, 135:16,        238:2, 265:22,       342:16, 353:17,
302:25, 306:10,                                               365:15, 365:24,
307:3, 307:4        144:16, 149:22,      265:23, 265:24,
                    158:5, 159:16,       386:4, 388:17        368:17, 368:23,
california                                                    368:25, 370:3,
365:15              159:23, 160:1,       campaign
                    169:15, 169:16,      20:20, 50:1,         370:18, 370:22,
call                                     294:5, 360:3,        371:9, 382:5,
16:20, 28:3,        170:17, 170:20,
                    184:5, 236:25,       361:1, 361:16,       383:11, 385:17,
30:3, 33:17,                             362:6                387:20, 394:15,
58:18, 88:1,        264:19, 265:9,
                    265:14, 271:14,      campuses             397:20, 398:4,
96:21, 99:17,                                                 400:18, 413:4,
99:19, 153:4,       292:24, 299:1,       178:22, 178:25,
                    304:21, 306:23,      179:12               414:2, 418:1,
187:14, 225:21,                                               426:5, 431:11,
248:9, 252:18,      325:22, 330:13,      can't
                    343:10, 346:20,      20:23, 33:6,         441:13, 442:15,
341:5, 343:17,                                                445:2, 449:1
365:9, 367:1,       347:10, 353:19,      37:14, 40:14,
                    383:25, 390:5,       50:3, 53:20,         cancellation
367:5, 396:25,                                                382:21
425:2, 425:5,       391:3, 410:19,       55:18, 56:25,
                    412:2, 413:13,       57:3, 57:5,          cannot
431:16                                                        56:4, 84:15,
called              419:6, 424:11,       57:17, 61:12,
                    452:6                65:3, 65:17,         187:9, 187:15,
27:19, 28:21,       camera                                    286:9, 324:6,
32:14, 33:9,                             65:20, 67:9,
                    86:15, 86:19,        71:10, 73:7,         381:7, 385:14,
34:2, 49:15,                                                  406:10, 442:12,
50:5, 52:1,         99:15, 135:15,       83:24, 84:20,
                    163:22, 167:1,       87:10, 87:12,        451:7, 456:6,
58:17, 79:12,                                                 456:22, 463:7
81:24, 81:25,       201:25, 208:6,       102:25, 106:24,
                    213:8, 213:19,       107:24, 107:25,      cap
112:15, 145:10,                                               272:9, 272:11,
224:20, 225:11,     215:8, 230:6,        122:10, 122:12,
                    240:22, 241:13,      122:19, 123:8,       272:12, 347:18,
316:7, 325:20,                                                356:6, 368:3,
341:10, 447:18,     243:22, 272:15,      136:8, 146:18,
                    272:19, 273:5,       150:25, 186:7,       368:9, 368:14,
450:4, 452:7                                                  398:23
calling             274:4, 274:5,        186:11, 194:12,
                    274:7, 317:9,        194:14, 201:5,       capitalize
37:17, 65:14,       321:25, 342:9,       203:3, 207:12,       146:25
79:5, 82:6,         351:9, 366:17,       207:15, 207:16,      capitol
82:8, 82:14,        368:19, 375:21,      220:8, 227:15,
145:7, 169:5,                                                 45:18, 46:21,
                    385:18, 419:8        243:1, 243:2,        88:17, 219:24
176:8, 176:9,       cameraman            243:18, 253:8,
235:9, 332:9,                                                 capture
                    200:8, 200:13,       253:19, 255:21,      273:25, 274:7,
338:22, 411:11,                          267:1, 273:4,
413:14              200:16, 200:20,                           317:10, 450:1
                    201:6, 201:23        275:1, 275:6,        captured
calls               cameras              288:3, 297:2,
54:5                                                          106:5, 272:15,
                    166:23, 269:24,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 129 of 196 - Page
                                 ID#: 2242 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         128
333:25, 368:18,     catcher              14:8, 15:12,         change
368:21, 444:21      342:19               15:23, 104:6,        145:23, 303:5
care                catching             249:5, 250:18,       changed
463:4               331:8                345:6, 465:7         179:24, 292:12
career              cath                 cch                  changes
21:18               26:15, 32:11,        291:4                359:2
carefully           34:9, 37:11,         celebrate            chant
367:21              39:9, 84:2,          26:19                95:6, 96:22,
caring              84:12, 84:13,        celebrating          127:14, 132:10,
292:23              84:18, 90:14,        352:4, 352:6,        153:4, 153:11,
carrying            90:19, 117:18,       352:9, 352:10,       171:24, 381:15
355:11              123:21, 253:25,      352:14               chanted
carter              290:24, 323:11,      center               270:8
44:20, 45:3,        328:13, 328:17,      7:16, 9:22,          chanting
422:18, 423:16      329:4, 332:3,        11:23, 286:13,       101:20, 115:17,
carts               344:18, 358:6,       362:12               150:20, 416:12
21:3                382:7, 384:8,        centimeters          chants
case                384:14, 399:25,      169:18               27:25, 88:10,
1:10, 1:20,         418:17, 432:3,       certain              89:11, 94:3,
1:33, 2:6, 2:16,    450:17               28:19, 86:24,        94:20, 94:25,
2:31, 14:4,         catholic             87:8, 87:10,         142:4, 176:18,
14:7, 14:9,         18:14, 19:2,         146:18, 157:4,       316:5, 321:8
14:11, 14:14,       22:21, 25:15,        327:7, 327:10,       chaperone
14:16, 14:17,       36:14, 119:19,       389:7, 401:17,       88:21, 450:14,
78:3, 103:18,       174:11, 270:7,       443:23, 445:7        450:16
249:1, 249:4,       270:8, 328:22,       certainly            chaperones
249:6, 249:8,       329:5, 372:19,       59:11, 86:17,        48:18, 88:3,
249:11, 249:13,     384:17, 406:12       91:5, 126:11,        89:8, 90:1,
259:16, 344:17,     catholics            154:24, 167:10,      121:4, 391:7
367:16, 420:23,     67:19                187:22, 190:22,      chapters
422:1, 422:9,       caught               217:25, 277:16,      178:21
433:17, 434:9,      331:21, 331:24,      283:21               characterization
434:20, 435:1,      331:25               certificate          287:4
436:11, 438:4,      cause                466:1                charge
439:9, 444:4,       309:2                certify              425:22
449:10, 450:7,      causes               466:5                charlie
451:18, 452:1,      366:2                cetera               59:7, 59:8,
452:12, 453:1,      causing              258:21               61:4, 61:5,
456:21, 457:9,      148:5                chain                62:20, 63:15,
457:14, 466:13      caveman              417:17               64:1, 70:17,
cases               129:5                chamber              108:16, 108:18,
249:14              cavemen              7:16, 11:23          109:16, 110:11,
cast                130:22               chance               110:16, 111:20,
34:12               cbs                  90:6, 94:15,         112:3, 112:16,
cataloging          1:36, 5:19,          219:9, 221:5,        178:18, 179:16,
20:8                5:20, 6:3, 6:4,      224:12, 234:5,       179:22, 180:7,
catch               10:3, 10:4,          323:10, 382:6,       180:10, 319:2,
37:21, 72:20        10:10, 10:11,        389:5, 448:20        319:5, 319:14,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 130 of 196 - Page
                                 ID#: 2243 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         129
319:16, 360:21,     29:20, 88:1,         cite                 224:14, 237:21,
360:23, 360:24,     90:22, 95:14,        413:4                238:13, 238:15,
386:5, 386:6,       95:21, 96:3,         citizens             261:16, 262:9,
423:23, 444:11,     96:4, 96:8,          23:4, 77:16          273:24, 276:7,
444:15              119:15, 119:20,      civil                299:4, 318:12,
charlie's           121:5, 260:3         423:3, 423:13,       324:22, 357:13,
386:22              chemistry            423:15               357:20, 365:16,
chase               90:16                claim                388:3, 405:7,
242:7, 242:8        chicago              75:23, 129:22,       430:5, 445:15
chat                6:9, 10:16           149:5, 264:1,        cleared
442:19              chief                271:12, 411:9,       262:4
chats               155:3                414:24               clearer
447:4               child                claimed              202:21, 352:17
chatting            188:24               81:17, 211:20,       clearly
389:24, 390:18      childish             417:14               63:14, 218:8,
cheap               188:22, 188:25       claiming             319:9, 339:14,
432:10              choice               236:18, 318:2        398:21, 443:24
check               287:8, 295:17        claims               clench
253:3, 431:23,      choose               142:13, 148:18,      29:11
457:19, 460:5,      120:8, 277:7         401:15, 410:23,      clenched
460:7, 462:1        chop                 411:14, 411:17,      102:2, 118:21,
checked             153:12, 209:22,      415:14, 415:17,      118:24, 120:2,
46:15, 290:2        210:8, 210:11,       417:4                120:12
checkered           210:21, 210:25,      clark                clenching
335:23, 335:24,     212:7, 212:17        306:8, 308:4,        102:6
337:24              chose                308:11, 308:15,      cliff
checking            91:12, 110:3,        370:23, 428:1,       361:21
262:9               385:18               428:22               climate
cheer               chris                class                423:4, 424:7
27:19, 27:20,       307:4                23:23, 25:21,        clinton
28:5, 28:21,        christians           28:16, 141:22,       45:6, 74:25,
28:25, 29:3,        400:7                388:24               75:22, 76:18,
31:2, 32:24,        christmas            classes              77:5, 77:14,
33:8, 95:6,         435:10, 435:11,      23:7, 23:22,         77:19
97:17, 105:12,      435:13, 435:16       23:25, 24:25,        clip
110:9, 111:16,      chunk                141:23               55:2, 56:15,
118:6, 118:19,      184:17               classmates           98:7, 280:19,
119:6, 121:12,      church               49:23                308:7, 308:12,
123:7, 134:2,       32:9, 38:3,          clean                335:12, 407:16,
134:8, 151:23,      40:22, 393:25        405:25               409:11
152:9, 154:5,       church's             cleaned              clips
154:17, 154:19,     404:18               21:3                 89:4, 200:4
321:10, 329:1       cincinnati           clear                close
cheering            27:5, 270:6          17:6, 63:12,         57:5, 117:15,
26:7, 26:16,        circle               69:12, 89:2,         137:11, 137:18,
31:19, 316:7        47:20, 351:25        95:10, 188:3,        137:20, 138:18,
cheers              circulating          191:11, 194:16,      174:13, 174:15,
27:15, 29:18,       29:18                223:21, 224:11,      184:7, 193:1,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 131 of 196 - Page
                                 ID#: 2244 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         130
254:12, 297:14,     combination          382:12, 382:16,      communications
340:20, 348:17,     185:4                406:16, 407:4        178:2, 425:11,
349:1, 349:2,       combined             commentators         442:9
354:15, 450:23      433:5                198:7, 360:13        community
closely             come                 commenting           91:11, 142:23
262:5, 397:1        28:1, 31:23,         381:5                companion
closer              37:18, 49:14,        comments             200:7, 203:8,
46:16, 52:14,       80:24, 87:25,        93:24, 406:23        203:14, 203:19,
92:7, 126:15,       89:12, 89:14,        commission           223:17, 223:24,
126:17, 147:13,     93:15, 96:11,        466:18               224:20, 224:21,
147:14, 147:18,     97:21, 121:17,       commit               224:23, 225:8,
165:22, 174:14,     138:18, 162:1,       456:24               225:11, 225:21,
258:20, 453:25      175:18, 179:11,      committing           232:18, 337:24,
closest             190:23, 197:17,      456:9                338:3
69:11, 92:22,       248:10, 263:25,      common               companions
442:7, 442:9        273:22, 298:14,      31:10, 95:18,        201:3, 344:21,
clothes             299:6, 299:8,        95:22, 329:7,        345:1
123:22              299:9, 334:15,       339:7, 339:25        company
coach               342:21, 346:12,      commonly             1:23, 5:12,
391:9               359:25, 360:18,      95:8, 360:10         7:12, 9:12,
coat                369:22, 381:1,       communicate          11:19, 14:6,
56:12               385:21, 390:17,      62:5, 62:10,         14:13, 15:14,
code                392:1, 423:5         62:17, 112:24,       15:18, 15:20,
257:23              comes                143:10, 295:4,       16:17, 179:10,
coin                26:5, 26:10,         298:21, 298:22,      249:3, 249:10,
235:24              109:19, 144:2,       336:24, 396:6,       250:7, 252:7
collage             306:3                425:18, 432:13,      compared
29:19               comfort              433:25, 438:9,       52:4, 52:5,
collecting          313:20               441:25, 442:7,       151:22, 271:1
437:7               comfortable          444:8, 446:9,        compartmentalize
collectively        112:19, 115:20,      447:2, 447:11,       160:1
170:2, 170:5,       115:22, 293:23       447:20, 448:21,      compelling
172:13, 173:7,      coming               449:6                194:15
174:2, 181:2        32:5, 38:4,          communicated         complaint
college             94:1, 125:24,        175:15, 361:17,      54:5, 103:11,
20:16, 153:1,       126:8, 133:7,        414:13, 425:6,       104:6, 104:22,
153:5, 178:22,      136:20, 136:25,      425:14, 438:10,      344:16, 345:5
178:25, 451:21      144:25, 145:10,      455:22, 456:20,      complete
colonel             145:13, 147:18,      457:8, 457:13        38:24, 298:4,
26:2, 34:1,         224:8, 309:24,       communicating        404:22
384:16              310:9, 327:14,       330:20, 330:23,      completely
color               332:14, 353:24,      331:1, 359:8,        26:19, 33:6,
102:22, 384:14      362:8, 413:17,       454:17               201:14, 210:10,
columbus            450:19               communication        259:15, 274:20,
6:16, 10:23         command              187:6, 187:12,       274:25, 385:15
com                 393:21               195:13, 329:25,      compound
433:5               comment              331:3, 336:6,        268:24
combat              198:18, 315:1,       344:11, 348:3        compounded
178:25                                                        267:2



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 132 of 196 - Page
                                 ID#: 2245 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         131
computer            confidential         440:19               contend
431:9, 431:10,      1:4, 13:10,          connections          266:6, 266:15,
437:15, 437:17      182:8, 182:20,       424:3                266:20, 267:3,
computers           182:21, 183:8,       consequences         267:8, 269:7,
437:16              183:11, 187:16,      396:21, 396:24       284:11, 341:21,
con                 187:21, 190:21,      conservative         343:7, 369:8
391:5               191:13, 191:14,      22:23, 23:1,         contending
concern             192:2, 192:5,        42:17, 43:15,        171:11
93:11               192:6, 195:6,        44:12, 178:7,        content
concerned           195:10, 199:18,      178:23, 179:1        270:25, 410:22,
114:22, 137:10,     281:15, 281:16,      consider             448:14
138:7, 139:9,       282:18, 306:1,       22:22, 25:4,         contention
147:9, 148:3,       307:6, 307:11,       41:22, 103:13,       170:13, 170:16,
148:17, 148:21,     307:17, 307:21,      103:17, 154:11,      211:16, 236:7,
149:2, 149:5,       307:24, 309:14,      210:8, 210:18,       268:12, 273:16
149:16, 149:19,     427:13, 427:18,      210:23, 286:21,      context
150:4, 150:10,      463:17               429:2                68:19, 96:20,
382:17              confirm              considered           112:19, 112:25,
concerning          146:10, 181:15,      154:11, 194:22       116:22, 119:21,
425:20              364:14, 379:7        consistent           120:13, 154:17,
concerns            confounds            43:18, 44:11,        187:12, 280:17,
383:7               259:15               282:19, 411:12       316:3, 380:10,
conclude            confrontation        consists             382:25, 402:11
465:8               114:23, 276:8,       290:14               continuation
concludes           450:20               conspiracy           248:21
187:16, 199:18,     confronted           273:25, 344:4        continue
307:6, 309:14,      154:19, 417:18       conspired            18:15, 45:2,
463:17, 464:5       confused             344:4, 344:7         73:8, 238:23,
conclusion          79:19, 141:7,        constantly           252:10, 278:5,
158:5, 340:9        165:7, 171:9,        411:4                377:19, 380:4,
condemnation        316:13, 353:6        contact              426:2
382:22              confusing            32:4, 135:17,        continued
condition           75:19, 261:12        137:1, 169:16,       261:14, 276:17
281:14              congregating         262:23, 263:3,       continues
conditions          47:16                263:13, 264:6,       73:4
237:20              congress             265:8, 265:13,       continuing
conduct             198:18               266:8, 266:21,       57:10, 101:18,
120:14, 387:15,     congressman          267:11, 267:15,      108:22, 125:13,
419:12, 434:13      88:10, 88:14         269:9                126:3, 213:12,
conducted           connect              contacted            221:17, 222:1,
3:2, 4:2,           444:10               360:1, 360:7,        245:6, 248:24,
408:18              connected            360:17               277:23, 316:16,
conducting          25:22, 130:14,       contain              319:17, 345:17,
338:5               360:25, 362:4,       414:11, 442:18       385:3
conference          424:18, 429:9        contained            continuous
15:1, 249:23        connection           370:2, 435:19,       181:12
confident           125:21, 422:12,      435:20, 444:25       contradicts
41:19, 177:1        438:4, 439:8,        contains             411:4, 411:19
                                         1:4



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 133 of 196 - Page
                                 ID#: 2246 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         132
contributing        correct              461:2, 462:9,        407:1
156:8               26:4, 45:14,         463:13, 466:6        counted
control             55:21, 61:7,         correcting           346:24
197:16              67:14, 69:1,         375:19               counter
controversial       69:2, 78:2,          correction           90:22, 94:12
211:7               79:7, 79:9,          355:25, 402:21       country
controversy         91:3, 92:21,         correctly            43:5, 44:2,
81:1                98:24, 100:22,       39:2, 66:24,         87:20, 178:22,
convenient          110:1, 133:15,       267:3, 360:20,       185:15, 396:13,
59:16               158:18, 161:6,       460:19               410:24, 417:15,
convention          162:14, 163:18,      corresponding        429:20
359:23, 362:12      167:25, 168:20,      280:13               country's
conversate          177:21, 193:24,      corroborated         43:24
446:15              195:17, 195:19,      413:24               county
conversation        196:25, 199:1,       cost                 466:25
177:17, 293:5,      205:22, 206:4,       221:4                couple
331:11, 333:1,      206:5, 217:16,       costello             29:22, 37:22,
333:7, 333:10,      217:17, 228:11,      8:8                  38:20, 39:15,
334:8, 334:14,      228:14, 230:11,      couldn't             82:20, 88:3,
391:15, 425:19,     231:2, 231:15,       46:5, 52:7,          90:21, 106:2,
440:11, 456:11      237:17, 238:17,      87:3, 105:23,        106:7, 117:7,
conversations       238:19, 240:23,      114:5, 114:17,       148:1, 169:18,
391:6, 425:20,      243:23, 244:9,       147:8, 152:7,        179:16, 179:17,
441:11, 443:11,     245:1, 258:6,        199:3, 211:18,       190:14, 190:23,
443:21, 451:5       258:8, 258:22,       213:21, 269:13,      214:1, 220:17,
convinced           259:24, 263:4,       276:13, 278:5,       221:21, 223:19,
173:19, 429:19      264:21, 282:15,      279:22, 284:12,      229:10, 232:15,
cool                283:7, 287:21,       285:19, 286:14,      232:22, 232:25,
36:3                287:22, 290:6,       313:17, 313:23,      253:7, 259:4,
coordinated         290:11, 292:8,       316:6, 436:15        260:24, 264:8,
                    295:2, 296:2,        counsel              291:18, 302:3,
36:15               297:23, 312:5,
coordination                             15:2, 16:15,         322:7, 352:18,
                    315:5, 316:23,       159:4, 167:17,       354:8, 356:3,
36:13               325:18, 337:18,
copied                                   167:20, 187:2,       356:8, 361:18,
                    341:4, 347:4,        201:22, 248:14,      362:10, 387:8,
179:23              347:11, 355:12,
copies                                   249:24, 252:5,       389:14, 395:14,
                    358:15, 359:24,      268:6, 308:2,        395:19, 409:19,
363:21, 463:22      365:8, 368:11,
copy                                     341:7, 419:23,       440:7, 442:6
                    369:10, 369:17,      419:24, 421:21,      course
61:16, 450:3,       381:17, 389:5,
464:6, 464:9,                            426:6, 437:4,        20:2, 21:2,
                    392:19, 395:10,      445:5, 456:18,       121:1, 138:8,
464:11, 464:19,     396:18, 397:18,
464:25, 465:3,                           464:6, 464:21,       167:19, 177:9,
                    405:24, 412:5,       466:11               268:23, 305:10,
465:5, 465:7,       412:12, 417:2,
465:14                                   counsel's            317:5, 327:9,
                    422:10, 427:23,      20:1, 20:6,          330:12
corner              430:18, 433:4,
52:7                                     159:17, 412:7        court
                    433:23, 435:7,       count                1:1, 14:18,
corporation         437:24, 450:10,
6:12, 10:19                              48:19, 216:25,       16:5, 17:10,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 134 of 196 - Page
                                 ID#: 2247 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         133
29:5, 172:18,       54:14, 56:21,        crowd                304:17
183:7, 249:15,      60:25, 69:1,         28:12, 45:24,        current
250:24, 453:10,     71:9, 119:19,        83:9, 83:13,         129:22, 219:8,
457:20, 458:7       119:22, 123:16,      86:13, 86:16,        420:25, 436:11,
courtroom           125:5, 140:5,        87:10, 148:24,       438:17
22:6                185:20, 186:3,       169:6, 169:13,       currently
cousin              186:15, 205:5,       169:20, 169:24,      18:8, 23:8,
195:21              249:16, 260:16,      170:4, 172:13,       298:16, 437:14,
cov                 328:22, 372:21,      184:17, 220:16,      462:15
26:15, 32:10,       384:16, 388:22,      227:19, 252:13,      curriculum
32:11, 34:9,        406:12               284:9, 284:16,       23:17, 23:18
37:11, 39:9,        cracker              284:23, 285:20,      cursor
84:2, 84:12,        60:5                 285:23, 286:8,       78:15, 160:21,
84:13, 84:18,       crackers             286:25, 309:24,      160:23, 165:12,
90:13, 90:19,       60:5, 79:12,         326:10, 327:13,      202:1, 204:12,
117:17, 123:21,     81:24                327:14, 331:7,       227:13, 227:14,
253:25, 290:24,     craft                344:18, 375:5,       228:6, 302:17,
323:11, 328:13,     317:16               385:11, 385:19,      341:25, 357:19
328:17, 329:4,      crafting             388:5, 455:1         cut
332:3, 344:18,      318:3                crowded              256:20, 277:3,
358:6, 382:7,       craig                137:25               277:23, 284:21,
384:8, 384:14,      9:20, 250:19         crowds               313:4
399:24, 418:17,     crazies              148:22, 149:20       cuts
432:3, 450:17       26:3                 cry                  162:11, 162:21,
cover               create               33:9, 33:19,         325:2
368:12              237:13, 238:5        33:20, 33:23,        cv--wob-cjs
coverage            created              34:1, 96:21,         1:11, 1:21,
410:3, 418:12,      33:1                 134:1                1:34, 14:5,
424:24              credibility          culture              14:7, 14:10,
covered             417:25, 421:5        23:22, 23:24,        249:2, 249:4,
23:9, 23:19,        creepy               24:18, 52:1,         249:7
219:23, 220:14,     192:18, 192:23       80:4, 141:20,        cynical
310:11, 446:6,      crew                 142:9, 142:20,       288:21, 429:18
446:7, 446:24,      317:10               194:22, 211:10,               D
446:25, 449:13      crimson              424:8, 428:16,       dad
covering            370:21               428:24, 429:1,
                                         429:9                21:11, 144:3,
163:22              crisis                                    144:15, 151:10,
covers              44:25                cultures
                                                              151:12, 395:8,
197:17, 422:3       criticism            381:11, 401:8,       395:12, 402:3,
covington           77:18                406:14               402:24, 403:1,
1:3, 9:24,          criticizing          cup                  403:12, 404:11,
14:19, 18:14,       77:10, 77:13         322:7                404:12, 404:13,
19:2, 19:6,         crossed              cupping              405:2
25:15, 26:1,        223:11, 445:8        240:7, 322:20        damages
26:13, 27:16,       crosses              cups                 421:5
29:20, 31:2,        222:20               323:3                dame
31:18, 36:20,       crossing             curious              34:10, 36:9,
49:8, 51:8,         267:25               22:12, 97:5,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 135 of 196 - Page
                                 ID#: 2248 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         134
36:10, 54:18,       95:13, 106:6,        dealing              250:21, 252:5,
153:14, 181:23,     168:18, 186:19,      76:15, 94:5,         465:7
233:24, 242:2       186:21, 186:25,      182:20, 381:4,       defending
damn                197:5, 248:9,        424:6                455:6
72:19               248:23, 259:20,      dealt                defense
dan                 306:21, 353:20,      121:10               35:6, 384:8,
402:14, 403:2       382:8, 384:9,        debate               384:13
dance               408:16, 408:21,      367:17, 380:21,      define
32:14, 32:19        408:24, 409:1,       416:3                426:5
danced              409:2, 429:4,        debating             defining
141:10              429:10, 429:17,      377:10, 416:5        296:14
dancing             430:11, 430:15,      decide               definite
47:20, 379:22       430:16, 430:17,      121:1, 440:14        243:18
danger              430:19, 430:20,      decided              definitely
380:25              430:21, 438:21,      35:24, 40:1,         22:20, 23:19,
dangerous           452:5, 455:12,       40:3, 41:12,         33:14, 100:10,
102:12, 235:24,     466:17               100:6, 185:1,        203:10, 218:4,
235:25              day-long             198:19, 415:25       331:16, 365:25,
daniel              399:25               deciding             453:3, 455:11
8:7, 12:7           daylight             41:10, 176:10,       definition
dark                14:22, 249:19        189:1                280:17, 296:10
429:18              dayron               decision             defrank
darren              386:16               93:22, 193:22,       5:6, 9:6
7:14, 11:21,        days                 203:5, 221:9,        degrees
15:13, 250:5,       29:16, 90:21,        233:22, 380:10       109:12
464:22              406:25, 409:19       declared             delete
darts               daytime              18:15                440:7, 441:10,
419:9               409:8                decline              447:25, 448:8
data                dba                  44:19, 45:2          deleted
77:8, 435:20,       14:6, 249:3          deep                 289:14, 289:16,
435:23, 436:5,      dc                   216:22               290:8, 432:4,
436:23, 437:3,      5:17, 9:17,          deeply               432:23, 439:20,
437:7               36:2, 36:17,         175:20               439:24, 440:5,
date                38:1, 38:7,          defend               440:12, 442:11,
14:20, 17:23,       40:4, 46:23,         384:22               443:13, 443:18,
249:17, 292:14      48:1, 52:3,          defendant            443:19, 445:17,
dating              119:16, 125:20,      1:14, 1:25,          447:24, 448:7
447:22              175:19, 203:25,      6:11, 10:18,         deletes
dave                270:21, 361:3,       250:19               446:21
168:2               361:9, 362:5,        defendants           deleting
david               365:17, 391:11,      1:37, 2:10,          289:13
361:24              392:9, 392:12,       2:23, 2:35,          deliberately
davis               406:7, 430:6         5:10, 5:19, 6:3,     278:5
5:15, 9:15,         dead                 6:18, 7:3, 7:11,     delivered
250:3               306:20, 436:2        9:10, 10:3,          359:21
day                 deal                 10:10, 11:3,         demeaningly
34:19, 40:23,       424:8, 425:24,       11:11, 11:18,        417:5
46:1, 50:19,        429:22               16:15, 250:18,       democrats
                                                              75:4, 77:12,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 136 of 196 - Page
                                 ID#: 2249 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         135
77:13               178:4, 332:25,       79:12, 106:7,        102:8, 118:20,
demographics        334:20, 335:9,       110:23, 116:22,      161:21, 164:13,
178:9               335:11               116:25, 146:14,      164:22, 193:7,
demonstrates        description          147:5, 206:18,       214:6, 279:12,
273:24              287:6                208:6, 212:20,       280:11, 284:19,
demonstration       designated           214:6, 236:8,        325:16, 424:9,
346:11              28:9, 183:10,        340:10, 356:7,       466:9
dentons             195:9, 305:25,       362:13, 363:21,      directly
5:22, 6:6,          307:23, 427:17       366:2, 378:5,        154:19, 169:16,
10:6, 10:13         designation          385:15, 398:24,      195:16, 217:10,
depends             66:14                401:8, 411:16,       220:13, 226:12,
154:22, 207:20      desktop              415:16, 415:19,      414:4, 414:13,
depict              431:16               451:15, 453:24,      425:7
147:21, 147:24      determined           454:3, 460:2         dirt
depos               269:24               differently          219:25
8:8, 12:8,          detroit              119:20, 460:3        disagree
14:24, 16:7,        190:1, 190:7,        difficult            58:22, 75:6,
249:21, 251:1       365:12, 365:17       86:14                75:9, 75:13,
deposition          developed            diffuse              77:7, 101:21,
3:1, 4:1, 14:2,     100:10               415:24               113:14, 113:18,
14:24, 16:22,       device               digital              158:6, 189:4,
22:8, 132:11,       431:20, 432:1,       274:11               189:8, 194:18,
182:10, 182:20,     432:13, 437:12       dignity              195:1, 197:13,
182:25, 191:12,     devices              404:18               255:4, 255:8,
191:14, 248:22,     431:5, 431:14,       dinner               255:10, 399:16,
248:24, 249:22,     438:15               392:15               421:4
281:16, 282:17,     dianna               diocese              disagreed
422:12, 452:3,      1:42, 4:9,           36:16, 37:24,        399:18
464:5, 466:4        16:6, 250:25,        393:13, 393:20,      disagrees
depression          465:1, 466:3         396:4, 396:7,        131:3
281:19              dick                 396:11, 396:20,      disbelieve
derogatory          301:8, 301:20,       404:16, 425:24       417:9, 417:11
68:22, 82:12,       306:10, 308:9,       direct               discarded
378:15, 387:17,     339:21               177:17, 191:17,      432:12
387:22              die                  195:14, 439:11,      discharged
describe            46:12, 426:4,        442:3, 443:4,        410:21, 412:21,
37:9, 52:3,         426:5                443:7, 443:14,       412:25, 413:2,
60:15, 201:3,       died                 443:18, 443:20,      413:10, 413:20
265:12, 363:12,     46:14, 391:21        444:2, 444:8,        disclosures
368:20              dies                 444:9, 444:13        450:5
described           392:1                directed             discovered
96:25, 134:7,       difference           50:9, 65:16,         413:21
223:18, 333:3,      151:25, 154:16,      65:18, 135:19,       discovery
335:18, 387:12      166:16, 212:13,      298:7, 305:4         379:20, 434:9,
describes           237:18, 367:18       directing            438:4, 439:9,
367:8, 416:24       different            27:24, 136:16        440:20, 444:6,
describing          28:15, 29:19,        direction            444:20, 449:9
80:12, 161:15,      36:23, 67:13,        101:23, 102:6,       discuss
                                                              398:16, 398:20,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 137 of 196 - Page
                                 ID#: 2250 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         136
399:11, 400:2,      255:24, 256:6,       118:9, 119:2,        down
452:8               256:9, 257:15,       124:7, 132:3,        17:11, 28:13,
discussed           271:12, 297:8,       133:24, 136:6,       31:13, 31:14,
132:10, 417:24,     305:9, 321:2,        138:8, 141:12,       34:9, 37:16,
442:12, 452:2,      420:9                141:19, 147:17,      47:9, 69:15,
455:12              distance             151:23, 152:9,       89:17, 105:13,
discusses           92:11, 114:3,        153:21, 154:17,      105:17, 120:1,
281:14              203:18, 204:3        154:19, 155:5,       120:12, 132:19,
discussing          district             155:8, 156:4,        140:13, 140:14,
125:11, 238:22,     1:1, 1:2,            179:6, 185:3,        151:11, 151:17,
353:10, 356:1       14:18, 88:11,        185:15, 189:14,      152:5, 168:10,
discussion          249:15               206:2, 209:22,       174:11, 176:20,
361:2, 454:10,      dived                209:24, 210:1,       191:21, 205:20,
454:19, 465:10      412:17               210:8, 210:20,       206:3, 207:1,
disgusting          division             212:7, 226:24,       207:5, 218:24,
387:11              1:3, 14:19,          261:7, 261:21,       219:11, 219:15,
dishonest           249:16               316:9, 316:12,       219:19, 219:20,
59:10, 138:21,      dm                   318:5, 318:7,        229:14, 229:21,
158:2, 158:4        177:3, 440:10,       322:23, 329:13,      229:22, 246:5,
dishonestly         440:19               340:7, 352:3,        247:14, 260:2,
452:17, 452:19      dmed                 360:5, 365:22,       286:6, 287:7,
dishonorably        439:15, 440:11       374:12, 411:20,      331:18, 343:3,
410:21, 412:21,     dms                  415:20, 416:3,       351:11, 377:10,
412:25, 413:2,      444:15, 444:23,      416:5, 428:10,       390:17, 398:3,
413:10, 413:20      445:3, 445:6         428:18, 452:3        403:22, 404:24,
dislike             doc                  donahue              406:9, 414:25,
194:14              393:11, 397:20,      242:7, 242:8         426:4, 426:5
disney              398:1, 398:9         donald               dozens
5:11, 9:11,         doctor               49:25, 123:14,       99:8, 99:21
16:17, 252:7        284:24, 285:5,       123:15, 124:18       draft
disparaging         285:6, 286:7,        done                 363:21, 363:23,
340:14, 340:17,     286:24               24:4, 27:22,         395:4
340:19              doctors              32:21, 33:12,        drafted
dispensed           286:10               33:15, 40:5,         395:25, 430:16,
86:16               document             80:14, 88:13,        430:20, 430:22
display             182:8, 190:25,       88:16, 95:7,         drafting
387:8, 439:14       191:4, 307:16        124:13, 142:16,      405:16
dispute             documents            142:24, 153:11,      drafts
                    454:15               177:11, 185:15,      363:8, 395:1,
157:5                                    218:20, 218:21,
disrespect          doing                                     395:6
                    20:9, 22:2,          275:16, 275:17,      drag
404:8                                    290:9, 394:5,
disrespectful       47:17, 50:25,                             379:18
                    63:7, 63:9,          399:1, 405:17,       draw
154:4, 154:11,                           409:22, 410:3,
154:12, 155:16,     64:3, 94:7,                               160:2
                    94:19, 96:7,         441:1, 447:9,        draws
210:9, 210:12,                           460:3, 463:19
210:19, 210:24,     96:10, 97:20,                             22:4
                    97:24, 110:17,       double               dream
211:3, 211:12,                           253:3
254:22, 255:5,      112:14, 116:7,                            342:19




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 138 of 196 - Page
                                 ID#: 2251 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         137
dressed             duress               450:11               edit
83:25               260:20               ear                  351:11
drive               during               331:22, 331:24       edited
5:7, 6:7, 7:16,     20:19, 28:25,        earlier              363:25
9:7, 10:14,         34:6, 43:3,          42:16, 50:19,        edu
11:23               44:20, 55:1,         82:11, 119:8,        433:22, 434:9,
driver              76:18, 134:8,        133:2, 185:20,       434:13
37:17               298:8, 298:23,       185:25, 200:5,       educate
driving             299:10, 327:19,      207:24, 211:14,      400:13
20:14, 37:13,       410:25, 412:7,       224:3, 261:25,       educated
42:15               417:15, 440:25,      273:6, 288:25,       68:20, 267:19
dropped             444:6, 444:19,       297:1, 306:20,       effect
34:8                451:6                309:8, 309:12,       415:3, 416:19
drown               dying                319:3, 335:8,        effective
88:5, 89:1,         308:10, 308:16,      340:3, 344:1,        295:16
91:2, 91:4          308:19, 438:21       354:22, 355:2,       effectively
drowning            dynamic              356:24, 357:14,      26:17
93:24, 94:12        145:1                365:10, 366:14,      effort
drum                         E           368:22, 384:9,       43:7, 278:15,
141:16, 141:19,     e-mail               386:25, 418:13,      396:12, 459:24
142:1, 142:8,       259:20, 260:14,      418:23               eight
150:22, 169:16,     260:20, 295:22,      early                407:2
169:17, 171:23,     393:12, 394:3,       38:2, 289:6,         eighth
180:17, 182:5,      394:13, 394:24,      313:4, 354:17,       19:19, 448:3
183:19, 184:5,      395:8, 395:11,       408:22, 430:7        either
184:7, 200:8,       395:12, 395:13,      earrings             67:15, 91:7,
201:4, 201:12,      397:7, 402:2,        342:19               156:9, 157:13,
201:16, 203:8,      402:3, 402:11,       earshot              225:15, 236:2,
213:19, 271:5,      402:13, 402:24,      93:1, 93:2,          257:4, 266:13,
278:15, 297:14,     403:7, 426:25,       390:11               311:5, 311:25,
314:16, 314:19,     431:24, 432:16,      ease                 312:20, 313:23,
315:4, 315:7,       432:17, 433:7,       396:13               328:3, 334:15,
315:8, 316:11,      433:18, 433:19,      easier               371:21, 376:18,
335:19, 351:25,     434:10, 438:6,       54:3, 225:7          407:5, 416:14,
401:15, 416:8,      438:11, 438:12       easily               430:19, 435:10,
416:12              e-mailed             25:21, 119:9,        435:12, 435:15,
drummer             434:2, 434:4         409:10               435:16, 442:14,
202:12              e-mails              east                 452:25, 457:15
drumming            299:4, 394:20,       9:22                 elder
183:25, 184:1       432:4                eastern              188:22, 269:21,
drums               each                 1:2, 14:18,          269:23, 270:5,
142:13, 416:11      14:17, 28:15,        14:22, 249:15,       270:12, 343:18
dude                203:22, 230:13,      249:19               elderly
308:10, 308:16      256:2, 275:4,        easy                 142:19, 305:1
due                 336:12, 338:7,       148:13, 159:25       elders
382:17              343:16, 343:22,      eat                  142:21, 193:4
duly                351:7, 391:16,       392:11               elected
16:11, 252:3                             economics            190:24
                                         18:25



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 139 of 196 - Page
                                 ID#: 2252 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         138
electronic          encumbered           entitled             10:12, 10:20,
431:5               235:13               96:25, 97:2,         11:5, 11:13,
elevating           end                  97:3, 211:21,        11:21
424:23              22:8, 29:3,          381:19, 382:1        essentially
elongating          29:11, 37:23,        entourage            100:23, 360:14,
428:11              71:1, 83:25,         337:20, 337:22,      402:18, 403:11,
else                105:12, 154:9,       341:22, 343:8,       456:21
40:15, 42:24,       162:1, 330:7,        355:3, 355:19,       established
58:21, 91:24,       349:5, 396:15,       357:25               236:24, 409:10
92:4, 92:13,        401:6, 425:25,       environment          estimation
92:17, 93:22,       433:5, 450:20,       91:7, 98:20          95:9
99:1, 113:14,       451:6, 457:2         epithet              et
121:7, 122:19,      ended                60:14                1:36, 2:9,
132:19, 157:15,     30:6, 38:21,         epithets             2:34, 14:3,
179:6, 199:8,       38:23, 38:24,        63:15, 81:18,        14:8, 14:9,
214:4, 259:6,       147:19, 180:14,      91:19                14:10, 14:11,
278:11, 278:17,     197:10, 293:6,       equal                14:13, 14:14,
298:5, 311:2,       331:8, 363:5         67:25                14:15, 14:16,
328:16, 332:22,     ending               equally              248:25, 249:2,
333:2, 333:4,       311:5                194:15               249:5, 249:6,
343:7, 355:17,      ends                 equate               249:7, 249:8,
355:21, 365:18,     66:14, 118:19,       365:25               249:10, 249:11,
374:3, 384:24,      156:6, 325:23        equivalent           249:12, 249:13,
417:20, 418:2,      energy               103:16               258:21
419:11, 421:2,      79:20                error                europe
422:7, 427:8,       engage               434:20               330:13, 330:16,
444:13, 455:7,      338:23               esau                 339:16
457:7, 459:12,      engaging             129:4, 129:5,        european
465:13              155:25               129:10, 129:18,      24:8
emoji               enough               130:1, 130:13,       evaluate
428:2               27:12, 44:4,         130:17               140:20
emotions            92:11, 142:4,        escalate             even
396:13              146:15, 167:7,       99:3, 102:12,        32:9, 43:3,
employed            175:4, 176:17,       114:22               52:8, 55:18,
19:23, 466:12       184:7, 188:4,        especially           58:16, 68:22,
employment          217:3, 260:23,       44:25, 50:19,        85:6, 85:20,
20:25               266:12, 274:12,      80:13, 120:19,       86:21, 100:7,
en                  274:24               147:14, 149:20,      101:20, 123:5,
290:7               entered              193:2, 221:6,        127:11, 127:13,
encircling          104:12, 105:3,       286:10, 381:3,       146:9, 163:24,
164:4               277:8, 367:9         399:14               163:25, 164:12,
encounter           enters               esquire              164:18, 164:21,
48:22, 259:10,      31:19                5:4, 5:5, 5:13,      165:16, 165:22,
259:21, 283:13,     entire               5:14, 5:21, 6:5,     170:17, 175:9,
284:9, 298:8,       101:15, 256:2,       6:13, 6:20, 7:5,     181:12, 190:2,
298:23, 299:10,     317:9, 362:20,       7:14, 9:4, 9:5,      193:25, 194:7,
327:19, 338:20,     368:12               9:13, 9:14,          194:8, 198:10,
340:17, 344:12      entirely             9:20, 10:5,          212:16, 214:4,
                    273:14, 274:1



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 140 of 196 - Page
                                 ID#: 2253 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         139
216:3, 218:9,       211:24, 262:2,       97:11, 101:24,       excerpt
218:10, 225:10,     272:23, 283:24,      115:17, 119:4,       51:17, 158:9
227:15, 260:17,     284:16, 285:4,       121:1, 132:9,        excerpts
262:7, 271:17,      287:1, 289:13,       148:14, 167:5,       29:23, 54:6
272:20, 274:7,      289:17, 297:8,       328:16, 338:2,       exchange
274:14, 274:21,     298:14, 298:20,      354:3, 381:8,        85:25, 144:1,
279:11, 280:12,     303:6, 309:2,        382:5, 390:12,       188:7, 428:13
282:25, 286:15,     323:8, 327:16,       400:17, 406:11,      exchanged
297:16, 305:4,      327:21, 327:25,      465:13               181:17, 181:20,
313:17, 317:18,     331:10, 340:13,      everyone's           290:16
317:23, 329:3,      340:17, 368:3,       197:23, 406:14       excited
332:19, 333:21,     368:9, 402:6,        everything           34:24, 152:1
341:2, 379:24,      405:2, 405:4,        43:25, 251:21,       excuse
381:4, 397:10,      405:9, 405:12,       390:8, 405:24,       20:10, 22:1,
404:7, 419:6,       414:4, 414:13,       411:23, 432:18       196:25, 218:5,
423:8, 425:14,      417:3, 432:20,       evidenced            224:15, 330:9,
431:11, 439:14,     433:20, 442:12,      149:23               360:12, 404:12,
439:19, 441:13      442:22, 443:18,      evil                 450:20
evening             443:19, 448:16,      423:6                exercised
306:13              448:17, 448:18,      exact                121:4
event               448:21, 449:3,       97:24                exhibits
52:19, 61:22,       449:25, 451:2,       exactly              104:14, 180:2,
97:7, 119:21,       451:4, 451:17,       20:23, 40:15,        190:14, 287:14,
191:6, 270:12,      452:2, 452:9,        83:10, 128:16,       464:16, 464:18,
273:18, 274:19,     452:24, 452:25,      182:9, 183:2,        464:23
299:15, 400:13,     453:5, 453:7,        186:2, 225:11,       exist
418:4, 440:2,       454:21, 455:24,      267:16, 268:5,       97:13
448:12              456:1, 456:10,       272:16, 331:23,      existed
events              456:14               353:17, 377:16,      444:19
95:9, 119:16,       every                423:2, 445:2         exists
363:12, 411:10,     28:15, 28:19,        exaggerating         190:12, 273:10,
417:17              35:5, 52:6,          428:11               273:11, 430:2,
eventually          67:5, 86:5,          examination          433:15
37:15, 40:10,       86:12, 97:15,        13:2, 16:15,         exit
173:18, 317:17,     388:4, 390:5,        252:5
                    410:12, 441:8,                            416:1
331:6, 390:19,                           examiner             exited
394:25, 426:6       445:11               192:17, 192:21
                    everybody                                 346:23, 347:9
ever                                     example              exiting
16:22, 19:23,       16:4, 35:14,         43:4, 44:16,
                    94:23, 95:4,                              345:23, 346:1
23:20, 31:17,                            53:21, 106:8,        expect
32:3, 32:13,        95:12, 132:19,       148:9, 151:22,
                    235:6, 331:7                              94:2
32:21, 43:20,                            395:20, 422:17,      expectation
45:8, 49:4,         everyone             423:10, 444:15,
51:4, 53:3,         25:20, 26:18,                             39:5
                                         453:2, 457:1         expectations
87:23, 98:18,       43:6, 43:7,          examples
142:16, 150:4,      45:21, 48:19,                             38:14, 38:17,
                                         423:14               38:18
171:3, 187:5,       52:9, 89:18,         except
191:6, 197:4,       89:20, 97:2,                              expecting
                                         52:12, 381:10        271:19




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 141 of 196 - Page
                                 ID#: 2254 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         140
expelled            266:21, 267:11,      282:3, 339:1,        falling
411:5               267:15, 269:9        343:17, 409:9,       184:21, 218:23
expense             eyes                 442:16               falls
197:6               267:4, 348:17,       factor               434:6
experience          349:1, 349:2         42:15                false
22:10, 36:3,        eyewitness           facts                411:9
95:24, 95:25,       451:1, 451:25        22:7, 192:1,         falsely
174:16, 193:1,               F           272:22, 273:16,      410:23
340:22, 381:9,      f-ing                281:17, 282:14,      familiar
406:12, 455:7       346:12, 349:6,       318:12, 351:14,      91:13, 95:20,
experienced         349:11, 349:23,      390:16               119:19, 343:16,
80:7                350:24               factual              401:18
expires             face                 452:21               family
466:18              29:4, 125:1,         factually            410:24
explain             163:23, 169:18,      127:25, 417:2        fan
132:2, 177:15,      173:19, 175:8,       failed               27:1, 27:12,
195:12, 270:2,      175:12, 180:17,      44:24                178:11, 179:2,
367:10, 392:7,      182:4, 183:19,       fair                 304:4
402:10              183:24, 183:25,      27:12, 27:14,        fans
explained           184:8, 187:13,       44:4, 50:10,         155:1, 303:25,
454:8               187:14, 188:23,      55:22, 67:7,         304:1
explanations        188:24, 204:14,      67:24, 77:24,        far
404:5               221:6, 236:25,       79:11, 81:7,         100:21, 334:8,
explore             291:6, 291:13,       85:24, 93:6,         335:13, 354:13,
381:19, 382:1,      292:22, 304:13,      94:11, 100:13,       424:23, 434:24,
400:21              319:9, 325:22,       100:21, 113:13,      436:18, 440:16
express             334:22, 340:21,      118:8, 120:24,       fashion
119:1, 293:22,      367:15               140:22, 146:15,      387:22
405:2               facebook             155:14, 161:14,      fashioned
expressed           447:23, 448:4,       167:7, 167:10,       431:16
288:23, 339:14,     448:12, 448:16       184:25, 187:11,      father
405:4, 410:15       faces                188:4, 191:8,        393:16, 393:18,
expressing          128:15               217:3, 254:5,        394:14, 397:8,
103:23, 127:20,     facial               254:18, 255:3,       397:14, 402:3,
143:3, 420:19       296:10, 303:5        260:23, 266:12,      402:13, 403:2
expression          facing               274:24, 293:1,       father's
120:3, 120:6,       45:19, 73:20,        293:20, 296:1,       405:9
296:11              230:13, 232:8,       296:21, 297:19,      favorites
extent              357:10               305:17, 308:25,      288:6
192:7, 307:14,      fact                 320:12               fee
381:23              42:2, 98:17,         fairly               35:16
extremely           110:3, 121:19,       423:9                feed
97:4                136:9, 149:4,        faith                289:11, 289:15,
eye                 171:19, 176:2,       22:14, 22:16,        290:3, 379:25,
262:23, 263:3,      223:23, 225:10,      380:9, 432:19        442:24
263:12, 264:6,      270:14, 274:11,      fall                 feedback
265:8, 265:13,      279:22, 279:23,      218:25, 221:5        19:10
266:7, 266:8,                            fallen               feel
                                         219:9, 234:6         44:6, 44:19,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 142 of 196 - Page
                                 ID#: 2255 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         141
52:2, 79:16,        128:11, 131:11,      412:14, 412:15,      363:5
80:16, 81:12,       176:17, 184:8,       426:7                finishing
91:10, 93:23,       185:5, 185:10,       fill                 45:16, 415:8
115:18, 184:11,     191:23, 192:8,       387:2                fired
184:20, 197:14,     192:18, 193:23,      filled               434:5
210:5, 211:9,       200:12, 211:14,      258:16, 286:11       firm
211:22, 259:6,      211:16, 211:18,      filling              20:1, 51:13
262:11, 263:7,      211:20, 258:24,      226:7, 283:14        first
278:20, 285:22,     259:8, 276:2,        fills                25:6, 29:25,
288:23, 289:2,      276:4, 278:24,       126:15               35:19, 42:12,
380:23, 382:13,     284:7, 284:11,       film                 47:9, 47:25,
410:17              284:13, 292:20,      135:14, 271:18,      48:1, 68:12,
feeling             292:25, 293:6,       273:18, 275:5,       70:6, 73:5,
100:3, 100:4,       293:21               361:5                75:24, 133:4,
221:10, 313:21,     few                  filming              133:10, 140:10,
334:16              29:16, 58:4,         200:18, 271:16,      141:9, 151:20,
feelings            181:11, 216:15,      271:22, 271:25,      154:25, 159:11,
292:11              228:15, 230:16,      274:9, 274:10,       169:8, 173:10,
feet                301:22, 313:3,       274:18, 366:17       174:11, 178:3,
79:23, 92:10,       319:7, 385:2,        final                185:6, 190:4,
137:15, 137:17,     389:24, 390:19,      438:21               221:8, 225:8,
167:1, 170:7,       443:4                finally              232:8, 234:23,
170:14, 218:5,      field                424:22               258:25, 262:2,
218:6, 236:15,      29:4, 35:7,          financial            263:21, 264:2,
263:24, 277:9,      174:10, 262:1        21:14, 466:13        264:21, 265:9,
279:10, 325:8       fight                find                 265:17, 275:23,
fellow              98:19, 98:22,        45:23, 46:5,         279:25, 286:3,
70:15, 71:6,        114:12, 127:12,      121:7, 194:14,       290:18, 292:13,
117:11, 117:21,     303:25, 411:15,      211:12, 233:21,      303:7, 306:3,
135:5, 164:8,       411:20, 415:4,       303:21, 374:9,       306:15, 308:3,
164:9, 165:2,       415:5, 415:14,       429:21, 436:13,      326:9, 329:8,
165:3, 201:24,      416:17, 423:6        436:14, 444:16,      333:22, 337:2,
202:10, 205:10,     fighting             461:7                337:5, 337:12,
207:22, 222:19,     114:16               fine                 337:13, 353:1,
223:10, 241:24,     figure               43:25, 130:12,       361:1, 361:2,
242:2, 245:19,      328:20, 329:9        182:15, 192:10,      364:5, 364:14,
246:18, 283:21,     figured              211:4, 239:18,       383:19, 389:1,
300:17, 302:19,     174:15, 175:10,      251:9, 251:21,       391:22, 392:4,
302:24, 342:12,     199:7, 199:12,       268:2, 269:5,        392:14, 393:3,
353:18, 357:6,      292:15               281:21, 281:25,      395:8, 397:19,
357:20, 367:6,      fike                 282:7, 282:9,        398:17, 399:10,
372:16, 386:3,      25:8, 40:14          282:22, 287:17,      402:15, 403:8,
458:22              file                 363:13, 404:21       405:14, 408:23,
felt                182:21, 182:25       finish               409:1, 425:8,
25:18, 25:22,       filed                171:1, 171:22,       430:24, 433:4,
50:21, 50:22,       14:17, 103:11,       369:19, 415:18       436:15, 444:1,
80:6, 80:9,         182:22, 249:14,      finished             453:24, 458:16,
80:11, 127:20,      344:16, 412:11,      39:16, 177:7,        458:23, 459:15,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 143 of 196 - Page
                                 ID#: 2256 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         142
459:24, 460:20,     323:21, 329:21,      464:22               308:4, 308:8,
460:22              329:24, 348:2        foregoing            308:12, 326:24,
fist                focused              466:4, 466:5         329:8, 361:20,
102:2               23:24, 24:1,         foremost             392:10, 432:9,
fists               78:2, 79:24,         42:12, 364:5         432:10, 450:5,
29:12, 102:7,       107:11, 298:1,       forensically         457:6
118:21, 118:24,     456:8                435:23, 436:24,      fourth
120:2, 120:12,      focusing             438:18               191:20
123:14, 124:20      327:13               forget               fr
fit                 folks                432:7                393:15
100:7               283:17               form                 frame
five                follow               72:4, 261:18,        30:20, 62:7,
25:4, 99:7,         28:2, 199:8,         263:10, 278:9,       69:6, 70:24,
99:10, 101:3,       225:9, 341:25        395:1                111:21, 122:14,
128:19, 137:16,     follow-up            formally             137:16, 141:6,
166:25, 233:6,      285:24               453:5                147:1, 205:10,
238:25, 263:24,     followed             formation            206:24, 208:15,
270:16, 275:3,      169:4, 287:7,        89:19                212:1, 212:2,
289:22, 310:21,     337:25, 338:3,       forth                220:7, 229:25,
320:5, 322:19,      338:8                99:15, 117:9,        230:1, 231:17,
325:8, 326:9,       following            281:19, 291:18       235:5, 238:23,
326:24, 343:6,      183:9, 195:8,        forward              242:20, 242:24,
343:15, 344:6,      200:17, 305:24,      78:10, 106:16,       243:10, 247:14,
344:10, 346:6,      307:22, 427:16       158:25, 161:17,      321:18, 322:9,
353:25, 361:20,     follows              193:8, 194:3,        345:23, 346:7,
392:10              16:12, 252:4         199:4, 199:15,       352:16, 389:13
flat                food                 202:15, 243:4,       frames
184:18              392:11               261:15, 264:13,      223:19, 233:11,
flew                foot                 276:14, 276:18,      389:14
361:9               175:11, 176:20,      276:25, 280:12,      frankly
flex                247:21               319:8, 357:10,       85:22, 384:20
29:15               footage              358:3                free
flights             271:24, 373:5        fought               38:16, 223:25,
361:25              football             411:2                224:1, 224:2,
flip-flop           26:18, 26:24,        foul                 225:3, 406:15
404:22              27:4, 97:7,          384:22               freedom
floor               100:17, 153:1,       found                34:22
6:23, 7:8,          153:5, 154:18        46:19, 80:22,        freshman
11:8, 11:15,        footing              88:9, 338:22,        19:3, 33:20,
31:9                247:5, 247:10,       393:8, 410:22,       35:23, 121:20,
florida             247:11               414:7, 424:24,       323:13, 387:12,
153:13, 154:18,     force                435:4, 448:4,        387:24, 431:10,
155:1               256:4                462:19               432:8
focus               forced               four                 freshmen
23:16, 25:20,       452:7, 454:9         27:23, 99:7,         33:19, 50:4,
47:24, 300:4,       ford                 99:10, 132:16,       121:21
309:24, 312:23,     7:14, 11:21,         137:7, 166:22,       friday
314:3, 320:7,       15:13, 250:5,        204:20, 270:16,      37:6




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 144 of 196 - Page
                                 ID#: 2257 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         143
friend              fronting             game                 gci
70:18, 181:23       120:12               28:19, 31:3,         51:12
friendly            frost                31:6, 31:19,         gear
25:11, 80:3,        6:14, 10:21          33:15, 34:6,         156:7
94:13, 195:24,      frowned              34:20, 41:16,        general
295:7               375:17               153:1, 154:18,       32:7, 32:18,
friends             ft                   155:4, 270:7         159:18, 362:11,
25:4, 39:25,        5:8, 7:17, 9:8,      games                378:1, 393:19,
40:12, 45:22,       11:24                26:22, 26:24,        447:12
46:4, 94:15,        fuck                 32:9, 95:14,         generalizations
121:25, 168:5,      334:22               95:18, 153:5,        398:25
203:14, 203:15,     fucking              433:10               generally
283:18, 283:19,     317:2                gannett              174:9, 327:12,
352:19, 389:25,     full                 2:19, 6:18,          354:3, 359:4
390:19, 424:16,     1:4, 17:18,          6:19, 7:3, 7:4,      gentleman
427:25, 442:7,      17:19, 248:16,       11:3, 11:4,          203:7
442:10              403:23               11:11, 11:12,        genuine
fries               fully                14:13, 15:18,        420:20, 420:21
25:9, 40:13,        43:20, 65:4,         15:20, 15:21,        gerdemann
195:16, 300:5,      92:25, 190:3,        104:9, 249:10,       395:15
300:8, 302:4,       436:21               250:13, 250:15,      germany
304:13, 304:15,     fun                  345:8                423:6
306:7, 312:23,      211:9, 211:12        gap                  gesticulating
330:1, 332:16,      functioned           367:18               101:3, 101:13,
339:20, 340:2,      43:17, 422:15        gary                 102:7
449:10, 450:8,      funny                395:15               gesture
451:8, 456:17       109:17, 109:20,      gather               94:13, 94:18,
front               112:9, 125:2,        351:6                105:24, 110:13,
22:5, 47:23,        303:21, 308:20,      gathered             123:3, 378:10
48:10, 61:18,       308:21, 309:11,      45:21                gestures
69:20, 89:17,       429:5, 429:12,       gatherers            17:12
112:11, 141:8,      429:16               150:1                getting
168:24, 175:1,      further              gathering            19:10, 42:15,
176:10, 204:20,     209:19, 277:23,      47:3                 91:8, 118:9,
204:23, 205:8,      382:21, 390:6,       gauge                126:15, 128:16,
205:9, 215:19,      407:4                49:3                 132:9, 137:11,
218:13, 219:4,      furthermore          gave                 137:20, 171:9,
228:24, 231:13,     411:3                90:3, 145:23,        173:19, 185:6,
232:4, 236:15,      future               173:1, 275:8,        212:14, 258:24,
245:19, 248:6,      299:15               275:11, 295:9,       340:21, 366:7,
251:7, 264:17,                           361:11, 362:10,      433:13
264:22, 276:11,              G
                    gain                 364:21, 378:9,       gibson
278:15, 278:18,                          411:3, 418:8,        34:20
286:12, 303:12,     403:9                427:5, 427:8
                    gained                                    gift
339:9, 347:1,                            gay                  41:6, 41:25,
361:10, 385:10,     412:6                53:22
                    gallagher                                 42:3
385:19, 385:20,                          gays                 girl
458:11, 458:13      40:16, 306:7         53:24                418:16




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 145 of 196 - Page
                                 ID#: 2258 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         144
girlfriend          goellner             306:10, 308:9,       greenberg
40:19, 45:23,       250:20               339:21               7:6, 11:14,
46:5                goes                 grade                15:20, 250:14
girls               28:13, 66:6,         19:1, 19:4,          ground
36:10, 54:16        109:18, 114:16,      19:5, 19:16,         179:12, 184:19,
gist                163:21, 185:14,      19:19, 22:21,        189:2, 198:9,
397:5               350:23, 360:10,      24:21, 141:25,       198:13, 289:3,
give                418:16, 424:24,      174:12, 242:11,      291:15, 293:24
17:7, 17:9,         434:24, 453:10,      262:2, 375:12,       group
25:25, 138:19,      455:1                433:9, 448:3         28:17, 28:19,
147:8, 148:2,       goggles              grades               39:25, 40:11,
154:14, 155:12,     53:14                290:25, 354:1        47:15, 47:22,
156:24, 157:2,      golf                 graduated            50:10, 50:13,
160:13, 286:20,     20:2, 21:2,          291:1, 291:4         53:3, 53:5,
292:3, 292:6,       21:3, 41:11,         grammar              53:7, 54:12,
292:10, 292:19,     41:13, 41:16,        405:24               73:18, 73:22,
311:1, 337:4,       41:20                grandpa              79:5, 80:4,
397:10, 404:24,     gone                 272:2, 343:18,       80:13, 81:13,
441:13              35:3, 35:20,         350:24, 351:6,       85:23, 87:25,
given               121:11, 142:16,      369:16               90:23, 91:19,
68:19, 120:19,      149:24, 173:12,      grandview            93:17, 93:19,
120:22, 155:14,     173:14, 186:1,       5:7, 9:7             93:23, 94:12,
157:3, 157:9,       232:17, 233:23,      graves-alcorn        100:8, 100:15,
198:1, 204:17,      265:14, 276:13,      284:24, 285:5,       100:25, 101:1,
279:23, 383:3,      277:8, 309:5,        285:7, 286:7,        101:12, 103:22,
384:8, 426:15,      436:1                286:24               126:14, 126:16,
466:7               good                 gray                 132:25, 133:2,
gives               16:19, 46:24,        69:23, 70:3,         133:6, 137:24,
34:21, 313:19,      78:14, 93:5,         135:13, 204:25,      140:1, 153:25,
415:19              102:19, 124:5,       244:13               157:14, 158:23,
giving              124:21, 155:12,      graydon              162:22, 166:24,
138:20, 293:7,      183:8, 252:9,        7:15, 11:22          167:1, 169:25,
378:12              282:21, 292:17,      great                170:9, 171:21,
glanced             293:10, 300:9,       41:7, 42:5,          171:25, 173:10,
219:20              312:16, 355:6,       42:20, 42:25,        174:5, 174:6,
glasses             366:6, 383:1,        43:1, 43:3,          196:24, 200:13,
202:22, 300:14      397:4, 424:18,       43:22, 44:5,         203:11, 203:23,
global              432:19               62:21, 83:8,         221:12, 224:4,
45:1                gotten               85:6, 103:14,        225:7, 271:18,
glued               40:23, 41:18,        156:7, 251:25,       272:1, 277:8,
410:1               89:16, 220:1,        322:10, 330:12,      317:7, 338:1,
gmail               233:25, 271:17,      372:7, 422:13        338:10, 367:9,
432:25, 433:5,      365:11               green                398:23, 427:25,
434:12, 434:21      government           135:12, 135:13,      442:13, 442:17,
go-ahead            23:2, 42:18          163:21, 165:4,       442:18, 447:4,
292:7, 292:10       grab                 208:18, 316:24,      455:8
goal                31:20, 301:7,        462:16, 463:11       groups
198:10              301:20, 304:6,       greenbaum            53:18, 80:23
                                         5:22, 10:6



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 146 of 196 - Page
                                 ID#: 2259 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         145
growing             99:14, 135:12,       187:10, 214:4,       198:11, 221:12,
22:20               146:19, 155:24,      280:10, 283:12,      269:25, 271:20,
grygiel             163:20, 168:24,      408:24, 409:1,       293:14, 411:8,
7:5, 11:13,         169:6, 169:20,       429:20, 436:17,      413:5, 424:14
15:19, 250:14,      185:14, 188:12,      449:3                happened
465:12              205:24, 244:23,      halftime             31:22, 37:8,
guardians           245:13, 247:2,       33:14                91:12, 147:4,
1:8, 1:18,          272:8, 272:11,       halfway              178:4, 186:9,
1:31, 2:4, 2:14,    273:2, 273:3,        35:7, 392:1          186:14, 186:18,
2:29                330:17, 332:24,      hallways             186:21, 186:24,
guess               334:12, 335:9,       140:8                187:4, 187:7,
29:15, 56:14,       337:23, 338:21,      hand                 197:19, 198:4,
56:16, 56:20,       339:12, 342:4,       167:16, 176:21,      198:8, 198:20,
58:25, 61:11,       370:25, 371:7,       176:22, 212:9,       269:23, 288:21,
64:5, 68:20,        373:25, 374:20,      212:20, 227:12,      289:17, 323:9,
68:23, 75:23,       375:10, 375:19,      227:16, 227:17,      331:17, 344:1,
92:11, 94:21,       376:22, 451:14,      227:18, 227:19,      344:12, 351:12,
95:19, 128:14,      459:1                259:12, 300:17,      353:12, 353:20,
142:12, 144:20,     guy's                301:10, 318:25,      354:4, 360:18,
145:13, 146:22,     130:4, 304:7,        322:3, 375:11,       382:1, 385:13,
155:9, 176:6,       375:17               376:22, 436:3,       389:25, 390:9,
178:24, 180:13,     guys                 466:16               390:22, 391:8,
191:20, 203:3,      27:15, 27:19,        handful              391:18, 400:2,
204:11, 207:14,     33:8, 36:22,         393:24               411:11, 417:8,
211:12, 226:22,     39:17, 96:7,         handlebar            417:22, 429:4,
242:6, 268:9,       97:16, 99:25,        201:15               429:10, 435:18,
275:24, 284:24,     100:5, 100:10,       handled              435:22, 441:13,
296:10, 296:18,     105:9, 114:14,       425:11               454:2, 454:4,
303:19, 311:25,     118:8, 123:13,       handles              454:6, 455:10,
312:2, 347:13,      127:20, 132:16,      21:11                455:13
350:10, 352:4,      238:4, 291:17,       handling             happening
353:11, 353:15,     312:16, 317:1,       44:25, 182:10        109:15, 132:3,
355:16, 374:13,     344:24, 370:13,      hands                132:8, 135:25,
392:15, 398:3,      370:15, 373:16       47:20, 139:21,       140:19, 145:1,
406:25, 417:12,              H           140:13, 205:19,      165:6, 197:10,
428:15              habit                205:20, 206:3,       270:13, 271:1,
guessing            366:7                212:11, 256:6,       272:21, 275:4,
408:13              hagedorn             300:19, 320:25,      317:19, 317:23,
guests              346:21, 347:9,       375:7                376:14
21:3                358:14, 450:8,       hansman              happens
guthrie             450:13, 451:2,       90:10, 90:11,        38:9, 38:10,
80:9, 98:8,         456:17               90:12, 391:13        153:4, 188:24,
161:15, 200:5,      hair                 happen               270:24
280:20, 408:9,      342:24, 355:3        87:13, 89:15,        happy
412:3, 425:23       haka                 98:16, 106:2,        100:6, 125:23,
guy                 32:14, 33:6          121:5, 159:16,       282:3, 282:5
28:9, 53:11,        half                 174:17, 183:23,      harassed
58:17, 66:23,       20:23, 162:21,       197:25, 198:1,       175:20




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 147 of 196 - Page
                                 ID#: 2260 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         146
harassing           348:13, 348:16,      49:22, 54:21,        175:5, 274:8,
80:22               349:1, 349:8,        55:12, 60:9,         374:18, 387:3,
hard                350:8, 353:3,        65:13, 68:12,        387:9, 387:23,
242:5, 243:16,      357:6, 357:7,        74:22, 74:23,        398:22, 399:5,
328:20, 329:9,      357:17, 357:21,      75:21, 76:24,        399:19, 411:16,
378:23, 449:2       358:6, 359:1,        79:4, 79:11,         415:16
harder              359:7, 367:3,        86:5, 86:13,         heck
271:6               367:16, 371:8,       87:8, 95:14,         374:13
harford             451:14, 462:11       133:13, 146:19,      held
466:25              hate                 148:11, 154:6,       109:24, 120:2,
harvest             421:7                185:19, 186:12,      150:1, 375:10
82:3                hated                297:1, 297:2,        hell
harvested           144:24               297:15, 297:17,      378:21, 379:5,
384:11              hateful              298:12, 299:2,       383:24, 384:7,
hat                 88:5, 90:22,         303:6, 311:4,        388:7
41:11, 41:15,       91:2, 381:16,        314:19, 326:17,      hello
42:2, 62:21,        381:25               328:1, 328:2,        403:1, 457:21,
69:13, 69:18,       haters               331:24, 334:18,      457:22
69:20, 70:4,        67:25                334:21, 348:17,      helmet
70:16, 70:21,       hates                348:25, 349:5,       53:14
103:15, 180:17,     429:20               349:7, 349:12,       help
201:13, 202:3,      hats                 350:23, 359:4,       141:9, 155:5,
202:5, 202:8,       41:7, 103:25,        359:5, 390:13        393:2, 396:13,
202:11, 204:25,     156:7                hearing              397:20, 398:4,
218:7, 220:11,      head                 72:2, 87:2,          424:4, 445:10,
230:7, 234:1,       7:15, 11:22,         311:24               452:14, 452:18
242:2, 244:14,      17:9, 142:22,        heart                helped
245:14, 272:23,     159:13, 160:5,       403:23, 406:19       21:3, 362:5
273:3, 273:9,       201:1, 201:2,        hearts               helpful
274:3, 291:13,      201:5, 217:1,        407:5, 407:7,        321:17, 399:13,
300:14, 316:24,     221:4, 226:20,       407:8, 407:13        401:16
319:3, 319:4,       260:21, 316:12,      hebrew               helping
330:1, 330:8,       408:14, 418:1        47:10, 49:15,        363:2, 425:23
330:11, 330:17,     headed               54:21, 55:10,        helps
330:22, 330:25,     40:7                 55:17, 57:24,        121:21, 462:20
331:12, 332:9,      headline             60:4, 62:10,         hemmer
332:24, 333:2,      271:2                62:17, 63:4,         5:6, 9:6
333:13, 333:17,     headlines            63:13, 64:2,         henry
334:18, 334:21,     365:11, 366:8        65:13, 67:12,        25:9, 40:14,
335:19, 335:24,     headquarters         71:25, 72:3,         302:21, 302:22,
336:6, 336:7,       362:7                72:18, 77:25,        306:4, 461:1,
337:20, 337:24,     heads-up             81:20, 82:13,        461:13
338:15, 338:21,     397:10               86:21, 91:18,        here
339:3, 339:11,      health               91:23, 92:25,        23:6, 27:11,
339:12, 340:1,      282:12               116:17, 125:1,       67:2, 78:3,
342:3, 342:5,       heard                133:8, 133:11,       83:8, 89:3,
345:16, 346:9,      26:1, 32:13,         144:23, 145:2,       93:13, 100:23,
348:4, 348:12,      36:1, 39:15,         146:12, 157:13,      101:1, 120:20,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 148 of 196 - Page
                                 ID#: 2261 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         147
123:6, 124:1,       96:8, 96:10,         342:8, 389:17        424:2, 424:5
134:11, 136:8,      97:6, 97:11,         holds                horrendous
141:9, 144:2,       97:17, 98:3,         375:7, 376:22,       387:8
147:25, 155:4,      119:5, 131:1,        389:18               horse
155:5, 164:5,       153:25, 185:16,      hollister            155:3
167:4, 167:5,       187:7, 189:18,       9:21                 hostage
169:19, 171:9,      190:25, 270:6,       home                 44:25
174:19, 176:19,     288:22, 329:4,       93:12, 121:11,       hostile
182:23, 190:24,     352:23, 375:24,      177:22, 386:15,      94:18, 94:20,
191:25, 197:20,     387:12, 432:9        388:8, 392:18,       105:24, 123:3,
202:22, 202:24,     higher-up            392:21, 392:22,      127:14, 147:22
208:9, 212:12,      451:11               416:25, 430:17,      hostility
234:12, 236:4,      himself              431:9                119:1, 120:3,
242:5, 250:1,       93:4, 144:21,        honest               127:21
256:13, 259:3,      147:17, 156:23,      59:4, 138:13,        hotel
267:25, 299:7,      411:5                139:25, 141:4,       408:19
305:22, 307:3,      hindsight            142:3, 154:8,        hour
316:9, 317:15,      121:3, 380:7         156:14, 227:16,      59:13, 78:19,
319:23, 321:10,     hispanics            257:10, 260:17,      79:1, 83:2,
337:4, 341:9,       76:7, 76:18,         274:6, 296:8,        102:15, 106:11,
346:10, 346:11,     77:16                310:14, 387:7,       127:3, 128:5,
346:12, 346:22,     history              430:1, 441:4,        143:20, 144:23,
355:16, 356:22,     23:7, 23:9,          447:3, 448:22        145:6, 272:20,
368:4, 368:10,      23:13, 24:8,         honestly             275:2, 354:12,
368:15, 368:17,     24:9, 24:18,         27:23, 61:12,        373:7, 373:11
369:5, 370:19,      43:24, 87:19,        77:6, 113:17,        hours
375:16, 376:13,     129:15, 129:16,      139:1, 150:25,       37:22, 233:6,
380:7, 383:4,       129:24, 130:10,      187:15, 207:12,      238:25, 446:21,
385:9, 386:15,      439:8, 440:15        388:20, 401:14,      449:21, 457:19
386:18, 388:8,      hit                  409:23, 424:3,       house
411:7, 416:3,       135:15, 184:7,       449:1                40:10, 41:2,
436:7, 463:15       221:5, 271:5,        honesty              41:5, 41:6,
hereby              276:20               288:19, 292:11,      41:11, 41:25,
466:5               hits                 358:9                45:12, 50:20
hereunto            185:21               honor                however
466:15              hitting              364:7                50:21, 66:5,
hey                 351:25               honored              99:10, 211:22,
62:22, 93:17,       ho                   364:10               352:14, 367:17
122:18, 139:2,      122:18               hooded               huber
209:8, 275:5,       hold                 135:13               5:5, 9:5, 16:2,
292:1               153:18, 193:4,       hoodie               250:22
high                399:25               208:16, 208:18,      huge
18:13, 20:12,       holding              222:20, 223:10,      45:24
21:24, 22:21,       47:19, 61:3,         242:1, 244:13,       hugged
26:14, 26:21,       62:11, 62:18,        463:11               387:25
31:17, 94:19,       64:1, 122:23,        hope                 human
94:24, 95:6,        166:23, 201:16,      185:20               150:12, 227:23,
95:18, 96:4,        201:24, 218:7,       hoping               404:19
                                         295:18, 423:25,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 149 of 196 - Page
                                 ID#: 2262 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         148
humor               293:10, 293:23,      important            incident
112:8, 428:20,      304:23, 308:13,      17:7, 294:4,         23:5, 23:21,
428:21, 429:18      308:14, 318:15,      399:15, 440:9,       24:24, 25:3,
humorous            336:11, 339:19,      455:4                29:17, 49:5,
428:19, 429:2       372:24, 383:2,       impossible           86:6, 142:15,
humorously          402:25, 437:16       266:21               168:19, 190:6,
198:15              ideas                impressed            203:1, 210:22,
hundred             178:25, 179:1        179:4                323:9, 373:6,
36:6, 98:1,         identical            impression           389:23, 393:4,
100:24, 101:2,      104:4                32:18, 80:21,        410:10, 418:8,
101:13, 102:5,      identification       186:20               418:11, 418:12,
130:18, 275:1,      375:23               impressions          419:13, 431:2,
379:7, 389:7        identified           109:15               432:14, 433:25,
hundreds            435:1, 459:12,       improperly           434:1, 434:7,
120:18, 170:7,      460:21, 461:24       445:25               434:16, 435:22,
170:14, 277:9       identify             improved             438:9, 439:13,
hurt                15:2, 25:6,          423:16               439:16, 441:13,
400:18              54:2, 56:2,          inaccurate           442:10, 447:2,
hurts               69:4, 97:15,         285:8, 287:4         449:12, 450:7,
401:19              242:4, 243:5,        inaccurately         451:3, 454:6,
husband             356:4, 461:21        434:19               455:10, 455:23
424:16              identifying          inappropriate        include
hut-uhn             378:13               297:10, 297:22,      54:14, 401:11
199:2               ignorance            298:8, 298:24,       included
hyas                360:12               299:11, 303:17,      442:21
274:18              ii                   380:8                including
hyperbolic          43:4, 422:17         inbox                24:11, 50:12,
97:4                illinois             441:9                118:23, 141:6,
         I          6:9, 10:16           inc                  325:4, 398:10,
                    image                1:36, 2:9,           404:4
ice                                                           inconclusive
184:18, 185:2,      291:10, 291:12,      2:19, 5:10,
                    295:8                5:11, 5:19,          385:23
193:17, 219:7,                                                incorporated
224:7, 236:5        imaged               5:20, 6:3, 6:4,
                    435:23, 436:24,      6:18, 7:3, 9:10,     14:9, 14:11,
idea                                                          14:14, 141:24,
26:8, 28:1,         438:18               9:11, 10:3,
                    imagine              10:4, 10:10,         249:6, 249:8,
34:15, 56:18,                                                 249:11
65:20, 93:19,       335:13               10:11, 11:3,
                    imessage             11:11, 15:23,        incorrect
96:15, 97:8,                                                  340:8
97:9, 97:10,        436:12               15:24, 16:16,
                    immediate            252:6                incorrectly
108:8, 121:23,                                                267:23
134:14, 135:11,     435:16, 455:4        incendiary
                    immediately          379:24               independent
140:2, 141:15,                                                159:22
141:18, 143:14,     109:18, 146:21,      incest
                    217:13, 325:6,       79:5                 independently
145:7, 167:13,
170:18, 186:23,     325:12, 325:15,      inch                 195:24
194:21, 205:20,     344:19, 408:16       247:4                indian
290:7, 292:21,      impasse              inches               168:24
                    263:8                247:4, 247:22        indiana
                                                              5:24, 10:8



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 150 of 196 - Page
                                 ID#: 2263 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         149
indianapolis        initiative           insults              interested
5:24, 10:8          362:19               63:15, 67:12,        214:5, 360:5,
indians             input                86:1, 91:14,         443:25
210:19, 211:4       362:15               91:19, 102:10,       internet
indicate            inquired             175:5, 176:16        61:21, 303:19,
127:19, 128:10,     360:4                integrate            303:22, 360:10,
146:15              inquiring            121:22               410:22, 431:22
indigenous          434:3, 434:4         intend               interpret
47:4, 163:5,        insensitive          119:1                114:9, 153:24,
180:15, 271:16,     87:22                intended             184:1
274:15, 325:7,      inserted             110:13, 170:19,      interpretation
338:6, 342:10,      404:13               172:2, 199:4,        55:23, 113:7,
342:18, 342:21,     inside               428:19               175:22, 321:9,
343:25, 346:16      38:11                intending            377:17
individuals         instagram            197:8                interpreted
213:18              195:14, 439:5,       intent               119:20, 254:6,
infer               439:7, 439:11,       225:20               257:14, 257:19,
137:9, 138:7,       439:14, 439:19,      intention            320:19
139:1, 139:5,       439:23, 441:3,       171:12, 172:7,       interpreting
139:8               441:10, 441:20,      199:14, 279:6        172:1
influencer          441:25, 442:3,       intentional          interrogatories
178:8               442:6, 442:10,       33:4                 458:11, 458:12,
information         442:11, 442:13,      intentionally        459:15, 460:18,
1:4, 2:20,          442:17, 443:1,       137:5, 263:15,       460:24
6:19, 7:4, 11:4,    443:10, 443:22,      269:14, 339:10,      interrupt
11:12, 15:21,       444:14, 445:16,      344:18               180:2, 415:14
20:8, 187:1,        446:6, 446:24,       intentions           interview
250:13, 299:13,     447:9                141:7, 192:19,       51:18, 98:8,
332:14, 332:15,     instance             225:17, 225:20,      158:9, 172:5,
403:9, 410:19,      387:19               225:22, 339:3,       200:5, 280:20,
413:19, 414:5,      instantly            339:6, 339:22,       296:17, 407:16,
414:7, 414:10,      46:14                406:22               408:9, 408:18,
414:14, 418:7,      instead              interact             409:1, 409:12,
418:10, 435:19,     173:11, 387:4        49:5, 334:12,        409:18, 410:15,
436:5, 436:7,       instructed           447:16               412:2, 412:19,
437:4, 444:3,       92:20                interacting          415:11, 415:17,
444:19, 445:11,     insufficient         49:9, 332:2,         425:23, 426:9,
456:18              382:19               340:11, 391:1        426:10, 426:17,
informed            insult               interaction          427:6
154:14, 210:13      53:2, 53:4,          337:16               interviews
initial             86:2                 interactions         170:24, 171:18,
440:15, 450:5       insulted             356:6                172:24, 173:1,
initially           53:24, 58:18,        interactive          317:18, 407:1,
92:6, 109:10,       211:15               5:11, 5:20,          409:21, 411:4,
236:24, 270:19,     insulting            6:4, 9:11, 10:4,     414:22, 415:13,
415:23, 421:24      52:16, 52:25,        10:11, 15:24,        418:8
initials            53:6, 53:23,         16:16, 252:6         intimidate
259:14              79:20, 145:5         interest             169:7, 169:13,
                                         360:2, 466:13



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 151 of 196 - Page
                                 ID#: 2264 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         150
169:21, 169:24,     irish                399:12, 400:14       jimmy
170:5, 172:13,      233:24               itself               44:20, 45:3,
173:6, 173:20,      irrelevant           39:11, 92:22,        422:18, 423:16
173:22, 174:1,      191:1, 399:17        220:16, 362:4,       job
174:5, 174:6,       irresponsible        411:19, 434:7,       1:40, 21:5,
174:18, 174:22,     381:3                435:24               289:22
175:24, 180:19,     isaac                         J           joe
181:2, 183:21,      290:21, 291:24,      jack                 244:19, 244:20,
184:2, 184:10,      291:25, 292:10,      370:23, 370:25       245:15, 245:16,
185:3, 188:19,      292:12               jacks                263:22, 265:23,
193:23, 194:2,      ish                  370:17, 371:2        266:16, 450:9,
194:6, 194:9,       260:12, 260:13       jacob                454:23, 454:25,
194:13, 196:24,     isolate                                   455:2, 455:3,
200:12, 221:11,                          130:17
                    192:11               jake                 455:9, 455:11,
271:4, 294:25,      israel                                    455:14, 455:22,
295:5, 295:14                            117:17, 121:13,
                    129:23, 130:14       352:21, 352:22,      455:24, 456:9,
intimidated         israelite                                 456:11, 456:15,
196:19, 196:22,                          353:11, 391:9
                    60:4, 71:25,         january              456:17, 456:25,
197:3, 197:9,       72:3, 77:25                               458:22, 458:23,
197:15, 198:5,                           37:6, 168:15,
                    israelites           177:20, 188:9,       461:25, 462:4,
198:12              47:10, 49:15,                             462:8
introduction                             306:13, 395:13,
                    54:22, 55:10,        408:10, 410:8,       john
402:12              55:17, 57:24,                             8:2, 12:2,
invade                                   417:22, 425:20,
                    62:10, 62:17,        430:7, 433:6,        14:23, 135:13,
367:13              63:4, 63:14,         435:6, 435:15,       135:14, 135:21,
invaded             64:2, 65:14,         439:4                136:3, 136:16,
184:12, 317:9       67:12, 72:18,        jared                136:20, 137:3,
invading            81:20, 82:14,        306:7                138:2, 138:8,
184:9               86:21, 91:18,        jaylin               138:19, 139:2,
invective           91:23, 92:25,                             139:10, 209:9,
                                         362:3                249:20, 362:23,
78:1                116:18, 125:1,       jennings
investigation       129:23, 133:8,                            362:25, 450:8,
                                         394:5, 405:18,       453:19, 453:20,
51:13               133:9, 133:11,       424:12, 430:24
investigative       144:23, 145:2,                            453:21, 453:23,
                                         jerry                454:1, 454:5,
51:13               146:13, 157:13,      40:16
involve             175:5, 274:9,                             454:7, 456:17,
                                         jessica              459:15, 460:20,
170:8, 256:4        374:18, 387:3,       5:21, 10:5,
involved            387:9, 387:23,                            461:7, 461:8,
                                         15:11, 30:3,         461:21, 462:13,
27:25, 190:1,       398:22, 399:5,       51:14, 64:12,
455:15              399:19, 411:16,                           463:9, 463:11
                                         163:12, 164:2,       johnson
involvement         415:16               215:15
273:17, 406:4       issue                                     6:21, 11:6,
                                         jessie               362:3
involving           403:13, 432:3        70:24, 107:4,
356:6               issued                                    join
                                         139:16, 160:22,      40:5, 115:13,
iphone              90:20, 337:3,        241:8, 341:24,
46:10, 431:3,       409:20, 430:10                            115:16, 153:15,
                                         355:7, 357:19        212:16
435:5, 435:6,       issues               jews
435:20              398:18, 398:20,                           joke
                                         67:17, 129:22        85:6, 197:2,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 152 of 196 - Page
                                 ID#: 2265 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         151
197:6, 197:20,      323:14               keninso              193:15, 193:17,
305:7               juniors              56:24                193:18, 226:12,
jones               33:24                kennedy              226:18, 253:7,
8:5, 12:5           justine              69:11                258:5, 258:19,
joseph              8:4, 12:4            kentucky             307:12, 328:20,
17:19                        K           1:2, 5:8, 6:24,      333:15, 374:8,
josh                kaplan               7:17, 9:8, 9:24,     384:18, 384:19,
195:18, 195:20,     6:21, 11:6           11:9, 11:24,         404:6
195:21, 195:22,     kashuv               14:19, 42:2,         kiely
195:24, 196:4,      177:18, 178:6,       186:4, 249:16,       244:19, 244:20,
196:9               178:7, 179:18,       333:15, 408:19       450:9, 454:23,
journey             180:7, 423:23,       kept                 456:11, 456:18,
35:6                444:16               53:15, 127:15,       458:22, 458:24,
journeying          keep                 175:9, 339:12,       461:25, 462:4,
411:21                                   435:24               462:8
                    41:20, 57:7,                              kilgalen
judge               68:3, 71:4,          kevin
377:21              91:8, 123:9,         6:13, 10:20,         1:42, 4:10,
judged              125:9, 125:25,       15:25, 250:8,        16:6, 250:25,
219:8               128:24, 133:16,      465:4                466:3
judging             139:12, 144:10,      key                  kinds
303:4               145:16, 146:1,       436:12               175:4
judgment            150:13, 151:4,       keywords             kirk
121:4, 235:9,       152:12, 155:18,      434:15, 438:7        178:18, 179:16,
236:4, 236:8,       160:15, 173:17,      kid                  180:7, 180:10,
236:12, 236:14,     207:7, 213:1,        122:23, 188:17,      360:23, 360:24,
262:12, 379:21      213:10, 218:11,      188:21, 218:6,       423:23, 444:15
julie               221:15, 221:25,      220:10, 233:24,      kleier
1:9, 1:19,          222:15, 225:23,      233:25, 289:18,      89:25, 90:17,
1:32, 2:5, 2:15,    233:15, 241:4,       323:22, 377:15,      117:17, 352:21,
2:30, 18:1          241:15, 243:24,      433:11               352:22, 353:10,
july                256:11, 258:9,       kid's                353:12, 370:14,
17:24               259:16, 288:21,      141:12               389:24, 390:18,
jump                312:22, 314:2,       kids                 391:9, 391:10,
30:11, 56:5,        315:19, 316:14,      28:12, 28:20,        391:13
73:24, 74:15,       318:17, 322:13,      29:11, 38:4,         knew
191:24, 293:8,      324:16, 336:14,      38:21, 38:24,        24:10, 49:16,
305:15, 329:11,     348:1, 350:16,       55:16, 55:18,        60:14, 94:24,
358:2               351:18, 352:22,      80:5, 80:13,         119:5, 142:5,
jumped              358:16, 371:10,      88:20, 91:6,         142:21, 158:16,
369:20              372:11, 374:24,      92:9, 92:16,         166:5, 171:5,
jumping             378:16, 385:24,      93:17, 97:24,        203:22, 211:1,
31:12, 64:18,       388:11, 389:8,       100:8, 110:20,       211:6, 226:20,
120:1, 120:11,      414:25               123:19, 124:24,      226:22, 226:25,
134:4               keeping              125:19, 125:24,      236:18, 242:10,
june                43:14, 114:3,        131:1, 141:8,        272:20, 290:24,
466:18              361:22               147:19, 153:25,      317:23, 328:17,
junior              keeps                184:19, 188:15,      338:7, 343:14,
23:11, 23:14,       147:13, 313:24       188:19, 193:1,       410:11, 424:17,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 153 of 196 - Page
                                 ID#: 2266 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         152
444:18, 445:7       labeled              49:14, 80:8,         lawyers
knocked             284:16, 459:16,      90:21, 108:1,        17:2, 292:5
276:18              459:19               179:16, 179:17,      lead
knowing             labels               185:10, 220:17,      121:17, 121:21
149:4, 219:1        66:11                252:23, 260:24,      leader
knowledge           lack                 272:8, 272:20,       20:4, 29:4,
35:4, 90:4,         154:9, 273:24        292:18, 293:19,      343:21, 343:24
140:10, 154:9,      land                 298:14, 325:24,      leaders
159:22, 187:3,      330:18, 332:11,      385:6, 391:10,       33:17, 33:21,
205:6, 332:3,       333:20, 339:15       430:11, 446:4        132:17
372:20, 394:4,      lane                 latin                leading
395:2, 399:18,      224:2                185:20, 186:4,       20:20, 61:11,
400:18, 412:6,      language             186:15               267:22, 364:11
412:14, 422:23,     143:6, 295:17,       laugh                leaning
424:4, 430:23,      384:22, 387:8        84:21, 85:7,         456:14
432:19, 442:21,     laptop               110:20, 196:6        leap
443:17, 448:21,     438:8                laughed              343:12
449:14, 449:16,     large                84:25, 109:22,       learn
449:19, 449:23,     22:15, 22:19,        391:17               87:21, 89:14,
450:2, 450:6,       47:20                laughing             298:14, 299:6,
450:25, 451:13,     larger               84:10, 84:13,        299:8, 299:9,
454:22, 456:13,     288:20               84:19                304:21, 393:3,
456:19, 457:10,     last                 laughter             398:16, 398:20,
457:16              24:21, 25:6,         308:19               399:12, 399:13,
knowledgeable       33:25, 64:23,        laurin               399:16, 400:3,
334:17, 399:20,     70:5, 75:18,         5:21, 10:5           401:19, 412:2,
451:15, 454:3       88:20, 107:17,       law                  437:19
known               117:22, 135:5,       20:1, 209:8,         learned
256:2               136:11, 143:25,      209:9                306:16, 419:12,
knows               153:13, 286:23,      lawrie               419:17
167:14, 328:17,     290:2, 291:4,        136:16, 136:17,      learning
334:10              299:3, 302:25,       136:20, 138:2,       142:25
krishnan            307:3, 318:11,       138:8, 139:2,        least
5:14, 9:14,         334:19, 346:6,       139:10, 209:9,       22:17, 58:3,
15:15, 250:10,      349:14, 349:15,      450:9, 453:19,       65:21, 72:21,
465:1, 465:2        362:2, 387:6,        456:17, 459:16,      91:17, 95:9,
kummer              389:22, 392:12,      460:20, 461:7,       97:12, 100:2,
8:7, 12:7           393:10, 398:4,       461:9, 461:21,       128:11, 137:10,
kyle                431:25, 433:4,       462:13, 463:9,       160:12, 178:1,
177:18, 178:6,      435:8                463:12               203:22, 204:20,
178:7, 179:18,      lasted               lawsuit              213:7, 217:7,
179:22, 180:6,      435:9                380:21               220:25, 284:8,
423:23, 444:11,     lasts                lawsuits             293:24, 302:13,
444:16              449:21               412:11, 412:15,      329:6, 332:3,
         L          late                 426:7                369:12, 395:25,
label               37:23, 39:17,        lawyer               396:16, 399:20,
63:15, 341:13       423:17, 440:24       21:19, 21:23,        416:17, 419:5
                    later                424:17               leave
                    37:12, 40:23,                             31:23, 31:25,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 154 of 196 - Page
                                 ID#: 2267 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         153
37:9, 48:12,        legally              450:6                links
48:20, 92:12,       321:1                liking               287:22, 288:2
92:15, 259:10,      legitimately         77:14                list
346:22, 350:15,     271:11               limit                401:11, 445:9,
392:13, 450:22      less                 77:25                450:18, 451:8,
led                 22:10, 82:14,        limited              453:19, 454:24,
28:5, 36:17,        152:1, 152:2,        23:2                 458:18, 459:19,
121:12, 203:11,     177:16, 232:16,      limiting             460:2
219:1               232:22, 239:20,      42:17                listed
leeching            354:8                lincoln              449:10, 450:5,
292:21              lesser               35:1, 37:5,          451:9, 453:20,
leeway              66:15                37:7, 39:4,          454:25, 455:3,
383:4               letter               46:19, 47:2,         458:21
left                455:5                47:9, 48:4,          listen
37:11, 45:13,       letters              48:23, 48:25,        76:2, 83:18,
46:23, 56:20,       134:15, 328:21,      94:24, 95:5,         122:11, 212:18,
69:9, 69:10,        329:8, 433:12        95:13, 97:16,        256:13, 256:22,
74:11, 74:12,       letting              119:5, 120:13,       309:22, 326:10,
84:2, 117:12,       295:13               161:22, 170:7,       327:3, 335:1,
198:19, 205:25,     level                170:15, 170:19,      348:20, 353:7,
220:7, 222:8,       63:22                170:25, 171:13,      367:21, 373:19,
222:11, 222:14,     levels               171:21, 172:8,       373:21
223:15, 225:1,      45:1                 180:15, 224:5,       listened
228:10, 230:22,     liam                 272:19, 278:14,      410:12, 412:18
231:6, 232:8,       69:23, 70:3          328:25, 361:11,      listening
232:9, 233:4,       liberal              361:13, 361:15,      353:2
237:2, 237:13,      178:25               365:13, 411:18,      literally
237:21, 238:1,      lie                  411:22, 415:18,      30:20, 46:20,
242:3, 244:9,       156:10, 156:12       416:1, 416:16        162:6, 256:14,
244:21, 245:3,      lied                 line                 256:22, 260:22,
245:13, 246:9,      411:2                13:11, 13:12,        325:14
246:10, 246:11,     life                 13:13, 13:14,        literate
247:1, 263:23,      22:14, 52:8,         13:15, 19:12,        177:16
264:19, 264:25,     69:21, 95:23,        42:14, 141:8,        little
265:10, 265:14,     95:25, 98:5,         165:11, 172:20,      40:9, 51:1,
265:20, 321:25,     98:19, 116:23,       183:10, 195:9,       71:3, 71:13,
342:4, 354:5,       140:7, 196:11,       208:3, 267:25,       78:10, 78:11,
354:7, 357:15,      197:18, 197:19,      269:1, 304:1,        79:19, 80:1,
370:8, 389:22,      197:22, 333:18,      304:5, 305:25,       82:22, 94:2,
390:25, 391:10,     406:8, 417:13,       307:23, 368:7,       106:17, 108:10,
392:11, 413:9,      434:16, 435:22       380:12, 381:11,      137:5, 166:17,
417:14, 435:25,     light                382:7, 383:9,        184:13, 202:21,
450:24, 451:1,                           413:12, 427:17       205:25, 206:10,
455:2               292:15, 429:21
                    liked                lines                206:13, 207:9,
leftists                                 333:14               207:17, 220:10,
196:19, 197:15,     22:2, 178:13,
                    288:15, 288:16       link                 221:15, 230:1,
198:5, 198:14,                           339:7, 339:25        230:22, 237:23,
198:16              likely
                    22:10, 102:23,       linked               238:21, 242:3,
                                         288:13



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 155 of 196 - Page
                                 ID#: 2268 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         154
242:17, 245:2,      266:21, 267:3,       196:3, 205:23,       152:7, 164:12,
245:3, 246:8,       267:15, 269:9        205:24, 214:1,       164:21, 214:3,
247:1, 247:9,       locks                214:2, 214:18,       214:6, 219:15,
258:2, 264:19,      267:10               229:9, 229:14,       219:19, 219:23,
264:25, 274:21,     lodged               229:16, 240:9,       220:15, 229:21,
284:1, 296:25,      91:19                246:5, 270:15,       229:22, 230:25,
309:9, 322:22,      log-in               270:24, 280:25,      231:3, 231:4,
352:17, 378:23,     445:11               281:2, 289:17,       231:6, 233:22,
379:17, 389:23,     logan                289:19, 290:18,      237:4, 244:10,
400:17, 404:25,     25:10                291:9, 291:24,       259:16, 270:14,
408:14, 460:3       logic                294:20, 301:12,      309:10, 320:25,
lives               149:18               302:3, 307:8,        329:22, 341:19,
34:22, 188:15,      logical              309:2, 309:5,        370:19, 390:24,
189:22, 256:2       104:1, 239:17        315:17, 335:17,      434:22, 439:18,
living              logistics            353:5, 361:4,        460:20, 461:19
188:13, 189:22      361:6                362:15, 374:17,      looks
llc                 logo                 375:20, 392:13,      31:6, 33:5,
1:13, 2:21,         57:19, 57:21         397:19, 399:19,      58:11, 61:5,
2:34, 6:11,         loiler               416:17, 431:23,      69:11, 69:12,
6:14, 6:19, 7:4,    12:8, 464:15         442:3, 458:18,       69:19, 69:21,
7:12, 10:18,        lol                  460:22               69:23, 70:4,
10:21, 11:4,        196:5, 196:10        looked               70:21, 98:2,
11:12, 11:19,       long                 47:8, 61:23,         106:21, 109:16,
14:4, 14:16,        20:21, 48:21,        100:1, 121:16,       117:6, 118:23,
15:14, 249:1,       175:4, 193:2,        130:21, 148:12,      120:22, 124:25,
249:13, 250:6       248:13, 298:19,      160:3, 201:4,        136:7, 139:23,
llp                 354:6, 365:1,        201:6, 201:12,       145:12, 146:24,
5:15, 5:22,         426:2, 435:8,        207:1, 207:5,        162:11, 163:4,
6:6, 6:21, 7:6,     440:3                207:24, 219:11,      163:20, 166:22,
7:15, 9:15,         longer               219:19, 232:9,       166:24, 179:15,
9:21, 10:6,                              238:2, 238:3,        179:20, 181:19,
                    185:5, 232:4,        263:21, 264:9,       188:8, 195:15,
10:13, 11:6,        258:24, 259:9,
11:14, 11:22                             265:1, 265:10,       202:4, 204:25,
                    289:11, 410:17       265:11, 265:20,      206:12, 206:17,
local               look
455:5                                    280:7, 290:3,        215:25, 216:9,
                    22:16, 34:11,        313:13, 350:12,      216:21, 218:9,
locate              41:14, 43:10,
463:7                                    369:18, 391:16,      228:9, 230:6,
                    58:14, 59:4,         405:25, 425:24,      230:9, 230:12,
located             64:7, 85:22,
184:17                                   433:14, 439:10,      240:7, 243:20,
                    98:6, 110:23,        439:11, 444:1,       265:22, 266:4,
location            112:9, 112:11,
453:25                                   445:6                290:19, 291:12,
                    120:4, 126:14,       looking              294:21, 296:19,
locked              128:15, 130:25,
50:25, 76:7,                             41:9, 58:21,         296:22, 306:6,
                    135:24, 143:17,      60:25, 69:9,         319:4, 323:20,
76:18, 77:15,       154:23, 159:25,
262:23, 263:2,                           73:23, 95:19,        323:22, 336:20,
                    163:9, 163:12,       102:2, 107:5,        346:24, 348:11,
263:12, 264:6,      163:16, 169:1,
265:8, 265:13,                           117:8, 117:13,       352:17, 352:23,
                    170:6, 188:6,        118:20, 146:13,      355:8, 399:23,
266:7, 266:8,       191:4, 191:20,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 156 of 196 - Page
                                 ID#: 2269 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         155
427:24, 462:22      luke                 103:15, 103:21,      211:12, 365:22,
lorusso             56:24                103:25, 180:17       417:9
360:8               lunch                mail                 making
lose                124:1, 128:18,       452:6                17:11, 67:16,
41:13               354:17, 359:11,      main                 93:12, 103:14,
loser               408:23               6:22, 11:7,          143:5, 173:17,
350:13              lunchtime            39:15, 90:8,         193:21, 261:13,
lost                131:14, 131:15       90:9, 456:7          278:15, 292:21,
45:22, 45:24,       lying                mainly               361:23, 403:12,
46:4, 75:7,         96:16, 96:18         50:20, 78:2,         428:17
75:13, 180:2        lynching             442:6, 444:9         mall
lot                 84:9                 maintain             40:9, 45:19,
26:20, 34:10,       lynchings            264:2, 264:5         391:11, 391:12,
44:24, 79:21,       83:16, 85:6          major                391:24, 392:5,
81:4, 86:15,        lynwood              18:16, 18:21         392:8, 392:9,
91:6, 178:13,       434:5                majority             392:15
180:11, 183:3,               M           20:4                 man
198:6, 198:21,                           make                 60:4, 65:14,
                    mac                                       71:25, 77:25,
198:22, 218:14,     437:15, 437:21,      17:6, 27:15,
232:16, 232:22,                          41:7, 42:5,          180:17, 202:7,
                    438:9, 438:12,                            234:7, 234:21,
232:23, 260:20,     438:14               42:19, 43:21,
289:19, 328:20,                          44:4, 53:17,         235:13, 235:14,
                    mad                                       272:5, 272:12,
333:24, 383:4,                           62:21, 76:15,
391:6, 394:23,      94:5                                      272:23, 273:8,
                    made                 79:16, 79:21,
409:25, 412:6,                           110:19, 112:7,       274:3, 305:2,
424:8, 441:19,      37:22, 37:24,                             329:25, 330:8,
                    43:1, 53:24,         144:22, 145:4,
442:4, 451:12,                           150:2, 155:1,        330:11, 330:21,
451:15              93:22, 114:21,                            330:25, 331:11,
                    168:23, 169:10,      156:7, 182:14,
lots                                     193:13, 209:4,       332:9, 333:1,
193:15, 232:20,     171:24, 197:5,                            333:13, 333:17,
                    198:8, 203:5,        220:10, 225:4,
403:9                                    228:4, 252:22,       334:18, 334:21,
loud                221:9, 224:11,                            335:18, 335:19,
                    224:14, 233:21,      253:3, 259:6,
26:16, 196:6,                            261:1, 261:4,        336:6, 336:7,
                    236:4, 236:7,                             337:19, 338:14,
227:22              236:13, 236:14,      276:6, 301:1,
louder                                   302:14, 315:2,       339:3, 339:11,
                    238:13, 238:15,                           340:1, 342:3,
118:9               259:10, 270:17,      318:11, 330:12,
loudly                                   338:24, 339:13,      342:8, 345:16,
                    301:9, 334:23,                            346:9, 347:18,
120:1               338:4, 362:21,       339:18, 340:8,
louisville                               348:18, 359:6,       347:19, 348:4,
                    377:24, 398:11,                           348:12, 348:15,
6:24, 11:9          398:15, 398:24,      366:3, 367:14,
love                                     372:6, 377:24,       349:1, 349:8,
                    402:22, 405:23,                           350:7, 351:15,
288:7, 387:25       411:9, 415:10,       384:23, 388:3,
loved                                    396:10, 422:12,      353:3, 356:6,
                    427:25, 433:9,                            359:1, 359:7,
43:6                448:14               428:2, 429:21,
loves                                    430:4, 447:6         367:2, 367:16,
                    maga                 makes                368:3, 368:8,
144:24              42:2, 69:13,
lowery                                   22:10, 31:11,        368:9, 368:14,
                    69:18, 70:4,                              398:23
358:24                                   207:14, 211:9,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 157 of 196 - Page
                                 ID#: 2270 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         156
manager             mark                 mature               144:19, 175:18,
21:12               72:19, 72:20,        189:3                194:14, 270:2,
maneuver            182:7, 182:19,       matured              272:6, 272:14,
280:1               183:7, 192:1,        100:11               277:22, 285:20,
manually            281:15, 282:17,      maybe                308:19
434:22, 436:16,     393:11, 458:9        33:7, 46:16,         meant
441:7, 445:5,       marked               57:19, 78:10,        68:14, 109:9,
447:5               13:7, 168:6,         87:3, 91:17,         119:15, 144:7,
many                168:10, 180:3,       92:10, 119:8,        146:8, 146:10,
25:23, 36:5,        181:25, 195:6,       124:4, 124:5,        197:1, 203:10,
36:19, 37:15,       307:11, 307:20,      125:2, 136:11,       203:17, 261:8,
63:15, 99:11,       341:9, 398:1         137:4, 137:5,        261:20, 270:3,
103:13, 103:17,     market               139:23, 144:20,      296:12, 347:22,
116:18, 141:8,      5:23, 10:7           162:11, 165:9,       351:2, 351:4,
176:16, 181:11,     marking              190:13, 212:19,      372:8
181:19, 186:21,     191:12               234:6, 240:8,        meanwhile
218:5, 218:6,       marks                243:21, 252:23,      167:5, 411:1
274:11, 277:18,     186:22               260:1, 268:7,        mechanic
283:17, 338:21,     martin               283:12, 284:21,      413:8
366:2, 387:24,      69:19, 205:14,       285:14, 289:9,       media
391:5, 398:17,      205:15               290:25, 294:1,       1:13, 6:12,
407:1               maryland             296:16, 303:21,      7:11, 10:19,
map                 4:11, 466:24         320:2, 320:5,        11:18, 14:4,
46:18               mass                 333:9, 334:25,       29:18, 177:2,
mara                36:16, 37:23,        346:6, 347:23,       177:16, 249:1,
181:20, 182:1,      37:25                349:14, 352:12,      250:21, 272:24,
183:17, 185:13,     masse                352:16, 353:24,      273:11, 274:16,
187:6, 189:20,      290:8                354:16, 369:12,      290:1, 299:5,
294:22              match                370:21, 382:6,       317:17, 393:5,
march               142:11, 459:3        382:8, 386:9,        439:1, 446:8,
34:3, 34:8,         matched              391:24, 394:16,      447:10, 447:14,
34:9, 36:18,        128:14               408:13, 451:5,       447:19, 449:5
39:11, 39:13,       material             463:3                medium
40:5, 45:13,        438:24               mcconnell            195:12, 447:19
52:8, 69:21,        materials            20:4, 20:13          mediums
98:5, 116:23,       182:21, 454:15       mcgrane              446:8, 447:10
180:13, 180:16,     matter               51:8                 meenakshi
196:11, 197:18,     14:3, 120:24,        mcgrane's            5:14, 9:14
197:19, 197:22,     214:14, 248:25,      51:17                meenu
274:15, 325:7,      296:22, 410:1        meaning              15:15, 250:10,
342:10, 342:18,     matters              66:15, 172:2,        465:2
342:21, 406:7,      130:3, 282:8         200:19, 238:15       meet
434:16, 435:21      matthew              meanly               36:16, 40:21,
marched             8:6, 12:6,           417:5                40:24, 46:8,
45:16               90:10, 90:11,        means                48:4, 48:8,
mariash             90:12, 391:13        65:23, 66:12,        48:17, 280:13
361:24              matthews             66:17, 68:23,        meeting
marie               88:14                129:10, 142:5,       39:4, 39:22,
8:5, 12:5



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 158 of 196 - Page
                                 ID#: 2271 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         157
197:4, 399:25,      400:6                messenger            military
425:8               mental               448:16               410:20, 414:15,
mel                 282:12               met                  417:15
34:20               mentality            424:22               mind
member              317:2                michael              126:19, 224:5,
148:1, 337:20,      mentioned            6:20, 7:5,           224:15, 236:17,
337:21, 355:18,     35:19, 36:9,         11:5, 11:13,         236:19, 281:18,
357:24              38:20, 39:21,        15:17, 15:19,        293:16, 303:12,
members             42:16, 43:13,        250:12, 250:14       406:19, 415:12,
180:15, 198:18,     49:11, 67:10,        microphone           416:4, 416:8,
360:25, 384:11,     81:10, 114:15,       251:6                457:3
398:22, 410:25,     126:7, 158:15,       microsoft            minds
442:18              168:1, 173:14,       431:7, 431:20,       407:5, 407:7,
memorial            176:12, 176:15,      432:1, 432:10,       407:8, 407:13
35:1, 37:5,         186:8, 207:3,        437:11               mine
37:7, 46:20,        303:9, 307:14,       middle               237:22
46:21, 47:2,        365:10, 391:20,      19:7, 19:14,         minimal
47:7, 48:5,         424:10, 453:3,       19:15, 66:23,        247:12, 247:20
48:8, 48:23,        457:2                69:15, 74:9,         minute
48:25, 88:17,       mentioning           161:19, 171:20,      30:16, 67:6,
92:19, 92:22,       184:16               196:3, 260:6,        78:18, 78:22,
94:24, 95:5,        merkle               260:12, 271:17,      82:17, 111:9,
95:13, 97:16,       195:18, 195:20       286:16, 294:21       113:25, 115:7,
119:5, 120:13,      message              might                118:16, 239:24,
161:22, 170:7,      175:15, 177:3,       22:18, 32:10,        283:12, 299:24,
170:15, 170:20,     177:17, 178:14,      57:18, 65:3,         300:16, 329:11,
170:25, 171:13,     187:13, 196:11,      70:25, 87:3,         337:4
171:22, 172:8,      295:4, 439:1,        90:6, 95:20,         minutes
180:15, 204:2,      440:12, 440:16,      98:16, 102:12,       51:20, 51:24,
270:13, 272:19,     441:8, 442:13,       102:22, 114:14,      54:8, 56:5,
277:10, 278:14,     442:17, 443:18,      114:22, 123:18,      56:7, 56:8,
328:25, 354:6,      444:8, 445:12        127:20, 127:22,      57:9, 57:13,
361:11, 361:14,     messages             127:25, 137:10,      58:8, 60:17,
365:13, 368:12,     187:10, 196:4,       137:21, 138:7,       60:21, 64:10,
390:25, 391:10,     196:13, 196:17,      138:8, 139:10,       64:13, 64:19,
411:18, 411:22,     436:14, 439:3,       140:2, 144:7,        65:7, 65:11,
415:18, 416:1,      439:12, 440:3,       147:9, 148:4,        68:7, 68:9,
416:16              440:19, 441:2,       150:24, 154:8,       69:8, 71:12,
memory              441:10, 442:3,       194:1, 237:23,       71:17, 72:13,
353:16, 390:17,     442:11, 443:5,       295:9, 303:9,        72:25, 74:2,
456:9               443:7, 443:13,       313:4, 321:17,       74:3, 74:7,
men                 443:14, 443:20,      348:3, 363:22,       74:19, 76:9,
49:12, 52:10,       444:2, 444:9,        411:6, 413:22,       78:6, 78:20,
72:3, 101:3,        444:13, 445:17       424:1, 434:23,       79:2, 82:17,
101:14, 102:6,      messaging            435:3, 444:3,        83:2, 98:10,
102:8, 102:9,       195:14, 195:16       448:24, 450:7,       98:14, 106:12,
103:24, 271:24,     messed               457:1, 459:11        122:3, 124:4,
271:25, 375:4,      184:8                mike                 125:12, 126:2,
                                         465:13



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 159 of 196 - Page
                                 ID#: 2272 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         158
127:3, 128:6,       156:6, 451:24        money                302:14, 379:21
128:18, 128:20,     mocked               292:21, 365:22       motioned
132:1, 133:21,      62:20, 63:3,         monitor              336:21
137:16, 143:21,     63:4, 211:15,        14:21, 249:18        motivation
179:16, 179:17,     211:17, 211:18       monterey             364:11
188:25, 239:1,      mockery              135:14               motive
240:11, 240:25,     155:25               month                293:21, 340:5,
241:9, 241:20,      mocking              440:25, 448:9        340:6
244:1, 244:5,       54:25, 55:14,        months               motives
245:23, 246:2,      55:25, 57:24,        20:23, 437:18,       293:1
252:20, 257:24,     63:5, 63:17,         440:7                motorized
258:13, 259:4,      64:2, 72:4,          monument             53:12
272:20, 275:3,      81:11, 81:12,        40:7, 41:1,          mouse
279:8, 318:19,      81:16, 156:18,       45:20, 391:12        69:10
318:22, 325:24,     157:1, 157:10,       morning              mouth
326:1, 338:21,      157:23, 211:21,      16:19, 37:16,        240:8, 322:7,
347:2, 347:6,       211:24, 305:12,      38:2, 38:8,          322:20, 323:3
354:8, 354:12,      305:18, 315:14,      248:11, 252:9,       movable
373:8, 373:12,      320:19               392:23, 410:7,       312:12
409:14              mod                  430:7                move
mirrors             389:1, 389:2         morrison             34:25, 70:1,
43:22               model                65:1                 92:4, 92:13,
mischaracterized    43:25                most                 92:25, 93:18,
378:4               modern               20:14, 20:19,        93:22, 111:21,
misinterpret        24:8                 21:8, 26:14,         137:25, 138:19,
446:4               mohicans             42:14, 43:2,         165:10, 173:17,
missed              24:22                47:24, 50:11,        173:20, 175:14,
37:25, 40:2,        mom                  50:12, 52:12,        184:20, 193:9,
86:9, 140:8,        21:11, 397:2,        81:2, 95:16,         193:22, 194:4,
146:23, 285:15,     424:15               97:11, 100:7,        194:10, 194:17,
445:24              moment               141:6, 153:4,        194:25, 199:7,
misspelling         56:6, 57:8,          160:14, 178:14,      202:15, 206:16,
428:9               74:1, 84:22,         216:19, 216:21,      207:9, 207:17,
mistake             112:6, 137:19,       217:12, 217:23,      219:5, 221:4,
323:4               151:24, 152:3,       247:13, 247:16,      224:2, 224:9,
mitch               153:22, 172:25,      247:22, 297:12,      226:8, 232:12,
20:4                173:4, 175:23,       348:18, 363:4,       235:7, 235:8,
mitchell            191:22, 214:22,      391:1, 406:1,        235:21, 235:24,
5:8, 7:17, 9:8,     219:8, 238:18,       410:2, 412:17,       236:5, 237:16,
11:24               255:6, 262:12,       439:16, 442:2,       238:4, 242:17,
mix                 262:16, 272:15,      442:4, 460:18        246:8, 253:8,
36:22               277:17, 318:3,       mostly               254:2, 254:14,
mob                 331:21, 332:23,      20:7, 36:15,         255:1, 255:18,
317:1, 317:2        400:6, 401:23,       39:3, 83:25,         255:21, 255:25,
mock                420:25, 464:3        178:10, 297:14,      256:3, 259:5,
21:24, 54:23,       monday               431:21               266:5, 276:17,
55:11, 58:3,        3:3, 5:2, 6:2,       motion               276:25, 278:17,
141:13, 156:5,      7:2, 14:20           206:3, 301:9,        283:3, 283:4,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 160 of 196 - Page
                                 ID#: 2273 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         159
283:25, 284:1,      216:10, 216:13,      19:14, 51:9,         136:17, 136:19,
284:19, 285:19,     217:21, 218:1,       59:5, 70:5,          136:25, 137:15,
291:23, 297:2,      220:5, 226:22,       70:6, 70:13,         137:16, 138:17,
319:24, 320:14,     235:6, 245:12,       70:14, 90:17,        145:13, 155:5,
320:24, 321:5,      245:16, 262:23,      112:21, 117:22,      157:14, 162:3,
326:2, 346:18,      263:2, 263:14,       121:13, 135:5,       163:6, 166:5,
347:7, 385:19       266:9, 266:23,       190:4, 204:18,       167:13, 172:6,
moved               267:4, 267:11,       259:16, 302:25,      185:25, 186:14,
52:13, 92:5,        269:11, 279:24,      307:3, 329:5,        197:5, 203:11,
93:21, 193:18,      311:17, 312:2,       358:23, 360:8,       217:24, 248:7,
206:13, 206:14,     390:14               361:24, 362:2,       250:3, 261:9,
207:15, 208:5,      much                 362:22, 370:17,      261:20, 270:15,
216:20, 217:4,      47:21, 79:20,        370:24, 371:2,       271:10, 271:22,
217:15, 218:14,     88:2, 155:11,        375:13, 386:17,      272:1, 272:18,
218:17, 218:21,     192:11, 224:9,       386:20, 388:17,      273:16, 274:17,
218:23, 221:23,     297:25, 327:12,      388:25, 389:2,       286:12, 286:15,
224:12, 224:13,     343:12, 377:18,      413:3, 433:4,        305:5, 317:22,
227:1, 228:25,      405:22, 406:6,       434:17               338:16, 338:19,
231:24, 232:2,      409:24, 410:4,       named                339:4, 339:8,
236:9, 236:16,      422:6, 444:14        51:8, 195:18,        339:9, 339:17,
237:19, 238:2,      mud                  302:24, 354:22,      340:1, 340:5,
239:11, 243:4,      219:23, 219:25,      355:1                340:13, 342:1,
243:5, 243:7,       220:1                names                343:8, 343:14,
243:14, 246:25,     mulaku               18:4, 25:6,          343:18, 343:20,
247:2, 247:3,       121:13               69:25, 179:24,       343:23, 344:7,
247:11, 247:21,     multiple             244:22, 307:15,      344:11, 347:1,
260:25, 265:10,     106:5, 142:14,       361:18, 386:15,      350:8, 351:24,
266:16, 266:18,     454:2                414:3, 442:4,        352:8, 354:19,
271:5, 286:14,      multiples            460:2                365:6, 365:11,
361:7, 390:6,       461:3                naming               371:17, 398:22,
454:1, 454:4        muscles              116:18               401:12, 407:17,
movement            29:15                nar                  417:21, 418:11,
247:20              music                197:17               418:15, 419:4,
movements           53:16, 141:10,       narrative            419:7, 465:2
451:12              141:25               411:10, 414:19,      national
moves               must                 414:23               40:9, 359:22,
193:8, 237:6,       146:22               natalie              391:11, 392:9,
265:24              mustache             6:5, 10:12,          423:11
moving              201:15, 202:22       15:22, 250:17,       nationally
138:2, 140:13,      myself               465:6                26:6, 424:23
147:13, 158:19,     88:22, 93:10,        nate                 native
161:16, 161:22,     141:7, 362:20,       18:7                 23:7, 23:9,
165:12, 169:6,      381:8, 406:11,       nathan               23:17, 23:22,
169:13, 169:20,     424:5, 447:22,       5:13, 9:13,          23:24, 24:1,
169:23, 170:3,      465:13               15:4, 15:7,          24:5, 24:11,
172:12, 205:19,              N           18:5, 48:22,         24:14, 24:17,
207:15, 216:1,                           52:12, 93:25,        24:19, 24:25,
216:2, 216:8,       name                                      47:15, 49:6,
                    17:18, 17:19,        132:24, 135:15,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 161 of 196 - Page
                                 ID#: 2274 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         160
49:9, 52:16,        444:11, 459:3        98:18, 126:19,       158:9, 169:1,
52:22, 67:13,       need                 140:7, 152:4,        185:18, 216:14,
80:24, 133:2,       17:14, 115:18,       163:4, 171:5,        223:18, 223:24,
133:10, 141:20,     115:25, 173:17,      186:22, 211:20,      232:18, 260:4,
141:22, 142:8,      176:17, 182:13,      221:2, 226:23,       263:22, 275:7,
142:20, 142:22,     182:25, 191:7,       238:13, 238:15,      301:13, 302:24,
145:2, 149:25,      192:1, 209:19,       256:1, 276:2,        334:1, 347:13,
154:5, 154:20,      210:5, 234:13,       276:4, 279:5,        355:22, 385:1,
155:3, 155:9,       243:3, 247:6,        293:7, 309:5,        398:3, 402:16,
157:20, 175:6,      251:14, 256:15,      323:10, 350:12,      408:16, 409:2,
175:7, 194:21,      266:2, 274:12,       363:14, 383:11,      435:10, 455:14,
210:20, 210:24,     282:16, 292:5,       390:4, 390:5,        455:20, 457:5
211:2, 211:4,       398:16, 398:19,      390:6, 401:19,       nice
211:9, 276:5,       400:20, 400:21,      413:8, 417:14,       50:8, 453:4
305:1, 333:21,      436:3, 459:21        433:16, 434:25,      nicholas
372:3, 422:24,      needed               439:17, 443:16       1:6, 1:16,
423:9, 423:15,      21:4, 50:23,         new                  1:29, 2:2, 2:12,
428:16, 428:23,     104:25, 276:24,      1:23, 1:24,          2:27, 3:1, 4:1,
429:1               278:7, 361:23,       7:9, 7:12,           13:2, 14:2,
natural             364:25, 399:11,      11:16, 11:19,        14:3, 14:5,
1:7, 1:17,          431:23, 432:5,       14:6, 15:14,         14:8, 14:10,
1:30, 2:3, 2:13,    433:14               32:19, 104:7,        14:12, 14:15,
2:28                needs                249:3, 250:6,        15:10, 16:11,
nature              42:25, 154:1,        345:6, 363:22,       17:19, 248:22,
227:23, 382:18      183:7, 339:16,       380:12, 383:21,      248:24, 248:25,
nazi                402:21               399:13, 435:11,      249:2, 249:5,
423:6               negative             437:17, 464:22       249:7, 249:9,
nbc                 50:2, 53:17,         newer                249:12, 250:2,
104:6, 158:9,       67:16, 81:7,         437:14               252:2, 394:12
345:6, 407:16,      439:17               news                 nick
426:9, 464:22       negatively           1:36, 2:9,           16:2, 16:19,
nbcuniversal        402:23               5:10, 5:11,          16:20, 60:3,
1:13, 7:11,         neighbor             5:19, 6:3, 9:10,     61:20, 68:25,
11:18, 14:4,        43:6                 9:11, 10:3,          93:4, 93:8,
249:1, 250:6        neither              10:10, 14:8,         97:5, 103:11,
ncbuniversal        466:11               14:11, 15:8,         106:20, 107:5,
15:14               network              15:23, 16:16,        107:10, 117:6,
nd                  2:20, 6:19,          179:9, 249:5,        134:22, 159:18,
395:13, 408:13,     7:4, 11:4,           249:8, 252:6,        160:22, 167:16,
408:15, 408:21,     11:12, 15:21         271:2, 292:1,        167:19, 172:17,
410:8               neutral              410:3, 424:24,       176:21, 177:1,
near                320:22               455:5                180:13, 181:14,
133:8, 277:18       never                next                 183:15, 191:17,
necessarily         21:21, 23:23,        24:9, 30:20,         195:12, 200:4,
101:20, 190:4,      27:25, 34:21,        39:24, 43:11,        204:12, 206:12,
216:12, 270:25,     34:22, 35:24,        46:6, 56:23,         219:2, 227:10,
289:23, 314:20,     41:25, 80:4,         78:6, 104:2,         228:4, 234:24,
354:1, 362:3,       80:12, 91:6,         125:2, 147:19,       235:8, 242:16,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 162 of 196 - Page
                                 ID#: 2275 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         161
243:13, 244:8,      391:18, 447:11       notre                383:9, 383:10,
246:5, 250:23,      normal               34:10, 36:9,         383:11, 445:21
252:9, 259:12,      17:8, 150:12,        36:10, 54:18,        objected
259:14, 268:23,     208:9, 260:2         153:14, 181:23,      379:16
275:22, 282:25,     normally             233:24, 242:2        objection
285:20, 285:22,     323:16               november             44:7, 44:14,
285:23, 287:19,     north                20:20, 290:4         55:1, 57:25,
290:15, 290:21,     333:21               ns                   58:15, 58:24,
294:18, 306:3,      northern             168:7, 181:15,       61:24, 62:12,
306:8, 325:2,       1:3, 14:19,          191:18, 259:13,      62:19, 63:20,
325:19, 337:15,     42:1, 186:4,         275:18, 276:1,       64:4, 77:20,
356:3, 359:21,      249:16, 408:19       290:15, 294:19,      84:23, 85:3,
370:6, 376:13,      northwest            305:23, 308:2,       86:7, 92:1,
377:11, 377:23,     5:16, 9:16           337:5, 337:11,       96:17, 99:9,
379:18, 380:18,     nos                  341:11, 341:12,      108:7, 110:5,
380:19, 380:24,     1:40                 406:10, 419:25,      110:15, 113:4,
389:21, 395:21,     notarial             421:10, 427:20       119:7, 124:11,
401:24, 405:15,     466:16               number               124:19, 125:7,
408:8, 427:2,       notary               14:4, 14:7,          127:9, 127:23,
427:22, 452:21,     4:10, 466:2,         14:9, 14:12,         128:13, 129:7,
458:8, 458:10,      466:23               14:14, 14:17,        130:2, 139:3,
458:14, 459:14,     note                 51:14, 166:11,       140:18, 144:18,
460:23, 461:8,      165:22, 187:20,      167:10, 249:1,       145:11, 149:3,
461:24              345:3                249:4, 249:6,        149:8, 149:17,
nick's              notes                249:9, 249:11,       150:7, 152:11,
235:9, 329:21,      285:2                249:14, 260:15,      154:21, 157:24,
380:17, 403:3       nothing              260:18, 260:22,      174:7, 176:13,
nickname            152:4, 188:12,       290:20, 291:25,      189:15, 199:5,
26:9, 26:13,        190:8, 340:12,       294:19, 294:20,      203:2, 207:11,
209:10              379:20, 380:20,      341:8, 369:4,        207:19, 207:25,
night               422:7, 438:14        377:24, 393:20,      213:24, 215:24,
37:12, 188:9        notice               419:2, 434:15,       217:6, 217:18,
nine                4:9, 47:14,          439:14, 441:14,      217:22, 220:23,
202:15, 202:17      108:2, 111:18,       458:22, 458:23,      221:1, 232:13,
ninth               122:22, 124:7,       459:14, 460:21,      234:23, 237:14,
19:4, 19:5          133:4, 140:25,       461:3                238:7, 238:11,
nobody              422:25               numbered             253:22, 254:7,
148:12, 174:13,     noticeable           181:15, 461:9        254:24, 255:7,
230:10                                   numbers              255:15, 257:9,
                    247:13, 247:15,                           257:16, 258:7,
noise               247:17               100:20, 259:13,
143:6                                    290:14, 433:12       261:18, 262:14,
                    noticed                                   263:5, 263:9,
nolan               47:10, 132:25,                O
18:5, 18:7                                                    263:16, 263:20,
                    133:1, 133:2,        o'clock              264:23, 265:2,
none                133:7, 271:23,       38:2, 48:4
91:12, 121:19,                                                266:10, 266:25,
                    440:4                object               267:14, 269:15,
156:5, 165:4,       noticing             243:3, 312:12,
298:25, 332:1,                                                274:22, 276:15,
                    254:12               312:13, 312:19,      277:1, 277:21,
384:19, 386:24,     notified
                    89:20, 360:2



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 163 of 196 - Page
                                 ID#: 2276 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         162
278:9, 279:18,      offered              354:5, 392:4,        opinion
280:3, 281:25,      362:12               415:25, 449:4,       42:22, 44:22,
284:14, 285:9,      offers               450:25, 451:5        59:4, 59:12,
285:12, 285:15,     277:10               one's                84:22, 97:1,
295:15, 304:16,     office               328:2                97:3, 116:14,
305:3, 308:22,      20:6, 362:6,         one-line             120:25, 136:2,
317:14, 328:18,     412:8                331:6                138:13, 138:22,
329:2, 334:9,       officer              one-offs             154:14, 155:12,
377:5, 379:10,      466:3                442:5                189:10, 210:14,
383:4, 383:6,       official             ones                 214:14, 254:20,
384:3, 387:18,      360:16, 405:25       28:1, 69:24,         255:14, 257:18,
400:23, 407:9,      officially           90:7, 95:7,          259:7, 271:18,
412:4               18:17                123:19, 355:19,      280:6, 280:9,
observation         often                369:9, 370:18,       292:6, 296:23,
312:2               106:4, 153:11,       388:5, 443:9,        298:13, 375:15,
observe             184:12               443:10               384:5, 420:20,
451:11              oh                   online               420:21
observed            21:15, 71:2,         413:7, 414:8,        opponents
175:23, 454:2       88:23, 89:2,         414:12, 416:19,      27:16, 27:17
obtained            97:18, 98:3,         437:20, 455:17       opportunity
160:4               104:3, 129:13,       only                 35:15, 67:25,
obtaining           172:1, 177:8,        24:19, 36:25,        350:14, 400:17
446:23              197:3, 234:11,       49:25, 69:24,        opposing
obvious             236:18, 296:24,      78:3, 140:10,        316:6
95:1, 96:12,        355:6, 392:14,       150:3, 166:16,       opposite
97:19, 127:10,      407:10, 438:17,      173:13, 190:23,      207:22, 235:16,
254:14, 340:24      458:25               196:1, 219:3,        388:1, 405:4
obviously           ohio                 251:5, 255:14,       option
45:5, 49:24,        6:16, 10:23          262:18, 263:14,      121:6, 185:8,
93:20, 98:3,        old                  266:9, 266:22,       259:1, 277:6,
115:24, 146:12,     17:21, 17:22,        269:10, 275:8,       404:24
173:1, 179:21,      18:6, 100:9,         275:11, 280:23,      oral
192:5, 197:4,       129:12, 129:18,      282:20, 282:24,      452:11, 453:17
197:20, 239:19,     130:9, 306:24,       315:3, 353:4,        orange
261:2, 261:8,       311:2, 431:16,       363:11, 377:2,       163:21
288:2, 375:16,      438:20               377:6, 381:8,        order
429:9, 439:16,      older                382:8, 387:7,        27:24, 104:14,
444:18, 444:21,     70:12, 70:13,        405:4, 406:11,       182:11, 408:14,
448:4               193:6, 194:1,        410:11, 431:13,      415:23, 427:14,
occupations         194:7, 194:8,        433:20, 438:10,      459:20
21:10               291:1, 433:13,       441:6, 442:5,        orders
occurred            436:20, 436:24       445:16, 447:15,      464:7, 464:20,
391:19              once                 449:14, 449:20,      465:9
occurs              32:22, 32:23,        455:24               ordinary
34:6                34:19, 48:15,        open                 262:10
oceanic             67:11, 91:17,        377:16, 458:19       organization
32:20               98:5, 148:23,        operate              178:18, 178:24
odd                 183:24, 339:10,      262:2                organize
200:14                                                        362:5, 382:24



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 164 of 196 - Page
                                 ID#: 2277 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         163
organized           41:16, 88:3,         167:6, 167:8,        paragraphs
26:15, 47:15,       88:20, 93:10,        226:25               282:5, 345:5
96:10, 123:7,       94:1, 98:1,          page                 parents
361:25              100:24, 101:1,       13:2, 13:11,         1:7, 1:17,
organizing          101:12, 102:4,       13:12, 13:13,        1:30, 2:3, 2:13,
20:7, 343:21,       119:25, 133:7,       13:14, 13:15,        2:28, 17:25,
343:24, 361:2,      166:18, 167:5,       97:23, 168:6,        18:1, 21:9,
425:22              170:17, 170:20,      169:9, 172:19,       35:12, 291:5,
organs              197:16, 203:4,       172:20, 182:1,       291:20, 293:5,
82:4, 384:10        203:11, 220:1,       182:23, 183:9,       400:1, 400:8,
origin              220:10, 221:23,      183:10, 187:18,      400:12, 401:3,
154:10              222:20, 223:11,      191:2, 191:18,       406:3, 406:5,
original            231:24, 232:2,       195:8, 195:9,        424:22, 425:10,
171:12, 363:4       233:7, 233:10,       196:2, 196:4,        430:4, 430:14,
originally          242:17, 245:12,      268:25, 269:1,       457:13, 457:15
193:21, 395:24,     245:13, 245:16,      275:25, 280:23,      park
440:13              246:8, 246:25,       290:19, 291:24,      79:8
origins             247:3, 247:21,       305:24, 305:25,      parked
210:11              265:25, 267:25,      307:22, 307:23,      38:3
orioles             271:15, 273:6,       337:5, 381:12,       parking
27:12               279:13, 292:12,      397:19, 398:1,       34:10
others              321:25, 337:25,      406:9, 427:16,       parkman
93:17, 133:25,      338:5, 338:9,        427:17, 459:15,      8:2, 12:2,
134:13, 155:15,     343:10, 352:12,      460:20               14:23, 249:20
156:25, 180:18,     353:5, 363:23,       pages                part
180:23, 211:3,      363:24, 373:6,       1:41                 27:14, 40:3,
303:20, 366:10,     385:16, 385:18,      paid                 50:13, 52:12,
366:19              390:5, 405:21,       20:24, 21:1          53:2, 65:1,
otherwise           420:13, 421:23,      paley                85:22, 90:21,
102:7, 466:14       425:9, 436:3         209:1, 209:4,        93:20, 96:12,
ourselves           owensboro            449:10, 449:17       106:5, 114:21,
121:11, 127:16      372:16, 372:19       pans                 123:21, 132:20,
outcome             own                  385:16               134:4, 140:1,
466:14              24:4, 40:18,         paper                144:2, 157:13,
outmatched          94:7, 95:9,          35:11, 61:16,        160:14, 163:5,
                    197:6, 285:3,        288:3, 426:14,       163:6, 174:10,
99:7, 99:23,        338:5, 344:20,
100:21, 128:12                           426:19               178:15, 191:13,
                    378:13, 381:9,       paragraph            193:5, 203:10,
outnumber           382:9, 385:20,
114:2                                    103:12, 104:5,       203:23, 215:25,
                    400:21, 433:3        104:6, 104:7,        225:6, 239:15,
outside             owners
38:3, 53:5,                              104:8, 182:23,       247:13, 247:16,
                    66:5                 191:21, 276:2,       271:25, 286:3,
332:3
outsider                     P           282:20, 337:6,       286:17, 288:19,
32:5                p-i-p-e-e-e          337:12, 337:13,      316:11, 338:9,
outward             428:5                337:16, 344:17,      341:21, 359:22,
73:21               packed               344:19, 398:4,       369:14, 369:15,
over                39:16, 166:19,       398:10, 398:14,      399:3, 406:2,
                                         403:22               408:21, 413:13,
36:6, 41:6,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 165 of 196 - Page
                                 ID#: 2278 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         164
424:21, 436:9,      path                 paying               172:12, 176:5,
437:6, 437:10       158:21, 199:4,       47:21, 109:13,       199:3, 199:14,
parted              199:15, 225:3,       164:18, 164:20,      203:15, 203:21,
198:25, 215:20,     233:21, 237:13,      165:5, 165:8,        218:1, 263:14,
220:6, 228:25,      237:20, 238:5,       223:1, 297:12,       269:13, 279:16,
239:11              261:1, 261:4,        308:17, 311:22,      279:23, 279:25,
particular          261:13               371:20               305:8, 305:11,
22:3, 23:16,        patrick              pdf                  305:18, 315:14,
24:13, 26:9,        69:11                464:23               317:12, 341:1,
48:7, 92:19,        pause                peeled               404:7
119:13, 121:15,     62:6, 132:13,        40:18                perceiving
121:18, 137:19,     246:15, 334:1,       pejoratives          158:3, 445:18
191:2, 382:19,      356:22, 358:3,       381:4                percent
422:8               369:22               penis                46:12, 130:18,
particularly        paused               304:7, 304:14        191:1, 275:2,
24:15, 76:5,        57:9, 57:13,         penske               379:7, 389:7
80:2, 103:15,       58:8, 60:20,         6:12, 10:19,         percentage
112:21, 283:11,     65:10, 68:6,         250:21               97:5
294:20              71:16, 74:18,        people's             perception
parties             78:22, 79:1,         163:5, 180:16,       158:6, 185:2,
104:12, 105:3,      83:1, 108:21,        189:22, 271:16,      196:23, 200:21,
369:5, 466:12       108:25, 115:6,       274:15, 325:7,       200:23, 204:4,
parting             118:12, 118:16,      338:6, 342:10,       211:23, 263:1,
158:17, 161:16,     150:17, 160:6,       342:18, 342:21,      266:23, 279:3,
173:6, 189:13,      209:18, 213:11,      344:1, 346:16        279:5, 318:8,
193:8, 194:3,       221:17, 222:1,       peoples              318:14
215:23, 264:4       222:5, 223:4,        47:4, 53:18          perfect
partly              226:3, 228:3,        pepper               43:21, 423:2
295:9, 297:24       239:7, 241:20,       68:13                perfectly
parts               244:5, 245:9,        perceive             380:13
44:2, 207:4,        246:2, 258:13,       85:25, 96:24,        perhaps
301:1, 451:16       299:24, 311:11,      97:18, 102:23,       72:9
party               312:10, 316:15,      154:4, 155:15,       period
253:25              316:19, 318:22,      156:18, 169:23,      435:21, 443:23
pass                319:13, 319:21,      170:3, 173:4,        permission
224:16              323:19, 324:20,      213:21, 214:15,      89:17, 89:23,
passing             330:5, 334:5,        269:16, 279:19,      90:4, 291:5,
133:9               336:18, 345:14,      280:4, 315:15,       293:7
past                348:9, 351:22,       339:2, 407:12        person
20:2, 29:20,        356:19, 371:14,      perceived            28:15, 28:18,
308:23, 316:12,     372:14, 373:11,      94:17, 102:11,       43:10, 56:12,
320:2, 320:6,       375:2, 389:12        103:22, 105:20,      56:13, 66:20,
325:8, 417:21,      pausing              105:23, 116:3,       70:19, 70:20,
437:17, 440:11,     152:16, 313:2,       123:2, 127:14,       90:8, 90:9,
449:2               385:6                146:16, 156:25,      102:22, 119:18,
pasted              pay                  157:4, 157:10,       119:24, 128:11,
179:23              35:17, 111:22,       157:15, 157:22,      132:23, 145:9,
pastovich           252:11               169:12, 169:15,      154:13, 155:11,
362:23, 362:25



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 166 of 196 - Page
                                 ID#: 2279 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         165
157:20, 193:6,      455:20               pick                 placing
193:8, 194:1,       philosophy           43:20, 112:10        419:6
194:2, 194:8,       18:24                picked               plaintiff
201:11, 221:6,      phone                28:12, 28:20,        1:10, 1:20,
224:20, 225:10,     46:9, 49:2,          57:23, 86:18         1:33, 2:6, 2:16,
225:20, 255:20,     163:22, 167:21,      picking              2:31, 5:3, 9:3,
275:9, 275:12,      181:17, 187:14,      93:20                250:2, 250:22
295:25, 296:4,      291:25, 306:20,      picture              plan
315:4, 332:8,       306:23, 357:9,       111:25, 166:19,      197:4
342:16, 357:13,     391:21, 392:6,       205:4, 242:7,        plane
357:14, 357:15,     396:25, 405:21,      291:8, 291:13,       416:25, 417:17
358:5, 361:22,      405:22, 425:2,       446:22, 458:16,      planet
373:17, 374:21,     425:5, 425:9,        458:23, 460:22,      8:8, 12:8,
389:15, 389:17,     435:11, 435:22,      461:14               14:24, 16:7,
403:8, 403:18,      435:24, 436:6,       pictures             249:21, 250:25
404:19, 406:10,     436:12, 436:15,      170:6, 447:15,       planned
411:24, 434:4,      436:18, 436:20,      448:1, 458:15,       272:15
461:24              436:24, 437:14,      461:20               planning
personal            437:22, 437:25,      piece                273:18
138:21, 184:9,      438:17, 438:20       35:11, 391:18,       plant
184:12, 271:5,      phones               426:14, 426:19       175:11
317:8, 367:13,      165:23               pieces               planted
433:3               phonetically         409:23, 410:12       278:17, 279:11
personality         25:8, 56:24,         piles                platform
178:8               70:18, 121:14,       234:3, 234:9,        447:15
personally          274:16, 358:24       234:10, 234:22       play
41:9, 89:10,        photo                pinned               22:14, 27:17,
93:9, 109:21,       61:18, 61:21,        225:4, 418:14,       29:22, 29:24,
272:25, 297:21,     61:22                418:24, 419:10       34:20, 51:17,
310:8, 364:9,       photos               pipe                 58:4, 71:12,
393:23, 399:9,      462:14               428:6, 428:7,        73:9, 82:18,
433:1               phrase               428:16, 429:25       84:3, 107:8,
persons             65:22, 103:14,       pitched              111:7, 136:10,
65:19, 66:21,       365:25, 384:7        43:7                 142:14, 202:16,
142:20, 450:6       physical             pius                 208:9, 208:13,
perspective         32:4, 98:23,         19:16                221:7, 224:8,
103:21, 143:18,     99:3, 114:23,        place                227:24, 229:10,
207:14              135:16, 147:10       14:25, 27:16,        245:22, 246:21,
perspectives        physically           52:11, 77:6,         280:19, 288:1,
106:7, 146:14       100:7, 138:5,        151:21, 153:23,      301:22, 302:2,
peter               157:7, 164:15,       173:10, 194:16,      310:21, 311:12,
69:21, 69:22        165:19, 166:9,       219:16, 249:22,      313:7, 319:6,
petty               167:11, 198:23,      279:25, 333:22,      319:7, 320:1,
288:5, 288:7        218:19, 220:4,       350:4, 369:2         321:12, 322:19,
phase               224:23, 256:3,       placed               323:16, 323:20,
191:1, 377:22,      276:18               226:15               324:22, 326:19,
379:20, 379:21,     physician            placement            334:1, 335:16,
393:1, 455:19,      285:25               23:9                 347:12, 364:13,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 167 of 196 - Page
                                 ID#: 2280 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         166
367:21, 386:9,      political            207:16, 232:11,      prefer
437:6, 437:10       198:19               232:14, 237:11,      236:5, 281:20
player              politically          237:25, 238:10,      premise
242:22              22:23                238:12, 257:3,       101:21
players             politics             263:12, 263:17,      premised
100:18, 270:9       18:24, 424:8         266:6, 279:15,       445:25
playing             poll                 309:9, 371:19,       prep
34:24, 53:16,       157:18               414:25, 417:12,      248:12
68:3, 79:10,        pool                 417:16, 461:6        prepare
111:8, 119:22,      79:12                possibly             426:8
126:1, 141:16,      poor                 176:5, 454:19        prepared
141:19, 142:1,      121:4                post                 394:2, 396:4,
142:5, 142:8,       poorly               272:16, 274:15,      405:15, 419:9
144:15, 155:19,     305:7                288:20, 447:15       prerogative
245:23, 258:9,      popping              posted               94:21
315:4, 318:18,      217:1                272:23, 287:20,      presence
320:8, 328:7,       popular              448:11               454:9
416:8               178:9, 435:2         poster               present
plays               portable             198:12               8:1, 12:1,
180:17              431:18               posters              21:17, 141:5,
pleasant            portion              47:11, 73:23,        308:23, 419:18,
340:22              182:19, 183:9,       92:8                 440:6, 450:21,
please              187:17, 195:8,       posting              455:13
15:2, 16:8,         199:19, 281:16,      449:24               presented
104:17, 242:25,     282:17, 305:24,      potential            63:23
249:24, 251:2,      307:7, 307:22,       20:15, 415:4         preserve
397:2, 402:15,      309:15, 354:16,      potentially          441:2, 441:5
403:2, 403:5,       427:16, 463:18       98:20, 193:13,       preserved
464:3, 464:11       portions             218:24, 395:25,      435:25
plla                13:10, 192:6         451:19, 457:8,       president
5:6, 9:6            pose                 457:14               42:13, 42:24,
plus                356:22               pounds               44:23, 50:2,
439:15              position             99:25                75:24, 77:17,
pointed             156:13, 455:1        ppe                  364:6, 364:8
78:23, 164:25,      positioned           18:24                presiding
419:8, 460:19       297:13               practices            394:1
pointing            positive             98:3                 press
70:16, 78:13,       40:16, 110:13,       praising             426:3
78:15, 104:16,      206:15, 292:15       26:12                pressure
105:9, 105:10,      possession           prayer               189:18
121:16, 160:22,     159:17               143:13, 171:1,       presume
204:15, 228:7       possible             171:22, 171:23,      406:18
points              17:2, 61:25,         401:15, 411:18,      pretty
67:13, 79:12,       63:18, 66:22,        411:21, 415:8,       22:19, 26:15,
338:25, 343:18,     84:16, 86:17,        415:19, 416:13       41:13, 46:24,
398:24              125:8, 136:15,       prayers              63:12, 68:21,
police              136:18, 140:7,       416:11               78:17, 87:22,
53:18               150:3, 192:12,       praying              95:1, 96:11,
                                         416:14



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 168 of 196 - Page
                                 ID#: 2281 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         167
97:19, 111:21,      305:6, 306:17,       366:20, 433:15       365:21, 366:4
114:11, 121:19,     311:20, 315:12,      profile              protestor's
127:10, 148:13,     315:18, 335:14,      164:13               337:20, 337:22
171:9, 202:10,      343:2, 343:10,       programs             protestors
206:15, 273:4,      353:11, 353:14,      262:8                50:18, 366:10,
287:15, 291:3,      364:10, 370:24,      progresses           366:20, 407:4,
328:19, 328:21,     373:18, 376:25,      147:14               417:6, 417:18
329:7, 331:15,      384:7, 407:2,        projected            prove
367:12, 368:6,      433:13, 440:6,       292:14               275:6, 334:23,
405:22, 413:4,      442:19, 452:7,       projects             376:13, 385:14
445:4, 458:14       453:4, 453:9,        295:7                provide
preventing          455:19               prolife              414:14, 453:13
220:4               problem              42:13, 196:14        provided
previous            46:11, 439:12        promote              414:4
38:18, 88:24,       proceed              197:3, 198:4         providing
103:25, 448:13      182:24, 251:24       promoted             452:3, 452:10
previously          proceedings          196:18, 197:9,       provisions
13:7, 252:2         59:23, 103:6,        197:14               183:2
prime               131:20, 172:19,      promoting            provocative
43:4                200:1, 268:25,       196:13               64:6, 114:11,
principal           281:9, 294:13,       prompted             114:19
32:8, 259:21,       359:16, 408:3,       332:11               psychological
262:22, 295:23,     458:2, 460:12        proposal             281:14
397:1, 398:15       proceeds             397:13, 398:11,      public
print               418:18               398:15, 402:14,      4:10, 38:23,
180:11, 291:5       process              402:17, 402:19,      170:24, 171:18,
printed             362:8, 405:16,       402:22, 403:3,       191:7, 224:17,
293:10              405:20, 436:9        403:14               275:23, 317:18,
printing            produce              proposed             337:2, 377:24,
293:23              435:3, 437:4         397:9, 404:11        381:6, 395:25,
prior               produced             proposing            396:16, 405:14,
49:4, 133:13,       51:12, 159:5,        397:15               409:19, 430:10,
299:8, 299:14,      159:25, 167:20,      protect              466:2, 466:23
344:11, 442:10      178:2, 201:22,       23:3, 428:1          publicly
priority            341:7, 363:11,       protecting           396:4, 410:9,
303:14, 456:8       363:16, 393:12,      42:18                414:7
private             394:20, 419:23,      protective           pull
19:21               419:24, 421:10,      182:11, 427:14       61:14
pro-life            427:1, 436:10,       protectors           pulled
434:17              437:5, 438:25,       428:2, 428:22        46:19, 61:21
probably            443:4                protest              punished
35:25, 38:1,        product                                   411:6
                                         52:6, 175:19,
41:12, 43:4,        363:6                365:14               purely
62:1, 100:4,        professional         protester            293:22
100:12, 133:7,      289:20, 342:9,       276:6                purpose
134:15, 186:8,      365:7, 365:18,       protesting           27:15, 35:2,
194:25, 219:20,     365:20, 366:4,                            90:21, 397:12,
                    366:5, 366:10,       52:9
297:17, 303:17,                          protestor            401:14, 423:24,
                                         365:7, 365:19,


                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 169 of 196 - Page
                                 ID#: 2282 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         168
439:5               235:9, 235:19,       441:16               343:21, 343:25,
purposes            236:22, 237:24,      quiz                 344:1, 346:16,
248:12, 282:4,      237:25, 243:6,       130:3, 130:19        418:16
420:22              254:17, 261:12,      quote                ran
pursuant            261:19, 266:11,      90:22, 103:13,       46:20, 219:24
4:9                 267:1, 267:10,       368:15, 381:7        random
pushing             268:13, 268:17,      quoted               163:3, 274:10,
156:13              268:24, 269:8,       284:25, 296:17       431:23, 433:11,
put                 281:25, 282:25,      quotes               434:4
30:18, 57:20,       285:22, 285:24,      192:17               randomly
61:17, 69:25,       286:23, 298:4,       quoting              97:21
163:13, 176:20,     299:3, 308:25,       303:20, 303:23,      rather
190:25, 219:15,     376:18, 376:19,      303:24               22:15, 190:24,
243:18, 256:6,      378:6, 383:22,                R           289:19, 289:24,
285:3, 320:25,      384:4, 384:23,                            377:20
                    384:25, 418:5,       race
357:19, 364:12,                          398:17, 398:20,      rd
369:21, 380:2,      423:19, 429:14,                           408:10, 466:17
                    452:22, 457:6,       399:6, 399:12,
404:23, 407:15,                          399:14, 399:20,      reached
408:16, 409:11,     461:16                                    124:3, 423:22
                    questioning          400:14, 400:22,
419:2, 449:20,                           400:25               reaching
463:1, 463:3        380:12, 382:18                            179:6, 423:24
                    questions            races
put-together                             381:10, 406:13       reacting
433:14              17:1, 17:4,                               262:18
                    22:17, 82:20,        racial
putting                                  86:2, 270:9          reaction
22:7, 31:13,        191:3, 192:7,                             50:15, 63:21,
                    216:4, 267:22,       racially
191:2, 282:4,                            387:16, 387:22       80:25, 127:7,
380:24, 463:5       268:8, 281:17,                            261:5, 271:4,
                    281:24, 377:14,      racism
puzzled                                                       271:7, 271:11,
                    377:20, 380:5,       388:1
94:2                                     racist               303:5, 334:7,
         Q          380:10, 383:13,                           334:13, 372:25,
                    383:15, 392:25,      81:21, 82:5,
quality                                  82:7, 103:16,        421:3
                    422:14, 426:11,                           reacts
432:6               426:15, 445:19,      104:1, 381:16,
question                                 382:1                304:2
                    445:24, 450:12,                           read
17:2, 30:17,        454:23, 463:24,      raise
44:8, 62:7,                              316:10               24:13, 24:16,
                    463:25                                    24:20, 24:21,
64:24, 72:19,       quick                raised
72:20, 75:18,                            193:5, 195:2,        28:2, 86:22,
                    30:17, 71:3,                              87:21, 168:21,
76:13, 76:14,       240:10, 287:15,      212:9
86:14, 92:24,                            raising              168:25, 172:10,
                    307:10, 407:17,                           172:14, 172:18,
93:5, 102:16,       407:20               123:14
140:22, 149:9,                           rallies              172:20, 177:10,
                    quickly                                   177:12, 181:7,
149:13, 149:15,     134:16, 199:7,       366:1
156:14, 156:15,                                               191:21, 192:14,
                    239:15, 357:2        rally                192:16, 267:18,
159:19, 171:9,      quiet                45:13, 45:17,
172:24, 180:1,                                                268:3, 268:6,
                    316:8                47:3, 116:23,        268:18, 269:1,
186:22, 227:11,     quite                150:1, 163:5,
234:15, 234:18,                                               281:4, 306:24,
                    228:15, 384:20,      271:16, 338:6,       307:1, 337:8,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 170 of 196 - Page
                                 ID#: 2283 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         169
344:15, 376:18,     156:15, 179:6,       348:25, 403:20,      recent
398:5, 398:9,       184:20, 196:1,       420:19               20:19, 21:8,
401:23, 426:14      199:7, 210:13,       reasonable           454:14, 460:18
readable            211:11, 213:25,      137:9, 137:12,       recently
119:10              214:2, 217:23,       137:14, 138:6,       270:20, 437:15
reading             220:15, 224:8,       255:11, 255:14       recess
24:5, 24:10,        229:15, 253:19,      reasonably           59:21, 103:4,
142:16, 142:24,     257:10, 257:12,      105:20, 255:4        131:18, 199:22,
177:7, 177:11,      262:15, 267:24,      reasons              281:7, 294:11,
466:10              282:24, 286:15,      142:11, 142:14,      359:14, 408:1,
reads               286:21, 296:8,       200:11, 415:19       457:25, 460:10
347:18              296:13, 303:5,       recall               recheck
ready               303:12, 303:13,      20:23, 24:12,        447:6
16:13, 16:14,       310:13, 315:2,       24:20, 29:21,        recitations
124:2, 132:9        334:13, 347:23,      33:6, 39:12,         96:11
reagan              348:18, 353:7,       45:11, 45:25,        recited
45:5                353:13, 354:4,       48:11, 48:21,        321:8
real                359:9, 370:3,        53:3, 53:9,          reciting
71:3, 129:15,       371:19, 373:2,       65:3, 66:24,         321:10
129:23, 307:10      379:22, 379:24,      150:25, 186:7,       recognizable
reality             380:23, 387:20,      186:11, 187:9,       95:22
237:20, 279:7       391:18, 393:1,       187:15, 200:25,      recognize
realize             403:18, 406:6,       282:21, 285:4,       29:24, 56:13,
295:10, 375:25,     416:2, 416:10,       285:18, 286:9,       56:19, 56:25,
384:21, 387:1       426:4, 430:1,        287:1, 297:11,       71:7, 96:3,
realized            431:14, 433:20,      298:16, 299:12,      96:7, 123:25,
21:25, 185:7,       434:6, 434:25,       332:22, 333:5,       140:9, 358:5,
259:1, 259:5,       447:16, 452:21       333:23, 345:22,      364:24, 386:19,
262:22, 263:2,      realtime             353:17, 362:22,      388:18, 389:18,
263:13, 266:8,      107:9, 162:7,        368:23, 374:4,       421:1, 427:2
266:22, 433:13      213:2, 227:25,       391:14, 392:20,      recognized
realizes            243:25               408:20, 419:20,      26:6, 325:20
375:18              rear                 427:10, 442:12,      recognizing
really              325:16               442:15, 445:2,       346:8
25:22, 34:24,       reason               451:7, 456:6,        recoil
36:1, 41:14,        24:7, 29:14,         456:22               387:11
49:2, 50:2,         35:22, 41:21,        recalled             recollection
56:15, 65:17,       51:3, 58:1,          252:3                192:2, 390:5,
65:20, 80:14,       80:11, 114:4,        recancel             408:25, 455:21
82:4, 91:9,         121:15, 121:18,      377:11               record
98:18, 104:24,      139:9, 145:8,        receive
                    147:8, 148:3,                             17:11, 17:17,
111:22, 115:18,                          439:3, 450:1         22:9, 22:12,
115:25, 116:12,     156:16, 156:17,      received
                    156:20, 156:21,                           30:4, 30:15,
129:8, 129:11,                           167:24, 299:13,      51:19, 54:1,
137:13, 141:4,      184:25, 191:6,       427:22, 454:7,
                    194:15, 210:6,                            54:4, 55:7,
141:13, 144:22,                          454:18, 459:5        56:6, 57:8,
144:25, 153:23,     224:9, 270:22,       receiving
                    279:16, 284:3,                            59:20, 60:1,
154:10, 154:14,                          440:3                64:12, 74:1,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 171 of 196 - Page
                                 ID#: 2284 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         170
78:21, 103:3,       371:8, 398:23,       151:12, 166:6,       429:3, 433:16,
103:9, 104:3,       451:14, 462:10       171:17, 171:18,      434:23, 434:25,
104:11, 106:2,      redact               189:21, 190:6,       448:22, 466:11
106:15, 131:17,     282:3, 282:5         196:22, 198:15,      relates
131:23, 139:17,     redid                200:6, 201:1,        380:14, 421:25
159:3, 168:21,      459:24               201:9, 201:24,       relating
177:15, 190:23,     redo                 304:15, 307:17,      24:13, 24:19
190:25, 191:7,      459:7, 459:21        308:13, 312:1,       relation
195:6, 199:21,      reds                 312:18, 315:7,       429:8
199:25, 214:22,     27:9, 27:10,         343:25, 344:25,      relationship
239:19, 246:17,     202:4, 202:8,        350:18, 351:16,      21:12, 21:15
248:15, 248:19,     272:8, 272:11,       355:18, 357:14,      relationships
248:20, 251:5,      272:12, 272:23,      366:19, 367:2,       21:12
257:22, 268:10,     273:8, 274:3,        371:25, 372:2,       relatively
268:15, 272:7,      329:25, 330:8,       400:9, 401:4,        288:22
274:13, 275:18,     330:11, 330:17,      414:21, 416:22,      relatives
281:3, 281:6,       330:21, 330:25,      421:6                371:23
281:12, 282:4,      331:11, 332:9,       refers               relayed
294:10, 294:16,     332:24, 334:18,      337:16, 351:6        286:10
300:11, 300:15,     338:15, 339:3,       reflection           release
301:6, 307:16,      340:1, 345:16,       289:24               396:12, 396:16,
318:12, 322:16,     346:9, 348:4,        reflects             397:3, 397:5
324:23, 345:4,      349:1, 349:8,        296:3, 338:15,       released
355:25, 357:20,     350:7, 356:6,        338:24, 387:16       275:24, 396:5,
359:13, 359:19,     367:2, 367:16,       refrigerator         396:22, 404:17
360:19, 407:25,     368:3, 368:9,        413:8                releasing
408:6, 413:1,       368:14               regan
413:3, 457:24,                                                397:15
                    reduced              70:17                relevant
458:5, 460:4,       466:9                regard
460:9, 460:15,                                                363:15, 363:20,
                    refer                182:9                378:2
464:4, 465:11,      202:7, 337:19,       regardless
465:15, 466:6                                                 religion
                    365:6, 401:7         166:10, 194:25       90:19
recorded            reference            regularly
51:17, 243:17                                                 religious
                    77:4, 78:14,         426:1                142:11
records             109:9, 129:10,       rehearsed
412:24                                                        remain
                    189:25               96:12, 96:20         281:15
red                 referenced           reimaged
69:14, 135:6,                                                 remark
                    166:25, 167:3        438:21               197:5
202:3, 234:1,       references           reiterated
291:13, 300:14,                                               remarked
                    67:17, 144:8         39:23                414:23
319:3, 330:17,      referencing          reiterating
333:2, 333:13,                                                remarks
                    428:15, 429:16       38:13                53:18, 88:6
333:17, 334:21,     referred             rejecting
336:7, 337:19,                                                remember
                    26:2, 203:7,         402:25               29:16, 33:13,
338:21, 339:11,     209:22, 337:23,      relate
339:12, 342:3,                                                35:10, 36:19,
                    366:9, 388:18,       176:10, 282:8,       37:14, 37:17,
348:12, 351:15,     399:23, 415:2
353:3, 359:1,                            434:16               40:13, 40:14,
                    referring            related              53:10, 53:11,
                    89:6, 144:20,        52:8, 270:13,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 172 of 196 - Page
                                 ID#: 2285 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         171
57:17, 57:20,       rephrase             15:22, 15:25,        194:10, 194:23,
61:13, 73:17,       17:5, 55:6,          16:2, 16:7,          194:24, 255:17,
111:25, 130:13,     62:6, 62:14,         32:11, 39:9,         315:11, 406:13
130:16, 170:12,     87:24, 254:21,       249:21, 250:2,       respecting
177:23, 183:1,      269:8, 351:3,        250:4, 250:5,        193:3
200:9, 201:5,       396:8                250:8, 250:11,       respond
201:12, 219:13,     replay               250:12, 250:15,      101:19, 176:18,
219:18, 244:22,     72:9, 152:20,        250:17, 250:25       183:21, 188:18,
270:4, 270:5,       246:12, 253:9,       represents           196:15, 196:18,
273:4, 285:1,       253:10, 256:15,      43:10                291:7, 292:4,
327:20, 331:14,     314:17, 378:24       republican           332:11, 426:13,
331:23, 332:7,      report               359:22               428:4, 461:18
332:20, 332:25,     191:8, 192:4,        republicans          responded
333:3, 333:9,       192:6, 192:21,       78:1, 78:3,          52:23, 293:17,
333:12, 342:19,     280:24               78:4                 402:23, 423:1,
353:9, 353:23,      reported             request              428:25, 434:5
354:6, 360:6,       1:42                 283:3, 441:8,        responding
360:20, 361:18,     reporter             441:9, 443:22,       63:19, 86:1,
361:19, 362:2,      16:6, 16:8,          446:2                119:25, 125:5,
365:15, 368:18,     17:10, 19:9,         requested            125:22, 138:9,
368:25, 371:19,     19:10, 19:15,        466:10               275:9, 288:17,
389:4, 390:22,      149:11, 149:12,      requests             339:12, 384:25,
394:15, 413:16,     172:18, 172:21,      449:9                434:8, 439:9,
414:2, 422:13,      183:7, 250:24,       required             439:18, 440:19
431:11, 447:21,     251:2, 251:9,        182:16, 280:12,      responds
449:2, 449:7,       251:17, 251:20,      431:8, 441:12        185:13
449:23              268:5, 268:14,       requires             response
remessage           268:18, 268:21,      277:2                94:3, 150:3,
440:14              269:2, 457:20,       rescue               150:12, 185:18,
remind              458:8, 464:6,        144:16, 145:10,      275:8, 275:11,
135:4               464:20, 465:8,       145:14               375:14, 378:9,
remotely            466:1                rescued              378:12, 386:23,
14:25, 249:23       repositioning        144:21               386:25, 387:6,
remove              247:9                rescuing             394:21, 402:16,
443:25              repossess            144:20               402:20, 403:3,
removed             439:22               research             403:14, 445:18,
57:19               represent            20:9                 449:9, 460:18
reorient            15:3, 15:7,          researched           responses
337:10              61:20, 116:16,       413:24               168:25, 449:8,
repair              249:25, 280:23,      resetting            458:11
37:19               282:2, 288:2,        247:5, 247:10,       responsibility
repeat              289:5                247:11               193:12
33:21, 50:3,        representative       respect              responsible
50:6, 68:8,         147:3, 184:9         194:16, 388:9,       450:19
101:7, 101:10,      representing         411:25               responsive
301:4, 301:5,       14:24, 15:10,        respected            444:3
349:6               15:11, 15:13,        142:22, 381:10       rest
repetition          15:16, 15:20,        respectful           37:14, 45:19,
150:22                                   193:9, 194:4,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 173 of 196 - Page
                                 ID#: 2286 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         172
100:5, 128:15,      review               398:16               243:21, 258:3
137:24, 183:22,     394:6, 397:17,       role                 ruin
184:6, 324:13,      403:5                22:14, 22:15,        188:13
403:8               reviewed             22:19, 179:8,        ruins
restart             67:3, 67:11,         363:1, 363:2,        189:21
85:8, 115:1,        412:8                419:4, 419:5         rule
118:1, 118:13,      revived              roles                32:7
128:4, 133:16,      45:4                 188:15               run
134:17, 161:7,      rewind               roll                 109:8, 111:20,
183:13, 209:12,     232:14, 232:21,      110:4                178:18, 178:20,
228:19, 240:24,     242:18               rolled               178:21, 210:20,
302:6, 310:16,      rhythm               109:9                418:18
312:6               142:4                rolling              running
restarting          rice                 2:34, 6:11,          135:21, 276:14
56:8, 128:5,        69:21                10:18, 14:16,        runs
209:13, 223:5,      rich                 16:1, 104:8,         155:3, 360:22
228:20, 240:25,     66:4                 249:13, 250:9,       runswitch
310:17, 312:7,      riding               250:21, 345:7,       394:20, 395:15,
313:5, 315:20,      53:15                464:24, 465:5        405:18, 427:1
324:17, 334:2,      rights               rolls                rushed
336:15, 348:6,      23:3, 42:18,         106:22, 107:20       404:22
351:19, 386:10,     423:3, 423:4,        room                 ryan
388:12, 389:9       423:13, 423:15       138:19, 166:18,      250:20
result              riled                166:20, 218:10,               S
236:20, 382:21      151:20, 151:24       232:20, 284:19,
resumed                                                       s
                    ring                 362:6, 379:25,       423:4, 423:7,
59:23, 103:6,       161:19, 165:23,      406:5, 435:25
131:20, 200:1,                                                423:17
                    304:9, 304:10        roommate             s-u-m-m-e
281:9, 294:13,      risk                 451:20
359:16, 408:3,                                                70:10
                    219:5, 380:2,        root                 sacred
458:2, 460:12       382:21               27:3
retain                                                        428:4, 428:7,
                    risked               rotating             428:16, 429:24
41:20, 430:14,      218:23               138:4, 207:13
430:24, 430:25                                                safe
                    risky                roughly              91:11, 262:12,
retraced            377:13               143:17, 234:21,
390:7                                                         262:18
                    ritchey              235:13, 258:15,      safer
return              7:15, 11:22          325:23, 408:20
194:16                                                        237:19
                    rivalry              row                  safety
returned            34:19                163:16, 164:3,
125:19, 417:4,                                                148:17, 148:22,
                    river                164:11, 244:24       149:2, 149:6,
430:6               9:22                 rows
returning                                                     149:16, 149:19,
                    road                 137:7, 161:4,        149:21, 150:5,
416:25, 455:15      101:15, 343:3,       204:20, 213:7,
reversed                                                      150:10
                    377:10               215:19, 216:22,      salesman
188:16              robert               217:4, 217:7,
revictimized                                                  21:11
                    9:20, 51:8           217:11, 217:12,      sam
381:2               roe                  219:3, 228:16,
revictimizing                            240:21, 241:12,      209:1, 209:4,
                    262:22, 295:23,
380:25



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 174 of 196 - Page
                                 ID#: 2287 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         173
449:10, 449:17,     sandmann             53:2, 57:5,          375:7, 375:19,
449:20, 449:21      1:6, 1:8, 1:9,       67:11, 88:2,         376:8, 376:23,
sambo               1:16, 1:18,          88:19, 88:20,        377:16, 386:14,
65:15, 66:16,       1:19, 1:29,          89:4, 91:17,         394:12, 395:21,
66:17               1:31, 1:32, 2:2,     107:17, 107:19,      397:13, 398:4,
same                2:4, 2:5, 2:12,      109:8, 109:14,       398:9, 398:10,
28:18, 29:14,       2:14, 2:15,          109:23, 111:20,      398:14, 402:15,
45:7, 52:11,        2:27, 2:29,          112:16, 133:13,      403:17, 403:23,
66:13, 76:15,       2:30, 3:1, 4:1,      153:13, 157:4,       403:25, 406:10,
88:25, 97:22,       8:3, 12:3, 13:2,     157:18, 158:22,      415:22, 420:8,
97:24, 98:2,        14:2, 14:3,          170:4, 170:12,       420:15, 459:16
104:4, 106:5,       14:5, 14:8,          200:13, 200:17,      scale
106:7, 109:23,      14:10, 14:13,        204:5, 218:4,        97:25
112:2, 113:14,      14:15, 15:10,        236:14, 236:15,      scared
116:17, 143:17,     16:3, 16:11,         236:19, 258:16,      149:20
146:11, 156:24,     17:20, 18:1,         264:18, 265:5,       schaeper
157:2, 179:20,      18:5, 78:23,         265:16, 269:24,      25:9, 168:2,
179:21, 185:15,     248:22, 248:24,      275:4, 283:10,       168:12, 306:7
186:18, 186:21,     248:25, 249:2,       299:7, 314:13,       schafer
196:22, 203:23,     249:5, 249:7,        404:2, 413:7,        8:6, 12:6
208:4, 218:20,      249:10, 249:12,      413:12, 415:15,      schedule
225:6, 227:11,      250:2, 250:23,       416:18, 452:8,       361:3, 361:23
235:4, 235:5,       306:8, 394:12,       456:2, 456:5,        scheduled
235:23, 236:4,      395:9, 395:22        456:7, 456:9         346:16
236:9, 236:11,      sara                 says                 schomaker
237:22, 259:14,     12:8                 57:16, 61:8,         393:16, 393:18,
284:13, 298:5,      sat                  71:23, 73:2,         394:14, 397:8,
301:20, 308:7,      411:1, 455:14        83:8, 83:9,          402:4
308:12, 310:10,     satellite            84:8, 85:13,         school
337:23, 338:10,     2:20, 6:19,          96:14, 127:7,        18:9, 18:13,
339:6, 340:5,       7:4, 11:4,           129:4, 144:15,       19:7, 19:14,
340:9, 342:17,      11:12, 15:21,        146:6, 146:9,        19:15, 19:16,
344:25, 345:4,      250:13, 250:16       146:20, 146:21,      19:21, 20:12,
359:4, 384:18,      saturday             151:10, 151:16,      21:25, 22:21,
386:25, 387:6,      37:5                 155:24, 180:13,      25:19, 25:24,
388:9, 388:17,      savannah             182:23, 260:2,       31:17, 36:10,
400:15, 401:2,      80:9, 98:7,          260:5, 272:2,        36:11, 36:12,
413:23, 418:25,     408:9, 425:23,       276:2, 276:4,        36:24, 36:25,
422:3, 423:19,      426:16               290:21, 291:3,       88:1, 88:10,
429:9, 430:21,      save                 291:15, 291:19,      94:2, 94:20,
436:12, 436:14,     144:25, 296:16,      304:1, 304:5,        94:24, 95:6,
437:22, 438:6,      461:23               311:1, 316:21,       95:18, 96:4,
438:12, 438:18,     saved                317:1, 321:4,        96:8, 96:10,
443:9, 443:22,      447:5                322:14, 323:6,       96:13, 97:7,
446:2, 450:12,      saw                  330:22, 342:10,      97:11, 97:17,
454:23, 461:3,      29:10, 36:2,         346:10, 349:10,      98:3, 111:15,
465:12              40:22, 47:19,        349:23, 368:17,      112:8, 119:5,
sandman             49:12, 49:22,        374:3, 375:5,        121:22, 131:1,
252:2



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 175 of 196 - Page
                                 ID#: 2288 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         174
141:25, 153:25,     425:2, 425:9,        337:5, 337:8,        50:18, 51:4,
165:17, 165:18,     425:14, 425:19,      381:12, 383:21,      80:4, 80:12,
166:1, 169:11,      425:25, 426:10,      393:20, 395:11,      91:6, 109:2,
174:9, 174:11,      427:5, 430:24        398:6, 403:24,       109:12, 124:14,
175:2, 175:3,       screaming            406:9, 459:10,       140:7, 140:11,
175:13, 175:16,     306:10, 308:8        459:24               141:2, 141:12,
180:18, 181:4,      screen               section              163:4, 210:12,
183:22, 185:16,     60:24, 74:10         26:7, 26:16,         218:12, 306:21,
186:4, 196:5,       screenshot           31:19, 32:6,         381:9, 387:16,
196:10, 262:5,      287:19, 289:5,       183:7, 261:1,        388:6, 393:24,
262:7, 269:25,      341:19, 342:7,       261:10, 270:10,      402:6, 406:23,
270:6, 270:7,       342:16, 463:3        316:7, 335:15        409:20, 409:23,
270:8, 270:24,      screwed              secure               422:4, 453:21,
289:1, 316:5,       38:22                219:16               455:25
321:8, 328:15,      scroll               seeing               sees
329:1, 329:5,       436:18, 440:12       52:5, 52:18,         193:6
329:6, 352:23,      scrolled             53:4, 55:23,         segue
372:17, 375:24,     434:22               63:25, 64:1,         124:5
384:12, 387:5,      scrolling            124:10, 156:23,      selling
387:12, 391:2,      436:17               223:19, 315:24,      66:4, 292:22
393:25, 431:8,      seal                 448:5                sellout
431:21, 432:9,      182:22, 466:16       seem                 82:1
432:10, 432:17,     search               55:24, 64:6,         semi
432:20, 432:22,     289:22, 424:21,      80:2, 114:13,        425:25
432:23, 433:2,      434:9, 434:14,       140:16, 207:14,      senate
433:9, 434:24,      435:2, 436:4,        211:23, 224:8,       20:3
440:24, 451:6       436:5, 436:12,       325:5, 329:8,        senator
schools             436:16, 438:3,       347:4, 384:23,       20:13
26:15, 26:21,       439:7, 440:18,       413:16, 445:15       send
36:14, 36:16,       444:22, 445:4,       seemed               394:11, 394:13,
36:23, 37:24,       446:16               42:3, 72:2,          439:3, 458:7
38:4, 186:1,        searched             82:4, 95:8,          sending
187:8               432:18, 433:17,      98:17, 98:19,        397:11
schoolwork          437:3, 438:3,        133:5, 200:14,       senior
25:20               438:5, 438:6,        203:21, 342:20,      20:12, 27:23,
schutt              445:11               365:18, 378:23,      33:17, 375:24,
181:20, 181:21,     searching            399:3, 399:5,        378:9, 388:25,
181:22, 187:6,      437:6                451:15, 455:6        432:2, 432:9,
188:11, 189:20,     second               seems                437:12, 437:21
294:22              61:15, 82:18,        97:19, 104:1,        seniors
science             162:6, 162:20,       124:23, 124:24,      33:24, 89:16,
90:16               162:21, 168:9,       178:3, 236:3,        125:20
score               180:12, 201:4,       246:25, 343:20,      sense
26:17               219:21, 223:6,       343:24, 347:5,       18:20, 79:21,
scott               231:17, 234:17,      367:19, 388:1,       144:22, 145:4,
394:5, 405:18,      264:3, 268:21,       394:24, 399:2,       150:2, 203:23,
424:12, 424:17,     275:25, 276:1,       441:16, 454:1        396:10
424:21, 424:24,     320:2, 320:6,        seen                 sent
                                         30:9, 32:21,         167:23, 177:23,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 176 of 196 - Page
                                 ID#: 2289 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         175
179:15, 179:17,     262:8, 317:10,       shirts               184:6, 218:8
259:20, 290:20,     457:3, 466:16        292:2, 293:24        shoulders
394:7, 394:25,      setting              shock                319:1
396:3, 397:7,       414:10               52:1, 80:4           shouldn't
402:9, 402:13,      seven                shoes                147:2
402:22, 440:13,     349:15, 407:2        31:13, 74:13,        shout
441:20, 441:21,     seventeen            219:22, 219:23,      111:3, 311:16,
444:21, 446:23,     438:2                220:2                315:11, 378:21
455:5, 458:13,      seventeenth          shook                shouted
459:24              435:13, 435:14,      6:13, 10:20,         90:23, 122:8,
sentence            435:17               15:25, 250:8,        147:6, 374:23
180:12, 180:13,     seventh              465:4                shouting
260:1, 269:20,      24:21                shooters             101:2, 101:21,
275:7, 285:7,       several              79:13                101:23, 101:24,
285:20, 402:15,     31:22, 57:4,         shop                 102:5, 102:9,
403:24, 404:13,     97:22, 161:4,        41:7, 41:25,         118:21, 123:6,
404:23              188:25, 215:7,       42:3                 125:18, 125:22,
sentences           215:18, 217:12,      shopping             148:2, 313:14,
260:24              218:13, 219:3,       391:12, 391:24,      314:14, 326:15,
sentiments          240:21, 258:3,       392:5, 392:8,        326:17, 327:1,
410:15              258:19, 344:20,      392:9                328:12, 371:17,
separate            363:20               short                371:23, 374:1,
415:13              shaking              203:18, 204:3,       374:18, 388:16,
separately          17:9, 123:19,        342:23, 355:3,       388:19
183:11, 195:10,     124:20               435:21, 449:18       shouts
306:1, 307:24,      shaky                shorthand            135:8
427:18              243:17               466:1                show
september           shaped               shortly              29:8, 54:6,
3:3, 3:6, 5:2,      237:18               162:12, 448:10       80:8, 98:7,
6:2, 7:2, 9:2,      shapes               shot                 106:6, 108:4,
10:2, 11:2,         22:20                223:21, 223:25,      190:19, 201:7,
14:20, 248:21,      shapiro              224:1, 420:4,        272:7, 289:22,
249:17, 466:17      444:12               421:15, 421:17       292:16, 296:15,
series              share                should               341:5, 385:19,
17:1, 394:19,       351:10, 463:1        32:1, 35:25,         394:17, 407:16
400:1               sharing              107:11, 120:21,      showed
serious             444:20               141:21, 154:1,       112:1, 215:6,
155:25              shelton              183:8, 185:14,       296:25, 308:7,
seriously           280:24, 296:17       187:24, 196:25,      308:12, 368:8,
197:2               shifted              197:1, 198:20,       458:8
served              52:13, 206:17        234:2, 234:8,        showing
410:25, 416:20,     shirt                234:24, 235:22,      29:18, 62:23,
460:19              28:6, 69:21,         276:21, 399:25,      112:3, 252:10,
servers             120:11, 205:10,      402:19, 403:3,       294:18, 346:17,
432:4               291:5, 294:5,        403:13, 405:5,       368:23, 370:7,
service             342:9, 342:18        411:6, 411:8         455:16
410:21, 414:15      shirtless            shoulder             shown
set                 28:9                 167:6, 169:17,       369:9, 369:13,
47:11, 49:12,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 177 of 196 - Page
                                 ID#: 2290 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         176
369:18              418:23, 420:24,      sit                  skirts
shows               421:1                441:15               34:11
232:17, 321:25,     signified            sits                 slave
418:15, 422:1,      142:6                132:19, 436:2        66:5
422:8               signifies            sitting              slavery
shrugging           141:19, 142:9        37:20, 202:24,       85:14
212:21              signify              380:7                sleep
siblings            34:17                situation            37:21, 38:5,
18:2                signing              99:2, 102:12,        38:6
side                466:10               102:23, 120:23,      slid
45:19, 54:13,       signs                146:14, 189:2,       247:21
69:10, 84:2,        49:18                189:17, 194:23,      slightest
85:21, 117:22,      similar              304:12, 368:12,      279:11
123:14, 123:23,     340:7, 394:24,       399:7, 414:25,       slightly
138:3, 154:25,      449:18               415:24, 426:4,       74:12, 212:16,
160:13, 164:13,     similarities         429:21, 445:8        238:9
166:19, 168:10,     32:24, 33:4          situations           slip
205:2, 205:9,       simple               185:16               193:12
207:22, 216:2,      458:14               six                  slippery
216:8, 216:20,      simply               99:16, 99:17,        207:4
217:5, 217:15,      254:13, 281:17       99:20, 99:21,        slipping
217:21, 218:2,      sims                 101:5, 101:6,        184:21
218:14, 218:17,     361:21               101:14, 102:8,       slogan
219:5, 222:8,       since                102:9, 239:1,        42:5, 42:19,
222:22, 223:11,     23:25, 24:24,        247:21, 247:24,      103:21, 198:8,
223:15, 223:25,     40:1, 45:8,          263:24, 289:9,       422:12
224:21, 226:6,      80:13, 85:14,        325:8, 326:9,        slow
235:17, 236:10,     142:15, 262:2,       347:2, 347:6,        247:14
239:12, 245:12,     407:4, 418:11,       386:9                slurs
258:21, 286:14,     418:13, 419:12,      skateboard           270:9
325:4, 352:18,      423:16, 424:7,       53:13                small
391:1               432:7, 433:6,        skateboarder         23:1, 23:2,
sides               433:8, 437:21,       66:23                97:25, 153:25,
160:12, 214:16,     437:25, 442:13,      ski                  173:13
235:17, 235:23,     451:4, 455:10,       53:14, 70:21,        smaller
283:15, 284:18      455:12, 455:13       204:25, 244:14,      201:16, 201:17
sightseeing         sing-song            245:14, 371:8,       smartest
40:6, 40:25         320:13               462:11               289:18, 303:16,
sign                singing              skilled              315:18
35:8, 432:5,        153:8                142:4                smell
433:10              single               skip                 367:14
signal              67:6, 86:5,          105:1, 280:22        smelling
278:16, 451:13      86:12, 124:13,       skipped              340:21
signature-p1kal     388:4, 441:8,        393:10               smile
466:20              445:11               skipping             58:2, 124:25,
signed              singling             104:15, 104:19       295:9, 295:24,
35:11, 35:12        276:8                skirt                296:3, 296:12,
significance        sir                  355:8                296:18, 296:22
110:3, 418:19,      251:23, 464:12



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 178 of 196 - Page
                                 ID#: 2291 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         177
smiled              39:6, 63:25,         378:21, 434:2,       453:15, 456:8
294:24              73:2, 85:13,         440:10               sometimes
smiles              85:16, 87:3,         someone's            26:2, 29:11,
57:23, 128:15       96:14, 102:10,       176:19               106:6, 391:25,
smiling             111:3, 137:9,        something            438:25
58:12, 58:13,       138:12, 145:22,      19:13, 22:1,         somewhat
117:8, 295:3,       147:8, 148:3,        26:18, 32:13,        57:5, 88:12,
295:7               152:7, 200:21,       34:2, 38:22,         203:19, 211:13,
smirk               214:14, 242:10,      49:17, 50:23,        226:21, 226:22,
58:14, 296:5,       247:17, 256:19,      52:9, 53:15,         228:10, 243:16,
296:7, 296:10,      297:1, 297:3,        57:17, 57:18,        343:21
296:19, 296:22      311:1, 316:21,       57:20, 60:9,         somewhere
smirking            319:23, 326:15,      75:21, 80:7,         34:8, 38:2,
58:23, 59:8         331:1, 380:5,        80:25, 83:9,         46:2, 49:1,
smith               459:12               88:5, 91:13,         91:24, 92:4,
56:17               somebody's           91:24, 96:12,        92:13, 92:17,
snap                121:23               96:19, 97:20,        93:10, 93:22,
446:22              somehow              97:24, 97:25,        121:7, 225:7,
snapchat            219:4, 235:12,       98:4, 100:6,         226:9, 268:22,
446:12, 446:13,     366:16, 433:18       109:17, 112:18,      278:17, 365:18,
446:16, 446:20,     someone              115:19, 116:16,      393:6, 408:22,
446:25, 447:1,      22:6, 25:21,         147:10, 159:20,      413:7, 418:16
447:10, 449:20      28:5, 28:11,         174:18, 174:23,      song
snappack            28:12, 31:18,        175:19, 190:1,       143:12, 288:18,
342:8               32:5, 37:18,         193:13, 212:10,      288:23
sneakers            38:19, 57:19,        214:3, 234:25,       soon
78:14               58:21, 64:7,         240:8, 261:7,        350:14, 410:19
snippet             65:14, 71:22,        261:16, 268:23,      soph
72:20               83:15, 85:25,        270:23, 271:9,       33:17
snow                86:24, 87:14,        271:10, 271:19,      sophomore
220:1, 234:3,       96:24, 99:1,         273:25, 275:4,       18:12, 21:25,
234:8, 234:9,       102:4, 103:20,       288:24, 297:16,      33:23, 35:23
234:22, 236:5       107:20, 113:13,      298:22, 311:4,       sophomores
social              138:25, 139:5,       313:14, 313:22,      33:21
                    139:8, 150:9,        314:14, 326:15,      sorry
29:18, 177:2,                            333:14, 339:22,
177:16, 272:24,     175:11, 195:18,                           15:5, 19:9,
                    200:17, 208:15,      340:25, 341:2,       44:12, 55:7,
273:11, 274:15,                          350:10, 355:9,
290:1, 299:5,       208:18, 213:21,                           75:7, 78:19,
                    214:18, 220:13,      362:24, 364:6,       110:19, 114:24,
317:17, 393:4,                           370:20, 384:24,
423:3, 438:25,      253:25, 255:4,                            136:5, 149:11,
                    256:6, 274:8,        386:15, 386:16,      180:1, 184:1,
446:8, 447:10,                           388:17, 401:13,
447:14, 447:19,     277:3, 277:23,                            227:21, 239:23,
                    295:6, 304:2,        404:15, 416:18,      239:24, 252:17,
449:5                                    421:22, 427:5,
society             310:2, 311:16,                            261:11, 261:19,
                    312:12, 324:2,       428:23, 429:8,       304:22, 320:4,
382:24              326:25, 327:10,      429:16, 431:22,
solid                                                         326:8, 337:9,
                    367:13, 367:17,      433:14, 435:3,       370:23, 377:9,
161:18              374:3, 375:7,        438:16, 452:14,
somebody                                                      383:10, 386:6,
19:12, 28:14,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 179 of 196 - Page
                                 ID#: 2292 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         178
397:23, 430:19,     42:4                 415:11, 417:16       spending
461:12, 461:17,     space                specifically         79:20
462:3, 462:10       79:23, 138:21,       23:23, 24:1,         spent
sort                167:3, 170:8,        24:6, 24:14,         20:14, 20:16,
22:3, 37:8,         170:14, 170:16,      24:17, 41:24,        391:1
57:22, 69:3,        184:9, 184:12,       112:12, 133:1,       spirit
69:5, 69:14,        218:6, 222:8,        141:22, 283:1,       88:1, 88:10,
70:16, 72:1,        222:13, 223:14,      284:15, 287:1,       89:11, 94:3,
73:13, 91:19,       225:15, 226:7,       297:11, 297:12,      94:20, 94:25,
102:5, 117:6,       235:7, 258:3,        387:19, 405:18,      95:2, 95:3,
121:17, 123:13,     271:5, 277:10,       413:4, 414:2,        95:6, 95:15,
140:12, 142:16,     286:20, 317:8,       434:1, 456:6,        96:4, 96:8,
164:4, 196:3,       367:13, 432:3        456:23               97:17, 105:8,
201:15, 202:11,     spaced               specifics            110:9, 111:15,
204:23, 212:16,     166:14, 166:17       353:23               119:9, 119:12,
214:16, 221:22,     speak                speculate            260:3, 316:5,
226:6, 231:3,       39:14, 42:6,         305:13               321:8, 328:15
239:17, 240:7,      91:5, 102:25,        speculating          spirits
245:11, 245:20,     178:14, 323:10,      130:4                288:22
259:2, 277:2,       340:24, 360:3,       speculation          spiritual
279:24, 283:13,     364:4, 364:9,        324:14               35:6
286:3, 302:4,       381:7, 382:5,        speech               spit
314:2, 329:21,      382:9, 406:11        34:20, 359:21,       340:21, 367:15,
348:2, 354:15,      speaker              360:19, 361:5,       417:1, 417:10,
355:8, 389:21,      144:15, 146:6,       361:8, 362:4,        417:13, 417:18
390:16, 393:2,      146:16, 151:10,      362:9, 362:14,       spoke
397:14, 413:23      464:24               362:16, 362:17,      66:16, 275:4,
sound               speakers             362:20, 362:22,      288:24, 360:21,
31:11, 83:15,       39:15                363:3, 363:4,        361:1, 380:18,
146:20, 310:9,      speaking             363:8, 364:13,       380:19, 391:12,
349:19              20:15, 72:1,         364:15, 364:21,      405:21, 426:6
sounded             360:21, 383:4,       364:22, 366:11,      spoken
31:8, 378:13        383:6, 423:5         406:15               379:24, 455:9
sounds              speaks               speeches             sporting
72:17, 83:23,       417:24, 418:21       40:2                 95:8, 119:16,
84:9, 114:11,       spears               speed                119:21
153:1, 326:25,      6:5, 10:12,          208:9                sports
329:4, 349:20,      15:22, 250:17,       spell                26:22, 27:1,
379:8, 388:16       465:6                33:18, 33:22,        27:17, 32:9,
source              specializes          33:25, 70:9          95:13, 95:16,
368:13, 413:12,     413:14               spelled              96:1, 303:25
415:11              specific             25:9, 56:24,         spot
sources             24:25, 43:24,        70:18, 121:14,       46:8, 206:18,
413:22, 413:25,     44:15, 82:20,        274:16, 358:24,      326:2, 347:7
414:12, 417:14      172:5, 286:9,        434:18               spread
south               343:11, 351:14,      spelling             179:1, 232:23
6:7, 10:14          353:16, 370:1,       434:19, 434:20       spreadsheets
souvenir            388:6, 388:9,        spend                20:8
41:10, 41:22,                            20:7



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 180 of 196 - Page
                                 ID#: 2293 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         179
sprinted            278:1, 278:4,        144:11, 145:17,      396:17, 397:3,
46:21               278:14, 280:11,      146:2, 150:14,       402:20, 404:17,
st                  295:10, 312:21,      152:13, 154:1,       405:14, 405:16,
19:8, 19:16         325:14, 325:17,      155:20, 158:10,      405:17, 409:19,
stage               325:24, 339:23,      158:23, 159:6,       415:7, 417:10,
39:14               347:1, 361:10        225:24, 230:17,      421:4, 425:3,
stairs              standoff             233:12, 242:23,      425:6, 425:21,
78:16, 184:18,      350:3                244:1, 248:1,        430:10, 430:16,
216:24, 244:10,     stands               252:19, 253:11,      430:19, 430:21,
370:8               178:17, 304:1        256:12, 288:10,      453:14
stamp               standstill           294:4, 299:20,       statements
168:15, 177:19,     365:13               301:14, 301:24,      220:18, 377:25,
187:21              stars                309:18, 311:8,       379:13, 387:15,
stamped             355:9                312:24, 317:16,      415:3, 415:7
308:1, 427:20       start                318:19, 322:24,      states
stance              19:2, 73:25,         329:17, 345:11,      1:1, 14:18,
42:13               100:6, 105:3,        347:14, 350:19,      249:15, 411:1,
stand               106:11, 107:11,      356:15, 365:2,       413:9
33:19, 33:25,       110:24, 111:21,      373:7, 378:17,       stating
54:22, 55:10,       115:1, 117:1,        409:13, 439:4        254:13, 383:7
93:10, 93:14,       122:3, 128:17,       starts               station
119:9, 168:24,      132:1, 132:10,       147:15, 155:4,       455:5
169:10, 175:12,     143:20, 212:2,       191:22, 310:9,       statistics
176:10, 176:19,     215:3, 251:11,       310:10, 316:11,      77:7
182:3, 183:18,      252:14, 260:4,       398:11, 403:23       stay
185:1, 189:2,       311:4, 314:8,        state                52:10, 221:9,
198:9, 275:9,       367:17, 369:19       4:10, 7:7,           303:12, 409:24
289:1, 289:2,       started              11:15, 15:3,         stayed
291:15, 293:24,     30:4, 30:5,          20:15, 54:1,         40:17, 225:18,
295:24, 374:17      37:12, 39:13,        104:4, 106:1,        259:9, 339:9
standard            44:19, 47:14,        153:14, 154:18,      staying
66:14               101:15, 132:24,      155:1, 249:25,       189:17, 363:5
standing            162:22, 171:3,       285:25, 365:14,      steal
22:5, 50:24,        171:24, 259:6,       466:24               333:16, 411:10,
56:20, 57:5,        270:15, 300:3,       stated               414:18, 414:23
60:24, 73:17,       331:4, 331:12,       171:19               stenographically
78:16, 78:23,       331:14, 331:16,      statement            466:8
109:3, 117:12,      332:6, 333:18,       42:8, 43:14,         step
132:16, 175:1,      346:17, 354:11,      80:15, 90:20,        121:21, 180:18,
175:13, 175:16,     387:23, 416:13,      103:16, 197:7,       247:5, 279:12,
198:13, 198:22,     424:11, 426:4,       197:14, 271:21,      280:10, 280:11,
198:23, 200:24,     440:3, 440:7         275:23, 276:4,       451:11
206:3, 222:12,      starting             281:19, 285:8,       stepping
228:10, 229:4,      51:19, 54:7,         320:23, 337:2,       138:5, 180:23
231:13, 232:4,      65:6, 69:3,          368:14, 381:7,       steps
236:9, 238:6,       76:9, 98:10,         381:24, 395:4,       48:10, 73:22,
245:19, 246:11,     128:25, 131:7,       395:21, 396:1,       88:11, 88:16,
276:10, 277:5,      134:19, 139:13,      396:3, 396:12,       88:17, 120:13,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 181 of 196 - Page
                                 ID#: 2294 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         180
193:12, 193:16,     stipulation          store                106:20, 106:22,
218:24, 234:10,     54:2, 104:11,        42:1                 107:19, 109:24,
236:9, 354:5,       105:2, 106:10,       stored               112:15, 112:23,
390:8, 390:18       299:19, 328:7        438:14, 438:19       139:20, 140:5,
stettinius          stole                stories              146:13, 178:23,
9:21                332:10, 339:15       392:10               186:8, 186:10,
steve               stolen               story                186:13, 186:18,
168:2, 168:3,       413:15               38:20, 130:16,       204:24, 205:5,
168:12, 168:22,     stone                190:2, 317:16,       205:18, 206:2,
169:19, 306:7,      2:34, 6:11,          318:3, 449:20        208:20, 208:22,
395:15              10:18, 14:16,        stranded             219:3, 231:12,
steven              16:1, 104:8,         37:22                244:9, 244:13,
25:9, 168:23        249:13, 250:9,       stranger             253:24, 263:14,
stick               250:21, 345:7,       188:23               263:22, 266:9,
93:8, 122:23,       447:7, 457:3,        strangers            266:23, 269:10,
169:17, 184:7       464:25, 465:5        262:4, 448:7         270:10, 302:13,
still               stood                straw                318:25, 352:23,
22:12, 25:11,       121:10, 175:4,       157:17               358:6, 372:21,
32:11, 43:12,       279:10, 289:3,       street               374:9, 377:3,
61:4, 61:5,         340:12, 451:10       5:16, 5:23,          378:12, 383:23,
79:24, 93:11,       stop                 6:15, 6:22, 7:7,     384:14, 384:16,
96:9, 135:2,        37:14, 59:14,        9:16, 10:7,          384:22, 388:4
137:22, 176:19,     62:6, 72:23,         10:22, 11:7,         study
177:22, 177:25,     91:14, 106:18,       11:15                129:12
210:15, 213:6,      139:16, 151:2,       streets              studying
215:7, 216:21,      161:11, 199:4,       219:25               24:5, 24:9
217:8, 220:6,       199:15, 206:24,      strength             stuff
222:8, 223:15,      209:17, 214:11,      29:9                 24:10, 47:12,
225:19, 229:3,      223:6, 230:4,        stretch              81:16, 243:1,
241:11, 243:21,     231:20, 239:16,      45:17                293:14, 312:16,
245:19, 258:2,      324:23, 336:25,      strike               392:13, 433:10
258:3, 263:22,      342:22, 356:3,       87:23, 89:13,        stunt
292:14, 294:2,      356:8, 392:12,       256:9, 363:14,       132:22
306:20, 325:24,     411:15, 411:20,      399:10, 418:5,       subject
393:11, 406:21,     415:4, 416:16        430:4                395:3, 397:13,
410:14, 431:12,     stopped              stripe               427:14
433:15, 435:24,     30:4, 30:15,         69:14                subjected
437:22, 443:8,      37:13, 51:23,        strong               307:13
449:21              51:24, 56:7,         100:1                submitted
stills              64:11, 64:13,        stuck                13:7, 459:4
242:5               74:2, 74:7,          286:16               subpoena
stip                98:13, 113:24,       student              394:21, 452:6,
132:1, 227:3,       115:1, 126:2,        26:7, 31:19,         454:8, 454:14,
227:6, 239:24,      126:25, 133:21,      51:8, 61:2,          454:18
252:15, 419:24,     135:1, 151:8,        72:10, 81:25,        subsequently
421:10              214:23, 264:17,      82:2, 82:8,          430:25
stipulated          264:21               86:5, 86:12,         substance
369:5               stopping             86:20, 88:24,        362:9, 392:25,
                    173:18, 239:3



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 182 of 196 - Page
                                 ID#: 2295 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         181
415:22, 452:20      118:6, 121:12,       253:18, 268:9,       251:12
substantiate        127:13, 151:23,      271:3, 272:25,       sweatshirt
318:13              152:9                273:3, 273:14,       69:14, 70:16,
succeeded           sunny                275:2, 276:9,        135:6, 135:13,
93:23               70:7                 285:13, 291:1,       139:24, 205:19,
suddenly            super                291:3, 294:1,        207:23, 217:1,
385:16              65:15, 66:16         307:2, 311:2,        218:7, 234:1,
sufficient          support              321:19, 322:21,      245:20, 246:19,
382:20              116:17, 155:2,       331:15, 332:5,       323:23, 372:17,
suggest             155:8, 155:9,        343:13, 347:25,      462:17
114:13, 287:13,     272:22, 273:16,      354:18, 358:8,       sweatshirts
342:20              292:16, 292:20,      361:23, 365:24,      328:21
suggested           293:22, 387:7,       368:6, 378:25,       sworn
234:24              406:14, 452:12       380:23, 396:9,       16:12, 251:16,
suggesting          supported            401:5, 404:9,        252:3, 452:11,
235:8, 235:10,      197:22, 387:7        405:23, 407:21,      453:14
273:18, 381:23      supporters           409:9, 413:5,        symbolize
suggestion          419:5                413:11, 426:21,      34:16
235:10, 403:11      supporting           427:15, 428:2,       system
suit                81:17, 351:14        428:14, 436:21,      174:11, 270:7
364:24              suppose              445:2, 445:4,                 T
suite               113:19               446:20, 447:6,
                                         448:19, 449:21,      t-shirts
5:7, 5:16,          supposed                                  292:22
5:23, 6:8, 7:16,    36:16, 48:12,        457:21, 460:6,
                                         463:16               tablet
9:7, 9:16, 9:23,    48:15, 92:15,                             431:8, 432:11
10:7, 10:15,        174:17, 182:9        surface
                                         431:7, 431:20,       taft
11:23               supposedly                                9:21
summary             186:14, 186:19,      432:1, 437:12
                                         surmise              take
379:21              187:6                                     17:14, 19:18,
summe               sure                 305:14
                                         surprised            19:21, 25:25,
70:5, 70:8,         16:25, 44:15,                             31:14, 34:21,
117:22, 117:23,     44:17, 49:16,        419:1
                                         surround             34:22, 52:21,
117:24, 135:7,      56:25, 57:3,                              67:4, 96:20,
135:8, 136:5,       57:6, 59:18,         128:2
                                         surrounded           103:1, 113:17,
138:7, 139:1,       72:7, 76:15,                              131:12, 133:12,
139:6, 146:10,      78:17, 86:4,         127:19, 260:6,
                                         260:12, 284:18,      143:25, 144:6,
146:17, 146:19,     86:11, 88:18,                             160:13, 190:14,
146:21, 146:25      93:12, 101:12,       310:2
                                         surrounding          195:4, 195:16,
summer              106:4, 111:21,                            204:5, 259:22,
20:3, 20:11,        120:9, 121:20,       382:18               260:22, 279:11,
21:5, 21:7,         129:8, 144:19,       suspended            281:2, 287:16,
21:8, 41:17,        152:21, 156:15,      411:7                290:13, 294:7,
412:7, 437:15       177:8, 178:20,       swarmed              295:1, 297:20,
sumo                185:23, 192:9,       214:16               305:15, 312:3,
27:20, 28:21,       193:14, 206:14,      swarming             321:2, 323:5,
28:23, 30:22,       227:15, 242:19,      213:22, 214:3        337:15, 359:11,
31:2, 32:24,        246:13, 248:17,      swear                367:1, 375:22,
33:1, 95:5,         252:22, 253:3,       16:8, 251:2,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 183 of 196 - Page
                                 ID#: 2296 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         182
377:20, 380:11,     451:17, 452:9,       93:13, 346:20        159:21, 163:9,
384:13, 387:2,      454:5, 454:7,        teachings            165:4, 185:10,
393:15, 396:15,     456:1, 456:2,        404:18               186:13, 207:12,
401:23, 407:17,     456:15, 457:17       team                 207:15, 207:16,
407:20, 433:21,     talking              27:8, 29:9           243:16, 248:15,
453:12, 463:3       20:16, 27:4,         team's               253:19, 259:19,
taken               54:22, 65:21,        316:6                275:21, 286:7,
16:23, 23:6,        70:20, 72:1,         tech                 286:24, 309:3,
23:20, 23:21,       80:3, 81:11,         464:15               310:13, 313:16,
23:23, 23:25,       81:15, 93:3,         technically          319:7, 324:14,
24:25, 35:5,        117:7, 117:9,        315:5, 320:24,       326:6, 327:21,
59:21, 103:4,       127:15, 128:11,      325:11               330:20, 333:8,
131:18, 141:22,     129:16, 129:21,      technician           362:17, 370:18,
175:4, 176:16,      139:6, 152:1,        8:8, 12:8            370:22, 371:9,
197:2, 199:22,      165:1, 185:22,       techno               374:14, 374:15,
217:24, 277:9,      197:23, 273:8,       437:8, 437:9         383:11, 385:17,
277:13, 280:10,     285:14, 299:7,       technologically      390:17, 396:23,
281:7, 287:19,      309:4, 335:6,        437:9                405:15, 406:12,
289:6, 294:11,      336:25, 342:25,      ted                  452:5, 456:4,
317:17, 356:7,      343:4, 346:14,       1:8, 1:18,           457:20
359:14, 382:25,     348:12, 349:21,      1:31, 2:4, 2:14,     telling
408:1, 436:6,       352:18, 352:20,      2:29, 8:3, 12:3,     102:18, 156:22,
457:25, 460:10,     352:21, 355:7,       18:1, 395:8          186:18, 239:4,
466:5, 466:8        370:15, 385:9,       teenage              318:5, 330:16,
takes               390:12, 399:21,      119:25               332:21, 332:22,
17:11, 28:6,        413:25, 418:7,       teenager             333:12, 333:13,
106:21, 107:20,     418:23, 420:6,       193:6, 193:25        382:4
369:2               425:25, 459:1        teenagers            tells
taking              talks                100:14, 101:2,       333:17, 339:15
14:25, 23:8,        76:6                 101:13, 102:5,       ten
96:19, 120:10,      targeting            102:10, 103:22       29:25, 124:4,
179:7, 249:22,      51:2                 telephone            128:22, 131:5,
350:3, 352:13       taunt                290:20               136:11, 166:25,
talk                116:9                television           313:7, 354:9,
25:21, 38:12,       taunting                                  364:14, 457:19
                                         317:23, 409:2,       tensions
73:4, 89:8,         63:9, 80:16,         414:22
125:2, 191:25,      80:17, 80:23,        tell                 399:6
199:12, 331:10,     113:2, 116:3,        21:22, 29:23,
                                                              term
333:19, 345:17,     254:6                                     66:8, 82:12,
353:20, 391:7,                           32:8, 39:19,
                    teach                59:11, 65:17,        94:8, 365:20,
399:24, 445:7       90:15                                     367:8, 382:19
talked                                   72:7, 72:23,
                    teacher              73:6, 73:7,          terminology
81:13, 82:11,       90:13, 90:19,        83:12, 83:22,        76:16
205:18, 293:4,      117:19, 346:20,      84:12, 84:20,        terms
323:8, 331:13,      450:17               85:5, 108:15,        36:23, 45:18,
391:9, 418:9,       teachers             122:8, 123:5,        100:20, 260:15,
424:25, 442:5,      31:21, 31:24,        123:8, 136:3,        378:15
451:2, 451:7,       88:4, 90:1,          136:5, 150:19,       territory
                                                              188:3



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 184 of 196 - Page
                                 ID#: 2297 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         183
testament           308:18, 394:24,      theory               160:3, 169:5,
129:12, 129:19,     421:23, 427:24,      333:20               176:8, 176:10,
130:9               427:25, 428:13,      therapist            196:15, 196:17,
testified           428:21, 436:14,      21:13                197:21, 271:19,
16:12, 88:25,       442:18               thereafter           288:20, 291:18,
91:16, 196:23,      texted               466:8                294:4, 298:12,
252:3, 258:23,      168:23, 169:19,      therefore            299:1, 299:13,
261:25, 267:15,     183:17, 189:21,      210:13               331:6, 333:6,
267:17, 276:23,     306:12, 308:15       thin                 340:7, 353:2,
277:12, 283:2,      texting              457:18               353:8, 359:5,
288:25, 293:16,     291:4, 294:22,       thing                361:25, 362:17,
295:22, 297:5,      306:6, 308:4         28:10, 47:10,        382:12, 382:13,
309:8, 309:12,      texts                58:17, 86:5,         388:6, 398:17,
333:11, 335:8,      167:20, 167:21,      86:12, 87:15,        399:14, 399:16,
355:19, 359:3,      167:23, 169:1,       88:25, 94:7,         401:17, 401:18,
366:14, 376:6,      174:1, 181:11,       106:7, 109:2,        404:7, 411:5,
378:11, 379:13,     181:16, 182:3,       113:14, 124:13,      422:3, 423:2,
412:20, 414:17,     188:11, 196:9,       127:13, 129:5,       424:23, 441:20,
418:3, 418:5,       221:10, 290:16,      142:2, 142:7,        446:21, 446:22,
418:13, 425:1       291:10, 291:25,      153:21, 169:5,       447:5, 455:25,
testify             299:4, 306:24,       176:7, 181:8,        456:2
451:25, 452:13,     308:7, 309:2,        193:9, 194:4,        thinking
452:17, 453:5,      427:21, 428:1        194:10, 194:23,      116:13, 227:22,
454:9, 454:11       th                   194:24, 201:14,      236:20, 238:12,
testifying          14:20, 17:24,        218:20, 282:1,       259:3, 259:16,
445:22, 453:6       37:6, 168:16,        287:15, 292:17,      262:16, 262:17,
testimony           168:18, 177:20,      301:20, 303:17,      262:19, 352:23,
171:15, 212:15,     188:9, 249:17,       305:1, 315:18,       397:11, 397:15
219:2, 219:7,       306:13, 417:22,      328:15, 343:19,      thinks
233:18, 234:2,      425:20, 430:8,       354:19, 378:10,      194:1, 379:11,
234:7, 234:20,      433:6, 466:18        403:21, 410:11,      384:3, 443:24
235:12, 235:20,     thank                413:23, 428:25,      third
284:22, 365:10,     126:21, 131:15,      432:11, 435:2        180:12, 253:25,
378:4, 410:6,       180:8, 291:20,       things               260:1, 395:12,
412:1, 441:19,      382:16, 383:6,       36:1, 36:2,          403:22, 462:2
447:4, 452:11,      463:20, 464:14       39:22, 40:4,         thought
452:21, 453:17,     thanked              43:8, 45:1,          43:14, 46:16,
466:7               410:20               45:7, 50:2,          46:22, 49:1,
text                thanks               50:3, 50:6,          81:10, 91:14,
46:7, 46:13,        104:16, 252:13       50:7, 50:9,          92:11, 93:13,
168:9, 168:22,      theme                79:15, 81:2,         95:9, 95:21,
176:7, 179:21,      143:17               81:4, 81:7,          109:9, 114:18,
181:25, 183:20,     themes               81:19, 86:9,         141:8, 154:24,
187:10, 187:13,     362:11               86:18, 89:3,         181:1, 185:13,
188:6, 188:7,       themselves           90:23, 91:9,         192:8, 270:12,
290:19, 291:18,     15:3, 49:15,         96:11, 101:19,       270:19, 270:22,
293:9, 306:3,       249:25, 334:16,      102:1, 116:19,       276:21, 295:23,
306:9, 308:3,       413:24, 440:8        121:21, 159:24,      297:7, 297:9,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 185 of 196 - Page
                                 ID#: 2298 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         184
297:22, 298:7,      147:15, 158:23,      14:6, 14:7,          told
298:23, 299:11,     160:3, 161:20,       15:14, 31:22,        16:25, 31:17,
303:20, 308:20,     162:7, 162:22,       32:9, 37:15,         31:20, 32:1,
318:4, 348:25,      169:6, 169:13,       57:4, 104:7,         32:3, 38:14,
349:5, 352:10,      169:20, 169:24,      106:3, 120:18,       38:17, 39:3,
363:14, 403:12,     170:4, 170:9,        190:24, 210:19,      48:4, 48:7,
404:20, 411:8,      172:12, 173:5,       249:3, 249:4,        82:1, 159:20,
426:15, 426:19,     173:9, 173:12,       250:6, 308:8,        185:23, 287:5,
448:23, 449:11,     173:20, 175:7,       308:12, 335:14,      292:5, 299:1,
459:11              175:10, 181:16,      345:7, 356:3,        327:23, 327:25,
thoughts            193:14, 196:1,       356:8, 393:24,       328:2, 332:16,
403:6               206:24, 232:16,      442:6, 464:23        332:19, 333:5,
thousands           234:3, 234:8,        titano               333:9, 333:13,
439:13, 441:14,     234:22, 261:1,       274:16, 274:18,      346:21, 354:3,
441:15              261:4, 261:10,       325:21               364:8, 384:10,
threat              262:5, 264:11,       title                396:11, 396:21,
131:12              284:21, 287:12,      360:16               397:2, 426:10,
threatened          287:13, 290:15,      to-since             455:24, 456:19
80:10, 80:11,       299:4, 302:7,        418:4                tom
131:12, 396:20      307:23, 310:4,       today                65:15, 65:22,
three               313:6, 322:19,       14:23, 16:6,         66:12, 82:1,
20:23, 36:21,       334:1, 340:16,       23:6, 66:9,          82:7, 82:9,
137:7, 160:12,      360:1, 389:22,       68:16, 140:21,       288:5, 288:7
164:9, 166:22,      392:1, 398:9,        202:24, 210:16,      tom's
204:19, 213:7,      424:15, 424:18,      210:17, 248:13,      66:1
216:22, 217:4,      434:22, 436:16,      249:20, 250:25,      tomahawk
217:7, 217:11,      437:12, 439:10,      251:8, 299:7,        153:11, 209:22,
234:9, 234:10,      439:11, 445:3,       299:8, 304:17,       210:8, 210:11,
234:22, 241:12,     445:5, 450:11,       309:10, 380:7,       210:21, 210:25,
256:14, 287:14,     455:19, 461:20       382:24, 403:24,      212:7, 212:17
325:23, 326:1,      throughout           440:10               tomahawks
380:6, 391:16,      33:15, 50:19,        today's              145:7
394:20, 431:14,     86:6, 86:16,         14:20, 249:17        tomorrow
449:3               259:15               todd                 239:20, 248:10
threw               throw                5:4, 6:14, 9:4,      ton
112:8, 386:20       109:17, 112:16       10:21, 15:9,         24:10, 353:24
thrive              thumbs               190:15, 190:22,      tone
81:1                105:13, 105:17       250:1, 259:12,       321:4, 404:24
thrived             timed                267:25, 313:20,      toned
25:18               305:7                363:11, 383:3,       414:25
through             timeline             395:14, 395:21,      toned-down
1:7, 1:17,          45:11, 393:2,        458:13, 460:19,      63:22
1:30, 2:3, 2:13,    408:13, 412:17,      464:8                took
2:28, 19:18,        430:5                together             21:24, 24:7,
22:20, 37:3,        times                22:7, 43:7,          45:17, 47:23,
37:8, 69:6,         1:23, 1:24,          43:12, 203:20,       100:3, 157:17,
71:3, 73:9,         7:12, 7:13,          391:19, 405:17,      159:12, 285:2,
82:19, 82:21,       11:19, 11:20,        423:6                329:14, 362:19,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 186 of 196 - Page
                                 ID#: 2299 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         185
390:6, 449:15,      264:15, 330:7,       trending             116:10, 116:11,
449:18, 460:17      346:6, 390:8,        393:8                116:21, 123:15,
top                 401:6, 422:11,       trey                 124:18, 360:3,
159:13, 160:4,      423:11, 456:14       358:23               361:1, 361:16,
201:1, 201:2,       tower                trial                362:6
201:5, 216:24,      431:10, 431:15       21:24, 451:24,       trump's
260:21, 277:14,     town                 453:1                42:13
308:3, 415:18,      399:25               tribal               trust
418:1, 418:24       tp                   32:19                397:4
topic               360:14               tried                truth
399:15              tpusa                40:23, 185:19,       185:21
topics              178:16, 178:17,      199:7, 220:9,        truthful
24:11, 379:23       179:3, 360:16        276:22, 391:24,      269:18, 320:23,
total               track                409:24, 434:19,      411:24
99:16, 260:18,      75:7, 75:14          436:11, 436:14,      truthfulness
346:25              tradition            436:16               418:22
totally             34:14, 88:12         tries                try
380:7               trailer              333:19, 453:22       17:5, 17:7,
touch               79:8                 trip                 17:9, 17:12,
114:5, 114:14,      tran                 35:1, 35:2,          34:11, 37:2,
114:17, 135:8,      464:23               35:3, 35:4,          45:23, 80:25,
135:9, 135:19,      transcript           35:7, 35:20,         130:5, 150:11,
136:17, 139:2,      464:16, 464:19,      36:4, 37:10,         174:8, 185:3,
145:22, 146:7,      466:6                41:22, 45:10,        233:20, 244:21,
147:2, 147:6,       transferred          50:4, 92:16,         252:11, 259:25,
147:16, 147:20,     323:11               130:5, 130:6,        276:24, 277:23,
148:2, 148:4,       transit              130:7, 174:10,       280:1, 298:19,
148:10, 148:12      38:23                270:20, 285:1,       309:8, 324:5,
touchdown           transylvania         389:6                324:6, 329:24,
26:17               18:10                trips                351:11, 357:2,
touched             traurig              262:1                374:9, 377:11,
436:1               7:6, 11:14,          true                 429:14, 430:4,
touching            15:20, 250:15        95:23, 95:24,        435:2, 461:20
137:21              traveled             176:3, 185:24,       tuesday
tougher             203:19               187:1, 210:15,       3:6, 9:2, 10:2,
27:16               traveling            210:17, 331:17,      11:2, 248:21,
tour                203:18, 203:24,      466:6                249:17
362:5               203:25, 204:1        trump                tuned
toward              treat                42:24, 50:1,         297:18, 311:20
120:2               192:6                61:10, 62:11,        turn
towards             treated              64:1, 81:5,          29:4, 91:23,
29:9, 94:13,        307:16, 417:5,       81:8, 81:12,         135:14, 196:2,
103:23, 105:24,     422:24, 423:9        81:15, 109:24,       276:1
110:13, 120:3,      tremaine             111:3, 112:5,        turned
161:22, 200:18,     5:15, 9:15,          112:13, 112:16,      35:13, 46:14,
220:10, 231:6,      250:4                112:17, 115:9,       127:15, 185:24,
232:9, 237:9,       trend                115:10, 115:25,      205:2, 230:21,
238:5, 264:9,       288:20               116:3, 116:4,        232:8, 238:1,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 187 of 196 - Page
                                 ID#: 2300 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         186
272:16, 332:9,      95:21, 123:13,       405:19, 462:5        272:4, 272:5,
411:23, 421:20      128:18, 146:14,      uk                   272:13, 304:14,
turning             147:5, 148:1,        27:7                 308:16, 311:23,
129:4, 129:5,       164:24, 169:1,       ultimately           312:18, 324:7,
136:20, 137:3,      187:10, 207:24,      397:6, 397:7         325:13, 350:1,
138:3, 178:17,      213:7, 233:11,       unable               351:24, 353:13,
360:1, 360:6,       235:23, 236:15,      221:3, 254:2         363:24, 374:16,
360:22, 374:8,      241:11, 243:21,      unaware              376:3, 376:9,
391:25              247:4, 247:21,       289:13, 406:22,      376:15, 376:23,
turns               248:23, 256:14,      441:4                381:22, 383:14,
55:16, 237:2,       263:7, 268:7,        unborn               387:20, 395:7,
237:9, 385:18,      284:4, 286:18,       35:6                 401:7, 404:5,
453:22              287:14, 290:25,      uncle                414:9, 429:24
tv                  315:5, 340:10,       65:14, 65:22,        understanding
410:1               351:7, 362:13,       66:1, 66:12,         34:13, 48:14,
tweet               368:8, 368:11,       81:25, 82:7,         48:16, 65:25,
287:20, 287:22,     375:5, 375:8,        82:8, 145:7          66:2, 66:10,
288:2, 289:6,       375:20, 375:22,      unclear              66:17, 68:13,
289:10, 418:14,     376:4, 376:8,        17:4                 68:16, 82:12,
419:10              376:11, 376:23,      uncomfortable        93:16, 122:25,
tweets              376:24, 385:6,       259:7, 270:18,       129:9, 143:8,
289:14, 289:16,     388:7, 393:20,       292:25, 403:25,      144:7, 154:3,
290:4, 290:8        414:3, 415:19,       404:2, 404:14,       210:23, 211:8,
twice               433:20, 436:17,      404:16, 405:2,       262:1, 280:16,
32:22, 32:23,       437:18, 449:2,       405:10, 448:15       316:2, 346:13,
335:13, 349:6,      451:21               unconfirmed          347:21, 350:5,
402:25, 451:5,      type                 185:25               351:1, 404:10,
459:8               405:23               under                415:21, 416:6,
twist               typed                141:5, 182:22,       416:10, 424:7,
301:8, 301:20,      285:2, 405:22        260:20, 466:9        446:19
304:7, 306:10,      typewriting          understand           understood
308:9, 339:21       466:9                19:11, 22:18,        82:13, 274:2,
twisting            typical              63:2, 65:15,         285:3, 381:24,
301:9, 302:14       31:5                 65:18, 66:8,         436:22, 445:16
twitter             typically            77:9, 87:7,          uneasy
20:9, 177:18,       91:22, 362:7         114:10, 129:6,       50:17, 91:9,
289:11, 289:15,              U           130:3, 135:18,       293:6
290:3, 393:8,       uh-huh               142:8, 143:4,        uneducated
418:15, 418:25,     41:3, 42:21,         144:1, 144:17,       210:11
442:23, 443:2,      48:6, 76:20,         144:25, 151:15,      unexpectedly
443:4, 443:7,       83:11, 134:9,        153:7, 153:10,       419:7
443:14, 443:19,     185:17, 191:19,      186:17, 210:18,      unfair
444:2, 444:7,       196:12, 222:23,      210:21, 217:11,      400:24
444:9, 444:13,      225:2, 265:19,       233:19, 253:20,      unfamiliar
445:3, 446:7,       266:1, 289:8,        253:23, 255:9,       91:8
446:25, 447:9       294:23, 337:7,       257:7, 261:11,       unfortunately
two                 342:6, 390:21,       266:11, 266:13,      197:23, 293:9
18:3, 20:22,                             267:7, 269:7,        unidentified
                                                              464:24



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 188 of 196 - Page
                                 ID#: 2301 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         187
unified             upset                vantage              248:18, 248:23,
43:5                79:17, 79:18         243:13, 451:10       249:20, 250:24,
uninformed          urge                 variety              251:23, 281:5,
154:13              42:1                 142:10               281:11, 294:9,
united              usa                  various              294:15, 359:12,
1:1, 14:18,         178:17, 360:2        391:2                359:18, 407:24,
249:15, 413:9       use                  veracity             408:5, 457:23,
unity               68:12, 94:8,         418:22               458:4, 460:8,
423:12              129:14, 180:10,      verbally             460:14, 463:23,
university          187:11, 277:9,       143:3, 283:4         464:2, 464:10,
18:10, 153:14,      295:18, 334:18,      versed               464:14
433:19, 433:22,     391:22, 392:6,       177:1                videos
434:3               400:6, 423:14,       version              52:18, 54:2,
unless              431:6, 431:8,        1:4, 129:24,         106:5, 204:8,
271:19, 281:16      431:19, 431:20,      432:10               212:24, 277:13,
unlike              431:21, 432:13,      versus               288:5, 298:19,
26:14, 180:18,      433:20, 437:13,      14:3, 14:5,          309:9, 341:6,
331:6               441:25, 444:7,       14:8, 14:11,         341:13, 365:17,
unmovable           444:9, 446:8,        14:13, 14:16,        368:8, 368:16,
312:13, 312:19      446:13, 447:19,      248:25, 249:3,       368:23, 368:24,
unofficially        448:16, 448:18,      249:5, 249:8,        369:1, 369:4,
18:18, 18:20        450:7, 462:24        249:10, 249:13       369:6, 369:9,
unreasonable        useful               veteran              369:13, 369:17,
137:22, 138:11,     88:12                413:14               412:8, 437:20
138:21, 255:17      using                via                  videotape
unsafe              26:12, 169:17,       14:25, 249:23        449:14, 453:23
261:2, 261:7,       256:4, 287:1,        viacom               videotaped
261:8, 261:9,       375:17, 387:3,       15:23                203:4, 449:11
261:16, 261:21,     423:10, 448:4        viacomcbs            videotaping
261:24, 279:24,     usually              5:20, 6:4,           203:1, 385:22
280:1               26:20, 27:23,        10:4, 10:11          vietnam
unsure              28:5, 28:14,         vicar                410:24, 416:20,
342:17              28:20, 29:4,         393:19               417:1, 417:4
unsuspecting        31:22, 33:14,        victory              view
419:1               34:9, 34:19,         33:9, 33:10,         45:3, 56:23,
until               94:4, 148:22,        33:18, 33:20,        58:3, 62:8,
93:25, 162:1,       149:18, 271:18,      132:10, 134:1,       66:3, 100:2,
332:1, 391:2,       295:6, 423:12,       352:9                103:25, 235:14,
423:7, 426:3,       442:5                video-recorded       352:11, 352:14,
432:2, 435:9,                V           14:2                 371:22, 372:8,
435:10, 438:21,     valor                videographer         377:2, 377:7,
461:15              413:15               8:2, 12:2,           383:14, 385:16,
untrue              value                14:1, 14:23,         405:9, 423:13,
128:1               193:4                16:5, 59:19,         455:25
untruthful          values               59:25, 103:2,        viewed
411:12              43:15, 43:18,        103:8, 131:16,       142:20
unturned            44:12, 422:15        131:22, 199:20,      views
447:7                                    199:24, 248:14,      42:17, 42:23




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 189 of 196 - Page
                                 ID#: 2302 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         188
violence            waking               91:4, 94:19,         362:11, 362:15,
102:13              455:15               102:17, 107:5,       362:18, 364:9,
viral               walk                 125:1, 128:16,       416:1, 439:19
270:24, 303:19,     37:2, 37:8,          148:14, 169:10,      wants
303:22              39:9, 48:20,         172:14, 181:7,       35:15, 191:4,
virtually           73:14, 147:15,       185:7, 191:3,        211:22, 223:21,
3:2, 4:2            149:19, 158:23,      193:22, 194:13,      224:6, 224:7,
visible             175:7, 221:3,        221:12, 224:19,      269:17, 279:20,
73:25, 234:12       261:14, 262:5,       225:15, 234:20,      280:4, 411:5
visit               389:22, 392:13,      240:9, 252:22,       war
393:25              404:25, 455:18       258:25, 259:10,      43:3, 43:7,
visual              walked               268:2, 268:5,        52:4, 96:21,
148:9               40:8, 91:20,         268:18, 271:2,       142:13, 155:2,
vlc                 91:22, 149:22,       275:21, 279:17,      324:3, 362:6,
242:22              173:9, 182:4,        281:2, 289:21,       410:25, 422:16
vocal               183:18, 200:17,      294:19, 301:4,       warning
340:11              203:4, 203:11,       302:3, 307:12,       46:12
voice               220:19, 220:21,      312:23, 319:6,       washington
15:2, 313:18,       234:3, 234:8,        329:21, 330:12,      5:17, 9:17,
320:13, 321:4       234:21, 234:25,      331:16, 334:23,      40:7, 45:20,
voice-identify      264:9, 271:14,       335:17, 341:5,       80:3, 119:16,
249:24              338:20, 344:18,      354:17, 356:9,       175:19, 430:6
volume              390:2                363:15, 365:15,      watch
                    walking              375:15, 377:19,      67:2, 82:21,
390:11                                   380:21, 396:6,
voluntarily         55:20, 162:22,                            106:25, 108:9,
                    170:8, 173:5,        403:21, 404:6,       161:25, 162:7,
452:10                                   411:7, 426:12,
volunteers          173:11, 193:7,                            216:14, 300:4,
                    194:3, 218:11,       426:22, 440:23,      309:8, 356:9,
262:9                                    457:19, 459:25,
voss                261:10, 264:10,                           356:10
                    264:11, 264:13,      462:1, 465:12        watched
57:18                                    wanted
voters              264:15, 344:23,                           67:5, 67:7,
                    346:5                35:17, 36:1,         298:18, 337:17,
20:15               walks                38:16, 40:4,
vsco                                                          410:3, 437:20
                    161:20, 272:1        41:11, 41:23,        watching
447:18              wall                 58:25, 64:7,         99:2, 102:4,
         W          71:23, 72:4,         89:1, 91:1,          102:11, 113:14,
wacker              72:18, 72:19,        114:5, 114:14,       119:25, 134:13,
6:7, 10:14          327:1, 327:17,       114:17, 122:1,       137:8, 138:12,
wait                327:24, 381:16       173:8, 173:10,       138:25, 247:17,
48:17, 82:18,       walt                 175:10, 185:11,      335:15, 341:19,
93:15, 234:17,      5:11, 9:11,          198:11, 214:19,      371:21, 410:2
251:12, 461:15      16:17, 252:7         218:11, 224:5,       water
waited              want                 224:11, 225:12,      57:16, 57:23,
263:25              18:21, 22:13,        233:20, 271:4,       58:2, 61:3,
waiting             25:5, 41:14,         271:8, 271:10,       61:6, 61:23,
180:14, 461:17      58:18, 59:14,        278:13, 286:16,      62:11, 62:18,
waive               76:5, 76:14,         289:1, 292:3,        62:22, 62:24,
251:15              82:20, 89:2,         292:13, 339:18,      64:1, 64:5,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 190 of 196 - Page
                                 ID#: 2303 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         189
106:22, 107:20,     week                 317:7, 327:12,       213:8, 277:10,
109:24, 110:3,      67:3, 153:13,        327:13, 423:2        280:13, 393:5
110:7, 111:3,       303:10, 440:2,       wessels              whether
112:1, 112:2,       448:9                5:6, 9:6             22:9, 26:9,
112:5, 112:9,       weeks                west                 55:24, 58:23,
112:13, 112:16,     289:9                5:23, 6:15,          77:21, 84:12,
112:17, 112:22,     weigh                6:22, 10:7,          86:4, 86:11,
389:17, 428:1,      198:20               10:22, 11:7          86:24, 87:8,
428:22              weighing             whatever             87:10, 87:12,
ways                198:7                21:4, 23:18,         92:17, 121:1,
155:7, 338:17,      weird                29:5, 34:11,         140:4, 143:12,
340:10              192:18, 192:24,      34:23, 37:14,        147:23, 148:16,
we'll               259:9                38:13, 38:16,        153:24, 165:18,
183:5, 202:16,      went                 38:23, 40:2,         166:3, 166:5,
354:16              19:6, 19:8,          42:3, 44:24,         167:13, 170:18,
we're               19:16, 36:5,         45:6, 45:13,         176:2, 187:7,
69:5, 131:22,       40:8, 40:18,         46:10, 47:11,        190:9, 198:10,
204:12, 208:3,      41:1, 41:4,          48:18, 50:17,        198:11, 243:2,
209:2, 335:15       41:6, 45:11,         50:21, 58:18,        253:24, 255:5,
we've               45:12, 46:7,         59:16, 66:4,         262:17, 296:22,
95:2, 95:3,         46:13, 47:7,         80:5, 84:1,          305:16, 358:5,
105:8, 119:12,      47:8, 89:17,         88:25, 89:20,        360:4, 376:2,
218:12, 363:16,     106:15, 135:14,      93:14, 100:8,        381:19, 385:18,
375:8, 376:4,       157:17, 165:18,      125:23, 129:24,      395:3, 399:15,
376:8, 376:23,      181:23, 185:5,       140:8, 142:11,       425:15, 452:11
378:22, 379:5,      218:10, 226:16,      163:9, 174:13,       whichever
384:15, 386:14,     258:24, 264:19,      175:7, 179:7,        192:20
388:5, 388:6,       264:25, 270:20,      182:16, 183:4,       white
388:7, 418:9,       273:6, 279:13,       198:9, 269:16,       40:10, 41:2,
449:13              280:14, 290:24,      277:7, 279:20,       41:5, 41:6,
weak                387:24, 391:11,      292:17, 293:5,       41:11, 41:25,
44:23               392:11, 392:14,      295:8, 333:20,       45:12, 50:20,
weapons             404:17, 411:1,       347:25, 348:3,       60:15, 66:4,
101:8               411:18, 412:25,      351:8, 351:9,        70:21, 74:13,
wear                413:9, 440:24,       351:10, 352:12,      78:13, 81:24,
34:10, 41:15        441:8, 445:3,        361:5, 361:6,        82:3, 101:2,
wearing             445:5, 453:1         369:4, 414:12,       101:13, 102:5,
62:21, 69:13,       weren't              439:7, 461:9         103:22, 119:25,
69:18, 81:16,       41:19, 73:19,        whatsapp             163:21, 201:14,
103:15, 106:21,     86:18, 87:21,        448:18               202:11, 204:25,
123:22, 139:23,     95:10, 101:19,       whatsoever           218:7, 220:1,
180:16, 202:22,     127:11, 127:12,      210:14               220:11, 230:7,
204:24, 208:15,     138:20, 151:20,      whenever             273:3, 319:4,
208:18, 316:24,     156:4, 166:10,       410:7, 438:1         330:13, 335:19,
342:17, 355:8,      210:1, 211:21,       whereof              336:6, 337:24,
462:16              212:15, 220:4,       466:15               342:4, 346:12,
websites            254:21, 267:11,      wherever             348:13, 348:16,
433:10              290:5, 298:11,       32:10, 115:1,        355:9, 359:7,




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 191 of 196 - Page
                                 ID#: 2304 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         190
371:8, 384:11,      witness              324:3, 349:6,        world
398:25, 421:8       16:9, 82:23,         349:10, 349:11,      43:3, 275:24,
whoa                107:7, 107:13,       349:23, 349:24,      384:20, 422:16
152:19, 152:25,     122:13, 130:13,      350:3, 350:8,        worried
153:5, 153:6,       132:4, 172:16,       350:24, 351:8,       79:19, 80:1,
153:12              177:12, 192:14,      351:9, 352:7,        98:16, 98:25,
whoever             233:16, 251:3,       352:14, 369:15       149:21
203:5, 243:16,      251:12, 288:7,       wondering            worries
253:23, 253:24,     309:25, 314:4,       30:22, 459:10        128:23
254:4, 254:11,      321:21, 321:24,      woo                  worry
254:23, 320:12      322:3, 322:6,        105:13               99:2, 281:24,
whole               322:14, 326:11,      word                 294:4
52:11, 67:3,        335:25, 354:22,      68:13, 74:23,        worse
79:10, 79:21,       355:1, 355:4,        83:16, 269:21,       237:23
86:6, 93:19,        357:22, 363:19,      273:24, 285:4,       worth
109:2, 134:1,       363:25, 364:2,       287:2, 287:7,        184:16
169:4, 176:7,       364:16, 369:24,      334:19, 335:10,      worthy
181:8, 190:25,      370:9, 374:4,        344:4, 366:4,        42:4
191:7, 192:4,       379:19, 381:6,       377:10, 387:3,       wouldn't
198:21, 198:22,     381:15, 382:3,       410:12, 436:16       32:25, 52:7,
262:7               382:14, 398:7,       words                59:10, 84:24,
wild                398:13, 401:25,      17:11, 28:24,        96:18, 109:11,
26:19               451:18, 452:23,      60:3, 66:16,         121:9, 124:15,
will's              453:1, 454:20,       143:13, 283:1,       165:16, 189:9,
451:9, 451:10       456:12, 456:15,      283:5, 285:4,        234:4, 236:1,
willing             456:21, 456:24,      286:9, 297:6,        343:11, 379:7,
282:2               457:4, 457:9,        298:6, 332:13,       390:12, 438:15,
win                 457:14, 460:1,       340:23, 341:3,       439:14
350:12              461:13, 461:22,      375:5, 375:17,       wrap
winner              462:4, 462:6,        394:2, 406:17,       247:6
350:13              462:18, 462:21,      423:25, 435:3,       wrestler
winning             463:7, 466:15        436:12               304:6
352:13, 352:15      witnessed            work                 wrestlers
wish                53:20, 88:22,        43:12, 190:17,       28:23, 304:6
259:3, 292:6,       89:1, 98:19,         424:18, 432:11       wright
292:9, 292:19       299:14, 382:9,       worked               5:15, 9:15,
wished              384:6                19:25, 20:1,         250:4
220:18              witnessing           20:2, 20:3,          write
withdraw            156:25               361:5, 412:7         262:21, 362:14,
350:6               woken                working              362:18, 363:2,
within              393:7                322:10, 397:1,       407:3
87:2, 390:11,       woman                424:11               writer
405:5               316:24, 317:24,      workout              362:16, 362:17,
without             342:23, 354:20,      46:24                362:23
46:12, 50:25,       355:1, 417:1,        works                writes
79:10, 184:20,      417:10, 420:6        21:14, 384:20,       179:11, 403:1
275:9, 276:14,      won                  416:11               writing
329:3, 420:11       272:3, 273:23,       workshops            30:18, 260:19,
                                         400:1



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 192 of 196 - Page
                                 ID#: 2305 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         191
260:21, 361:8       436:17, 449:3,                 Z          00056
written             451:21               zealand              1:11, 14:5,
363:5, 403:8,       yell                 32:20                249:2
432:16, 449:9,      148:5                zero                 02
452:11, 453:14      yelled               30:5, 227:10         145:17, 358:3,
wrong               67:12, 88:6,         zone                 358:14, 464:5
38:24, 77:8,        89:18, 116:22,       52:4                 05
112:21, 131:3,      339:20, 383:24       zoom                 83:4, 222:5,
137:2, 158:5,       yelling              14:25, 20:17,        334:5, 336:15,
174:19, 175:20,     29:2, 66:20,         249:23               465:15
188:12, 190:9,      74:22, 79:24,                             06
234:25, 242:9,      91:14, 101:13,                .           158:11, 359:13,
287:7, 313:22,      111:4, 112:5,        .1188                359:15
319:3, 370:24,      112:13, 116:10,      5:9, 9:9             07
389:1, 413:15,      116:20, 116:21,      .1222                151:8, 152:13,
424:20              120:1, 120:11,       6:17, 10:24          242:23, 243:11,
wrote               147:16, 147:20,      .1400                348:9, 350:19
259:22, 275:10,     150:21, 150:23,      7:10, 11:17          08
285:7, 295:22,      240:8, 240:18,       .3071                83:4
362:19, 363:8,      304:9, 304:10,       7:18, 11:25          09
363:22, 406:1,      304:14               .4300                106:16, 108:22,
432:20, 438:11,     yep                  9:25                 108:25
455:4               355:10               .4499                         1
         Y          yesterday            5:18, 9:18
                                         .8000                1
year                251:6, 264:18,                            117:2, 118:2,
18:11, 19:3,        329:4                6:10, 10:17
                                         .8280                118:12, 118:13,
20:12, 21:25,       york                                      159:5, 222:5,
24:9, 28:16,        1:23, 1:24,          6:25, 11:10          223:7, 225:24,
35:5, 35:25,        7:9, 7:12, 7:13,     .8900                226:3, 311:8,
88:9, 98:5,         11:16, 11:19,        5:25, 10:9           311:11, 312:7,
291:4, 431:10,      11:20, 14:6,                  0           312:10, 312:24,
432:2, 432:7,       15:14, 104:7,        00023                313:2, 313:5,
432:8, 432:9,       249:3, 249:4,        1:21, 14:7,          314:6, 314:9,
435:10, 437:12,     250:6, 345:7,        249:4                315:20, 329:17,
437:22, 451:6       464:22               00024                330:5, 334:2,
year-old            young                1:34, 14:10,         335:1, 358:3,
234:7, 234:21,      188:13, 188:19,      249:7                358:14, 366:22,
235:13, 235:14,     189:22               00025                367:23, 389:12,
448:6               younger              2:7, 14:12,          407:25, 408:2
year-old-kid        18:3, 178:8,         249:9                10
305:6               354:1, 367:14,       00026                5:23, 6:15,
years               448:3                2:17, 14:15,         10:7, 10:22,
17:22, 38:20,       yourself             249:12               30:6, 38:2,
100:9, 100:11,      22:22, 93:8,         00027                59:20, 59:22,
289:22, 367:14,     191:22, 219:16,      2:32, 14:17,         59:24, 60:1,
380:6, 414:3,       229:9, 247:9,        249:14               127:1, 127:2,
432:9, 432:10,      337:8, 398:5                              127:3, 128:5,
                    youtube
                    416:23



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 193 of 196 - Page
                                 ID#: 2306 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         192
159:3, 167:17,      128                  1534                 169
180:4, 180:5,       341:11, 341:12       291:19               172:19, 172:20
180:6, 201:21,      13                   1548                 17
206:6, 206:12,      3:3, 5:2, 6:2,       291:24               13:12, 195:9,
209:3, 240:3,       7:2, 13:14,          1549                 227:3, 227:4,
287:11, 294:10,     14:20, 106:12,       292:4                227:5, 227:8,
294:12, 294:14,     145:17, 146:2,       155                  228:2, 228:22,
294:16, 341:15,     150:14, 150:17,      104:7                229:12, 229:19,
354:12              151:3, 158:11,       1562                 230:3, 230:19,
100                 172:20, 181:6,       293:9                231:19, 233:14,
119:25              209:13, 307:23,      16                   239:6, 239:24,
102                 419:22, 419:23,      3:4, 3:7, 13:3,      252:15, 252:21,
275:18              421:10               13:15, 14:22,        252:24, 253:2,
103                 1301                 18:7, 99:24,         294:10, 294:12,
276:1, 337:5,       5:16, 9:16           131:17, 131:19,      301:13, 301:14,
337:11, 406:10      135                  146:2, 188:24,       301:17, 302:1,
104                 99:25                191:18, 204:8,       302:11, 305:6,
275:19              14                   204:10, 206:9,       309:17, 309:18,
105                 3:6, 9:2, 10:2,      206:22, 208:11,      309:21, 310:7,
259:13              11:2, 71:17,         209:7, 209:14,       310:19, 310:24,
106                 151:8, 152:13,       209:16, 213:4,       347:13, 437:23
259:13              152:16, 155:20,      214:10, 215:1,       1705
11                  190:20, 248:21,      215:13, 216:17,      308:3
13:12, 18:7,        249:17, 289:18,      221:19, 222:4,       1714
54:8, 103:3,        463:6                222:17, 226:1,       294:20
103:5, 103:7,       140                  229:24, 230:17,      1735
103:9, 128:25,      99:25                249:19, 299:18,      421:11
131:7, 176:22,      15                   299:20, 299:23,      18
180:6, 195:9,       13:11, 59:20,        300:23, 311:7,       37:6, 100:8,
354:11, 355:23,     59:22, 106:16,       311:8, 311:10,       128:25, 133:22,
448:6               115:7, 117:2,        311:14, 312:9,       134:20, 134:23,
115                 143:21, 152:16,      313:1, 313:11,       239:23, 240:2,
461:24, 462:4       155:20, 183:10,      314:11, 314:22,      240:5, 240:14,
12                  195:3, 195:6,        315:22, 316:18,      241:3, 241:6,
13:11, 56:7,        195:13, 229:7,       318:18, 318:21,      241:17, 242:14,
131:17, 131:19,     229:8, 258:15,       319:12, 319:20,      243:9, 244:4,
131:21, 131:23,     289:18, 318:19,      320:10, 321:23,      245:8, 246:1,
143:21, 144:11,     329:11, 329:17,      322:2, 322:12,       246:23, 248:4,
161:1, 176:23,      408:4, 408:6,        323:1, 323:18,       252:14, 252:19,
179:13, 179:15,     462:25               323:25, 324:9,       253:1, 253:5,
180:7, 183:10,      1530                 324:19, 427:17,      253:13, 256:17,
215:10, 215:18,     291:7                463:5                256:24, 258:12,
243:11, 244:1,      1531                 165                  283:11, 311:8,
316:15, 359:13,     291:10               104:8                369:4, 373:7,
359:15, 359:17,     1532                 166                  373:8, 373:12,
359:19, 448:6       291:17               103:12, 104:5        375:2, 378:17,
12207               1533                 1683                 379:3, 385:3,
7:9, 11:16          291:17               9:24                 417:22




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 194 of 196 - Page
                                 ID#: 2307 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         193
1804                         2           14:21, 248:21,       108:22, 161:12,
419:25              2                    249:18, 466:17       162:2, 162:16,
182                 122:14, 122:15,      2025                 305:21, 307:10,
104:8               199:21, 199:23,      466:19               373:12
183                 199:25, 200:2,       21                   266
13:11, 183:9        316:15, 316:19,      78:6, 231:22,        269:1
187                 334:5, 336:15,       269:1, 280:22,       267
13:11, 183:10       336:18, 345:11,      386:10               269:1
19                  345:14, 347:14,      210                  27
1:11, 13:15,        348:6, 408:4,        104:6                307:9, 307:19,
14:5, 17:22,        408:6                218                  307:20, 308:1,
54:8, 83:2,         2,047                51:14                320:8, 321:20,
100:9, 168:16,      196:2                22                   388:12
168:18, 177:20,     20                   139:18, 150:14,      2700
188:9, 233:12,      1:21, 1:34,          199:21, 199:23,      5:23, 10:7
249:2, 252:16,      2:7, 2:17, 2:32,     287:10, 312:7,       28
259:12, 275:16,     14:7, 14:10,         319:13, 395:13,      159:5, 322:24,
275:17, 290:4,      14:12, 14:15,        408:13, 408:15,      326:5, 326:13,
306:13, 369:4,      14:17, 48:25,        408:21, 410:8        326:22, 327:5,
386:10, 388:12,     79:23, 92:9,         23                   329:19, 330:4,
389:9, 427:17,      100:11, 126:25,      78:22, 287:25,       334:4, 335:4,
430:8, 433:6        132:1, 177:20,       288:9, 288:11,       336:2, 336:17,
1935                231:8, 238:23,       408:10, 466:17       466:18
427:24              249:4, 249:7,        233                  29
1940                249:9, 249:12,       6:7, 10:14           64:10, 64:19,
422:20, 422:24      249:14, 275:18,      24                   65:7, 74:3,
195                 311:11, 318:23,      17:24, 118:2,        74:15, 76:10,
13:12, 195:8        320:3, 336:18,       134:18, 134:20,      98:10, 168:16,
1970                337:1, 345:11,       211:25, 212:1,       312:10, 312:24,
417:9               389:12, 405:13,      290:12, 290:14,      313:5, 328:5,
199                 409:14, 425:20,      351:19, 433:5,       328:7, 328:10,
13:12, 195:9        433:6                446:21, 449:21       345:7, 345:9,
1997                20005                2400                 345:13, 346:3,
428:4               5:17, 9:17           7:16, 11:23          347:16, 348:8,
1:                  2019                 25                   348:23, 349:17,
83:4, 106:16,       35:1, 36:4,          13:14, 57:9,         350:21, 351:21,
108:22, 108:25,     177:20, 290:5,       103:3, 103:5,        355:25, 457:24,
127:1, 127:2,       395:13, 417:22,      144:11, 240:11,      458:1
128:25, 131:7,      433:6, 435:6,        241:1, 294:18,       2:-cv--wob-cjs
144:11, 145:17,     437:2, 439:5,        305:22, 305:23,      2:7, 2:17,
146:2, 150:14,      443:8, 446:14        307:23, 354:12       2:32, 14:12,
150:17, 151:3,      202.973              250                  14:15, 14:17,
151:8, 152:13,      5:18, 9:18           5:7, 9:7,            249:9, 249:12,
152:16, 155:20,     2021                 260:12, 260:13,      249:14
375:2, 378:17,      3:3, 3:6, 5:2,       260:22                        3
379:3, 385:3,       6:2, 7:2, 9:2,       252                  3
386:10, 388:12,     10:2, 11:2,          13:3                 37:16, 126:25,
389:9                                    26
                                         59:24, 60:1,



                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 195 of 196 - Page
                                 ID#: 2308 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         194
132:14, 133:17,     312.876              37                   42
242:23, 243:11,     6:10, 10:17          122:15, 213:13,      246:2, 246:15,
245:6, 245:9,       317.635              245:9, 245:23,       248:1, 314:9,
246:14, 246:15,     5:25, 10:9           246:14, 310:17,      345:6, 345:7
248:1, 248:19,      32                   345:14, 347:14       427
248:20, 319:13,     98:14, 127:1,        38                   13:15, 427:16
319:21, 320:3,      127:2, 127:3,        56:5, 56:8,          43
320:8, 321:20,      213:11, 214:8,       57:9, 57:13,         60:17, 256:12,
322:17, 322:24,     214:21, 214:24,      58:8, 103:7,         310:22, 324:20,
323:16, 323:19,     215:5, 223:4,        103:9, 252:20,       324:24, 330:5,
324:17, 324:20,     239:7, 244:5,        253:11, 419:22,      334:2, 335:1,
324:24, 325:23,     245:6, 319:21,       420:2                344:17, 345:5,
348:9, 350:19,      323:16, 370:5,       39                   345:6, 345:7,
351:19, 351:22,     370:11, 371:13,      60:21, 64:14,        458:9, 458:10,
355:14, 356:1,      372:13               64:20, 248:19,       460:17
457:24, 458:1,      326                  248:20, 301:24,      43215
458:3, 458:5,       181:16               302:8, 302:9,        6:16, 10:23
460:9, 460:11,      327                  313:2, 314:6,        44
460:13, 460:15      181:24, 183:15       421:9, 421:13        60:20, 64:20,
30                  328                  396015               78:20, 125:12,
37:16, 38:1,        183:20               1:40                 214:23, 215:16,
46:3, 48:25,        33                   396018               325:23, 344:19,
51:24, 92:9,        57:14, 108:25,       1:40                 345:5, 375:2,
122:4, 122:14,      294:14, 294:16,      3rd                  378:17, 379:3,
209:18, 345:8,      322:17, 351:22,      20:20                458:9, 458:10,
354:25, 355:14,     355:14, 356:1,                4           458:12, 458:16
355:23, 356:15,     394:17, 394:19,                           45
356:18, 356:23,                          4
                    459:16, 459:17,      46:3, 48:25,         30:11, 128:6,
356:25, 358:12,     460:21, 460:24,                           150:17, 151:3,
358:18, 371:14,                          134:18, 134:20,
                    461:5, 461:12,       134:23, 135:1,       241:9, 272:19,
427:12              461:13, 461:21,                           458:3, 458:5
300                                      139:13, 253:11,
                    463:16               256:12, 464:5,       46
7:16, 11:23         335                                       257:24
306                                      465:15
                    181:16, 187:19,      40                   46204
13:13, 305:24       188:7                                     5:24, 10:8
307                                      46:11, 92:10,
                    34                   118:12, 118:13,      463
13:13, 305:25       74:8, 223:7,                              13:15, 427:17
308                                      137:17, 423:4
                    225:24, 309:18,      40202                466
13:14, 307:22       316:19, 389:9,                            1:41
309                                      6:24, 11:9
                    401:21, 401:22       41                   47
13:14, 168:7,       35                                        131:7, 366:22,
307:23                                   199:25, 200:2,
                    301:14, 302:6,       427:12, 427:20       367:23, 460:9,
31                  354:12, 356:21,                           460:11
364:17, 364:19,
                                         41011
                    357:2, 357:3         9:24                 49
365:4, 366:24,      36                                        64:9, 64:13,
368:1                                    41017
                    58:9, 323:19,        5:8, 7:17, 9:8,      64:18, 65:6,
310                 324:17, 426:23,                           65:10, 65:11,
169:9                                    11:24
                    426:25                                    185:16




                                PLANET DEPOS
                   888.433.3767 | WWW.PLANETDEPOS.COM
Case: 2:20-cv-00023-WOB-CJS Doc #: 74-1 Filed: 05/23/22 Page: 196 of 196 - Page
                                 ID#: 2309 INFORMATION
                   CONTAINS CONFIDENTIAL
                        Transcript of Nicholas Sandmann
                       Conducted on 9/13/2021 & 9/14/2021                         195
498                 139:13, 226:3,       6th
168:10              239:25, 299:20       7:8, 11:15
499                 551                           7
169:2               185:18               70
4th                 56                   423:17
6:23, 11:8          60:17, 222:1,        710
         5          281:6, 281:8,        6:22, 11:7
5                   356:19, 356:21,      717
139:18, 177:20      356:23, 358:3,       308:2
50                  372:14               720
9:22, 46:11,        57                   294:19
68:6, 68:9,         79:2, 82:17,         73
69:8, 71:12,        126:3, 281:10,       345:6
71:17, 72:13,       281:12, 460:13,      74
72:24, 74:2,        460:15
                    573                  294:20, 345:6
110:24, 111:8,                           780
113:21, 132:14,     188:6, 188:11
                    58                   305:23
133:17, 137:17,                                   8
325:22, 359:17,     74:15, 76:9,
359:19, 392:22      354:11, 364:23,      8
500                 365:2, 407:25,       168:16
5:7, 5:16, 9:7,     408:2                803
9:16, 169:2         59                   427:20, 427:24
501                 74:18, 177:20,       804
169:8               367:13               427:21, 428:4
502.540             5900                 850
6:25, 11:10         6:8, 10:15           9:23
51                           6           859.344
78:6                6                    5:9, 9:9
518.689             392:22               859.547
7:10, 11:17         60                   9:25
52                  423:7                859.578
221:16, 315:20,     600                  7:18, 11:25
385:3               25:25                         9
53                  60606                9
74:2, 74:3,         6:9, 10:16           3:4, 3:7,
74:7                615.565              14:22, 38:1,
54                  6:17, 10:24          249:19, 281:6,
7:7, 11:15,         65                   281:8, 281:10,
51:20, 118:17,      234:7, 234:21,       281:12
131:21, 348:6       235:13, 235:14       90
547                 662                  109:12
181:25, 183:17      290:15, 290:19       999
548                 667                  439:15
183:20              291:24
55                  671
131:23, 135:1,      290:15, 293:9




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